  Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 1 of 157 PageID #:5991




                        IN
                        IN THE UNITED STATES
                           THE UNITED STATES DISTRICT
                                             DISTRICT COURT
                                                       COURT
                       FOR THE NORTHERN
                       FOR THE NORTHERN DISTRICT
                                         DISTRICT OF
                                                  OF ILLINOIS
                                                      ILLINOIS
                                  EASTERN DIVISION
                                  EASTERN DIVISION

    NORMA MELGOZA,
    NORMA MELGOZA,                                         )
                                                           )
                            Plaintiff,
                            Plaintiff,                     )   Case No. 17-cv-6819
                                                               Case No. 17-cv-6819
                                                           )
        vv..                                               )   Honorable Mary M.
                                                               Honorable Mary    Rowland
                                                                              M. Rowland
                                                           )
    RUSH UNIVERSITY
    RUSH            MEDICAL CENTER,
         UNIVERSITY MEDICAL CENTER,                        )
                                                           )   Jury Trial
                                                               Jury Trial Demanded
                                                                          Demanded
                    Defendant.
                    Defendant.                             )


  DEFENDANT’S MOTION
  DEFENDANT'S MOTION FOR
                     FOR STAY OF PROCEEDINGS
                         STAY OF             OR, ALTERNATIVELY,
                                 PROCEEDINGS OR, ALTERNATIVELY,
                FOR LEAVE
                FOR  LEAVE TO
                           TO FILE
                              FILE COUNTERCLAIM
                                   COUNTERCLAIM

        Defendant Rush
        Defendant Rush University
                       University Medical
                                  Medical Center
                                          Center ("Defendant"
                                                 (“Defendant” or
                                                              or "Rush"),
                                                                 “Rush”), through
                                                                          through its attorneys,
                                                                                  its attorneys,

Jane M. McFetridge
Jane M. McFetridge and
                   and Audrey
                       Audrey Olson
                              Olson Gardner
                                    Gardner of
                                            of Jackson
                                               Jackson Lewis P.C., hereby
                                                       Lewis P.C.,        moves the
                                                                   hereby moves the Court
                                                                                    Court

for aa stay
for    stay of
            of proceedings
               proceedings until
                           until 90 days after
                                 90 days after Plaintiff
                                               Plaintiff Norma
                                                         Norma Melgoza
                                                               Melgoza ("Plaintiff"
                                                                       (“Plaintiff” or
                                                                                    or "Melgoza")
                                                                                       “Melgoza”)

obtains aa Notice
obtains    Notice of
                  of Right
                     Right to
                           to Sue from the
                              Sue from the Equal
                                           Equal Employment Opportunity Commission
                                                 Employment Opportunity Commission ("EEOC")
                                                                                   (“EEOC”)

in connection
in connection with
              with her
                   her pending
                       pending EEOC charge. Alternatively,
                               EEOC charge. Alternatively, Defendant
                                                           Defendant respectfully
                                                                     respectfully requests
                                                                                  requests leave
                                                                                           leave

to file
to file aa counterclaim
           counterclaim for declaratory relief.
                        for declaratory relief.

                                          INTRODUCTION
                                          INTRODUCTION

        Plaintiff’s purported
        Plaintiff's purported interest
                              interest in having this
                                       in having this matter
                                                      matter expeditiously
                                                             expeditiously set
                                                                           set for
                                                                               for trial
                                                                                   trial is
                                                                                         is nothing
                                                                                            nothing more
                                                                                                    more

than aa ruse.
than    ruse. Her
              Her real
                  real goal
                       goal is blatant forum
                            is blatant forum shopping
                                             shopping through
                                                      through the
                                                              the vehicle
                                                                  vehicle of
                                                                          of impermissible
                                                                             impermissible claims
                                                                                           claims

splitting. After
splitting. After Plaintiff's
                 Plaintiff’s employment was terminated
                             employment was terminated in
                                                       in aa July 2020 COVID-related
                                                             July 2020 COVID-related reduction
                                                                                     reduction in
                                                                                               in

force, she
force, she asked
           asked this
                 this Court
                      Court for permission to
                            for permission to amend
                                              amend her
                                                    her Complaint
                                                        Complaint to
                                                                  to add
                                                                     add allegations
                                                                         allegations about
                                                                                     about her
                                                                                           her

termination in
termination in further support of
               further support of her
                                  her claims.
                                      claims. In her motion
                                              In her motion for
                                                            for leave to amend,
                                                                leave to amend, which
                                                                                which attached
                                                                                      attached aa

proposed second
proposed second amended
                amended Complaint,
                        Complaint, Plaintiff
                                   Plaintiff expressly
                                             expressly stated
                                                       stated that
                                                              that the
                                                                   the allegations
                                                                       allegations about
                                                                                   about her
                                                                                         her

termination were
termination were "an
                 “an extension
                     extension of
                               of” the
                                   the facts
                                       facts previously
                                             previously alleged
                                                        alleged in her Complaint
                                                                in her Complaint and
                                                                                 and stemmed
                                                                                     stemmed from
                                                                                             from

the "same
the “same underlying
          underlying facts."
                     facts.”
  Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 2 of 157 PageID #:5992




        However, aa week
        However,    week later, Plaintiff withdrew
                         later, Plaintiff withdrew her
                                                   her motion,
                                                       motion, claiming that she
                                                               claiming that she wanted
                                                                                 wanted "to
                                                                                        “to move
                                                                                            move

forward with
forward with the
             the claims
                 claims in her First
                        in her First Amended
                                     Amended Complaint
                                             Complaint as
                                                       as expeditiously
                                                          expeditiously as
                                                                        as possible."
                                                                           possible.” Since that
                                                                                      Since that

time, Plaintiff
time, Plaintiff has
                has played
                    played coy
                           coy about
                               about her
                                     her true
                                         true intentions,
                                              intentions, repeatedly
                                                          repeatedly asserting
                                                                     asserting to
                                                                               to both
                                                                                  both this
                                                                                       this Court
                                                                                            Court and
                                                                                                  and

Defendant’s counsel
Defendant's counsel that
                    that she
                         she wasn't
                             wasn’t sure
                                    sure what
                                         what she
                                              she was
                                                  was going
                                                      going to
                                                            to do
                                                               do about
                                                                  about the
                                                                        the claims
                                                                            claims associated
                                                                                   associated with
                                                                                              with

her termination.
her termination. Immediately
                 Immediately after
                             after the
                                   the Court's
                                       Court’s November
                                               November 2020
                                                        2020 ruling on the
                                                             ruling on the motion
                                                                           motion for
                                                                                  for summary
                                                                                      summary

judgment,1 Defendant
judgment,1 Defendant began
                     began raising
                           raising and
                                   and has
                                       has continued
                                           continued to
                                                     to raise concerns about
                                                        raise concerns about the
                                                                             the possibility,
                                                                                 possibility, indeed
                                                                                              indeed

likelihood, that
likelihood, that Plaintiff's
                 Plaintiff’s true
                             true intention was to
                                  intention was to pursue
                                                   pursue two
                                                          two separate
                                                              separate causes
                                                                       causes of
                                                                              of action.
                                                                                 action. (See
                                                                                         (See Dkt.
                                                                                              Dkt. No.
                                                                                                   No.

226). Plaintiff
226). Plaintiff maintained
                maintained her fiction through
                           her fiction through three
                                               three status
                                                     status hearings
                                                            hearings and
                                                                     and two
                                                                         two settlement
                                                                             settlement conferences
                                                                                        conferences

and only
and only ultimately
         ultimately came clean on
                    came clean on April
                                  April 6,
                                        6, 2021,
                                           2021, after
                                                 after being
                                                       being ordered
                                                             ordered to
                                                                     to do
                                                                        do so
                                                                           so by
                                                                              by this
                                                                                 this Court.
                                                                                      Court. (See
                                                                                             (See

Dkt. No.
Dkt. No. 234).
         234).

        Plaintiff’s motivation
        Plaintiffs  motivation is
                               is obvious:
                                  obvious: by
                                           by stretching
                                              stretching out
                                                         out the
                                                             the clock
                                                                 clock on
                                                                       on assertion
                                                                          assertion of
                                                                                    of her
                                                                                       her termination
                                                                                           termination

claims, she
claims, she seeks
            seeks to
                  to bolster
                     bolster an
                             an argument
                                argument that
                                         that it
                                              it is too late
                                                 is too      to incorporate
                                                        late to             those claims
                                                                incorporate those claims into
                                                                                         into the
                                                                                              the extant
                                                                                                  extant

case, thereby
case, thereby paving
              paving the
                     the way
                         way to
                             to impermissible
                                impermissible claims
                                              claims splitting.
                                                     splitting. She is hedging
                                                                She is hedging her
                                                                               her bets.
                                                                                   bets. If
                                                                                         If she
                                                                                            she

doesn’t prevail
doesn't prevail in
                in this
                   this case
                        case —
                             – either at all
                               either at all or
                                             or sufficiently
                                                sufficiently in
                                                             in her
                                                                her estimation – she
                                                                    estimation — she has
                                                                                     has her
                                                                                         her "back-up"
                                                                                             “back-up”

cause of
cause of action
         action which
                which she
                      she can pursue with
                          can pursue with aa different
                                             different judge
                                                       judge and
                                                             and jury
                                                                 jury who
                                                                      who might
                                                                          might be
                                                                                be more
                                                                                   more favorably
                                                                                        favorably

disposed to
disposed to her
            her position.
                position. And
                          And she
                              she would
                                  would have
                                        have the
                                             the added
                                                 added benefit
                                                       benefit of
                                                               of inflicting “maximum pain"
                                                                  inflicting "maximum pain” on
                                                                                            on

her former
her former employer
           employer —
                    – aa not-for-profit
                         not-for-profit healthcare
                                        healthcare institution
                                                   institution suffering
                                                               suffering through
                                                                         through an
                                                                                 an international
                                                                                    international

pandemic and
pandemic and its
             its aftermath.
                 aftermath.

        Plaintiff will
        Plaintiff will no
                       no doubt
                          doubt characterize
                                characterize the
                                             the foregoing as speculative.
                                                 foregoing as speculative. Common
                                                                           Common sense
                                                                                  sense is
                                                                                        is not
                                                                                           not

speculative. Notwithstanding,
speculative. Notwithstanding, what
                              what is
                                   is clearly not speculative
                                      clearly not speculative is the fact
                                                              is the      that Plaintiff
                                                                     fact that Plaintiff has
                                                                                         has had
                                                                                             had ample
                                                                                                 ample

opportunity to
opportunity to pursue
               pursue her
                      her termination
                          termination claims
                                      claims in
                                             in the
                                                the context
                                                    context of
                                                            of this
                                                               this litigation,
                                                                    litigation, without
                                                                                without any
                                                                                        any prejudice
                                                                                            prejudice

or delay
or       to the
   delay to the setting
                setting of
                        of aa trial
                              trial date.
                                    date. Had
                                          Had Plaintiff
                                              Plaintiff amended
                                                        amended her
                                                                her pleadings
                                                                    pleadings last summer when
                                                                              last summer when she
                                                                                               she



11 At this time, Defendant's
                 Defendant’s current counsel, Jackson Lewis P.C., became actively involved in this litigation.

                                                      22
  Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 3 of 157 PageID #:5993




originally sought
originally sought leave to do
                  leave to do so
                              so (or
                                 (or even
                                     even just
                                          just filed an administrative
                                               filed an administrative charge
                                                                       charge at
                                                                              at that
                                                                                 that time),
                                                                                      time), any
                                                                                             any limited
                                                                                                 limited

discovery and
discovery and motion
              motion practice
                     practice associated
                              associated with
                                         with her
                                              her termination
                                                  termination claims
                                                              claims would
                                                                     would have
                                                                           have been
                                                                                been conducted
                                                                                     conducted

during the
during the time
           time period
                period the
                       the courts
                           courts were
                                  were not
                                       not trying
                                           trying cases
                                                  cases due
                                                        due to
                                                            to COVID-19
                                                               COVID-19 and
                                                                        and completed
                                                                            completed by
                                                                                      by now.
                                                                                         now.

The parties and
The parties and the
                the Court
                    Court would
                          would now
                                now be
                                    be in
                                       in position
                                          position to
                                                   to set
                                                      set this
                                                          this matter
                                                               matter for
                                                                      for trial.
                                                                          trial. Instead,
                                                                                 Instead, Plaintiff
                                                                                          Plaintiff has
                                                                                                    has

engaged in
engaged in not-so-subtle gamesmanship resulting
           not-so-subtle gamesmanship resulting in unnecessary delay
                                                in unnecessary delay and
                                                                     and costs.
                                                                         costs. She should not
                                                                                She should not

be rewarded
be rewarded for her actions.
            for her actions.

        Accordingly, Rush
        Accordingly, Rush respectfully
                          respectfully moves
                                       moves the
                                             the Court
                                                 Court for
                                                       for aa stay
                                                              stay of
                                                                   of proceedings
                                                                      proceedings until
                                                                                  until 90 days after
                                                                                        90 days after

Plaintiff obtains
Plaintiff obtains aa Notice
                     Notice of
                            of Right
                               Right to
                                     to Sue from the
                                        Sue from the EEOC. At that
                                                     EEOC. At that time,
                                                                   time, Plaintiff
                                                                         Plaintiff will
                                                                                   will be
                                                                                        be forced to
                                                                                           forced to

either assert
either assert her
              her claims
                  claims in this action,
                         in this action, initiate
                                         initiate aa separate
                                                     separate lawsuit, or forgo
                                                              lawsuit, or forgo her
                                                                                her termination
                                                                                    termination allegations
                                                                                                allegations

altogether. If
altogether. If Plaintiff
               Plaintiff chooses
                         chooses to
                                 to file
                                    file aa separate
                                            separate proceeding,
                                                     proceeding, Rush
                                                                 Rush will
                                                                      will move
                                                                           move to
                                                                                to consolidate that
                                                                                   consolidate that

action with
action with this
            this case.
                 case. Thus, staying the
                       Thus, staying the case
                                         case will
                                              will pave
                                                   pave aa way
                                                           way for all of
                                                               for all of Plaintiff's
                                                                          Plaintiff’s claims
                                                                                      claims to
                                                                                             to be
                                                                                                be brought
                                                                                                   brought

before this
before this Court,
            Court, easing
                   easing the
                          the burden
                              burden of
                                     of litigation
                                        litigation on
                                                   on both
                                                      both parties
                                                           parties and
                                                                   and the
                                                                       the Court,
                                                                           Court, simplifying
                                                                                  simplifying and
                                                                                              and

streamlining the
streamlining the issues, and preventing
                 issues, and preventing Plaintiff's
                                        Plaintiff’s claims
                                                    claims from
                                                           from aa later
                                                                   later dismissal
                                                                         dismissal on
                                                                                   on res
                                                                                      res judicata
                                                                                          judicata

grounds. Alternatively,
grounds. Alternatively, Rush
                        Rush requests
                             requests leave
                                      leave to
                                            to file
                                               file aa counterclaim
                                                       counterclaim for
                                                                    for aa declaratory
                                                                           declaratory judgment
                                                                                       judgment

barring Plaintiff
barring Plaintiff from
                  from asserting
                       asserting her
                                 her termination
                                     termination claims
                                                 claims in
                                                        in aa separate
                                                              separate action.
                                                                       action.

                         RELEVANT PROCEDURAL
                         RELEVANT PROCEDURAL BACKGROUND
                                             BACKGROUND

        Plaintiff’s First
        Plaintiff's First Amended
                          Amended Complaint
                                  Complaint ("FAC"
                                            (“FAC” or
                                                   or "Complaint")
                                                      “Complaint”) includes
                                                                   includes six
                                                                            six counts
                                                                                counts under
                                                                                       under the
                                                                                             the

Equal Pay Act
Equal Pay Act of
              of 1963;
                 1963; Title
                       Title VII
                             VII of
                                 of the
                                    the Civil
                                        Civil Rights
                                              Rights Act
                                                     Act of
                                                         of 1964
                                                            1964 ("Title
                                                                 (“Title VII");
                                                                         VII”); and
                                                                                and the
                                                                                    the Illinois
                                                                                        Illinois

Human Rights
Human Rights Act.
             Act. (FAC,
                  (FAC, Dkt.
                        Dkt. No.
                             No. 43,
                                 43, ¶¶
                                     ¶¶ 94-135). In support
                                        94-135). In support of
                                                            of these
                                                               these claims,
                                                                     claims, Plaintiff
                                                                             Plaintiff alleges
                                                                                       alleges

that Rush
that Rush discriminated
          discriminated against
                        against her
                                her based
                                    based on
                                          on sex
                                             sex and
                                                 and national
                                                     national origin
                                                              origin by
                                                                     by paying
                                                                        paying her
                                                                               her less
                                                                                   less than
                                                                                        than

coworkers outside
coworkers outside of
                  of her
                     her protected
                         protected categories,
                                   categories, failing to promote
                                               failing to promote her,
                                                                  her, and
                                                                       and harassing
                                                                           harassing her. (Id.) She
                                                                                     her. (Id.) She

also alleges
also alleges that
             that she
                  she reported
                      reported concerns
                               concerns about
                                        about the
                                              the discrimination and was
                                                  discrimination and was retaliated
                                                                         retaliated against
                                                                                    against for
                                                                                            for doing
                                                                                                doing

so. (Id.)
so. (Id.) Notably,
          Notably, Plaintiff's
                   Plaintiff’s Complaint
                               Complaint alleges
                                         alleges "Rush's
                                                 “Rush’s discrimination
                                                         discrimination and
                                                                        and retaliation
                                                                            retaliation continues."
                                                                                        continues.”

(Id. at
(Id. at ¶
        ¶ 93).
          93).

                                                    3
                                                    3
  Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 4 of 157 PageID #:5994




        On July
        On      14, 2020,
           July 14, 2020, Rush
                          Rush advised
                               advised Plaintiff
                                       Plaintiff that
                                                 that her
                                                      her position
                                                          position was
                                                                   was being
                                                                       being eliminated
                                                                             eliminated effective
                                                                                        effective

July 19, 2020
July 19, 2020 in
              in aa reduction
                    reduction in
                              in force
                                 force ("RIF")
                                       (“RIF”) impacting
                                               impacting more
                                                         more than
                                                              than 230
                                                                   230 employees.
                                                                       employees. At
                                                                                  At that
                                                                                     that time,
                                                                                          time,

Defendant’s motion
Defendant's motion for summary judgment
                   for summary judgment was
                                        was pending.
                                            pending. (See
                                                     (See Dkt.
                                                          Dkt. No.
                                                               No. 151).
                                                                   151). Immediately after
                                                                         Immediately after

learning of
learning of her termination, on
            her termination, on July 15, 2020,
                                July 15, 2020, Plaintiff
                                               Plaintiff filed
                                                         filed aa motion
                                                                  motion to
                                                                         to amend
                                                                            amend her
                                                                                  her Complaint
                                                                                      Complaint

(“Motion to
("Motion to Amend")
            Amend”) and
                    and attached
                        attached aa draft
                                    draft Second Amended Complaint
                                          Second Amended Complaint ("SAC")
                                                                   (“SAC”) including
                                                                           including new
                                                                                     new

allegations based
allegations based on
                  on her
                     her termination.
                         termination. (See
                                      (See Ex. A, Dkt.
                                           Ex. A, Dkt. No.
                                                       No. 213).
                                                           213). In her Motion
                                                                 In her Motion to
                                                                               to Amend,
                                                                                  Amend, Plaintiff
                                                                                         Plaintiff

acknowledged that
acknowledged that her
                  her termination
                      termination allegations
                                  allegations inherently relate to
                                              inherently relate to the
                                                                   the claims
                                                                       claims in her Complaint:
                                                                              in her Complaint:

               [T]hough Plaintiffs
               [T]hough   Plaintiff’s Second    Amended Complaint
                                       Second Amended        Complaint incorporates
                                                                          incorporates new
                                                                                        new
               allegations, it
               allegations,   it does
                                  does not    raise new
                                         not raise          claims…her July
                                                     new claims...her             14, 2020
                                                                             July 14,  2020
               termination is
               termination   is the
                                 the culmination
                                      culmination of of Rush's
                                                         Rush’s years'
                                                                  years’ long
                                                                           long continuing
                                                                                 continuing
               campaign of
               campaign    of retaliation
                               retaliation against
                                            against Plaintiff
                                                     Plaintiff for
                                                                for the
                                                                    the protected
                                                                         protected activity
                                                                                    activity
               alleged in
               alleged    her prior
                       in her  prior pleadings
                                     pleadings as
                                                as well
                                                   well as
                                                         as the
                                                            the instant litigation. Plaintiff
                                                                instant litigation. Plaintiff
               does not
               does not seek
                         seek to
                               to add
                                  add additional
                                       additional counts   to her
                                                   counts to  her Amended
                                                                   Amended Complaint
                                                                               Complaint as
                                                                                          as
               her recent
               her         termination is
                   recent termination     is an
                                             an extension
                                                extension ofof the
                                                                the same
                                                                    same underlying
                                                                            underlying facts
                                                                                       facts
               previously alleged
               previously  alleged and
                                     and violative
                                         violative of
                                                    of the
                                                       the same
                                                           same laws[.]
                                                                  laws[.]

        (Id. at
        (Id. at ¶
                ¶ 24).
                  24). The
                       The SAC added roughly
                           SAC added         four full
                                     roughly four full pages
                                                       pages of
                                                             of allegations
                                                                allegations related
                                                                            related to
                                                                                    to her
                                                                                       her termination
                                                                                           termination

and asserted
and asserted that
             that her inclusion in
                  her inclusion in the
                                   the RIF
                                       RIF was
                                           was further
                                               further indicia of Rush's
                                                       indicia of Rush’s discriminatory and retaliatory
                                                                         discriminatory and retaliatory

animus toward
animus toward her.
              her. It did not
                   It did not contain
                              contain any
                                      any new
                                          new allegations
                                              allegations of
                                                          of discriminatory
                                                             discriminatory or
                                                                            or retaliatory
                                                                               retaliatory motives
                                                                                           motives

or animus.
or animus. Nor
           Nor did
               did it
                   it assert
                      assert that
                             that Plaintiff
                                  Plaintiff engaged
                                            engaged in
                                                    in new
                                                       new protected
                                                           protected activity.
                                                                     activity. To the contrary,
                                                                               To the contrary,

Plaintiff simply
Plaintiff simply alleged
                 alleged that
                         that "[s]ince
                              “[s]ince 2013,
                                       2013, Rush
                                             Rush has
                                                  has engaged in aa continuing
                                                      engaged in    continuing campaign
                                                                               campaign of
                                                                                        of retaliation
                                                                                           retaliation

against Melgoza
against Melgoza for
                for her abovementioned protected
                    her abovementioned protected activity,
                                                 activity, culminating
                                                           culminating in
                                                                       in her
                                                                          her July 14, 2020
                                                                              July 14, 2020

termination of
termination of employment[.]” (SAC, Ex.
               employment[.]" (SAC,     A, p.
                                    Ex. A, p. 10,
                                              10, at
                                                  at ¶¶
                                                     ¶¶ 130,
                                                        130, 150,
                                                             150, 161).
                                                                  161).

        On July
        On      23, 2020,
           July 23, 2020, Plaintiff
                          Plaintiff submitted
                                    submitted aa letter requesting withdrawal
                                                 letter requesting withdrawal of
                                                                              of her Motion to
                                                                                 her Motion to Amend
                                                                                               Amend

in order
in order "to
         “to move
             move forward with the
                  forward with the claims
                                   claims in
                                          in her
                                             her First
                                                 First Amended
                                                       Amended Complaint
                                                               Complaint as
                                                                         as expeditiously
                                                                            expeditiously as
                                                                                          as

possible.” (Dkt.
possible." (Dkt. No.
                 No. 215).
                     215). The
                           The Court
                               Court granted
                                     granted Plaintiff's
                                             Plaintiff’s request to withdraw
                                                         request to withdraw her
                                                                             her motion.
                                                                                 motion. (Dkt.
                                                                                         (Dkt. No.
                                                                                               No.

216).
216).




                                                     4
                                                     4
  Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 5 of 157 PageID #:5995




       On November
       On November 9, 2020, the
                   9, 2020, the Court
                                Court issued
                                      issued its
                                             its opinion
                                                 opinion on
                                                         on the
                                                            the motion
                                                                motion for
                                                                       for summary
                                                                           summary judgment,
                                                                                   judgment,

granting it
granting it in
            in part
               part and
                    and denying
                        denying it in part.
                                it in part. (Dkt.
                                            (Dkt. No.
                                                  No. 225).
                                                      225). After
                                                            After the
                                                                  the Court's
                                                                      Court’s ruling,
                                                                              ruling, the
                                                                                      the parties
                                                                                          parties

submitted aa joint
submitted    joint status
                   status report wherein Plaintiff
                          report wherein Plaintiff requested
                                                   requested that
                                                             that aa trial
                                                                     trial date
                                                                           date be
                                                                                be scheduled
                                                                                   scheduled "as
                                                                                             “as soon
                                                                                                 soon as
                                                                                                      as

practical.” (Dkt.
practical." (Dkt. No.
                  No. 226).
                      226). Defendant
                            Defendant stated
                                      stated its
                                             its belief
                                                 belief that
                                                        that "the
                                                             “the matter
                                                                  matter should
                                                                         should be
                                                                                be stayed
                                                                                   stayed until
                                                                                          until

Plaintiff makes
Plaintiff makes clear
                clear her
                      her intentions
                          intentions relative
                                     relative to
                                              to any
                                                 any action
                                                     action she
                                                            she intends
                                                                intends to
                                                                        to take
                                                                           take regarding the
                                                                                regarding the

termination of
termination of her
               her employment with Defendant."
                   employment with Defendant.” (Id.)
                                               (Id.) Defendant
                                                     Defendant further
                                                               further articulated
                                                                       articulated in
                                                                                   in detail
                                                                                      detail its
                                                                                             its

consistent position
consistent position that
                    that allowing
                         allowing Plaintiff
                                  Plaintiff to
                                            to pursue
                                               pursue her
                                                      her termination
                                                          termination claims
                                                                      claims separately
                                                                             separately would
                                                                                        would

constitute impermissible
constitute               claims splitting.
           impermissible claims splitting. (Id.)
                                           (Id.)

       The Court ordered
       The Court ordered the
                         the parties
                             parties to
                                     to discuss
                                        discuss settlement
                                                settlement (Dkt.
                                                           (Dkt. No.
                                                                 No. 228).
                                                                     228). Thus, on February
                                                                           Thus, on February 24,
                                                                                             24,

2021 and
2021 and March
         March 10,
               10, 2021,
                   2021, the
                         the parties
                             parties attended
                                     attended aa virtual
                                                 virtual telephonic
                                                         telephonic settlement
                                                                    settlement conference with the
                                                                               conference with the

Court but
Court but were
          were unable
               unable to
                      to resolve
                         resolve their
                                 their dispute.
                                       dispute. (Dkt. No. 234).
                                                (Dkt. No. 234). During
                                                                During and
                                                                       and after
                                                                           after the
                                                                                 the settlement
                                                                                     settlement

conference, Plaintiff
conference, Plaintiff made
                      made clear
                           clear to
                                 to Rush
                                    Rush and
                                         and the
                                             the Court
                                                 Court that
                                                       that the
                                                            the damages
                                                                damages she
                                                                        she is
                                                                            is claiming
                                                                               claiming in
                                                                                        in this
                                                                                           this action
                                                                                                action

include those
include those allegedly
              allegedly resulting
                        resulting from
                                  from her
                                       her 2020
                                           2020 termination,
                                                termination, but
                                                             but refused
                                                                 refused to
                                                                         to state
                                                                            state whether
                                                                                  whether she
                                                                                          she would
                                                                                              would

also be
also be pursuing
        pursuing aa separate
                    separate cause
                             cause of
                                   of action
                                      action for the termination
                                             for the termination

       In
       In light of Plaintiffs
          light of Plaintiff’s ongoing
                               ongoing obfuscation
                                       obfuscation of
                                                   of her
                                                      her intentions
                                                          intentions relative
                                                                     relative to
                                                                              to the
                                                                                 the termination
                                                                                     termination claims,
                                                                                                 claims,

Rush sent
Rush sent Plaintiff
          Plaintiff aa letter
                       letter on
                              on April
                                 April 2,
                                       2, 2021
                                          2021 asking
                                               asking her
                                                      her to
                                                          to confirm
                                                             confirm her
                                                                     her intended course of
                                                                         intended course of action
                                                                                            action

relative to
relative to those
            those claims.
                  claims. (See
                          (See Ex.
                               Ex. B.)
                                   B.) On
                                       On April
                                          April 9, 2021, the
                                                9, 2021, the parties
                                                             parties submitted
                                                                     submitted aa joint
                                                                                  joint status
                                                                                        status report
                                                                                               report

wherein Plaintiff
wherein Plaintiff confirmed
                  confirmed she
                            she intended to file
                                intended to      an administrative
                                            file an administrative charge on or
                                                                   charge on or before
                                                                                before May
                                                                                       May 7, 2021.
                                                                                           7, 2021.

(Dkt. No.
(Dkt. No. 237,
          237, ¶
               ¶ 9). On April
                 9). On April 12,
                              12, 2021,
                                  2021, the
                                        the Court
                                            Court entered
                                                  entered an
                                                          an order
                                                             order requiring
                                                                   requiring Plaintiff
                                                                             Plaintiff to
                                                                                       to file
                                                                                          file her
                                                                                               her

charge by
charge by that
          that date.
               date. (Dkt.
                     (Dkt. No.
                           No. 238).
                               238). The Court further
                                     The Court         adopted the
                                               further adopted the parties'
                                                                   parties’ proposed
                                                                            proposed briefing
                                                                                     briefing

schedule whereby
schedule whereby Rush
                 Rush would
                      would file
                            file aa motion
                                    motion seeking
                                           seeking to
                                                   to consolidate Plaintiff’s termination
                                                      consolidate Plaintiffs  termination

allegations with
allegations with the
                 the present
                     present case
                             case by
                                  by May
                                     May 7,
                                         7, 2021.
                                            2021. (Id.)
                                                  (Id.)

       Despite her
       Despite her purported
                   purported "concerns"
                             “concerns” about
                                        about delay, weeks passed
                                              delay, weeks passed without
                                                                  without Plaintiff
                                                                          Plaintiff filing her
                                                                                    filing her

EEOC charge. Accordingly,
EEOC charge. Accordingly, on
                          on April
                             April 28,
                                   28, 2021,
                                       2021, Rush
                                             Rush contacted
                                                  contacted Plaintiff
                                                            Plaintiff and
                                                                      and inquired
                                                                          inquired about
                                                                                   about the
                                                                                         the

                                                   55
    Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 6 of 157 PageID #:5996




status of
status of Plaintiff's
          Plaintiff’s EEOC charge, as
                      EEOC charge, as Rush
                                      Rush would
                                           would need
                                                 need sufficient
                                                      sufficient time
                                                                 time to
                                                                      to review it before
                                                                         review it before filing its
                                                                                          filing its

Motion on
Motion on May 7th. Plaintiff
          May 7th. Plaintiff confirmed
                             confirmed the
                                       the EEOC charge would
                                           EEOC charge would be
                                                             be forthcoming, and then,
                                                                forthcoming, and then, only
                                                                                       only

about two
about two weeks
          weeks before
                before her
                       her administrative deadline,2 filed
                           administrative deadline,2 filed her
                                                           her EEOC charge on
                                                               EEOC charge on April
                                                                              April 30,
                                                                                    30, 2021.
                                                                                        2021.

(See Exs.
(See      C-D.) Notably,
     Exs. C-D.) Notably, Plaintiff's
                         Plaintiff’s EEOC
                                     EEOC charge sets forth
                                          charge sets forth many
                                                            many of
                                                                 of the
                                                                    the same
                                                                        same allegations
                                                                             allegations already
                                                                                         already

asserted in
asserted in her
            her Complaint
                Complaint and
                          and her
                              her withdrawn
                                  withdrawn SAC. (Ex. D).
                                            SAC. (Ex. D). For
                                                          For example, Plaintiff’s EEOC
                                                              example, Plaintiffs       includes
                                                                                   EEOC includes

the following
the following allegations:
              allegations:

        •   Rush "paid
             Rush “paid [Melgoza] less per
                        [Melgoza] less per year
                                           year than
                                                than [her]
                                                     [her] male
                                                           male and/or
                                                                and/or non-Mexican-American
                                                                       non-Mexican-American

             colleagues performing
             colleagues performing substantially
                                   substantially equal work.” (Ex.
                                                 equal work." (Ex. D,
                                                                   D, ¶
                                                                      ¶ 3;
                                                                        3; compare FAC, ¶¶
                                                                           compare FAC, ¶¶ 33-44
                                                                                           33-44

             (same allegations.))
             (same allegations.))

        •   Melgoza "raised
             Melgoza “raised complaints
                             complaints about...equal
                                        about…equal pay
                                                      pay as
                                                          as aa woman
                                                                woman and
                                                                      and requested
                                                                          requested equity
                                                                                    equity in
                                                                                           in

             Rush’s payment
             Rush's payment of
                            of [her]
                               [her] compensation."
                                     compensation.” (Ex.
                                                    (Ex. D,
                                                         D, ¶
                                                            ¶ 3;
                                                              3; compare
                                                                 compare FAC,
                                                                         FAC, ¶¶
                                                                              ¶¶ 33-44
                                                                                 33-44 (same
                                                                                       (same

             allegations.))
             allegations.))

        •   Melgoza "complained
             Melgoza “complained of
                                 of discriminatory
                                    discriminatory treatment
                                                   treatment and
                                                             and systematic
                                                                 systematic discriminatory
                                                                            discriminatory

             practices by
             practices by Rush[.]"
                          Rush[.]” (Ex.
                                   (Ex. D,
                                        D, p.
                                           p. 1,
                                              1, ¶
                                                 ¶ 3;
                                                   3; compare FAC, ¶¶
                                                      compare FAC, ¶¶ 33-44
                                                                      33-44 (same allegations.))
                                                                            (same allegations.))

        •   “On July
             "On      14, 2016,
                 July 14, 2016, Rush
                                Rush demoted [Melgoza] two
                                     demoted [Melgoza] two levels
                                                           levels down
                                                                  down to
                                                                       to aa position
                                                                             position of
                                                                                      of "Director"
                                                                                         “Director”

             at Rush[.]"
             at Rush[.]” (Ex.
                         (Ex. D,
                              D, ¶
                                 ¶ 4;
                                   4; compare
                                      compare FAC„
                                              FAC,, ¶¶
                                                    ¶¶ 33-44 (same allegations.))
                                                       33-44 (same allegations.))

        •   “On May
             "On May 8, 2017, [Melgoza]
                     8, 2017, [Melgoza] filed
                                        filed aa Charge
                                                 Charge of
                                                        of Charge
                                                           Charge of
                                                                  of Discrimination....
                                                                     Discrimination…. with
                                                                                        with the
                                                                                             the

             [EEOC]…alleging
             [EEOC]             retaliation and
                    ...alleging retaliation and discrimination
                                                discrimination on
                                                               on the
                                                                  the basis
                                                                      basis of
                                                                            of gender
                                                                               gender and
                                                                                      and national
                                                                                          national

             origin.” (Ex.
             origin." (Ex. D,
                           D, ¶
                              ¶ 4;
                                4; compare
                                   compare FAC,
                                           FAC, ¶¶
                                                ¶¶ 33-44
                                                   33-44 (same
                                                         (same allegations.))
                                                               allegations.))




2
2 Because a charge of discrimination must be filed within 300 days of the alleged adverse action, Plaintiff's
                                                                                                  Plaintiff’s
deadline to file a charge based on her July 14, 2020 termination (effective July 19, 2020) would have, at the
latest,
latest, been May 17, 2021 (300 days after July 19, 2020
                                                   2020).).
                                                     66
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 7 of 157 PageID #:5997




    •   In 2019, Rush
         In 2019, Rush added
                       added positions
                             positions in the cancer
                                       in the cancer center,
                                                     center, including
                                                             including Katie
                                                                       Katie Struck, who "was
                                                                             Struck, who “was

         appointed CAO
         appointed CAO of
                       of Cancer
                          Cancer in May 2019."
                                 in May 2019.” (Ex.
                                               (Ex. D,
                                                    D, ¶
                                                       ¶ 6;
                                                         6; compare
                                                            compare SAC, ¶¶ 112
                                                                    SAC, ¶¶ 112 (same
                                                                                (same

         allegation.))
         allegation.))

    •   Melgoza was
         Melgoza was "instrumental
                     “instrumental during
                                   during the
                                          the COVID-19
                                              COVID-19 pandemic
                                                       pandemic in
                                                                in assisting
                                                                   assisting Rush
                                                                             Rush in
                                                                                  in

         implementing cost
         implementing cost containment
                           containment initiatives
                                       initiatives and
                                                   and other
                                                       other patient
                                                             patient care
                                                                     care solutions
                                                                          solutions across
                                                                                    across the
                                                                                           the

         system.” (Ex.
         system." (Ex. D,
                       D, ¶
                          ¶ 12;
                            12; compare
                                compare SAC, ¶ 95
                                        SAC, ¶    (same allegation.))
                                               95 (same allegation.))

    •   On July
         On      10, 2020,
            July 10, 2020, Melgoza's
                           Melgoza’s supervisor,
                                     supervisor, Josh
                                                 Josh Ellis, “informed [Melgoza]
                                                      Ellis, "informed           that Rush
                                                                       [Melgoza] that Rush

         would be
         would be laying off [her]
                  laying off [her] immediate
                                   immediate direct
                                             direct report,
                                                    report, [Sharon
                                                            [Sharon D.]
                                                                    D.] Brown-Elms,
                                                                        Brown-Elms, purportedly
                                                                                    purportedly

         as part
         as part of
                 of aa reduction
                       reduction in force due
                                 in force due to
                                              to the
                                                 the COVID-19
                                                     COVID-19 pandemic.
                                                              pandemic. Rush
                                                                        Rush had
                                                                             had previously
                                                                                 previously

         attempted to
         attempted to eliminate Brown-Elm’s position,
                      eliminate Brown-Elm's position, but
                                                      but Ellis
                                                          Ellis paused
                                                                paused the
                                                                       the elimination.” (Ex. D
                                                                           elimination." (Ex. D,

         ¶ 13;
         ¶ 13; compare
               compare SAC, ¶¶ 97-100
                       SAC, ¶¶        (also alleging,
                               97-100 (also alleging, like
                                                      like in
                                                           in her
                                                              her EEOC charge, that
                                                                  EEOC charge, that Brown-
                                                                                    Brown-

         Elms is an
         Elms is an African
                    African American
                            American female and Rush
                                     female and Rush was
                                                     was discriminating
                                                         discriminating against
                                                                        against her
                                                                                her too.))
                                                                                    too.))

    •   “By sharing
         "By sharing the
                     the information with [Melgoza]
                         information with [Melgoza] about
                                                    about Rush's
                                                          Rush’s decision to terminate
                                                                 decision to terminate the
                                                                                       the

         employment of
         employment of [her]
                       [her] immediate direct report
                             immediate direct report [,]
                                                     [,] Rush
                                                         Rush implied
                                                              implied to
                                                                      to [Melgoza]
                                                                         [Melgoza] that
                                                                                   that her
                                                                                        her

         employment at
         employment at Rush
                       Rush would
                            would not
                                  not be
                                      be impacted by the
                                         impacted by the purported
                                                         purported reduction
                                                                   reduction in
                                                                             in force.” (Ex.
                                                                                force." (Ex.

         D, ¶
         II,. ¶ 13;
                13; compare
                    compare SAC ¶ 101
                            SAC ¶ 101 (same
                                      (same allegation.))
                                            allegation.))

    •   “Ellis sent
         "Ellis sent [Melgoza]
                     [Melgoza] an
                               an electronic
                                  electronic calendar
                                             calendar invitation
                                                      invitation for
                                                                 for aa meeting
                                                                        meeting between
                                                                                between Ellis and
                                                                                        Ellis and

         [her] at
         [her] at 9:45 a.m. on
                  9:45 a.m. on July 14, 2020...
                               July 14, 2020…[Melgoza]    asked Ellis
                                                [Melgoza] asked       to explain
                                                                Ellis to         the topic
                                                                         explain the topic of
                                                                                           of the
                                                                                              the

         meeting and
         meeting and whether
                     whether [she]
                             [she] needed
                                   needed to
                                          to prepare
                                             prepare anything
                                                     anything for the meeting."
                                                              for the meeting.” (Ex.
                                                                                (Ex. D,
                                                                                     D, ¶
                                                                                        ¶ 13;
                                                                                          13;

         compare SAC
         compare     ¶¶ 102-103
                 SAC ¶¶ 102-103 (same
                                (same allegations.))
                                      allegations.))

    •   Melgoza contacted
         Melgoza contacted Dr.
                           Dr. Lisa
                               Lisa Stempel, Chief of
                                    Stempel, Chief of Breast
                                                      Breast Imaging,
                                                             Imaging, regarding
                                                                      regarding the
                                                                                the meeting
                                                                                    meeting

         and also
         and also had her attorney
                  had her attorney contact
                                   contact counsel
                                           counsel for Rush to
                                                   for Rush to confirm
                                                               confirm the
                                                                       the basis
                                                                           basis for
                                                                                 for the
                                                                                     the July 14,
                                                                                         July 14,

         2020 meeting.
         2020 meeting. (Ex.
                       (Ex. D
                            D, ¶¶
                               ¶¶ 13-14;
                                  13-14; compare
                                         compare SAC ¶¶ 104-105
                                                 SAC ¶¶ 104-105 (same
                                                                (same allegations.))
                                                                      allegations.))



                                              7
                                              7
     Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 8 of 157 PageID #:5998




         •   At aa July
              At         10, 2020,
                    July 10, 2020, Cancer
                                   Cancer Center
                                          Center Town Hall meeting,
                                                 Town Hall meeting, Rush
                                                                    Rush stated
                                                                         stated the
                                                                                the RIF
                                                                                    RIF in
                                                                                        in the
                                                                                           the cancer
                                                                                               cancer

              center would
              center would be
                           be minimal.
                              minimal. (Ex.
                                       (Ex. D
                                            D, ¶
                                               ¶ 15;
                                                 15; compare
                                                     compare SAC ¶ 107
                                                             SAC ¶ 107 (same
                                                                       (same allegation.))
                                                                             allegation.))

         •   Ellis informed Melgoza
              Ellis informed Melgoza on
                                     on July 10, 2020,
                                        July 10, 2020, that
                                                       that there
                                                            there was
                                                                  was no
                                                                      no need
                                                                         need to
                                                                              to prepare
                                                                                 prepare anything
                                                                                         anything for
                                                                                                  for

              the July
              the      14, 2020
                  July 14, 2020 meeting.
                                meeting. (Ex.
                                         (Ex. D,
                                              D, ¶
                                                 ¶ 15;
                                                   15; compare
                                                       compare SAC ¶ 108
                                                               SAC ¶ 108 (same
                                                                         (same allegation.))
                                                                               allegation.))

         •   On July
              On      14, 2020,
                 July 14, 2020, Ellis met with
                                Ellis met with Melgoza
                                               Melgoza in
                                                       in aa virtual
                                                             virtual video
                                                                     video conference, with Javette
                                                                           conference, with Javette

              Simmons, HR Generalist,
              Simmons, HR Generalist, and
                                      and terminated
                                          terminated her
                                                     her employment effective July
                                                         employment effective      19, 2020
                                                                              July 19, 2020 due
                                                                                            due to
                                                                                                to

              Rush’s restructuring.
              Rush's restructuring. (Ex.
                                    (Ex. D
                                         D, ¶
                                            ¶ 16;
                                              16; compare
                                                  compare SAC ¶¶ 109-111
                                                          SAC ¶¶ 109-111 (same
                                                                         (same allegations.))
                                                                               allegations.))

         •   Melgoza expressed
              Melgoza           that she
                      expressed that she believed
                                         believed the
                                                  the elimination of her
                                                      elimination of her role was retaliatory.
                                                                         role was retaliatory. (Ex. D,
                                                                                               (Ex. D

              ¶ 17;
              ¶ 17; compare
                    compare SAC ¶ 114
                            SAC ¶ 114 (same
                                      (same allegations.))
                                            allegations.))

         •   Rush offered
              Rush offered Melgoza
                           Melgoza aa severance
                                      severance package
                                                package which
                                                        which would
                                                              would include
                                                                    include aa release of her
                                                                               release of her claims
                                                                                              claims

              against Rush.
              against Rush. (Ex.
                            (Ex. D,
                                 D, ¶
                                    ¶ 18;
                                      18; compare
                                          compare SAC ¶¶ 115-116
                                                  SAC ¶¶ 115-116 (same
                                                                 (same allegations.))
                                                                       allegations.))

         As illustrated
         As illustrated above,
                        above, nearly
                               nearly all
                                      all of
                                          of Melgoza's
                                             Melgoza’s allegations
                                                       allegations in her EEOC
                                                                   in her EEOC charge mirror those
                                                                               charge mirror those

found in
found in pleadings
         pleadings that
                   that she
                        she has
                            has filed
                                filed in this case.
                                      in this case. Some of the
                                                    Some of the allegations
                                                                allegations are
                                                                            are even completely
                                                                                even completely

identical. It
identical.    cannot be
           It cannot be reasonably
                        reasonably disputed
                                   disputed that
                                            that her
                                                 her EEOC
                                                     EEOC charge
                                                          charge is based on
                                                                 is based on the
                                                                             the same
                                                                                 same operative
                                                                                      operative

facts as
facts as the
         the claims in this
             claims in this case.
                            case. Accordingly,
                                  Accordingly, and
                                               and as
                                                   as discussed below, Rush
                                                      discussed below, Rush requests
                                                                            requests that
                                                                                     that the
                                                                                          the Court
                                                                                              Court

stay this
stay this matter
          matter until
                 until 90 days after
                       90 days after Plaintiff
                                     Plaintiff receives
                                               receives aa Notice
                                                           Notice of
                                                                  of Right
                                                                     Right to
                                                                           to Sue
                                                                              Sue in
                                                                                  in connection with her
                                                                                     connection with her

EEOC charge so
EEOC charge so that
               that her
                    her allegations
                        allegations regarding
                                    regarding her
                                              her July 2020 termination
                                                  July 2020 termination may
                                                                        may be
                                                                            be asserted
                                                                               asserted in this
                                                                                        in this

case, or,
case, or, in the alternative,
          in the alternative, grant
                              grant Defendant
                                    Defendant leave
                                              leave to
                                                    to file
                                                       file aa declaratory judgment counterclaim
                                                               declaratory judgment counterclaim

addressing her
addressing her allegations
               allegations concerning
                           concerning the
                                      the termination.
                                          termination.

                                            ARGUMENT
                                            ARGUMENT

I.
I.       The
         The Court is Authorized
             Court is Authorized to
                                 to Stay the Proceedings
                                    Stay the Proceedings Pending Resolution of
                                                         Pending Resolution of Plaintiff’s
                                                                               Plaintiff's
         EEOC
         EEOC Charge.
               Charge.

         “[T]he Court
         "[T]he Court has
                      has ‘broad discretion’ in
                          `broad discretion' in deciding whether to
                                                deciding whether to stay
                                                                    stay proceedings
                                                                         proceedings as
                                                                                     as an
                                                                                        an incident
                                                                                           incident

to its
to its power
       power to
             to control
                control its
                        its own
                            own docket
                                docket consistent with equity,
                                       consistent with equity, judicial
                                                               judicial economy,
                                                                        economy, and
                                                                                 and the
                                                                                     the parties'
                                                                                         parties’

                                                   88
  Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 9 of 157 PageID #:5999




interests.” United
interests."        States Securities
            United States Securities and
                                     and Exchange
                                         Exchange Commission
                                                  Commission v.
                                                             v. Glick, 2019 U.S.
                                                                Glick, 2019 U.S. Dist.
                                                                                 Dist. LEXIS 460
                                                                                       LEXIS 460

at *5
at *5 (N.D.
      (N.D. Ill.
            Ill. Jan. 2, 2019)
                 Jan. 2, 2019) (citing
                               (citing Clinton
                                       Clinton v. Jones, 520
                                               v. Jones,     U.S. 681,
                                                         520 U.S. 681, 706 (1997)); see
                                                                       706 (1997)); see also
                                                                                        also Doe
                                                                                             Doe v.
                                                                                                 v.

City of Chicago,
City of          360 F.
        Chicago, 360 F.Supp.2d  880, 881
                        Supp.2d 880,     (N.D. Ill
                                     881 (N.D. Ill 2005)
                                                   2005) ("The
                                                         (“The court has the
                                                               court has the inherent power to
                                                                             inherent power to stay
                                                                                               stay

civil proceedings...when
civil proceedings…when the
                         the interests of justice
                             interests of justice so
                                                  so dictate.”)
                                                     dictate.")

       This
       This discretion includes the
            discretion includes the ability
                                    ability to
                                            to stay
                                               stay pending
                                                    pending litigation while administrative
                                                            litigation while administrative

proceedings are
proceedings are resolved.
                resolved. See
                          See Jefferson
                              Jefferson v. Ingersoll International
                                        v. Ingersoll International Inc.,
                                                                   Inc., 1999
                                                                         1999 U.S.
                                                                              U.S. Dist.
                                                                                   Dist. LEXIS
                                                                                         LEXIS 7609
                                                                                               7609

at *5-6
at *5-6 (N.D.
        (N.D. Ill. May 20,
              Ill. May 20, 1999)
                           1999) (staying
                                 (staying litigation
                                          litigation pending
                                                     pending resolution of EEOC
                                                             resolution of      proceedings as
                                                                           EEOC proceedings as

doing so
doing so would
         would potentially
               potentially simplify
                           simplify matters
                                    matters and
                                            and spare
                                                spare the
                                                      the parties
                                                          parties the
                                                                  the expense and burden
                                                                      expense and burden of
                                                                                         of

duplicative litigation);
duplicative litigation); Christenson
                         Christenson v. John Zink
                                     v. John Zink Co., LLC, 2007
                                                  Co., LLC, 2007 U.S.
                                                                 U.S. Dist.
                                                                      Dist. LEXIS
                                                                            LEXIS 57544 at *9
                                                                                  57544 at *9 (N.D.
                                                                                              (N.D.

Okla. Aug.
Okla. Aug. 6, 2007) (staying
           6, 2007) (staying litigation
                             litigation under
                                        under the
                                              the Age
                                                  Age Discrimination
                                                      Discrimination in
                                                                     in Employment Act for
                                                                        Employment Act     45
                                                                                       for 45

days or
days or completion
        completion of
                   of EEOC conciliation, reasoning
                      EEOC conciliation, reasoning that
                                                   that "[a]bsent
                                                        “[a]bsent aa stay,
                                                                     stay, defendant
                                                                           defendant will
                                                                                     will have
                                                                                          have to
                                                                                               to

take part
take part in
          in the
             the EEOC
                 EEOC conciliation process and
                      conciliation process and defend
                                               defend itself
                                                      itself in
                                                             in this
                                                                this Court
                                                                     Court at
                                                                           at the
                                                                              the same
                                                                                  same time,
                                                                                       time, which
                                                                                             which

would result
would result in unnecessary expenditures
             in unnecessary expenditures on
                                         on the
                                            the part
                                                part of
                                                     of the
                                                        the litigants and aa waste
                                                            litigants and    waste of
                                                                                   of judicial
                                                                                      judicial

resources.”)
resources.")

       Ultimately, in
       Ultimately,    deciding whether
                   in deciding whether to
                                       to stay
                                          stay an
                                               an action,
                                                  action, courts
                                                          courts consider
                                                                 consider three
                                                                          three factors:
                                                                                factors: "(1)
                                                                                         “(1) whether
                                                                                              whether

aa stay
   stay will
        will unduly
             unduly prejudice
                    prejudice or
                              or tactically
                                 tactically disadvantage
                                            disadvantage the
                                                         the non-moving
                                                             non-moving party,
                                                                        party, (2)
                                                                               (2) whether
                                                                                   whether aa stay
                                                                                              stay will
                                                                                                   will

simplify the
simplify the issues
             issues in question and
                    in question and streamline
                                    streamline the
                                               the trial,
                                                   trial, and
                                                          and (3)
                                                              (3) whether
                                                                  whether aa stay
                                                                             stay will
                                                                                  will reduce
                                                                                       reduce the
                                                                                              the burden
                                                                                                  burden

of litigation
of            on the
   litigation on the parties
                     parties and
                             and on
                                 on the
                                    the court."
                                        court.” Markel
                                                Markel American
                                                       American Ins.
                                                                Ins. Co.
                                                                     Co. v. Dolan, 787
                                                                         v. Dolan, 787 F.Supp.3d
                                                                                       F.Supp.3d

776, 779
776,     (N.D. Ill.
     779 (N.D. Ill. 2011).
                    2011). Here,
                           Here, application
                                 application of
                                             of all
                                                all three
                                                    three factors strongly favors
                                                          factors strongly favors aa stay
                                                                                     stay of
                                                                                          of this
                                                                                             this matter.
                                                                                                  matter.

       A. Plaintiff
       A.           Will Not
          Plaintiff Will Not Be Prejudiced by
                             Be Prejudiced    a Stay
                                           by a Stay of
                                                     of This
                                                        This Matter.
                                                             Matter.

       First, Plaintiff
       First, Plaintiff cannot
                        cannot demonstrate
                               demonstrate that
                                           that she
                                                she will
                                                    will be
                                                         be prejudiced
                                                            prejudiced by
                                                                       by aa stay.
                                                                             stay. It
                                                                                   It is her own
                                                                                      is her own delay
                                                                                                 delay

that now
that now necessitates
         necessitates aa stay.
                         stay. Furthermore,
                               Furthermore, aa stay
                                               stay would
                                                    would appear
                                                          appear to
                                                                 to be
                                                                    be in Plaintiff’s best
                                                                       in Plaintiffs  best interest, as
                                                                                           interest, as




                                                   99
    Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 10 of 157 PageID #:6000




it will
it will enable
        enable her
               her to
                   to indisputably
                      indisputably pursue
                                   pursue her
                                          her termination
                                              termination claims,
                                                          claims, which
                                                                  which could
                                                                        could otherwise
                                                                              otherwise be
                                                                                        be barred
                                                                                           barred on
                                                                                                  on

res judicata
res          grounds.3
    judicata grounds.3

         Under the
         Under the theory
                   theory of
                          of res
                             res judicata,
                                 judicata, "a
                                           “a final
                                              final judgment
                                                    judgment on
                                                             on the
                                                                the merits
                                                                    merits rendered
                                                                           rendered by
                                                                                    by aa court of
                                                                                          court of

competent jurisdiction
competent jurisdiction bars
                       bars any
                            any subsequent
                                subsequent actions
                                           actions between
                                                   between the
                                                           the same
                                                               same parties
                                                                    parties or
                                                                            or their
                                                                               their privies
                                                                                     privies on
                                                                                             on the
                                                                                                the

same cause
same       of action."
     cause of action.” Rose
                       Rose v. Bd. of
                            v. Bd. of Election
                                      Election Comm’rs for the
                                               Comm'rsfor  the City of Chi.,
                                                               City of       815 F.3d
                                                                       Chi., 815 F.3d 372,
                                                                                      372, 374 (7th
                                                                                           374 (7

Cir. 2016).
Cir. 2016).     “[S]eparate claims
                "[S]eparate claims are
                                   are considered
                                       considered the
                                                  the same
                                                      same cause
                                                           cause of
                                                                 of action
                                                                    action for claim-preclusion
                                                                           for claim-preclusion

purposes ‘if
purposes     they arise
         `if they arise from
                        from aa single
                                single group
                                       group of
                                             of operative
                                                operative facts, regardless of
                                                          facts, regardless of whether
                                                                               whether they
                                                                                       they assert
                                                                                            assert

different theories
different theories of
                   of relief.’”
                      relief '" Walczak
                                Walczak v.
                                        v. Chicago Board of
                                           Chicago Board of Education,
                                                            Education, 7390 F.3d 1013,
                                                                       7390 F.3d 1013, 1016-1017
                                                                                       1016-1017

(7th Cir.
(7th Cir. 2014).
          2014). "[T]hat
                 “[T]hat separate
                         separate suits
                                  suits are
                                        are different
                                            different in some respects,
                                                      in some respects, including
                                                                        including the
                                                                                  the legal theories
                                                                                      legal theories

advanced and
advanced and some
             some of
                  of the
                     the facts
                         facts aa claimant
                                  claimant intends
                                           intends to
                                                   to use
                                                      use to
                                                          to prove
                                                             prove its right to
                                                                   its right to relief,
                                                                                relief, is not enough
                                                                                        is not        to
                                                                                               enough to

defeat aa finding
defeat    finding that
                  that two
                       two claims
                           claims rely
                                  rely on
                                       on the
                                          the same
                                              same fundamental
                                                   fundamental facts."
                                                               facts.” Digital
                                                                       Digital Dynamics
                                                                               Dynamics Software,
                                                                                        Software,

Inc. v.
Inc.    Eclipse Gaming
     v. Eclipse        Sys., LLC,
                Gaming Sys., LLC, 2018
                                  2018 U.S.
                                       U.S. Dist.
                                            Dist. LEXIS
                                                  LEXIS 92752 at *21
                                                        92752 at     (N.D. Ill.
                                                                 *21 (N.D. Ill. June 1, 2018)
                                                                                June 1, 2018)

(citing Ross
(citing Ross ex
             ex rel. Ross v.
                rel. Ross    Bd. of
                          v. Bd. of Educ.
                                    Educ. Of
                                          Of Twp. High Sch.
                                             Twp. High Sch. Dist.
                                                            Dist. 211,
                                                                  211, 486
                                                                       486 F.3d
                                                                           F.3d 279,
                                                                                279, 283 (7th Cir.
                                                                                     283 (7th Cir.

2007).
2007).

         For example,
         For example, in
                      in employment
                         employment cases, while "there
                                    cases, while “there may
                                                        may be
                                                            be different phases to
                                                               different phases to an
                                                                                   an employment
                                                                                      employment

action, the
action, the overlap
            overlap of
                    of the
                       the facts
                           facts behind
                                 behind the
                                        the entire sequence calls
                                            entire sequence calls for
                                                                  for common treatment.” King
                                                                      common treatment." King v.
                                                                                              v.

City of Chicago,
City of          2004 U.S.
        Chicago, 2004 U.S. Dist.
                           Dist. LEXIS 1311 at
                                 LEXIS 1311 at *14
                                               *14 (N.D.
                                                   (N.D. Ill. Feb. 2,
                                                         Ill. Feb. 2, 2004)
                                                                      2004) (citing
                                                                            (citing Davis
                                                                                    Davis v.
                                                                                          v. City of
                                                                                             City of

Chicago,
Chicago, 53 F.3d 801,
         53 F.3d 801, 803 (7th Cir.
                      803 (7th Cir. 1995)).
                                    1995)). This
                                            This is because, "[i]t
                                                 is because, “[i]t would
                                                                   would be
                                                                         be silly
                                                                            silly to
                                                                                  to break
                                                                                     break [a]
                                                                                           [a] sequence
                                                                                               sequence

of events
of        into little
   events into little packages
                      packages and
                               and litigate
                                   litigate it twice; once
                                            it twice; once over
                                                           over the
                                                                the interim
                                                                    interim measures
                                                                            measures and
                                                                                     and again
                                                                                         again over
                                                                                               over the
                                                                                                    the

final decision."
fmal  decision.” Id.
                 Id. "Different
                     “Different phases
                                phases of
                                       of the
                                          the same
                                              same basic
                                                   basic dispute
                                                         dispute are
                                                                 are not
                                                                     not separate
                                                                         separate claims.” Id. Indeed,
                                                                                  claims." Id. Indeed,

aa party
   party must
         must bring
              bring in
                    in one
                       one lawsuit “all legal
                           lawsuit "all legal theories
                                              theories arising
                                                       arising out
                                                               out of
                                                                   of the
                                                                      the same
                                                                          same transaction
                                                                               transaction or
                                                                                           or series
                                                                                              series of
                                                                                                     of



3
3 Rather than having Rush incur additional expense moving to dismiss Plaintiff's
                                                                              Plaintiff’s second litigation on res
judicata grounds, it is most economical and in the best interest of all parties to simply resolve her termination
claims in this case.
                                                       10
                                                       10
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 11 of 157 PageID #:6001




transactions.” Kim
transactions." Kim v. Sara Lee
                   v. Sara Lee Bakery
                               Bakery Group, Inc., 412
                                      Group, Inc., 412 F.Supp.
                                                       F.Supp. 2d
                                                               2d 929,
                                                                  929, 941 (N.D. Ill.
                                                                       941 (N.D. Ill. 2006)
                                                                                      2006)

(discussing claim
(discussing       splitting, aa form
            claim splitting,    form aa res judicata that
                                        res judicata that bars
                                                          bars claims
                                                               claims before
                                                                      before aa fmal
                                                                                final judgment
                                                                                      judgment is
                                                                                               is entered).
                                                                                                  entered).

        As detailed
        As detailed above,
                    above, Plaintiffs
                           Plaintiff’s EEOC
                                       EEOC charge
                                            charge and
                                                   and her
                                                       her Complaint
                                                           Complaint rely
                                                                     rely on
                                                                          on the
                                                                             the same
                                                                                 same allegations
                                                                                      allegations

of discrimination
of                and retaliation.
   discrimination and              Moreover, her
                      retaliation. Moreover, her EEOC
                                                 EEOC charge contains the
                                                      charge contains the same
                                                                          same allegations
                                                                               allegations from
                                                                                           from

Plaintiff’s SAC,
Plaintiff's      and Plaintiff
            SAC, and Plaintiff already
                               already informed the Court
                                       informed the Court that
                                                          that the
                                                               the allegations
                                                                   allegations in
                                                                               in her
                                                                                  her SAC are "an
                                                                                      SAC are “an

extension of
extension of the
             the same
                 same underlying
                      underlying facts
                                 facts previously
                                       previously alleged
                                                  alleged [in
                                                          [in the
                                                              the FAC]
                                                                  FAC] and
                                                                       and violative
                                                                           violative of
                                                                                     of the
                                                                                        the same
                                                                                            same

laws.” (Ex.
laws." (Ex. A,
            A, Dkt.
               Dkt. No.
                    No. 213,
                        213, ¶
                             ¶ 24).
                               24). Thus, Plaintiff herself
                                    Thus, Plaintiff herself has
                                                            has recognized
                                                                recognized that
                                                                           that the
                                                                                the allegations
                                                                                    allegations in
                                                                                                in

her EEOC
her      charge stem
    EEOC charge stem from
                     from the
                          the same
                              same operative
                                   operative facts
                                             facts as
                                                   as her
                                                      her Complaint.
                                                          Complaint. As
                                                                     As aa result, under the
                                                                           result, under the

doctrine of
doctrine of res
            res judicata,
                judicata, her
                          her termination
                              termination claims
                                          claims will
                                                 will likely be barred
                                                      likely be barred if not asserted
                                                                       if not asserted herein,
                                                                                       herein, and
                                                                                               and in
                                                                                                   in

any case,
any case, such
          such claims
               claims filed
                      filed in another forum
                            in another forum will
                                             will only
                                                  only waste
                                                       waste judicial
                                                             judicial and
                                                                      and litigant
                                                                          litigant time
                                                                                   time and
                                                                                        and resources.
                                                                                            resources.

        Plaintiff’s assertions
        Plaintiff's assertions that
                               that delay
                                    delay will
                                          will cause prejudice are
                                               cause prejudice are specious.
                                                                   specious. Despite
                                                                             Despite being
                                                                                     being terminated
                                                                                           terminated

in July
in      2020, Plaintiff
   July 2020, Plaintiff waited
                        waited nearly
                               nearly the
                                      the full
                                          full 300
                                               300 days to file
                                                   days to      an EEOC
                                                           file an      charge based
                                                                   EEOC charge based on
                                                                                     on her
                                                                                        her

termination. Had
termination. Had Plaintiff
                 Plaintiff not
                           not waited
                               waited until
                                      until the
                                            the last
                                                last possible
                                                     possible second,
                                                              second, her
                                                                      her EEOC charge could
                                                                          EEOC charge could have
                                                                                            have

been resolved
been          by now,
     resolved by now, as
                      as would
                         would any
                               any discovery and motion
                                   discovery and motion practice
                                                        practice related
                                                                 related to
                                                                         to the
                                                                            the termination
                                                                                termination claims.
                                                                                            claims.

Clearly, Plaintiff
Clearly, Plaintiff has
                   has never
                       never had any real
                             had any      concerns about
                                     real concerns about delay.
                                                         delay. And,
                                                                And, in
                                                                     in any
                                                                        any event, any delay
                                                                            event, any delay has
                                                                                             has

been due
been     to her
     due to     own actions.
            her own actions. As
                             As aa result,
                                   result, she
                                           she cannot claim prejudice.
                                               cannot claim prejudice. See
                                                                       See CE Design, Ltd.
                                                                           CE Design, Ltd. v. King
                                                                                           v. King

Supply Co.,
Supply      LLC, 2012
       Co., LLC, 2012 U.S.
                      U.S. Dist.
                           Dist. LEXIS 101310 at
                                 LEXIS 101310 at *38
                                                 *38 (N.D.
                                                     (N.D. Ill.
                                                           Ill. July 20, 2012)
                                                                July 20, 2012) ("We
                                                                               (“We do
                                                                                    do not
                                                                                       not fmd
                                                                                           find

convincing pleas
convincing pleas of
                 of prejudice
                    prejudice that
                              that are
                                   are the
                                       the [party's]
                                           [party’s] own
                                                     own making");
                                                         making”); Williams
                                                                   Williams v.
                                                                            v. CSX
                                                                               CSX Transportation,
                                                                                   Transportation,

Inc., 2004
Inc., 2004 U.S.
           U.S. Dist.
                Dist. LEXIS 17949 at
                      LEXIS 17949 at *7
                                     *7 (N.D.
                                        (N.D. Ind. Aug. 17,
                                              Ind. Aug. 17, 2004)
                                                            2004) (plaintiff
                                                                  (plaintiff cannot
                                                                             cannot claim
                                                                                    claim prejudice
                                                                                          prejudice

for "a
for “a delay
       delay of
             of his
                his own
                    own making.")
                        making.”) Accordingly,
                                  Accordingly, the
                                               the first
                                                   first factor weighs heavily
                                                         factor weighs heavily in
                                                                               in favor of aa stay.
                                                                                  favor of    stay.

        B. A
        B. A Stay Will Reduce
             Stay Will Reduce the
                              the Burden of the
                                  Burden of the Litigation
                                                Litigation on
                                                           on the
                                                              the Parties
                                                                  Parties and the Court.
                                                                          and the Court.

        Second,
        Second, aa stay
                   stay of
                        of this
                           this matter
                                matter will
                                       will help
                                            help reduce
                                                 reduce the
                                                        the burden
                                                            burden of
                                                                   of this
                                                                      this litigation
                                                                           litigation on
                                                                                      on the
                                                                                         the parties
                                                                                             parties and
                                                                                                     and

the Court.
the Court. If
           If aa stay
                 stay is
                      is not
                         not imposed to permit
                             imposed to permit Plaintiff
                                               Plaintiff to
                                                         to bring
                                                            bring her
                                                                  her termination
                                                                      termination claims
                                                                                  claims into this case;
                                                                                         into this case;

it is
it is clear that she
      clear that she will
                     will try
                          try to
                              to assert
                                 assert them
                                        them in
                                             in aa separate
                                                   separate proceeding.
                                                            proceeding. The
                                                                        The Seventh Circuit has
                                                                            Seventh Circuit has counseled
                                                                                                counseled

                                                    11
                                                    11
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 12 of 157 PageID #:6002




litigants against
litigants against such
                  such tactics
                       tactics and
                               and has
                                   has recognized
                                       recognized that
                                                  that aa terminated
                                                          terminated employee maintaining two
                                                                     employee maintaining two suits
                                                                                              suits

against her
against her former
            former employer
                   employer is an "inefficient
                            is an “inefficient manner
                                               manner of
                                                      of litigation"
                                                         litigation” and
                                                                     and "unduly
                                                                         “unduly burdensome
                                                                                 burdensome to
                                                                                            to

employers.” Hermann
employers." Hermann v.
                    v. Cencom
                       Cencom Cable Assocs., 999
                              Cable Assocs.,     F.2d 223,
                                             999 F.2d 223, 225,
                                                           225, 1993
                                                                1993 U.S.
                                                                     U.S. App.
                                                                          App. LEXIS 17237
                                                                               LEXIS 17237

at *4-6
at      (7th Cir.
   *4-6 (7th Cir. 1993).
                  1993).

        Indeed, under Seventh
        Indeed, under         Circuit precedent,
                      Seventh Circuit precedent, where
                                                 where aa plaintiff
                                                          plaintiff has
                                                                    has already
                                                                        already commenced
                                                                                commenced aa lawsuit
                                                                                             lawsuit

and then
and then later
         later discovers
               discovers aa claim which must
                            claim which must first go through
                                             first go through an
                                                              an administrative
                                                                 administrative process,
                                                                                process, the
                                                                                         the plaintiff
                                                                                             plaintiff

should "request[]
should “request[] that
                  that the
                       the court
                           court postpone
                                 postpone or
                                          or stay
                                             stay the
                                                  the first case. What
                                                      first case. What [s]he
                                                                       [s]he cannot
                                                                             cannot do...is
                                                                                    do…is split
                                                                                            split causes
                                                                                                  causes

of action
of action and
          and use
              use different theories of
                  different theories of recovery
                                        recovery as
                                                 as separate
                                                    separate bases
                                                             bases for
                                                                   for multiple
                                                                       multiple suits."
                                                                                suits.” Brzostowski
                                                                                        Brzostowski v.
                                                                                                    v.

Laidlaw Waste
Laidlaw       Sys., 49
        Waste Sys., 49 F.3d
                       F.3d 337,
                            337, 339 (7th Cir.
                                 339 (7th Cir. 1995);
                                               1995); see
                                                      see also
                                                          also Walczak
                                                               Walczak v.
                                                                       v. Chi. Bd. of
                                                                          Chi. Bd. of Educ.,
                                                                                      Educ., 739
                                                                                             739
                   th
F.3d 1013,
F.3d 1013, 1019
           1019 (7
                (7th  Cir. 2014)
                      Cir. 2014) (stating
                                 (stating that
                                          that plaintiff
                                               plaintiff waiting
                                                         waiting on
                                                                 on aa Notice
                                                                       Notice of
                                                                              of Right
                                                                                 Right to
                                                                                       to Sue from the
                                                                                          Sue from the

EEOC “could have
EEOC "could have requested
                 requested that
                           that the
                                the court
                                    court postpone
                                          postpone or
                                                   or stay
                                                      stay the
                                                           the proceedings
                                                               proceedings until
                                                                           until such
                                                                                 such time
                                                                                      time as
                                                                                           as her
                                                                                              her

EEOC charge was
EEOC charge was resolved…[or]   could have
                resolved...[or] could have asked
                                           asked the
                                                 the EEOC…to   accelerate the
                                                     EEOC...to accelerate the administrative
                                                                              administrative

process.”); Hermann.,
process."); Hermann., 999 F.2d at
                      999 F.2d at 225
                                  225 (noting
                                      (noting that
                                              that the
                                                   the plaintiff
                                                       plaintiff "would
                                                                 “would have
                                                                        have aa very
                                                                                very strong
                                                                                     strong case"
                                                                                            case” for
                                                                                                  for

asking the
asking the court
           court to
                 to stay
                    stay litigation while the
                         litigation while the Title
                                              Title VII
                                                    VII administrative
                                                        administrative process
                                                                       process resolves).
                                                                               resolves). Moreover,
                                                                                          Moreover,

where two
where two cases
          cases "rely
                “rely on
                      on similar
                         similar witnesses"
                                 witnesses” and
                                            and the
                                                the nature
                                                    nature of
                                                           of the
                                                              the facts at issue
                                                                  facts at issue are
                                                                                 are duplicative,
                                                                                     duplicative, aa

stay of
stay of one
        one of
            of the
               the actions
                   actions is especially warranted
                           is especially warranted to
                                                   to "preserve
                                                      “preserve judicial
                                                                judicial resources and reduce
                                                                         resources and        the
                                                                                       reduce the

litigation of
litigation of the
              the parties
                  parties and
                          and the
                              the court."
                                  court.” See
                                          See In
                                              In re
                                                 re Groupon Derivative Litig.,
                                                    Groupon Derivative Litig., 882 F.Supp.2d 1043,
                                                                               882 F.Supp.2d 1043,

1050-1051 (N.D.
1050-1051 (N.D. Ill. 2012).
                Ill. 2012).

        Thus,
        Thus, rather than beginning
              rather than beginning aa new
                                       new in
                                           in aa second
                                                 second proceeding,
                                                        proceeding, the
                                                                    the most
                                                                        most efficient manner to
                                                                             efficient manner to

resolve Plaintiff's
resolve Plaintiff’s termination
                    termination allegations
                                allegations is to include
                                            is to         them in
                                                  include them in this
                                                                  this case.
                                                                       case. As
                                                                             As described
                                                                                described above,
                                                                                          above,

Plaintiff’s Complaint
Plaintiff's Complaint and
                      and her
                          her EEOC charge both
                              EEOC charge both rely
                                               rely on
                                                    on the
                                                       the same
                                                           same allegations,
                                                                allegations, and
                                                                             and both
                                                                                 both cases
                                                                                      cases will
                                                                                            will

involve the
involve the same
            same witnesses.
                 witnesses. Requiring
                            Requiring Rush
                                      Rush to
                                           to duplicate
                                              duplicate its same defenses
                                                        its same defenses in another action
                                                                          in another action and
                                                                                            and

requiring the
requiring the Court
              Court adjudicate
                    adjudicate the
                               the same
                                   same allegations
                                        allegations would
                                                    would be
                                                          be entirely
                                                             entirely burdensome,
                                                                      burdensome, unnecessary,
                                                                                  unnecessary, and
                                                                                               and



                                                  12
                                                  12
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 13 of 157 PageID #:6003




aa waste
   waste of
         of judicial
            judicial resources.
                     resources. Accordingly,
                                Accordingly, the
                                             the second
                                                 second factor also weighs
                                                        factor also weighs in
                                                                           in favor
                                                                              favor of
                                                                                    of aa stay
                                                                                          stay of
                                                                                               of this
                                                                                                  this

matter pending
matter pending resolution
               resolution of
                          of Plaintiffs
                             Plaintiff’s EEOC charge.
                                         EEOC charge.

        C. A Stay
        C. A      Will Simplify
             Stay Will          the Issues
                       Simplify the Issues and
                                           and Streamline
                                               Streamline Trial.
                                                          Trial.

       Finally, aa stay
       Finally,    stay will
                        will simplify
                             simplify the
                                      the issues
                                          issues in
                                                 in this
                                                    this case
                                                         case and
                                                              and streamline
                                                                  streamline any
                                                                             any trial
                                                                                 trial of
                                                                                       of this
                                                                                          this matter.
                                                                                               matter.

Without aa stay
Without    stay of
                of proceedings
                   proceedings and
                               and consolidation of Plaintiff's
                                   consolidation of Plaintiff’s termination
                                                                termination claims
                                                                            claims into
                                                                                   into this
                                                                                        this case, there
                                                                                             case, there

will essentially
will             be two
     essentially be two trials
                        trials regarding
                               regarding overlapping
                                         overlapping periods
                                                     periods of
                                                             of Plaintiffs
                                                                Plaintiff’s employment,
                                                                            employment, with
                                                                                        with the
                                                                                             the first
                                                                                                 first

trial purportedly
trial purportedly focused
                  focused on
                          on Plaintiffs
                             Plaintiff’s demotion and the
                                         demotion and the second
                                                          second on
                                                                 on her
                                                                    her termination.
                                                                        termination. The
                                                                                     The parties
                                                                                         parties are
                                                                                                 are

certain to
certain to dispute
           dispute the
                   the proper
                       proper scope
                              scope of
                                    of Plaintiff's
                                       Plaintiff’s damages
                                                   damages in each case
                                                           in each case and
                                                                        and the
                                                                            the evidence
                                                                                evidence that
                                                                                         that may
                                                                                              may be
                                                                                                  be

considered by
considered by the
              the jury.
                  jury. For
                        For example, in the
                            example, in the first
                                            first trial,
                                                  trial, Rush
                                                         Rush will
                                                              will seek
                                                                   seek to
                                                                        to limit Plaintiff’s recovery
                                                                           limit Plaintiff's recovery to
                                                                                                      to

July 2020 when
July 2020 when she
               she was
                   was lawfully terminated. Rush
                       lawfully terminated. Rush will
                                                 will further seek to
                                                      further seek to bar
                                                                      bar any
                                                                          any evidence
                                                                              evidence that
                                                                                       that would
                                                                                            would

suggest that
suggest that Plaintiff's
             Plaintiff’s termination
                         termination was
                                     was unlawful
                                         unlawful as
                                                  as it would unnecessarily
                                                     it would unnecessarily prejudice
                                                                            prejudice the
                                                                                      the jury.
                                                                                          jury. Given
                                                                                                Given

that Plaintiffs
that Plaintiff’s EEOC
                 EEOC charge
                      charge duplicates the allegations
                             duplicates the allegations from her Complaint,
                                                        from her Complaint, Plaintiff
                                                                            Plaintiff will
                                                                                      will

undoubtedly seek
undoubtedly seek to
                 to use
                    use repeat
                        repeat evidence in each
                               evidence in      trial, which
                                           each trial, which Rush
                                                             Rush will
                                                                  will contest.
                                                                       contest.

       Further, without
       Further, without aa stay,
                           stay, there
                                 there is
                                       is aa risk of inconsistent
                                             risk of inconsistent findings
                                                                  fmdings in  the two
                                                                           in the two proceedings
                                                                                      proceedings given
                                                                                                  given

the factual
the factual overlap.
            overlap. See
                     See Gu
                         Gu v. Bank of
                            v. Bank of Am.,
                                       Am., 2012
                                            2012 U.S.
                                                 U.S. Dist.
                                                      Dist. LEXIS 15281 (N.D.
                                                            LEXIS 15281 (N.D. Ill. Feb. 8,
                                                                              Ill. Feb.    2012)
                                                                                        8, 2012)

(permitting parallel
(permitting parallel proceedings
                     proceedings involving substantially similar
                                 involving substantially similar parties
                                                                 parties and
                                                                         and issues
                                                                             issues "proceed
                                                                                    “proceed to
                                                                                             to

judgment…risks inconsistent
judgment...risks inconsistent outcomes");
                              outcomes”); Rose
                                          Rose v. Hearst Magazines
                                               v. Hearst Magazines Div.,
                                                                   Div., Hearst
                                                                         Hearst Corp.,
                                                                                Corp., 814 F.3d
                                                                                       814 F.3d

491, 493
491,     (7th Cir.
     493 (7th Cir. 1987)
                   1987) (noting
                         (noting that
                                 that "civil
                                      “civil juries
                                             juries must
                                                    must return consistent verdicts"
                                                         return consistent verdicts” and
                                                                                     and the
                                                                                         the Seventh
                                                                                             Seventh

Circuit has
Circuit     reversed cases
        has reversed cases where
                           where inconsistencies
                                 inconsistencies cannot
                                                 cannot be
                                                        be resolved.)
                                                           resolved.) Rather
                                                                      Rather than
                                                                             than having
                                                                                  having to
                                                                                         to litigate
                                                                                            litigate

these complicated
these complicated issues twice, aa stay
                  issues twice,    stay will
                                        will permit
                                             permit the
                                                    the parties
                                                        parties to
                                                                to discuss
                                                                   discuss all
                                                                           all the
                                                                               the claims
                                                                                   claims at
                                                                                          at once
                                                                                             once and
                                                                                                  and

permit the
permit the jury
           jury to
                to consider
                   consider all
                            all relevant
                                relevant evidence related to
                                         evidence related to her
                                                             her demotion
                                                                 demotion and
                                                                          and termination
                                                                              termination at
                                                                                          at the
                                                                                             the same
                                                                                                 same

time. This
time. This is
           is certain
              certain to
                      to be
                         be the
                            the more
                                more streamlined
                                     streamlined and
                                                 and simple
                                                     simple approach.
                                                            approach. Accordingly,
                                                                      Accordingly, because
                                                                                   because the
                                                                                           the

third factor
third        also favors
      factor also favors aa stay
                            stay of
                                 of this
                                    this case,
                                         case, Rush
                                               Rush respectfully
                                                    respectfully requests
                                                                 requests that
                                                                          that the
                                                                               the Court
                                                                                   Court grant
                                                                                         grant its
                                                                                               its Motion
                                                                                                   Motion

and stay
and stay this
         this matter
              matter until
                     until 90 days after
                           90 days after Plaintiff
                                         Plaintiff receives
                                                   receives aa Notice
                                                               Notice of
                                                                      of Right
                                                                         Right to
                                                                               to Sue.
                                                                                  Sue.

                                                   13
                                                   13
    Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 14 of 157 PageID #:6004




II.
II.       Defendant Alternatively
          Defendant Alternatively Requests
                                  Requests Leave
                                           Leave to
                                                 to File a Counterclaim.
                                                    File a Counterclaim.

          In the event
          In the       the Court
                 event the Court does
                                 does not
                                      not grant
                                          grant the
                                                the requested
                                                    requested stay,
                                                              stay, Rush
                                                                    Rush alternatively
                                                                         alternatively requests
                                                                                       requests leave to
                                                                                                leave to

file aa counterclaim
file    counterclaim for
                     for declaratory relief. Specifically,
                         declaratory relief.               and as
                                             Specifically, and as reflected in its
                                                                  reflected in its proposed counterclaim 4
                                                                                   proposed counterclaim4

attached in
attached in Exhibit
            Exhibit E, Defendant’s counterclaim
                    E, Defendant's counterclaim will
                                                will ask
                                                     ask this
                                                         this Court
                                                              Court for
                                                                    for aa declaration
                                                                           declaration that
                                                                                       that Plaintiff
                                                                                            Plaintiff’s
                                                                                                     s

termination claims
termination claims may
                   may not
                       not proceed
                           proceed in
                                   in aa separate
                                         separate action,
                                                  action, as
                                                          as they
                                                             they will
                                                                  will be
                                                                       be barred
                                                                          barred by
                                                                                 by the
                                                                                    the doctrine
                                                                                        doctrine of
                                                                                                 of

res judicata
res judicata and
             and impermissible claim splitting
                 impermissible claim splitting if
                                               if not
                                                  not asserted
                                                      asserted herein.
                                                               herein.

          Under Federal
          Under Federal Rule
                        Rule of
                             of Civil
                                Civil Procedure
                                      Procedure 15(a)(2),
                                                15(a)(2), aa party
                                                             party may
                                                                   may amend
                                                                       amend its pleadings with
                                                                             its pleadings with leave
                                                                                                leave

of court.
of court. "Courts
          “Courts have
                  have interpreted
                       interpreted [Rule 15] liberally,
                                   [Rule 15] liberally, in
                                                        in furtherance of the
                                                           furtherance of the goal
                                                                              goal of
                                                                                   of the
                                                                                      the Federal
                                                                                          Federal Rules
                                                                                                  Rules

to resolve
to resolve disputes
           disputes on
                    on the
                       the merits
                           merits and
                                  and in
                                      in aa single
                                            single judicial
                                                   judicial proceeding
                                                            proceeding wherever
                                                                       wherever possible."
                                                                                possible.” Jupiter
                                                                                           Jupiter

Aluminum Corp.
Aluminum Corp. v. Home Ins.
               v. Home Ins. Co., 181 F.R.D.
                            Co., 181 F.R.D. 605, 609 (N.D.
                                            605, 609 (N.D. Ill.
                                                           Ill. 1998)
                                                                1998) (citing
                                                                      (citing Foman
                                                                              Foman v. Davis,
                                                                                    v. Davis,

371 U.S.
371 U.S. 178,
         178, 181-182
              181-182 (1962)).
                      (1962)). Where
                               Where aa deadline
                                        deadline to
                                                 to amend
                                                    amend the
                                                          the pleadings
                                                              pleadings has
                                                                        has passed,
                                                                            passed, "the
                                                                                    “the Court
                                                                                         Court

may modify
may modify aa case's
              case’s existing
                     existing schedule
                              schedule for
                                       for ‘good cause’…Indeed,
                                           `good cause'            district courts
                                                        ...Indeed, district courts are
                                                                                   are vested
                                                                                       vested with
                                                                                              with

broad discretion
broad discretion over
                 over case
                      case scheduling."
                           scheduling.” Travelers Prop. Cas.
                                        Travelers Prop. Cas. Co. of Am.
                                                             Co. of Am. V. Dish Network,
                                                                        V. Dish Network, LLC,
                                                                                         LLC,

2016 U.S.
2016 U.S. Dist.
          Dist. LEXIS
                LEXIS 38516 at *
                      38516 at * 55 (C.D.
                                    (C.D. Ill. Mar. 24,
                                          Ill. Mar. 24, 2016)
                                                        2016) (citing
                                                              (citing Fed.
                                                                      Fed. R.
                                                                           R. Civ.
                                                                              Civ. P.
                                                                                   P. 16(b)(4)
                                                                                      16(b)(4) and
                                                                                               and

Jones v.
Jones v. Coleman
         Coleman Co., 39 F.3d
                 Co., 39 F.3d 749,
                              749, 753 (7th Cir.
                                   753 (7th Cir. 1994)).
                                                 1994)). In
                                                         In determining
                                                            determining whether
                                                                        whether good cause exists,
                                                                                good cause exists,

“the primary
"the primary consideration
             consideration for
                           for district courts is
                               district courts is the
                                                  the diligence
                                                      diligence of
                                                                of the
                                                                   the party
                                                                       party seeking
                                                                             seeking amendment."
                                                                                     amendment.”

Alioto v.
Alioto v. Town of Lisbon,
          Town of Lisbon, 651 F.3d 715,
                          651 F.3d          (7th Cir.
                                        720 (7th
                                   715, 720      Cir. 2016).
                                                      2016).

          Here, good
          Here, good cause
                     cause supports
                           supports permitting
                                    permitting Rush
                                               Rush to
                                                    to file its counterclaim
                                                       file its counterclaim for declaratory relief.
                                                                             for declaratory relief.

Since the Court
Since the Court rendered
                rendered its
                         its summary
                             summary judgment
                                     judgment decision,
                                              decision, Rush
                                                        Rush has
                                                             has been
                                                                 been actively
                                                                      actively trying
                                                                               trying to
                                                                                      to determine
                                                                                         determine

whether Melgoza
whether Melgoza intended
                intended to
                         to pursue
                            pursue additional
                                   additional claims
                                              claims based
                                                     based on
                                                           on her
                                                              her July 2020 termination.
                                                                  July 2020 termination. Rush
                                                                                         Rush

only recently
only recently received confirmation that
              received confirmation that Melgoza
                                         Melgoza intends to pursue
                                                 intends to pursue her termination claims
                                                                   her termination claims in
                                                                                          in aa

separate action
separate action and
                and received
                    received aa copy
                                copy of
                                     of her
                                        her EEOC charge for
                                            EEOC charge     the first
                                                        for the first time
                                                                      time on
                                                                           on April
                                                                              April 30,
                                                                                    30, 2021
                                                                                        2021 from
                                                                                             from



4
4                         Rush’s proposed Amended Answer and Counterclaim is attached as Exhibit F
    A redlined version of Rush's
                                                    14
                                                    14
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 15 of 157 PageID #:6005




her counsel.
her          See Ex.
    counsel. See Ex. C.
                     C. Upon
                        Upon reviewing
                             reviewing the
                                       the allegations
                                           allegations therein
                                                       therein and
                                                               and confirming
                                                                   confirming that
                                                                              that they
                                                                                   they are
                                                                                        are the
                                                                                            the

same as
same as those
        those asserted
              asserted in
                       in this
                          this case, Rush has
                               case, Rush has now
                                              now promptly
                                                  promptly moved
                                                           moved to
                                                                 to assert
                                                                    assert its
                                                                           its counterclaim
                                                                               counterclaim for
                                                                                            for

declaratory relief.
declaratory relief. Rush's
                    Rush’s diligence
                           diligence demonstrates
                                     demonstrates good cause to
                                                  good cause to permit
                                                                permit the
                                                                       the requested amendment.
                                                                           requested amendment.

       Moreover, the
       Moreover, the requested amendment will
                     requested amendment will enable
                                              enable the
                                                     the parties
                                                         parties to
                                                                 to resolve
                                                                    resolve their
                                                                            their ongoing
                                                                                  ongoing dispute
                                                                                          dispute

regarding whether
regarding whether Plaintiff
                  Plaintiff may
                            may file
                                file claims relating to
                                     claims relating to her
                                                        her July 2020 termination
                                                            July 2020 termination separately
                                                                                  separately from
                                                                                             from

this action.
this action. See
             See Klinger
                 Klinger v.
                         v. Conan Doyle Estate,
                            Conan Doyle Estate, Ltd.,
                                                Ltd., 988 F.Supp.2d 879,
                                                      988 F.Supp.2d 879, 885 (N.D. Ill.
                                                                         885 (N.D. Ill. 2013)
                                                                                        2013) ("[t]he
                                                                                              (“[t]he

Declaratory Judgment
Declaratory          Act…authorizes aa federal
            Judgment Act...authorizes  federal court ]i]n aa case
                                               court ]i]n         of actual
                                                             case of actual controversy
                                                                            controversy within
                                                                                        within its
                                                                                               its

jurisdiction’ to
jurisdiction' to ‘declare the rights
                 `declare the rights and
                                     and other
                                         other legal
                                               legal relations of any
                                                     relations of any interested party seeking
                                                                      interested party seeking such
                                                                                               such

declaration.’”) To
declaration.")  To date, the parties
                   date, the parties remain
                                     remain on
                                            on opposite
                                               opposite sides
                                                        sides of
                                                              of this
                                                                 this question.
                                                                      question. The requested
                                                                                The requested

declaratory relief
declaratory relief will
                   will therefore
                        therefore enable
                                  enable them
                                         them to
                                              to resolve
                                                 resolve their
                                                         their dispute and then
                                                               dispute and then focus on the
                                                                                focus on the allegations
                                                                                             allegations

in this
in this case.
        case. Accordingly,
              Accordingly, Rush
                           Rush respectfully
                                respectfully submits
                                             submits that
                                                     that good
                                                          good cause
                                                               cause exists to permit
                                                                     exists to permit it
                                                                                      it to
                                                                                         to file an
                                                                                            file an

amended Answer
amended Answer asserting
               asserting aa counterclaim
                            counterclaim for
                                         for declaratory
                                             declaratory relief
                                                         relief in the event
                                                                in the event aa stay
                                                                                stay is
                                                                                     is not
                                                                                        not granted.
                                                                                            granted.

                                           CONCLUSION
                                           CONCLUSION

        For the
        For the foregoing reasons, Defendant
                foregoing reasons, Defendant Rush
                                             Rush University
                                                  University Medical
                                                             Medical Center
                                                                     Center respectfully
                                                                            respectfully requests
                                                                                         requests

that the
that the Court
         Court order
               order aa stay
                        stay of
                             of the
                                the present
                                    present proceedings
                                            proceedings until
                                                        until 90 days after
                                                              90 days after Plaintiff
                                                                            Plaintiff receives
                                                                                      receives aa copy
                                                                                                  copy of
                                                                                                       of

aa Notice
   Notice of
          of Right
             Right to
                   to Sue
                      Sue from the EEOC
                          from the      in connection
                                   EEOC in connection with
                                                      with her
                                                           her pending
                                                               pending EEOC
                                                                       EEOC charge.
                                                                            charge.

Alternatively, Rush
Alternatively, Rush requests that the
                    requests that the Court
                                      Court grant
                                            grant it
                                                  it leave to amend
                                                     leave to amend to
                                                                    to assert
                                                                       assert aa counterclaim
                                                                                 counterclaim for
                                                                                              for

declaratory relief.
declaratory relief.

Dated: May
Dated: May 7, 2021
           7, 2021                                      Respectfully submitted,
                                                        Respectfully submitted,

                                                        RUSH UNIVERSITY
                                                        RUSH UNIVERSITY MEDICAL
                                                                        MEDICAL CENTER
                                                                                CENTER

                                                        /s/
                                                        /s/ Jane  M. McFetridge
                                                            Jane M.   McFetridge
                                                        One of
                                                        One   of Its Attorneys
                                                                 Its Attorneys

Jane M. McFetridge
Jane M. McFetridge (ARDC
                   (ARDC No.
                          No. 6201580)
                              6201580)
Audrey Olson
Audrey  Olson Gardner
              Gardner (ARDC
                      (ARDC No.
                            No. 6337084)
                                 6337084)
JACKSON
JACKSON LEWIS     P.C.
           LEWIS P.C.
150 North
150 North Michigan
          Michigan Avenue,
                   Avenue, Suite 2500
                           Suite 2500

                                                   15
                                                   15
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 16 of 157 PageID #:6006




Chicago, Illinois
Chicago,  Illinois 60601
                   60601
Tel.: 312.787.4949
Tel.: 312.787.4949
Jane.McFetridge@jacksonlewis.com
Jane.McFetridge@jacksonlewis.com
Audrey.Gardner@jacksonlewis.com
Audrey.Gardner@jacksonlewis.com




                                        16
                                        16
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 17 of 157 PageID #:6007




                                 CERTIFICATE OF
                                 CERTIFICATE OF SERVICE
                                                SERVICE

       The undersigned, an
       The undersigned, an attorney,
                           attorney, certifies
                                     certifies that
                                               that on
                                                    on May
                                                       May 7, 2021, she
                                                           7, 2021, she caused
                                                                        caused aa true
                                                                                  true and
                                                                                       and correct
                                                                                           correct

copy of
copy of the
        the foregoing
            foregoing Defendant's
                      Defendant’s Motion
                                  Motion for
                                         for Stay
                                             Stay of
                                                  of Proceedings,
                                                     Proceedings, or
                                                                  or Alternatively,
                                                                     Alternatively, For
                                                                                    For Leave
                                                                                        Leave to
                                                                                              to

File Counterclaim
File              to be
     Counterclaim to be filed with the
                        filed with the Clerk
                                       Clerk of
                                             of the
                                                the Court
                                                    Court using
                                                          using the
                                                                the CM/ECF
                                                                    CM/ECF system.
                                                                           system. Notice
                                                                                   Notice of
                                                                                          of this
                                                                                             this

filing will be
filing will be sent
               sent to
                    to counsel
                       counsel of
                               of record via the
                                  record via the Court's
                                                 Court’s electronic filing system.
                                                         electronic filing system. Parties
                                                                                   Parties may
                                                                                           may access
                                                                                               access

this filing
this filing through
            through the
                    the Court's
                        Court’s system.
                                system.


                                                             /s/
                                                             /s/ Jane M. McFetridge
                                                                 Jane M. McFetridge
       4821-3351-4983, v. 7




                                                 17
                                                 17
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 18 of 157 PageID #:6008




                      EXHIBIT
                        A
  Case:
   Case:1:17-cv-06819 Document
          1:17-cv-06819 Document
                               #:#:
                                  239
                                    213
                                      Filed:
                                        Filed:
                                             05/07/21 Page
                                               07/15/20 Page
                                                           1911of
                                                                of157
                                                                   9 PageID
                                                                      PageID
                                                                     PagelD   #:6009
                                                                            #:5882




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

NORMA MELGOZA,                                       )
                                                     )
                        Plaintiff,                   ) Case No. 17-cv-6819
                                                     )
   vv..                                              ) Honorable Mary M. Rowland
                                                     ) Honorable Gabriel A. Fuentes
RUSH UNIVERSITY MEDICAL CENTER,                      )
                                                     ) Jury Trial Demanded
                 Defendant.                          )

               MOTION FOR LEAVE TO FILE SECOND AMENDED COMPLAINT

                                   (“Plaintiff” or "Melgoza"),
          Plaintiff, Norma Melgoza ("Plaintiff'    “Melgoza”), by and through her attorneys, Ashley

L. Orler, Rebekah S. Mintzer, and M. Elysia Baker of Golan Christie Taglia LLP, respectfully

moves this Honorable Court, pursuant to Fed. R. Civ. P 15(a)(2), for leave to file her Second

                                    Rush University
Amended Complaint against Defendant Rush University Medical
                                                    Medical Center
                                                            Center ("Defendant"
                                                                   (“Defendant” or
                                                                                or "Rush").
                                                                                   “Rush”).

In support thereof, Plaintiff states as follows:

                                     PROCEDURAL HISTORY

          1.     On September 21, 2017, Plaintiff filed her initial Complaint against Rush. [Dkt.

                                                     Rush, Plaintiff's
No. 1.] Counts I and II of the Complaint allege that Rush, Plaintiff’s now-former employer,

discriminated and retaliated against Melgoza on the basis of her gender and violated the Equal Pay

                                                    (“EPA”), by paying Melgoza wages at a rate
Act of 1963 as amended, 29 U.S.C. § 206(d), et seq. ("EPA"),

less than the rate at which it pays male employees performing substantially equal work. Counts III

and IV
    W alleged that Rush discriminated and retaliated against Melgoza on the basis of her gender

and national origin, Mexican-American, in violation of Title VII of the Civil Rights Act of 1964 as

                                    (“Title VII").
amended, 42 U.S.C. § 2000e, et seq. ("Title VII”). Count V alleged a hostile work environment

claim under Title VII against Rush.
  Case:
   Case:1:17-cv-06819 Document
          1:17-cv-06819        #:#:
                        Document  239
                                    213
                                      Filed: 05/07/21
                                        Filed:        Page
                                               07/15/20    202of
                                                        Page   of157
                                                                   PageID
                                                                     PageID
                                                                 9 PagelD   #:6010
                                                                          #:5883




          2.     Plaintiff thereafter requested, and this Court granted, leave to file an Amended

Complaint, which added one additional count (Count VI) alleging violations of the Illinois Human

           (“IHRA”). [Dkt. Nos. 40-42.]
Rights Act ("IHRA").

          3.     On July 24, 2018, Plaintiff filed her Amended Complaint. [Dkt. No. 43.] On

August 7, 2018, Rush filed its Answer and Affirmative Defenses to the Amended Complaint.

[Dkt. No. 45.]

          4.     On November 15, 2019, Rush filed its Motion for Summary Judgment seeking

judgment and
judgment and dismissal of all
             dismissal of all counts of Plaintiffs
                              counts of Plaintiff’s Amended
                                                    Amended Complaint.
                                                            Complaint. [See
                                                                       [See Dkt. Nos. 150-152.]

                       briefed Rush's
The parties have fully briefed Rush’s Motion for Summary Judgment and are currently awaiting a

ruling from this Court. [See Dkt. Nos. 166-168, 193-194, 198, 201, 203.]

                                   FACTUAL BACKGROUND

          5.     The precipitating event giving rise to this litigation is Rush's so-called
                                                                           Rush’s so-called

“elimination” of
"elimination" of Plaintiffs
                 Plaintiff’s position
                             position as
                                      as an
                                         an Associate
                                            Associate Vice
                                                      Vice President
                                                           President in June 2016. (See Am. Compl.

       As alleged
¶ 44.) As
¶         alleged in
                  in Plaintiffs
                     Plaintiff’s Amended
                                 Amended Complaint,
                                         Complaint, Plaintiff was demoted two levels down to a

position of
position of "Director"
            “Director” at
                       at Rush.
                          Rush. (Id.)

          6.        set forth
                 As set       in Plaintiff's
                        forth in Plaintiff’s Complaint and her Response
                                                               Response to
                                                                        to Rush's
                                                                           Rush’s Motion
                                                                                  Motion for
                                                                                         for

                  Rush’s proffered
Summary Judgment, Rush's proffered reason
                                   reason for
                                          for its
                                              its decision
                                                  decision to
                                                           to "eliminate"
                                                              “eliminate” Plaintiff's position is
                                                                          Plaintiff’s position

false and pretext for an unlawful discriminatory and retaliatory demotion. (See, e.g., Am. Compl.

¶¶ 44-59.)
          7.     Throughout this litigation, Plaintiff continued to work for Rush in the lower

Director position, and has received overwhelmingly positive performance evaluations during this

period.

          8.     On July 14, 2020, without warning, Rush informed Plaintiff that her Director

position had been eliminated, abruptly terminating her employment effective July 19, 2020.

                                                 2
  Case:
   Case:1:17-cv-06819 Document
          1:17-cv-06819        #:#:
                        Document  239
                                    213
                                      Filed: 05/07/21
                                        Filed:        Page
                                               07/15/20    213of
                                                        Page   of157
                                                                   PageID
                                                                     PageID
                                                                 9 PagelD   #:6011
                                                                          #:5884




        9.      The circumstances of
                The circumstances of Plaintiff's
                                     Plaintiff’s recent termination indicate that, again, Rush's
                                                                                          Rush’s

proffered reason for its adverse action is false and pretext for unlawful retaliation.

        10.     In 2019 and 2020, Rush added multiple positions to its Cancer Center, including

Katharine Struck,
Katharine         Chief Administrative
          Struck, Chief Administrative Officer;
                                       Officer; Joshua
                                                Joshua Ellis (“Ellis”), Associate
                                                       Ellis ("Ellis"), Associate Vice
                                                                                  Vice President
                                                                                       President of
                                                                                                 of

Operations in Cancer Center; and Elizabeth Cozzi, Director of Cancer Center, which is a similar

title as
title as Melgoza's
         Melgoza’s title.
                   title.

        11.     In her position as Director, Melgoza has been instrumental during the COVID-19

pandemic in assisting Rush in implementing cost containment initiatives and other patient care

                             Melgoza was
solutions across the system. Melgoza was aa member
                                            member of
                                                   of Rush's
                                                      Rush’s COVID-19
                                                             COVID-19 Pandemic Mobilization

Team and worked multiple shifts during the week and weekends on the inpatient floors to educate

staff on the use of personal protective (PPE) gear, transport of patients, handling of lab samples,

and implementation of other safety protocols.

        12.     During the COVID-19 pandemic, Melgoza also continued to expand and stabilize

patient care, implement new technologies in breast imaging, and introduced novel therapies in

cellular therapy for patients with complex cancers.

        13.                                   Melgoza’s supervisor,
                During the COVID-19 pandemic, Melgoza's supervisor, Ellis, informed Melgoza

                              one of
that Rush would be laying off one of Melgoza's
                                     Melgoza’s direct
                                               direct reports,
                                                      reports, Sharon D. Brown-Elms ("Bown-
                                                                                    (“Bown-

Elms”), Administrator of
Elms"), Administrator of Breast
                         Breast Imaging,
                                Imaging, as part of a reduction in force due to the COVID-19

pandemic. While there was a previous attempt by Rush to eliminate Brown-Elms prior to the

pandemic, Ellis paused moving forward with the termination of Brown-Elms.

        14.     On July 10, 2020, Ellis informed Melgoza that Rush would notify Brown-Elms at

9:00 a.m. on July 14, 2020 that her employment at Rush would be terminated. Ellis stated that he

did not need Melgoza to attend the meeting and that he would be informing Brown-Elms about the

termination.

                                                   3
 Case:
  Case:1:17-cv-06819 Document
         1:17-cv-06819        #:#:
                       Document  239
                                   213
                                     Filed: 05/07/21
                                       Filed:        Page
                                              07/15/20    224of
                                                       Page   of157
                                                                  PageID
                                                                    PageID
                                                                9 PagelD   #:6012
                                                                         #:5885




       15.                                                  Rush’s decision
              By sharing the information with Melgoza about Rush's decision to
                                                                            to terminate
                                                                               terminate the
                                                                                         the

employment of
employment of Melgoza's
              Melgoza’s direct report, Brown-Elms, Rush implied to Melgoza that her

employment at Rush would not be impacted by the planned termination of Brown-Elms'
                                                                       Brown-Elms’

employment.

       16.     On July 10, 2020, after notifying Melgoza of the planned meeting with Brown-

Elms at 9:00 a.m. on July 14, 2020, Ellis sent Melgoza an electronic calendar invitation for a

meeting between Ellis and Melgoza at 9:45 a.m. on July 14, 2020.

       17.     After receiving
               After receiving Ellis’
                               Ellis' electronic
                                      electronic calendar invitation for
                                                 calendar invitation for aa meeting
                                                                            meeting on July 14, 2020,

on July 10, 2020, Melgoza asked Ellis to explain the topic of and whether she needed to prepare

anything for the meeting scheduled by Ellis at 9:45 a.m. on July 14, 2020.

       18.     Melgoza also reached out to Dr. Lisa Stempel, Chief of Breast Imaging at Rush,

and Dr. Paula Grabler, Breast Imaging Medical Director at Rush Oak Park, and informed them

about the meeting with Ellis scheduled for July 14, 2020 and shared her concern that Ellis would

be terminating
be terminating Melgoza's
               Melgoza’s employment at that
                         employment at that meeting.
                                            meeting. Both
                                                     Both doctors
                                                          doctors responded that Melgoza's
                                                                  responded that Melgoza’s

employment would not be terminated.

       19.     After Melgoza
               After Melgoza received
                             received Ellis’ electronic calendar
                                      Ellis' electronic calendar invitation
                                                                 invitation for
                                                                            for aa meeting
                                                                                   meeting on
                                                                                           on July
                                                                                              July

14, 2020, on July 10, 2020, counsel for Melgoza contacted counsel for Rush and asked Rush to

confirm the basis for the meeting scheduled by Ellis with Melgoza at 9:45 a.m. on July 14, 2020.

       20.     Counsel for Rush never provided any information regarding the basis for the

meeting scheduled by Ellis with Melgoza at 9:45 a.m. on July 14, 2020.

       21.     At a July 10, 2020 Cancer Center town hall meeting among certain Rush

employees, including Melgoza, Rush Medical Director of the Cancer Center, Dr. Mia Levy, stated

                                                 positions at
that the reduction in force in the Cancer Center positions at Rush
                                                              Rush "are
                                                                   “are minimal"
                                                                        minimal” and
                                                                                 and "very
                                                                                     “very small."
                                                                                           small.”



                                                 4
  Case:
   Case:1:17-cv-06819 Document
          1:17-cv-06819        #:#:
                        Document  239
                                    213
                                      Filed: 05/07/21
                                        Filed:        Page
                                               07/15/20    235of
                                                        Page   of157
                                                                   PageID
                                                                     PageID
                                                                 9 PagelD   #:6013
                                                                          #:5886




        22.    Later in the
               Later in the day
                            day on
                                on July 10, 2020,
                                   July 10, 2020, Ellis
                                                  Ellis sent
                                                        sent an
                                                             an email
                                                                email to
                                                                      to Melgoza
                                                                         Melgoza stating,
                                                                                 stating, in part, "I
                                                                                          in part, “I

wanted to touch base after I meet with [Brown-Elms]. There’s no need
                                                     There's no need to
                                                                     to prepare
                                                                        prepare anything
                                                                                anything [for
                                                                                         [for the

July 14, 2020
July 14, 2020 meeting]."
              meeting].” Ellis’ response was untrue and misleading.
                         Ellis' response

        23.    On July 14, 2020 at 9:45 a.m., Melgoza met via virtual video conference with Ellis,

and Melgoza
and Melgoza was
            was surprised
                surprised to
                          to see
                             see that
                                 that Javette
                                      Javette Simmons (“Simmons”), Rush
                                              Simmons ("Simmons"), Rush HR
                                                                        HR Generalist, was
                                                                           Generalist, was

also at the virtual video conference.

        24.                                                          eliminating Melgoza's
               Without warning, Ellis informed Melgoza that Rush was eliminating Melgoza’s

Director position effective July 19, 2020.

        25.    Similar to Rush's
               Similar to Rush’s "elimination"
                                 “elimination” of
                                               of Melgoza's
                                                  Melgoza’s Associate Vice President position

(demotion) in
(demotion) in 2016,
              2016, Melgoza
                    Melgoza was
                            was told
                                told by
                                     by Ellis that her
                                        Ellis that her termination
                                                       termination was
                                                                   was due
                                                                       due to
                                                                           to the
                                                                              the Company's
                                                                                  Company’s

              of its
restructuring of     management positions.
                 its management positions. Ellis added that
                                           Ellis added that Rush
                                                            Rush was
                                                                 was "top
                                                                     “top heavy."
                                                                          heavy.”

                                             ARGUMENT

        26.    Rush’s proffered
               Rush's proffered justification
                                justification for
                                              for Melgoza's
                                                  Melgoza’s termination
                                                            termination is
                                                                        is false and pretext
                                                                           false and pretext for
                                                                                             for

unlawful retaliation in
                     in response to Melgoza's
                        response to Melgoza’s complaints
                                              complaints (including the instant
                                                         (including the         litigation) of
                                                                        instant litigation)

discrimination, harassment, unequal pay and retaliation.

        27.    Given the series of events outlined above, the instant litigation and allegations

contained therein, and the fact Rush selected Melgoza for termination among these 13,000

          – the only Mexican-American woman in a position of leadership at Rush who has been
employees —

integral to
integral to Rush's
            Rush’s response
                   response to
                            to the
                               the current
                                   current pandemic
                                           pandemic and
                                                    and continuing work in complex and

profitable cancer departments -– Rush's
                                 Rush’s decision to terminate
                                        decision to terminate Melgoza's
                                                              Melgoza’s employment
                                                                        employment is
                                                                                   is illegal
                                                                                      illegal

retaliation.

        28.    Accordingly, Plaintiff now seeks leave to amend her Amended Complaint to

include allegations regarding her recent termination. Namely, that there is a causal link between



                                                 5
  Case:
   Case:1:17-cv-06819 Document
          1:17-cv-06819        #:#:
                        Document  239
                                    213
                                      Filed: 05/07/21
                                        Filed:        Page
                                               07/15/20    246of
                                                        Page   of157
                                                                   PageID
                                                                     PageID
                                                                 9 PagelD   #:6014
                                                                          #:5887




                                                                              and Rush's
Plaintiff engaging in the protected activity alleged in her Amended Complaint and Rush’s recent
                                                                                         recent

“elimination” of
"elimination" of her
                 her position.
                     position.

       29.      A copy
                A      of Plaintiffs
                  copy of Plaintiff’s proposed
                                      proposed Second Amended Complaint
                                               Second Amended Complaint is
                                                                        is attached
                                                                           attached hereto
                                                                                    hereto as
                                                                                           as

Exhibit A. Exhibit A is in redline format, without exhibits (which remain unchanged), showing

                                  Amended Complaint.
                      Plaintiff’s Amended
the proposed edits to Plaintiff's         Complaint.

       30.      Leave to amend pleadings prior to trial should be freely given when justice so

          Fed. R.
requires. Fed. R. Civ.
                  Civ. P.
                       P. 15(a)(2).
                          15(a)(2). "This
                                    “This liberal policy of granting amendments is based in part on

the belief that decisions on the merits should be made whenever possible, absent countervailing

considerations.” Gregg Communications Systems, Inc. v. American Tel. and Tel. Co., 98 F.R.D.
considerations."

715, 720 (N.D. Ill. 1983).

       31.      As set
                As set forth by the
                       forth by the U.S.
                                    U.S. Supreme Court, "[i]n
                                         Supreme Court, “[i]n the
                                                              the absence
                                                                  absence of
                                                                          of any
                                                                             any apparent
                                                                                 apparent or
                                                                                          or

declared reason—such as undue delay, bad faith or dilatory motive on the part of the movant,

repeated failure to cure deficiencies by amendments previously allowed, undue prejudice to the

opposing party by virtue of allowance of the amendment, futility of amendment, etc.—the leave

                  the [Federal
sought should, as the          Rules of
                      [Federal Rules of Civil
                                        Civil Procedure]
                                              Procedure] require,
                                                         require, be
                                                                  be freely given.” Foman v.
                                                                     freely given."

Davis, 371 U.S. 178, 182 (1962) (quotation and citation omitted).

       32.      In order to determine whether an amendment would cause undue prejudice to the

adverse party, the court balances the interests of the parties. Telewizja Polska USA, Inc. v.

Echostar Satellite Corp., 02 C 3293, 2004 WL 2005808, at *3 (N.D. Ill. Sept. 3, 2004) (granting

                                                                            “the hardship
Plaintiff leave to file a third amended complaint). These interests include "the hardship to
                                                                                          to the
                                                                                             the

moving party if leave to amend is denied, the reasons for the moving party for its failure to add the

new allegations in the initial pleading, and the injustice to the adverse party if leave to amend were

granted.” Id.
granted."



                                                  6
 Case:
  Case:1:17-cv-06819 Document
         1:17-cv-06819        #:#:
                       Document  239
                                   213
                                     Filed: 05/07/21
                                       Filed:        Page
                                              07/15/20    257of
                                                       Page   of157
                                                                  PageID
                                                                    PageID
                                                                9 PagelD   #:6015
                                                                         #:5888




       33.     This Motion will not cause prejudice to any party. Significantly, the new

                                                                             “eliminate” Plaintiffs
allegations are not a surprise to Rush, as it is well aware that it chose to "eliminate" Plaintiff’s

position and knew of its decision before Plaintiff did. There can be no credible argument that the

facts surrounding
facts surrounding Plaintiffs
                  Plaintiff’s termination
                              termination are
                                          are somehow unknown to Rush or otherwise require

additional investigation by the Defendant.

       34.             though Plaintiffs
               Second, though Plaintiff’s Second Amended Complaint incorporates new
                                          Second Amended

allegations, it does not raise new claims that were not addressed in her prior complaints. As

alleged in the proposed Second Amended Complaint, her July 14, 2020 termination is the

culmination of
culmination of Rush's
               Rush’s years'
                      years’ long continuing campaign of retaliation against Plaintiff for the

protected activity alleged in her prior pleadings as well as the instant litigation. Furthermore,

Plaintiff does not seek to add additional counts to her Amended Complaint as her recent

termination is an extension of the same underlying facts previously alleged and violative of the

same laws: the EPA, Title VII, and the IHRA.

       35.     This Motion is brought in good faith and not for the purpose of delay.

       36.                                                              this motion.
               Counsel for Melgoza contacted counsel for Rush regarding this motion. Rush's
                                                                                     Rush’s

counsel will provide its position as to whether it objects to the motion after it has the opportunity

to review the proposed Second Amended Complaint.




                                                 7
 Case:
  Case:1:17-cv-06819 Document
         1:17-cv-06819        #:#:
                       Document  239
                                   213
                                     Filed: 05/07/21
                                       Filed:        Page
                                              07/15/20    268of
                                                       Page   of157
                                                                  PageID
                                                                    PageID
                                                                9 PagelD   #:6016
                                                                         #:5889




       WHEREFORE, Plaintiff, Norma Melgoza, respectfully requests that this Honorable Court

enter an order:

       (a)        Granting Norma Melgoza leave to file her Second Amended Complaint; and

       (b)
       (b)        Granting any further relief this Court deems reasonable and just.


Dated: July 15, 2020                                    Respectfully submitted,

                                                        Norma Melgoza,
                                                        Plaintiff,


                                                            /s/ Ashley L. Orler
                                                        By: /s/
                                                                One of her Attorneys

Ashley L. Orler, Esq. (#6297339)
Rebekah S. Mintzer, Esq. (#63179231)
M. Elysia Baker Analo, Esq. (#6308530)
GOLAN CHRISTIE TAGLIA LLP
70 W. Madison Street, Suite 1500
Chicago, Illinois 60602
(312) 263-2300
alorler@gct.law
rsmintzer@gct.law
rsmintzer@gct.  law
mebanalo@gct.law




                                                    8
   Case:
   Case:
  Case:   1:17-cv-06819
        1:17-cv-06819
          1:17-cv-06819 Document
                      Document #:#:
                        Document    213
                                  239
                                 #:     Filed:
                                      Filed:
                                    213        07/15/20
                                             05/07/21
                                        Filed:          Page
                                                      Page
                                               07/15/20    2799of
                                                        Page   of 99 PageID
                                                                of157 PageID
                                                                     PagelD #:5890
                                                                              #:6017
                                                                            #:5890




                                      CERTIFICATE
                                      CERTIFICATE OF
                                                  OF SERVICE
                                                     SERVICE

               I,I, Ashley
                    Ashley L.
                           L. Orler,
                              Orler, an
                                     an attorney,
                                        attorney, hereby
                                                   hereby certify
                                                           certify that
                                                                    that II caused
                                                                            caused aa copy
                                                                                      copy of
                                                                                           of Motion
                                                                                              Motion for
                                                                                                     for
Leave
Leave to
      to File Second    Amended  Complaint,   to be served upon   the following:
         File Second Amended Complaint, to be served upon the following:

                                               Amanda
                                               Amanda A. A. Sonneborn,
                                                              Sonneborn, Esq.
                                                                          Esq.
                                               James
                                                James C.
                                                       C. Goodfellow,
                                                           Goodfellow, Esq.
                                                                         Esq.
                                               Thomas
                                               Thomas M. M. Horan,
                                                              Horan, Esq.
                                                                     Esq.
                                               Seyfarth
                                                Seyfarth Shaw
                                                         Shaw LLPLLP
                                               233
                                               233 S.
                                                    S. Wacker
                                                       Wacker Drive,
                                                                 Drive, Ste.
                                                                        Ste. 8000
                                                                             8000
                                               Chicago,   Illinois 60606
                                               Chicago, Illinois 60606
                                               asonneborn@seyfarth.com
                                               asormeborn@seyfarth.com
                                               jgoodfellow@seyfarth.com
                                               jgoodfellow@seyfarth.com
                                               thoran@seyfarth.com
                                               thoran@seyfarth.com
                                                                       th
       by
       by causing
          causing aa copy
                     copy of
                          of the
                             the same to
                                      to be served
                                            served via
                                                   via CM/ECF,
                                                       CM/ECF, this
                                                               this 15
                                                                    15th day
                                                                          day of
                                                                              of July,
                                                                                 July, 2020.



                                                              By:
                                                              By:     /s/ Ashley L. Orler
                                                                      /s/Ashley     Orler




                                                   9
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                        Filed:
                                            05/07/21  Page
                                               07/15/20 Page
                                                           2811ofof157
                                                                    27 PageID
                                                                       PageID #:5891
                                                                       PagelD #:6018




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

NORMA MELGOZA,                                        )
                                                      )
                 Plaintiff,                           )    Case No. 17-cv-6819
                                                      )
   vv..                                               )    Honorable Mary M. Rowland
                                                      )    Honorable Gabriel A. Fuentes
RUSH UNIVERSITY MEDICAL CENTER,                       )
a not-for-profit corporation,                         )
                                                      )    JURY TRIAL DEMANDED
                 Defendant.                           )

                              SECOND AMENDED COMPLAINT

          Plaintiff, Norma
          Plaintiff, Norma Melgoza
                           Melgoza ("Melgoza"
                                   (“Melgoza” or
                                              or "Plaintiff'),
                                                 “Plaintiff”), by
                                                               by her
                                                                  her attorneys,
                                                                      attorneys, Peter M. Katsaros,

Ashley L. Orler, and-Rebekah
                 and Rebekah S. Mintzer, and M. Elysia Baker Analo of Golan Christie Taglia

LLP, complains against
LLP, complains against Defendant,
                       Defendant, Rush
                                  Rush University
                                       University Medical
                                                  Medical Center
                                                          Center ("Rush"
                                                                 (“Rush” or
                                                                         or "Defendant")
                                                                            “Defendant”) as
                                                                                         as

follows:

                                         Nature of Action

          1.     This lawsuit arises under the Equal Pay Act of 1963 as amended, 29 U.S.C. §

                (“EPA”), for
206(d), et seq. ("EPA"),     Rush’s discrimination
                         for Rush's discrimination against
                                                   against Melgoza
                                                           Melgoza on
                                                                   on the
                                                                      the basis
                                                                          basis of
                                                                                of her
                                                                                   her gender
                                                                                       gender by
                                                                                              by

paying wages to her at a rate less than the rate at which it pays male employees performing

substantially equal
substantially equal work,
                    work, and
                          and Rush's
                              Rush’s retaliation against Melgoza after she complained of
                                     retaliation against

discriminatory treatment.

          2.     This lawsuit also arises under the Title VII of the Civil Rights Act of 1964 as

                                    (“Title VII"),
amended, 42 U.S.C. § 2000e, et seq. ("Title VII”), for
                                                   for Rush's
                                                       Rush’s discrimination
                                                              discrimination against
                                                                             against Melgoza
                                                                                     Melgoza on
                                                                                             on

                        and national
the basis of her gender and national origin,
                                     origin, and
                                             and Rush's
                                                 Rush’s retaliation against Melgoza
                                                        retaliation against Melgoza after
                                                                                    after she
                                                                                          she

complained of discriminatory treatment and systematic discriminatory practices by Rush,

including but not limited to failure to post executive leadership positions and fairly evaluate
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                 213-1      05/07/21
                                        Filed:        Page
                                               07/15/20    292ofof157
                                                        Page       27 PagelD
                                                                      PageID
                                                                      PageID #:5892
                                                                             #:6019




candidates, and hiring relatives and friends which excludes women, veterans, the disabled, and

individuals of Mexican descent. Rush created a hostile environment for Melgoza and others by

promoting systematic discrimination against women, veterans, the disabled and those of Mexican

descent.

        3.       This lawsuit also arises under the Illinois Human Rights Act, 775 ILCS 5/1-101,

for Rush's
for Rush’s discrimination
           discrimination against
                          against Melgoza
                                  Melgoza on
                                          on the
                                             the basis
                                                 basis of
                                                       of her
                                                          her gender
                                                              gender and national origin, and

Rush’s retaliation
Rush's             against Melgoza
       retaliation against Melgoza after
                                   after she
                                         she complained of discriminatory treatment.

                                                Parties

        4.       Melgoza, at all times relevant to this dispute, worked and resided in this judicial

district.

        5.       Melgoza is a current, at all times relevant to this dispute, was an employee of

Rush and worksed for Rush in this judicial district.

        6.       Rush is an Illinois not-for-profit corporation with its principal place of business at

1653 West Congress Parkway, Chicago, Illinois.

                                       Jurisdiction and Venue

        7.       This Court has jurisdiction over Counts I and II under the express provisions of

the EPA, 29 U.S.C. § 216(b) and 28 U.S.C. § 1331, over Counts III, IV
                                                                   W and V under the express

provisions of Title VII, § 2000e-5(f)(3) and 28 U.S.C. § 1331, and over Count VI under 28

U.S.C. § 1367 as the facts constituting this count are so related to the claims in the other counts

that it forms part of the same case or controversy.

        8.       Venue is proper in the Northern District of Illinois, Eastern Division, pursuant to

28 U.S.C. § 1391, because all the significant events giving rise to the claims occurred in this

judicial district.



                                                   2
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                 213-1      05/07/21
                                        Filed:        Page
                                               07/15/20    303ofof157
                                                        Page       27 PagelD
                                                                      PageID
                                                                      PageID #:5893
                                                                             #:6020




       9.      Venue is also proper in the Northern District of Illinois, Eastern Division because

Defendant does business and has employees located within this judicial district.

                                      Factual Allegations

       10.     Rush University Medical Center Obligated Group is a not-for-profit healthcare,

education, and research enterprise, comprising of Defendant, Rush Health, Rush Oak Park

Hospital and Rush University. Rush University has an enrollment of 2,500 students. In 2016

Rush’s operation was licensed to operate 1,100 beds, handled 184,000 emergency room visits,
Rush's

had 251,000
had 251,000 patient
            patient days
                    days and
                         and listed
                             listed 10,000
                                    10,000 employees.
                                           employees. Rush's
                                                      Rush’s total
                                                             total operating
                                                                   operating revenue
                                                                             revenue from
                                                                                     from U.S.
                                                                                          U.S.

government administrated Medicare and Medicaid was forty-three percent (43%).

       11.                                    Degree from
               Melgoza has a Bachelor of Arts Degree from Smith College and
                                                          Smith College and aa Master's
                                                                               Master’s

Degree in Public Administration in Health Policy and Management from the Robert F. Wagner

                                                         (“NYU”).
Graduate School of Public Service at New York University ("NYU").              Melgoza received
                                                                               Melgoza received

academic awards both at Smith College and NYU, and was the recipient of the Robert F. Wagner

Public Service award during her years at NYU.

       12.     Melgoza is a Fellow with the American College of Health Care Executives and is

certified in Healthcare management.

       13.     In October 2013, Melgoza received a Leadership Executive Program Certificate

from the American College of Health Care Executives. She was selected by the Latino Forum of

Healthcare Executives as a scholarship recipient for her leadership abilities and commitment to

patient excellence. The intent of the scholarship was to promote healthcare leaders in the U.S.

       14.     Melgoza has worked in the healthcare industry for over twenty-five years, and

immediately prior to her employment by Rush, was the Assistant President of Services Lines of

Cancer, Medicine, Geriatrics, Women & Children, and Surgery for Mount Sinai Hospital.



                                                3
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                 213-1      05/07/21
                                        Filed:        Page
                                               07/15/20    314ofof157
                                                        Page       27 PagelD
                                                                      PageID
                                                                      PageID #:5894
                                                                             #:6021




        15.    Melgoza has was been employed by Rush from 2006 through the presentJuly 19,

2020.

        16.    From November 2006 through October 2010, Melgoza was employed by Rush as

an Assistant Vice President, and her responsibilities included, inter alia, management of the

radiology, non-invasive cardiology, neurodiagnostics, radiation oncology, breast imaging, bone

marrow transplant, photopheresis, emergency department, transfer center agreements, transfer

center, dialysis, and respiratory therapy departments.

        17.    From November 2006 through October 2010, Melgoza was a key executive in the

implementation of the hospital-wide EPIC software system and the migration to a new picture

archiving system (PACS) for the new, non-invasive platform, and a strategic leader in the

opening of
opening of Rush's
           Rush’s new
                  new patient
                      patient tower.
                              tower.

        18.    During her tenure as an Assistant Vice President for Rush, Melgoza served as the

          of Rush's
Executive of Rush’s Cancer
                    Cancer Committee.
                           Committee.

        19.    In 2006, the Rush Cancer Committee appointed Melgoza as the Cancer

Conference Coordinator
Conference Coordinator for the organization.
                       for the organization. In this role,
                                             In this       Melgoza oversaw
                                                     role, Melgoza         Rush’s multi-
                                                                   oversaw Rush's multi-

disciplinary cancer conferences by ensuring compliance with American College of Surgeons

Commission on Cancer standards by monitoring cancer care discussions and multidisciplinary

standards required
standards required for
                   for Rush's
                       Rush’s Commission
                              Commission on
                                         on Cancer
                                            Cancer accreditation.

        20.    From November 2010 through July 14, 2016, Melgoza worked as an Associate

Vice President for Rush, and her responsibilities included, inter alia, management of the non-

invasive platform for the opening of the new patient tower, management of the radiation

oncology // Women's
oncology    Women’s Cancer
                    Cancer Center,
                           Center, breast
                                   breast imaging,
                                          imaging, bone
                                                   bone marrow transplant, inpatient dialysis,

photopheresis, plasmapheresis, radiation safety, occupational safety, evening / weekend



                                                 4
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                 213-1      05/07/21
                                        Filed:        Page
                                               07/15/20    325ofof157
                                                        Page       27 PagelD
                                                                      PageID
                                                                      PageID #:5895
                                                                             #:6022




administrators, environmental services, linen services, guest relations, volunteer services,

interpreter services and security departments. She also served as a voting member on the Rush

Medical Center Institutional Review Board.

       21.     Many of the departments that Melgoza capably managed during her tenure as

Associate Vice President for Rush involved cancer treatment research, quality management,

accreditation and cancer prevention.

       22.     Melgoza worked diligently on improving patient care and creating a positive

environment for Rush employees with a focus on innovation, excellence, empathy and service to

its patients and the community at large.

       23.     During Melgoza's
               During Melgoza’s tenure
                                tenure as
                                       as an
                                          an Associate
                                             Associate Vice
                                                       Vice President
                                                            President for
                                                                      for Rush,
                                                                          Rush, she
                                                                                she was
                                                                                    was

responsible for budgets exceeding $200 million revenue, over 700 full-time employees, and

between nine (9) and eleven (11) clinical and support departments at one time.

       24.     Melgoza was a founding member of the Rush Diversity Leadership Council in

2006, and
2006, and aa member
             member of
                    of the
                       the Rush
                           Rush Women's
                                Women’s Leadership Council.
                                        Leadership Council.

       25.     Throughout her employment by Rush, Melgoza actively promoted diversity in the

workplace, including but not limited to the advancement of Hispanics, including Mexican-

Americans, and women to positions in management, including the executive level.

       26.     Melgoza is female and her national origin is Mexican-American.

       27.     In 2006, J. Robert Clapp, Senior Vice President and Executive Director of Rush,

        “Melgoza was the first Mexican-American Assistant Vice President and executive leader
stated, "Melgoza

                This was
         Rush.” This
hired by Rush."      was so
                         so despite an ongoing presence of Latinos and individuals of Mexican

        within Rush's
descent within Rush’s service
                      service area.
                              area.




                                               5
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                 213-1      05/07/21
                                        Filed:        Page
                                               07/15/20    336ofof157
                                                        Page       27 PagelD
                                                                      PageID
                                                                      PageID #:5896
                                                                             #:6023




        28.    From October 2010 through July 14, 2016, Melgoza was the first and only female

Mexican-American Associate Vice President despite individuals of Mexican-descent

encompassing thirty percent (30%) of the population of the City of Chicago.

        29.     There are currently no individuals of Mexican national origin within the top 100

executive leaders at Rush, yet 20% of the revenues are generated from patients of Mexican

descent.

        30.    During her employment with Rush, Melgoza performed her duties exceptionally,

and consistently met corporate goals.

        31.    Throughout her employment with Rush, Melgoza received consistently highly-

favorable performance reviews, including an overall
                               including an overall rating
                                                    rating of
                                                           of "exceeds
                                                              “exceeds expectations"
                                                                       expectations” in
                                                                                     in July
                                                                                        July

2017.

        32.    Throughout Melgoza’s tenure as an Associate Vice President, Rush paid Melgoza
               Throughout Melgoza's

$100,000.00 to $250,000.00 less per year than her male and/or non-Mexican-American

colleagues performing substantially equal work, including but not limited to Mike Mulroe, Scott

Sonnenchein, Edward Conway, Mike Lamont, Anthony Perry, Mike Dandorph, Richard Davis,

Kurt Olsen, Jeremy Strong, Tim Carrigan, Leo Correa, Shaun Cooper, Ryan Schlifka, John

Pontarelli, David Rice, Ray LaBrec, and Joseph Anderson.

        33.    Throughout her tenure as an Associate Vice President for Rush, Melgoza made

numerous requests for a higher salary given her highly-favorable performance reviews and

increased responsibilities.

        34.    Rush denied
               Rush denied Melgoza's
                           Melgoza’s repeated requests for
                                     repeated requests for aa higher
                                                              higher salary
                                                                     salary as her duties

continuously increased.




                                               6
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                 213-1      05/07/21
                                        Filed:        Page
                                               07/15/20    347ofof157
                                                        Page       27 PagelD
                                                                      PageID
                                                                      PageID #:5897
                                                                             #:6024




       35.     During Melgoza's
               During Melgoza’s tenure
                                tenure as
                                       as an
                                          an Associate
                                             Associate Vice
                                                       Vice President
                                                            President for Rush, she
                                                                      for Rush, she met
                                                                                    met with
                                                                                        with

senior executives at Rush on multiple occasions and informed the executives about her interest in

a promotion to a Vice President position, and eventually, to the Chief Operating Officer position

given her vast portfolio and extensive experience.

       36.     On multiple occasions from 2012 through 2015, Melgoza met with Mike Mulroe

(“Mulore”), Rush
("Mulore"), Rush Vice
                 Vice President,
                      President, to
                                 to request
                                    request aa review of her
                                               review of her salary
                                                             salary given
                                                                    given her
                                                                          her vast
                                                                              vast portfolio
                                                                                   portfolio and
                                                                                             and

extensive experience.

       37.     On December 19, 2013, Melgoza requested a meeting and met with Rush

          Vice President
Executive Vice President and
                         and Executive Director Mike
                             Executive Director Mike Dandorph
                                                     Dandorph ("Dandorph")
                                                              (“Dandorph”) to
                                                                           to review her
                                                                              review her

curriculum vitae, experience, and current responsibilities and to express her desire to grow

within the organization.

       38.     During the December 19, 2013 meeting, Dandorph made an unwanted sexual

advance to Melgoza after she expressed her desire to grow within the organization. Dandorph

informed Melgoza that he once had a Cuban girlfriend, that he did not many
                                                                      marry his Cuban

girlfriend, and that he owned a boat but desired to purchase a larger boat. Melgoza ended the

meeting by
meeting by shaking
           shaking Dandorph's
                   Dandorph’s hand
                              hand and
                                   and leaving
                                       leaving his
                                               his office.
                                                   office.

       39.     After the December 19, 2013 meeting, Melgoza was not notified of any future

opportunities and executive positions were not posted for advancement within the organization.

       40.     On April 14, 2015, Melgoza met with Mulroe and provided in writing a number

of concerns
of          about his
   concerns about his discriminatory
                      discriminatory behavior
                                     behavior and
                                              and retaliation,
                                                  retaliation, and
                                                               and requested
                                                                   requested equity
                                                                             equity in Rush’s
                                                                                    in Rush's

payment of
payment of her
           her compensation,
               compensation, stating,
                             stating, "Please
                                      “Please review
                                              review my
                                                     my salary
                                                        salary based
                                                               based on
                                                                     on the
                                                                        the dynamic
                                                                            dynamic span of

my portfolio, education and experience. I want to be treated and compensated equitably for my

effort based
effort based on
             on the
                the market."
                    market.”



                                                7
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                 213-1      05/07/21
                                        Filed:        Page
                                               07/15/20    358ofof157
                                                        Page       27 PagelD
                                                                      PageID
                                                                      PageID #:5898
                                                                             #:6025




       41.     Mulroe informed Melgoza that a market evaluation was not possible and that

Lynne Wallace ("Wallace"),
Lynne Wallace (“Wallace”), Rush
                           Rush Vice
                                Vice President
                                     President of Human Resources, declined the review.

       42.                                                                   Ansell”), Rush
                                                                       (“Dr. Ansell"),
               On November 25, 2013, Melgoza met with Dr. David Ansell ("Dr.           Rush

Senior Vice President
Senior Vice President of
                      of Strategy and Community
                         Strategy and Community Engagement, to discuss
                                                Engagement, to discuss Mulroe's
                                                                       Mulroe’s

discriminatory behavior and reluctance to conduct a market assessment for an equal market

                               Ansell stated,
wage. During that meeting, Dr. Ansell stated, "[Mulroe]
                                              “[Mulroe] probably pays you less than the

fellow.”
fellow."

       43.                                    (“Barginere”), Rush Chief Operating Officer,
               Dandorph and Cynthia Barginere ("Barginere"),

were also
were also notified
          notified of
                   of Mulroe's
                      Mulroe’s discriminatory behavior but failed to address the complaints.

       44.     On July 14, 2016, Rush demoted Melgoza two levels down to a position of

“Director” at
"Director" at Rush
              Rush after she was informed that her position as Associate Vice President was

eliminated. She no longer had a job as an Associate Vice President.

       45.     Similarly-situated employees who were male were not demoted two levels down

by Rush.

       46.     Similarly-situated employees who were not of Mexican-American national origin

were not demoted two levels down by Rush.

       47.     Similarly-situated employees who did not complain about discrimination and

unequal pay were not demoted two levels down by Rush.

       48.     Similarly-situated employees who did not advocate for the advancement of

diversity in the executive ranks of Rush were not demoted two levels down by Rush.

       49.     Similarly-situated employees who did not complain about the systematic

discrimination at Rush were not demoted two levels down by Rush.




                                                8
 Case:
 Case: 1:17-cv-06819
       1:17-cv-06819 Document
                     Document #:
                              #: 239
                                 213-1
                                     Filed:
                                 213-1      05/07/21
                                        Filed:        Page
                                               07/15/20    369ofof157
                                                        Page       27 PagelD
                                                                      PageID
                                                                      PageID #:5899
                                                                             #:6026




       50.     Similarly-situated employees who were not subjected to sexual advances or

expected to fulfill sexual stereotypes of Mexican-American women were not demoted two levels

by Rush.

       51.     At the time Rush demoted Melgoza, it also promoted a less-qualified male, Leo

Correa ("Correa"),
Correa (“Correa”), to
                   to the
                      the new
                          new position
                              position of
                                       of Associate
                                          Associate Vice
                                                    Vice President
                                                         President of
                                                                   of Clinical
                                                                      Clinical Affairs
                                                                               Affairs and
                                                                                       and

Cancer Services.

       52.     Melgoza was never made aware of this new position as it was not posted, nor was

Melgoza interviewed for this positon despite her thirteen (13) years of experience in leading

cancer service departments at Rush and externally. Had Melgoza known of the opening, she

would have applied for it.

       53.     Rush deviated from and did not follow its policies and procedures on posting job

positions and hiring when it promoted Correa.

       54.     At the time Rush demoted Melgoza, it transferred her non-cancer service

departments to Mulroe. Mulroe was not demoted even though he was no longer supervising the

cancer portfolio.

       55.     Numerous members
               Numerous members of
                                of Rush's
                                   Rush’s top executives informed Melgoza that the

demotion to Director was not performance based.

       56.     After the demotion, Melgoza was informed that she would report to Correa.

       57.                      demoted Melgoza,
               At the time Rush demoted Melgoza, Mulroe
                                                 Mulroe informed Melgoza that
                                                        informed Melgoza that if
                                                                              if she
                                                                                 she didn't
                                                                                     didn’t

                                                                               that Melgoza's
like her new position, she could accept a severance package from Rush, stating that Melgoza’s

employment with Rush would be terminated if she did not take the demotion.

       58.     Mulroe and Wallace failed to provide Melgoza with a severance package after

numerous requests for the document.



                                                9
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page3710ofof157
                                                                   27 PageID
                                                                      PageID #:6027
                                                                      PagelD #:5900




        59.    The demotion adversely impacted Melgoza by (a) capping her salary at a director

level with raises not factored into her base pay after reaching a scale; (b) removing her from the

                                                      her into
Management Incentive Compensation Program and putting her into aa "Shadow
                                                                  “Shadow Program"
                                                                          Program” with
                                                                                   with an
                                                                                        an

unclear future; (c) removing substantial responsibilities from her job duties; (d) harming her

ability to advance to higher levels of management within and outside the organization; (e)

causing her professional embarrassment and emotional distress which also impacted her health;

and (f) preventing moving patient care forward.

        60.            met with
               Melgoza met with numerous
                                numerous members
                                         members in Rush’s executive
                                                 in Rush's           ranks to
                                                           executive ranks to discuss
                                                                              discuss the
                                                                                      the

termination threat, demotion, and the retaliatory behavior directed at her after her advocacy for

diversity and requesting equitable pay. On March 22, 2017 and April 16, 2017, she met with

Terry Peterson, Rush Vice President of Governmental Affairs and the Chairman of the Diversity

Leadership Group and Chairman of the Chicago Transit Authority (CTA). She also met with

Barginere, Wallace,
Barginere, Wallace, Dr.
                    Dr. Ansell,
                        Ansell, Dandorph,
                                Dandorph, and
                                          and Mary
                                              Mary Ellen
                                                   Ellen Schopp (“Schopp”), Rush
                                                         Schopp ("Schopp"), Rush Senior
                                                                                 Senior

Vice President of Human Resources.         All these Rush senior executives failed to end the

discriminatory and retaliatory actions against Melgoza.

        61.    Schopp recommended that Melgoza leave the organization and focus on being a

mother, volunteer for school activities for her child, and find a hobby.

        62.    Rush eventually offered a severance package.

        63.    Melgoza rejected the severance package, and began working as a Director for

Rush.

        64.    In January 2017, Correa informed Melgoza that he was resigning his employment

with Rush.




                                                10
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page3811
                                                            11ofof157
                                                                   27 PageID
                                                                      PageID #:6028
                                                                      PagelD #:5901
                                                                             #:5901




        65.                             Robert DeCresce
               On January 25, 2017, Dr. Robert DeCresce ("Dr.
                                                        (“Dr. DeCresce"),
                                                              DeCresce”), Rush
                                                                          Rush Acting
                                                                               Acting

Cancer Center Medical Director and Operating Partner of Shore Capital Partners, informed

Melgoza that she would report to him until further notice.

        66.                         Dr. Antonio
               On February 3, 2017, Dr. Antonio Bianco
                                                Bianco ("Dr.
                                                       (“Dr. Bianco"),
                                                             Bianco”), Rush Vice President of

Clinical Affairs and President/Owner of Bianco Labs requested a meeting with Melgoza on

                            “leadership of
February 8, 2017 to discuss "leadership of the
                                           the cancer center.”
                                               cancer center."

        67.    On February 8, 2017, during the meeting between Melgoza and Dr. Bianco,

Melgoza was blind-sided by learning for the first time that the meeting was actually an interview

for the Interim Cancer Position, which was open due to Correa's
                                                due to Correa’s resignation.
                                                                resignation. No
                                                                             No copy
                                                                                copy of
                                                                                     of an
                                                                                        an

                                        the "surprise"
active job description was provided for the “surprise” interview.
                                                       interview.

        68.                        8th meeting, Melgoza provided a copy of her resume to Dr.
               During the February 8th

Bianco, and
Bianco, and after
            after reviewing
                  reviewing the
                            the resume,
                                resume, Dr.
                                        Dr. Bianco
                                            Bianco said
                                                   said to
                                                        to Melgoza,
                                                           Melgoza, "You
                                                                    “You are
                                                                         are aa snob,
                                                                                snob, you
                                                                                      you went
                                                                                          went

                                                          went to
to school with a lot of snobs. I used to know a woman who went to Smith [College]. She
                                                                  Smith [College].     wasn’t
                                                                                   She wasn't

that great.
that great. II didn’t care for
               didn't care for her.
                               her. She was aa snob."
                                    She was    snob.”

        69.    Melgoza reported
               Melgoza reported Dr.
                                Dr. Bianco's
                                    Bianco’s rude,
                                             rude, discriminatory behavior and
                                                   discriminatory behavior and the
                                                                               the lack
                                                                                   lack of
                                                                                        of aa

formal posting of the job position with a job description to Schopp. Schopp told Melgoza that

“[Melgoza] let
"[Melgoza]     things happen
           let things happen to
                             to her"
                                her” and
                                     and that
                                         that she
                                              she should
                                                  should go
                                                         go back
                                                            back to
                                                                 to Dr.
                                                                    Dr. Bianco to
                                                                               to "teach
                                                                                  “teach him
                                                                                         him

how to
how to be
       be aa better
             better leader."
                    leader.”

       70.     Melgoza reported
               Melgoza reported Dr.
                                Dr. Bianco's
                                    Bianco’s rude,
                                             rude, discriminatory comments to
                                                   discriminatory comments to Dr.
                                                                              Dr. DeCresce,
                                                                                  DeCresce,

who told
who told her,
         her, "Don't
              “Don’t worry,
                     worry, you
                            you are
                                are not
                                    not aa snob!"
                                           snob!” Dr. DeCresce did not follow-up further

regarding Melgoza's
regarding Melgoza’s complaints.
                    complaints.




                                                  11
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page3912ofof157
                                                                   27 PageID
                                                                      PageID #:6029
                                                                      PagelD #:5902




       71.     Rush did not offer Melgoza the open Interim Cancer Position, and instead hired a

                                              (“Nedved”), who lacked experience managing
less-qualified Caucasian female, Patty Nedved ("Nedved"),

cancer departments.

       72.     Rush deviated from and did not follow its policies and procedures on job hiring

and posting when it hired Nedved.

       73.     Melgoza later learned from Dr. DeCresce that there were two (2) candidates

           for Correa's
considered for Correa’s position.
                        position. Both of the candidates were not of Mexican national origin.

Another Rush executive employee informed Melgoza that the two (2) candidates did not have

cancer experience
cancer experience and
                  and that
                      that Melgoza
                           Melgoza had
                                   had the
                                       the most
                                           most "on
                                                “on the
                                                    the bench
                                                        bench cancer
                                                              cancer experience
                                                                     experience at
                                                                                at Rush, yet

                                           cancer experience.”
the position went to an individual without cancer experience."

       74.     Upon information and belief, other candidates were provided advance notice to

prepare for
prepare     the interview,
        for the interview, and
                           and were
                               were told
                                    told of
                                         of their
                                            their "active
                                                  “active status"
                                                          status” for the position,
                                                                  for the position, allowing
                                                                                    allowing them
                                                                                             them

the ability to compete for the position.

       75.                           Melgoza met
               On February 27, 2017, Melgoza met with
                                                 with Peter
                                                      Peter Butler
                                                            Butler ("Butler"),
                                                                   (“Butler”), former
                                                                               former Rush
                                                                                      Rush

Chief Executive Officer and Chief Operating Officer to discuss the hostile and discriminatory

environment at Rush. Butler noted that Melgoza managed a complex portfolio exceptionally

during his tenure at Rush, encouraged her to focus on moving forward with the current

             and stated
departments, and stated that
                        that he
                             he "would
                                “would not
                                       not have
                                           have handled
                                                handled [the
                                                        [the hiring]
                                                             hiring] situation
                                                                     situation in that manner."
                                                                               in that manner.”

       76.     On March 21, 2017, Melgoza met with Dr. Ansell to discuss the demotion of

Melgoza and to inform him of the ongoing retaliation against her.         Dr. Ansell stated that

                                                                           “[Barginere] was
Barginere made the decision to demote Melgoza. Dr. Ansell, further stated, "[Barginere]

told to remove you. She removed you because she is weak. She is not strong for diversity. That

                                         power.” Melgoza asked Dr. Ansell to clarify who
is what happens when these people get in power."



                                               12
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4013ofof157
                                                                   27 PageID
                                                                      PageID #:6030
                                                                      PagelD #:5903




                                             and what
issued the order to terminate her employment and what he
                                                      he meant
                                                         meant by
                                                               by "these
                                                                  “these people,"
                                                                         people,” but
                                                                                  but he
                                                                                      he ran

away from Melgoza in response.

        77.   Similarly-situated individuals who were male were allowed to prepare for

interviews and/or were hired to work in positions more advanced than Director at Rush.

        78.   Similarly-situated individuals who were not of Mexican-American national origin

were allowed to prepare for interviews and/or were hired to work in positions more advanced

than Director at Rush.

        79.   Similarly-situated individuals who were not asked to meet sexual expectations or

subjected to stereotypes of women of Mexican-American descent at Rush were allowed to

prepare for interviews and/or were hired to work in positions more advanced than Director at

Rush.

        80.   Similarly-situated individuals who did not complain about discrimination and

unequal pay were allowed to prepare for interviews and/or were hired to work in positions more

advanced than Director at Rush.

        81.   Similarly-situated employees who did not advocate for the advancement of

diversity in the executive ranks of Rush were allowed to prepare for interviews and/or were hired

to work in positions more advanced than Director at Rush.

        82.   Following the promotion of Nedved, the gender and national origin discrimination

and retaliation by Rush against Melgoza continued. Melgoza learned that Dr. Bianco threatened

to terminate
to terminate Melgoza's
             Melgoza’s employment.
                       employment.        Additionally, Dr.
                                          Additionally, Dr. Bianco
                                                            Bianco and
                                                                   and executives
                                                                       executives publicly

threatened to remove additional departments from her supervision that she capably supervised

for many years.




                                               13
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4114ofof157
                                                                   27 PageID
                                                                      PageID #:6031
                                                                      PagelD #:5904




       83.    On January
              On         16, 2015,
                 January 16, 2015, Melgoza
                                   Melgoza reached
                                           reached out
                                                   out to
                                                       to Dr.
                                                          Dr. Larry Goodman ("Dr.
                                                              Larry Goodman (“Dr.

Goodman”), President
Goodman"), President of
                     of Rush
                        Rush University
                             University Medical
                                        Medical Center
                                                Center and
                                                       and the
                                                           the Executive
                                                               Executive Sponsor of Rush's
                                                                         Sponsor of Rush’s

Diversity Leadership Group, in an attempt to discuss diversity, future goals and the removal of

discriminatory barriers at Rush. Dr. Goodman never responded to the email.

       84.    Dr. Goodman has advocated for inclusion and a diverse work environment, and

speaks publicly
speaks publicly about
                about Rush's
                      Rush’s commitment
                             commitment to
                                        to equality; however he
                                           equality; however he refused
                                                                refused to
                                                                        to meet
                                                                           meet with
                                                                                with

Melgoza. A second meeting was requested on April 25, 2017, but Dr. Goodman declined the

meeting.

       85.    Dr. Goodman has spoken about equity, inclusion, ethics and a diverse work

environment; yet he condoned the overt, systemic discrimination against employees of Mexican

descent, unequal pay for women, and exclusion of veterans, people with disabilities and other

under-represented employees by not posting executive positions, promoting nepotism, violating

the equal
the equal pay
          pay law
              law and
                  and not
                      not addressing
                          addressing overt
                                     overt discrimination against Rush's
                                           discrimination against Rush’s only
                                                                         only Mexican-
                                                                              Mexican-

American executive.

       86.                                   Ansell stated
              During the March 21, 2016, Dr. Ansell stated that
                                                           that it
                                                                it was
                                                                   was "unconscionable
                                                                       “unconscionable that
                                                                                       that

Rush demoted its only Latina Female Executive and had no other Hispanic Executives within the

Rush Executive
Rush           ranks.” He
     Executive ranks." He also
                          also stated
                               stated that
                                      that he
                                           he "threw
                                              “threw aa line"
                                                        line” to
                                                              to Dr. Goodman and Barginere at a

meeting related to the unconscionable bias against employees of Mexican descent.

       87.    Executive leadership at Rush was spearheaded by Dr. Goodman who was enabled

by William M. Goodyear, Chairman of the Rush University Medical Center Board of Directors,

former Rush Chief Executive Officer and President of Navigant, to violate the EPA and Title VII

in discriminating against women and employees of Mexican national origin. Dr. Goodman and

Goodyear did not intervene and stop the discriminatory behavior; thus, facilitating an



                                              14
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4215ofof157
                                                                   27 PageID
                                                                      PageID #:6032
                                                                      PagelD #:5905




environment where it is acceptable to violate civil rights laws related to equal pay and the

discrimination of employees of Mexican national origin. Their inaction and failure to hold

executives accountable support a corporate culture of systemic, intentional discrimination and

retaliation against women and employees of Mexican national origin, and also negatively impact

and discriminate against people with disabilities, veterans and other under-represented

minorities. Instead of meeting with Melgoza, an employee of Mexican descent who lead nine to

                                                      Dr. Goodman
eleven departments with over 700 full time employees, Dr. Goodman opted
                                                                  opted to
                                                                        to "dealsource"
                                                                           “dealsource” and

be a social media influencer.

       88.     On May 8, 2017, Melgoza filed a Charge of Discrimination against Defendant

(“Charge of
("Charge of Discrimination")
            Discrimination”) with
                             with the
                                  the United
                                      United States
                                             States Equal
                                                    Equal Employment Opportunity
                                                          Employment Opportunity

           (“EEOC”). A
Commission ("EEOC"). A copy of the
                       copy of the Charge
                                   Charge of
                                          of Discrimination
                                             Discrimination is
                                                            is attached
                                                               attached as
                                                                        as Exhibit A.

       89.     Melgoza’s Charge
               Melgoza's Charge of
                                of Discrimination
                                   Discrimination alleges
                                                  alleges retaliation
                                                          retaliation and
                                                                      and discrimination
                                                                          discrimination on
                                                                                         on the
                                                                                            the

basis of gender and national origin against Defendant.

       90.     On August
               On August 24,
                         24, 2017,
                             2017, Melgoza
                                   Melgoza received
                                           received aa "right
                                                       “right to
                                                              to sue"
                                                                 sue” letter
                                                                      letter for the Charge
                                                                             for the Charge of
                                                                                            of

Discrimination from
Discrimination from the
                    the EEOC. A copy
                        EEOC. A      of the
                                copy of the EEOC
                                            EEOC "right
                                                 “right to
                                                        to sue"
                                                           sue” letter
                                                                letter is attached as
                                                                       is attached as Exhibit

B.

       91.     The “right to
               The "right to sue"
                             sue” letter
                                  letter provides
                                         provides Plaintiff
                                                  Plaintiff ninety
                                                            ninety (90)
                                                                   (90) days
                                                                        days from the date
                                                                             from the date of
                                                                                           of her
                                                                                              her

receipt of the letter to bring a lawsuit. Plaintiff filed this Complaint before the expiration of the

ninety (90) day period.

       92.     Plaintiff has fully exhausted all of her administrative remedies.

       93.     Rush’s discrimination
               Rush's discrimination and
                                     and retaliation
                                         retaliation continues.continued after she filed her

EEOC Charge of Discrimination.




                                                 15
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4316ofof157
                                                                   27 PageID
                                                                      PageID #:6033
                                                                      PagelD #:5906




       94.     In March 2020, the World Health Organization declared the coronavirus

(“COVID-19”) outbreak
("COVID-19") outbreak as
                      as aa pandemic,
                            pandemic, as
                                      as the
                                         the rates of infection
                                             rates of infection continued
                                                                continued to rise in many

locations around the world and across the United States, including Chicago.

       95.     In her position as Director, Melgoza has been instrumental during the COVID-19

pandemic in assisting Rush by implementing cost containment initiatives and other patient care

solutions across the system. Melgoza was a member of the COVID-19 Pandemic Mobilization

Team and worked multiple shifts during the week and on weekends on the inpatient floors to

educate staff on the use of personal protective (PPE) gear, transport patients, carry lab samples,

and implement safety precautions.

       96.     During the COVID-19 pandemic and while working on the COVID-19 Pandemic

Mobilization Team, Melgoza continued to expand, stabilize patient care, implement new

technologies in breast imaging, and introduce novel therapies in cellular therapy for patients with

complex cancers.

       97.                              pandemic, Melgoza's
               Also during the COVID-19 pandemic, Melgoza’s supervisor
                                                            supervisor Josh
                                                                       Josh Ellis (“Ellis”),
                                                                            Ellis ("Ellis"),

Associate Vice President of Operations in Cancer Center, informed Melgoza that Rush would be

                  Melgoza’s immediate
laying off one of Melgoza's                                                (“Bown-Elms”),
                            immediate direct reports, Sharon D. Brown-Elms ("Bown-Elms"),

Administrator of Breast Imaging , as part of a reduction in force due to the COVID-19 pandemic.

Ms. Brown-Elms is an African-American female.

       98.     Rush had previously attempted to eliminate Brown-Elm's
                                                          Brown-Elm’s position, but Ellis

paused the elimination. He now raised it again during the pandemic.

       99.     Melgoza was provided multiple dates regarding Brown-Elm's
                                                             Brown-Elm’s elimination.

                               supervisor, Melgoza was also told not to be present for the
                   Brown-Elm’s supervisor,
Though Melgoza was Brown-Elm's

elimination because Ellis would be terminating Brown-Elms directly.



                                                16
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4417ofof157
                                                                   27 PageID
                                                                      PageID #:6034
                                                                      PagelD #:5907




       100.   On July 10, 2020, Ellis informed Melgoza that Rush would inform Brown-Elms at

9:00 a.m. on July 14, 2020 that her employment at Rush would be terminated.

       101.   By sharing
              By sharing the
                         the information
                             information with
                                         with Melgoza
                                              Melgoza about
                                                      about Rush's
                                                            Rush’s decision
                                                                   decision to
                                                                            to terminate
                                                                               terminate the
                                                                                         the

employment of
employment of Melgoza's
              Melgoza’s immediate
                        immediate direct report, Brown-Elms, Rush implied to Melgoza that

her employment at Rush would not be impacted by the planned reducting in force.

       102.   On July 10, 2020, after notifying Megloza of the planned meeting with Brown-

Elms at 9:00 a.m. on July 14, 2020, Ellis sent Melgoza an electronic calendar invitation for a

meeting between Ellis and Melgoza at 9:45 a.m. on July 14, 2020.

       103.   After receiving
              After           Ellis’ electronic
                    receiving Ellis' electronic calendar invitation for a meeting on July 14,

2020, on July 10, 2020, Melgoza asked Ellis to explain the topic of and whether she needed to

prepare anything for the meeting scheduled by Ellis at 9:45 a.m.on July 14, 2020.

       104.   Melgoza also reached out to Dr. Lisa Stempel, Chief of Breast Imaging, and Dr.

Paula Grabler, Breast Imaging Medical Director at Rush Oak Park regarding the meeting. Both

informed her that she would not be eliminated, and that the meeting was to update her regarding

Ms. Brown-Elms elimination. Dr. Grabler confirmed this to Melgoza in writing on Friday, July

10, 2020.

       105.   After Melgoza
              After Melgoza received
                            received Ellis’
                                     Ellis' electronic
                                            electronic calendar invitation for
                                                       calendar invitation for aa meeting
                                                                                  meeting on
                                                                                          on July
                                                                                             July

14, 2020, on July 10, 2020, counsel for Melgoza contacted counsel for Rush and asked Rush to

confirm the basis for the meeting scheduled by Ellis with Melgoza at 9:45 a.m. on July 14, 2020.

       106.   Counsel for Rush never provided any information regarding the basis for the

meeting scheduled by Ellis with Melgoza at 9:45 a.m. on July 14, 2020.

       107.   At a July 10, 2020 Cancer Center Town Hall meeting among certain Rush

employees, including Melgoza, Rush Medical Director of the Cancer Center, Dr. Mia Levy,



                                               17
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4518ofof157
                                                                   27 PageID
                                                                      PageID #:6035
                                                                      PagelD #:5908




                                                        positions at
stated that the reduction in force in the cancer center positions at Rush
                                                                     Rush "are
                                                                          “are minimal"
                                                                               minimal” and
                                                                                        and "very
                                                                                            “very

small.”
small."

          108.   Later in the day on July 10, 2020, Ellis sent an email to Melgoza stating, in part,

“I wanted
"I wanted to
          to touch
             touch base
                   base after
                        after II meet
                                 meet with
                                      with [Brown-Elms]. There’s no
                                           lBrown-Elmsl. There's no need
                                                                    need to
                                                                         to prepare
                                                                            prepare anything
                                                                                    anything

[for the
[for the July 14, 2020
         July 14, 2020 meeting]."
                       meeting].”

          109.   On July 14, 2020 at 9:45 a.m., Melgoza met via virtual video conference with

Ellis, and Melgoza was surprised to see that Javette
                                             Javette Simmons (“Simmons”), Rush
                                                     Simmons ("Simmons"), Rush HR
                                                                               HR Generalist,
                                                                                  Generalist,

was also at the virtual video conference.

          110.                                                                     Melgoza’s
                 Without warning, Ellis informed Melgoza that Rush was eliminating Melgoza's

Director position effective July 19, 2020.

          111.   Similar to Rush's
                 Similar to Rush’s "elimination"
                                   “elimination” of
                                                 of Melgoza's
                                                    Melgoza’s Associate Vice President position

                                              that her
(demotion) in 2016, Melgoza was told by Ellis that her termination
                                                       termination was
                                                                   was due
                                                                       due to
                                                                           to the
                                                                              the Company's
                                                                                  Company’s

restructuring of its management positions. Ellis added that
                                           Ellis added that Rush
                                                            Rush was
                                                                 was "top
                                                                     “top heavy."
                                                                          heavy.”

          112.   Between the years of 2019-2020, Rush added multiple positions to the cancer

center including Ellis, Katharine E. Struck, the Chief Administrative Officer, and Elizabeth A.

Cozzi, Director of Cancer Center (who has a similar job title as Melgoza).

          113.   With over 13,000 employees, Rush, again, selected Melgoza, the only Mexican-

American woman in leadership with complex and profitable cancer departments, for elimination.

          114.   During the termination meeting, Melgoza expressed to Ellis and Simmons that she

believed the elimination of her role was retaliatory and that she was selected because she had

raised concerns about discrimination, retaliation, equal pay violations and harassment at Rush,

including through filing this lawsuit.




                                                 18
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4619ofof157
                                                                   27 PageID
                                                                      PageID #:6036
                                                                      PagelD #:5909




        115.     Undettered, Ellis and Simmons reiterated that she was termianated and told her

she would
she would be
          be offered
             offered aa "severance
                        “severance package."
                                   package.”

        116.     Upon review, the severance package offered to Melgoza provided for a severance

payment and other benefits in exchange for Melgoza signing a settlement agreement that would

                                                               – which necessarily would
release all of her known and unknown legal claims against Rush —

include her claims of discrimination and retalation         raised in this lawsuit. Signficantly,

Melgoza’s counsel
Melgoza's counsel was
                  was not informed by counsel for Rush that Melgoza would be offered this

settlement or presented with a settlement agreement.

        117.     Rush’s proffered
                 Rush's proffered justification
                                  justification for Melgoza’s termination
                                                for Melgoza's termination is
                                                                          is false and pretext
                                                                             false and pretext for
                                                                                               for

unlawful retaliation.

        118.     Melgoza suffered an adverse action when she was terminated from her position on

July 14, 2020.

        119.     There is a causal link between Melgoza engaging in the abovementioned

protected activity and her termination of employment.

        120.     There
                 There is
                       is aa causal
                             causal link
                                    link between
                                         between Melgoza's
                                                 Melgoza’s ongoing
                                                           ongoing lawsuit
                                                                   lawsuit against
                                                                           against Rush
                                                                                   Rush and
                                                                                        and her
                                                                                            her

termination of employment.

                                – Violation of the Equal Pay Act of 1963
                        Count I —

        94.121.
        94,121.         Melgoza incorporates paragraphs 1 through 93120 as though fully stated

here.

        95.122.
        9  122.         At all times material to this Complaint, Rush was an employer within the

meaning of the EPA, § 203(d).

        96.123.
        96,123.         Rush violated the EPA, § 206(d), by paying Melgoza less than male

employees performing substantially equal work.



                                                19
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4720ofof157
                                                                   27 PageID
                                                                      PageID #:6037
                                                                      PagelD #:5910




        97.124.
        9-7,124.         Male employees at Rush who have the same skill, effort and responsibility

needed to perform the work as Melgoza, performed under similar working conditions, were paid

more than Melgoza in violation of the EPA, §206(d).

        98.125.
        9&125.           Rush’s violations
                         Rush's violations of
                                           of the
                                              the EPA caused her
                                                  EPA caused her significant
                                                                 significant monetary harm.

        99.126.
        99426.           Rush’s violations
                         Rush's violations of
                                           of the
                                              the EPA were willful.
                                                  EPA were willful.

        WHEREFORE, Plaintiff, Norma Melgoza, respectfully requests that this Court, after a

jury trial, enter judgment in her favor and against Defendant, Rush University Medical Center,

and award damages equal to:

                (i)
                (i)      all back pay lost as a result of the failure to pay equal wages;

                (ii)     liquidated damages equal to the amount of back pay lost as a result of the
                         failure to pay equal wages;

                (iii)    her attorneys'
                         her attorneys’ fees and costs;
                                        fees and costs; and
                                                        and

                (iv)     such other and further relief as this Court deems just and proper under the
                         circumstances.

                                  – Violation of the Equal Pay Act of 1963
                         Count II —

        100.127.
        4-00427.         Melgoza incorporates paragraphs 1 through 93120 as though fully stated

here.

        101.128.
        4-0-ft128.       At all times material to this Complaint, Rush was an employer within the

meaning of the EPA, § 203(d).

        102.129.         Rush illegally retaliated against Melgoza for exercising her rights under

the EPA.

        130.       Since 2013, Rush has engaged in a continuing campaign of retaliation against

Melgoza for her abovementioned protected activity, culminating in her July 14, 2020 termination

of employment, in violation of the EPA.



                                                   20
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4821
                                                             ofof157
                                                            21    27 PageID
                                                                     PageID #:6038
                                                                     PagelD #:5911
                                                                            #:5911




        103.131.        Rush’s illegal
                        Rush's illegal retaliation
                                       retaliation against
                                                   against Melgoza caused her significant monetary

harm.

        104.132.
        4444,132.       Rush’s illegal
                        Rush's         retaliation against
                               illegal retaliation against Melgoza
                                                           Melgoza was
                                                                   was willful.
                                                                       willful.

        WHEREFORE, Plaintiff, Norma Melgoza, respectfully requests that this Court, after a

jury trial, enter judgment in her favor and against Defendant, Rush University Medical Center,

and award damages equal to:

               (i)
               (i)      all back pay lost as a result of the failure to pay equal wages and
                        the demotion;

               (ii)     liquidated damages equal to the amount of back pay lost as a result of the
                        failure to pay equal wages and the demotion;

               (iii)    restoration of
                        restoration of Melgoza's
                                       Melgoza’s title
                                                 title and
                                                       and position
                                                           position at
                                                                    at Rush
                                                                       Rush prior
                                                                             prior to
                                                                                   to the
                                                                                      the demotion
                                                                                          demotion
                        and subsequent termination, or equivalent front pay;

               (iv)     her attorneys'
                        her attorneys’ fees and costs; and
                                       fees and

               (v)      such other and further relief as this Court deems just and proper under the
                        circumstances.

                         – Violation of Title VII of the Civil Rights Act of 1964
               Count III —

        105.133.        Melgoza incorporates paragraphs 1 through 93120 as though fully stated

here.

        106.134.
        44)&134.        At all times material to this Complaint, Rush was an employer within the

meaning of Title VII, § 2000e, and employed more than the statutory minimum of fifteen

employees.

        107.135.        Rush discriminated against Melgoza on the basis of her gender, female, in

violation of § 2000e-2.

        108.136.
        44)&136.        Similarly- situated male employees at Rush did not receive the same
                        Similarly-_situated

treatment as Melgoza.



                                                 21
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page4922ofof157
                                                                   27 PageID
                                                                      PageID #:6039
                                                                      PagelD #:5912




        109.137.      Rush created a hostile working environment for Melgoza due to

Melgoza’s gender.
Melgoza's gender.

        110.138.
        4407138.      Rush’s violations
                      Rush's violations of
                                        of Melgoza's
                                           Melgoza’s rights
                                                     rights under
                                                            under Title
                                                                  Title VII
                                                                        VII caused her
                                                                            caused her

significant emotional, physical, and monetary harm.

        111.139.
        444,139.      Rush’s violations
                      Rush's violations of
                                        of Melgoza's
                                           Melgoza’s rights
                                                     rights under
                                                            under Title
                                                                  Title VII
                                                                        VII were
                                                                            were willful.
                                                                                 willful.

        WHEREFORE, Plaintiff, Norma Melgoza, respectfully requests that this Court, after a

jury trial, enter judgment in her favor and against Defendant, Rush University Medical Center,

and award damages equal to:

              (i)
              (i)     all back pay lost as a result of the failure to pay equal wages and the
                      demotion;

              (ii)    restoration of
                      restoration of Melgoza's
                                     Melgoza’s title
                                               title and
                                                     and position
                                                         position at
                                                                  at Rush
                                                                     Rush prior
                                                                          prior to
                                                                                to the
                                                                                   the demotion1
                                                                                       demotion,
                      or equivalent front pay;

              (iii)   compensatory damages;

              (iv)    punitive damages;

              (v)     her attorneys'
                      her attorneys’ fees and costs;
                                     fees and costs; and
                                                     and

              (vi)    such other and further relief as this Court deems just and proper under the
                      circumstances.

                       – Violation of Title VII of the Civil Rights Act of 1964
              Count IV —

        112.140.                                                93120 as though fully stated
                      Melgoza incorporates paragraphs 1 through 91120

here.

        113.141.      At all times material to this Complaint, Rush was an employer within the

meaning of Title VII, § 2000e, and employed more than the statutory minimum of fifteen

employees.

        114.142.
        4447142.      Rush discriminated against Melgoza on the basis of her national origin,

Mexican-American, in violation of § 2000e-2.


                                               22
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page5023ofof157
                                                                   27 PageID
                                                                      PageID #:6040
                                                                      PagelD #:5913




        115.143.       Similarly-situated employees not of Mexican-American origin at Rush did

not receive the same treatment as Melgoza.

        116.144.
        44-67144.      Rush created a hostile working environment for Melgoza due to

Melgoza’s national
Melgoza's national origin,
                   origin, Mexican-American.
                           Mexican-American.

        117.145.
        44-77145.      Rush’s violations
                       Rush's violations of
                                         of Melgoza's
                                            Melgoza’s rights
                                                      rights under
                                                             under Title
                                                                   Title VII
                                                                         VII caused her
                                                                             caused her

significant emotional, physical, and monetary harm.

        118.146.
        4487146.       Rush’s violations
                       Rush's violations of
                                         of Melgoza's
                                            Melgoza’s rights
                                                      rights under
                                                             under Title
                                                                   Title VII
                                                                         VII were
                                                                             were willful.
                                                                                  willful.

        WHEREFORE, Plaintiff, Norma Melgoza, respectfully requests that this Court, after a

jury trial, enter judgment in her favor and against Defendant, Rush University Medical Center,

and award damages equal to:

               (i)
               (i)     all back pay lost as a result of the failure to pay equal wages and the
                       demotion;

               (ii)    restoration of
                       restoration of Melgoza's
                                      Melgoza’s title
                                                title and
                                                      and position
                                                          position at
                                                                   at Rush
                                                                      Rush prior
                                                                           prior to
                                                                                 to the
                                                                                    the demotion or
                                                                                        demotion or
                       equivalent front pay;

               (iii)   compensatory damages;

               (iv)    punitive damages;

               (v)     her attorneys'
                       her attorneys’ fees and costs;
                                      fees and costs; and
                                                      and

               (vi)    such other and further relief as this Court deems just and proper under the
                       circumstances.

                        – Violation of Title VII of the Civil Rights Act of 1964
                Count V —

        119.147.                                                 93120 as though fully stated
                       Melgoza incorporates paragraphs 1 through 91120

here.

        120.148.       At all times material to this Complaint, Rush was an employer within the

meaning of Title VII, § 2000e, and employed more than the statutory minimum of fifteen

employees.


                                                23
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page5124ofof157
                                                                   27 PageID
                                                                      PageID #:6041
                                                                      PagelD #:5914




       121.149.        Rush illegally retaliated against Melgoza for exercising her rights under

Title VII.

       150.    Since 2013, Rush has engaged in a continuing campaign of retaliation against

Melgoza for her abovementioned protected activity, culminating in her July 14, 2020 termination

of employment, in violation of Title VII.

       122.    Similarly-situated male employees at Rush who did not exercise their rights under

Title VII at Rush did not receive the same treatment as Melgoza.

       123.    Similarly-situated employees not of Mexican-American national origin at Rush

who did not exercise their rights under Title VII did not receive the same treatment as Melgoza.

       122.151.        Rush’s illegal
                       Rush's illegal retaliation
                                      retaliation against
                                                  against Melgoza
                                                          Melgoza caused
                                                                  caused her
                                                                         her significant

emotional, physical, and monetary harm.

       123.152.        Rush’s illegal
                       Rush's         retaliation against
                              illegal retaliation against Melgoza
                                                          Melgoza was willful.

       WHEREFORE, Plaintiff, Norma Melgoza, respectfully requests that this Court, after a

jury trial, enter judgment in her favor and against Defendant, Rush University Medical Center,

and award damages equal to:

               (i)
               (i)     all back pay lost as a result of the failure to pay equal wages and the
                       demotion;

               (ii)    restoration of
                       restoration of Melgoza's
                                      Melgoza’s title
                                                title and
                                                      and position
                                                          position at
                                                                   at Rush
                                                                      Rush prior
                                                                            prior to
                                                                                  to the
                                                                                     the demotion
                                                                                         demotion
                       and subsequent termination, or equivalent front pay;

               (iii)   compensatory damages;

               (iv)    punitive damages;

               (v)     her attorneys'
                       her attorneys’ fees and costs;
                                      fees and costs; and
                                                      and

               (vi)    such other and further relief as this Court deems just and proper under the
                       circumstances.

                                – Violation of Illinois Human Rights Act
                       Count VI —

                                                24
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page5225ofof157
                                                                   27 PageID
                                                                      PageID #:6042
                                                                      PagelD #:5915




        124.153.        Melgoza incorporates paragraphs 1 through 93120 as though fully stated

here.

        125.154.        At all times material to this Complaint, Rush was an employer within the

meaning of the Illinois Human Rights Act, §2-101(B)(1)(a), and employed more than the

statutory minimum of fifteen employees.

        126.155.        Rush discriminated against Melgoza on the basis of her gender, female,

and on the basis of her national origin, Mexican-American, in violation of the Illinois Human

Rights Act.

        127.156.        Similarly situated male employees at Rush did not receive the same

treatment as Melgoza.

        128.157.        Similarly-situated employees not of Mexican-American national origin at

Rush did not receive the same treatment as Melgoza.

        129.158.        Rush created a hostile working environment for Melgoza due to

Melgoza’s gender.
Melgoza's gender.

        130.159.        Rush created a hostile working environment for Melgoza due to

Melgoza’s national
Melgoza's national origin,
                   origin, Mexican-American.
                           Mexican-American.

        131.160.
        4-34,160.       Rush retaliated against Melgoza for exercising her rights in violation of

the Illinois Human Rights Act, §6-101(A).

        161.   Since 2013, Rush has engaged in a continuing campaign of retaliation against

Melgoza for her abovementioned protected activity, culminating in her July 14, 2020 termination

of her employment, in violation of the Illinois Human Rights Act.

        132.162.        Rush’s violations
                        Rush's violations of
                                          of the
                                             the Illinois
                                                 Illinois Human
                                                          Human Rights
                                                                Rights Act
                                                                       Act caused
                                                                           caused her
                                                                                  her significant
                                                                                      significant

emotional and monetary harm.



                                                25
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page5326ofof157
                                                                   27 PageID
                                                                      PageID #:6043
                                                                      PagelD #:5916




       133.163.        Rush’s violations
                       Rush's violations of the Illinois Human Rights Act were willful.

       WHEREFORE, Plaintiff, Norma Melgoza, respectfully requests that this Court, after a

jury trial, enter judgment in her favor and against Defendant, Rush University Medical Center,

and award damages equal to:

              (i)
              (i)      all back pay lost as a result of the failure to pay equal wages and the
                       demotion;

              (ii)     restoration of
                       restoration of Melgoza's
                                      Melgoza’s title
                                                title and
                                                      and position
                                                          position at
                                                                   at Rush
                                                                      Rush prior
                                                                            prior to
                                                                                  to the
                                                                                     the demotion
                                                                                         demotion
                       and subsequent termination, or equivalent front pay;

              (iii)    compensatory damages;

              (iv)     punitive damages;

              (v)      her attorneys'
                       her attorneys’ fees and costs;
                                      fees and costs; and
                                                      and

              (vi)     such other and further relief as this Court deems just and proper under the
                       circumstances.


Dated: July 15
            15, 2020                                 Respectfully submitted,

                                                     Norma Melgoza,
                                                     Plaintiff,


                                                     By:
                                                            One of her Attorneys

Peter M. Katsaros, Esq. (#3122661)
Ashley L. Orler, Esq. (#6297339)
Rebekah S. Mintzer (#63179231)
M. Elysia Baker, Esq. (#6308530)
GOLAN CHRISTIE TAGLIA LLP
70 W. Madison Street, Suite 1500
Chicago, Illinois 60602
(312) 263-2300
pmkatsaros@gct.law
pnik-atseres
alorler@gct.law
rsmintzer@gct.law
r-snaintzer-@getlaw
alorler@gct.law
rsmintzer@gct.law
rsmintzer@gct.  law


                                                26
Case: 1:17-cv-06819
Case: 1:17-cv-06819 Document
                    Document #:
                             #: 213-1
                                213-1
                                239 Filed:
                                      Filed:05/07/21
                                             07/15/20Page
                                                      Page5427ofof157
                                                                   27 PageID
                                                                      PageID #:6044
                                                                      PagelD #:5917




mebaker@gct.law




                                        27
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 55 of 157 PageID #:6045




                     EXHIBIT
                        B
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 56 of 157 PageID #:6046


JacksonLewis                                                               Jackson Lewis P.C.
                                                                           150 North Michigan Avenue, Suite 2500
                                                                           Chicago IL 60601
                                                                           (312) 787-4949 Direct
                                                                           (312) 787-4995 Fax
                                                                           jacksonlewis.com



MY DIRECT
MY DIRECT DIAL
           DIAL IS:
                IS: (312)
                    (312) 803-2508
                          803-2508
MY E
MY        ADDRESS IS:
     MAIL ADDRESS
   EMAIL            IS: JANE.MCFETRIDGE@JACKSONLEWIS.COM
                        JANE.MCFETRIDGE@JACKSONLEWIS.COM



                                                           April 2, 2021

VIA ELECTRONIC MAIL
Ashley L. Orler
Golan Christie Taglia LLP
70 West Madison Street, Suite 1500
Chicago, IL 60602
alorler@gct.law

                                   Re:      Norma Melgoza v. Rush University Medical Center
                                            Case No. 17-CV-6819
Dear Ashley,

        We write this letter following-up on our previous discussions and the March 10th
settlement conference, during which the parties were not able to reach a resolution. We also
received your April 1st email wherein you stated that Plaintiff does not intend to include her
termination-related claims in the present litigation and proposed a briefing schedule pursuant to
    Court’s March 10th order (Dkt. No. 233). Before confirming dates for the briefing schedule,
the Court's
we would like some clarification with respect to your correspondence. You state that you will not
be including the termination in the current litigation. You do not state that you will not be pursuing
the termination in separate proceedings. This question is the gravamen of our concern and will
obviously be the focus of our pleadings. To date, Plaintiff has been coy about her intentions in
that regard. Since it directly impacts our approach to the briefing in question, we ask that Plaintiff
make her intentions clear in this respect, in the interest of judicial economy, if for no other reasons.

       To the extent Plaintiff, anticipates pursuing her termination claims separately, we
encourage her to reconsider her decision for the reasons discussed below.

         I.      Relevant Background

       Plaintiff filed the present litigation against Rush University Medical Center ("Rush")
                                                                                        (“Rush”) on
September 21, 2017, while she was still employed with Rush. Plaintiff's
                                                               Plaintiff’s First Amended Complaint
(“Complaint”) includes six counts under the Equal Pay Act, Title VII, and the Illinois Human
("Complaint")
Rights Act. Specifically, Plaintiff alleges that Rush discriminated against her based on her sex and
national origin by paying her less than coworkers outside of her protected categories, failing to
promote her, and harassing her. Plaintiff also alleged that she reported concerns about the
discrimination and was retaliated against for doing so. In her Complaint, Plaintiff alleges that
“Rush’s discrimination and retaliation continues."
"Rush's                                  continues.” (Compl. at 93).
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 57 of 157 PageID #:6047
                                                                         Ashley Orler
                                                                                Golan Christie Taglia LLP
                                                                                             April 2, 2021
                                                                                                    Page 2



        On July 14, 2020, Plaintiff was advised that her position was being eliminated effective
July 19, 2020 in a reduction in force ("RIF")
                                      (“RIF”) that impacted more than 230 employees. At the time
                     Defendant’s motion for summary judgment was pending. On July 15, 2020,
of her termination, Defendant's
Plaintiff filed a motion to amend her Complaint ("Motion
                                                 (“Motion to Amend")
                                                             Amend”) and attached a draft Second
                        (“SAC”) including new allegations based on her termination. The SAC
Amended Complaint ("SAC")
added roughly four full pages of allegations related to the termination of Plaintiffs
                                                                           Plaintiff’s employment
and asserted that her inclusion in the RIF was further indicia of Defendant's
                                                                  Defendant’s discriminatory and
retaliatory animus toward her. The SAC contained no new allegations of discriminatory or
retaliatory motives or animus. Nor did the new allegations include any indication that Plaintiff
engaged in new protected activity. Indeed, Plaintiff simply alleged that "Since
                                                                           “Since 2013, Rush has
engaged in a continuing campaign of retaliation against Melgoza for her abovementioned protected
activity, culminating in her July 14, 2020 termination of employment…”
                                                          employment..." (Doc.# 213-1 at ¶¶¶¶ 130,
150, 161).

       On July 23, 2020, Plaintiff submitted a letter requesting withdrawal of her Motion to
Amend in order "to “to move forward with the claims in her First Amended Complaint as
                 possible.” (Dkt. No. 215). The Court granted Plaintiffs
expeditiously as possible."                                   Plaintiff’s request to withdraw her
motion. (Dkt. No. 216).

       On November 9, 2020, four months after Plaintiff's
                                                  Plaintiff’s termination, the Court issued its
opinion on the motion for summary judgment, granting it in part and denying it in part. Since the
Court’s decision on the motion for summary judgment, Plaintiff has been non-committal on
Court's
whether or not she will pursue a claim based on her termination, despite inquiry from the
undersigned counsel. Despite your April 1 email supposedly on this topic, Plaintiff continues to
remain non-committal.

       II.     Plaintiff’s
               Plaintiff's Termination Claim is Based on the Same Operative Facts and
               Should Be Consolidated with the Instant Action

        Under the theories of res judicata and claim preclusion, a final judgment in this matter will
preclude the filing of new claims that could have been asserted before the final judgment. Walczak
                                                                                              Walczak
v. Chicago Board of of Education, 739 F.3d 1013, 1016-1017 (7th Cir. 2014). The defense of claim
             “‘provides that a final judgment on the merits rendered by a court of competent
preclusion "'provides
jurisdiction bars any subsequent actions between the same parties or their privies on the same cause
   action.” Rose v. Bd. of
of action."              of Election Comm’rs   for the City of
                                      Comm'rsfor                                       (7th Cir. 2016)
                                                            of Chi., 815 F.3d 372, 374 (7th
(internal citations omitted); Rein v. David A. Noyes & Co., 172 Ill. 2d 325, 665 N.E.2d 1199, 1204,
216 Ill. Dec. 642 (Ill. 1996). "Claim
                                 “Claim preclusion applies not only to matters that were actually
                                                                            decided.” Walczak,
decided in the original action but also to matters that could have been decided."       Walczak, 739
F.3d at 1016-17.

        In Illinois, claim preclusion has three elements: (1) a final judgment on the merits rendered
by a court of competent jurisdiction; (2) an identity of the causes of action; and (3) an identity of
parties or their privies. Dookeran v. Cty. of                                  (7th Cir. 2013); Cooney
                                             of Cook, Ill., 719 F.3d 570, 575 (7th
v. Rossiter, 2012 IL 113227, ¶   ¶ 18, 986 N.E.2d 618, 621. "The “The second element is assessed by
reference to the ‘transactional  test,’ which provides that separate claims are considered the same
                  `transactional test,'
cause of action for claim-preclusion purposes ‘if`if they arise from a single group of operative facts,
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 58 of 157 PageID #:6048
                                                                         Ashley Orler
                                                                                    Golan Christie Taglia LLP
                                                                                                 April 2, 2021
                                                                                                        Page 3



regardless of whether they assert different theories of relief.’”
                                                              relief.' Walczak,
                                                                        Walczak, 739 F.3d at 1016-17
(quoting River Park, Inc. v. City ofof Highland Park, 184 Ill. 2d 290, 703 N.E.2d 883, 893, 234 Ill.
Dec. 783 (Ill. 1998)); see also Hayes v. City of of Chicago, 670 F.3d 810, 813 (7th (7th Cir. 2012) (under
    “transactional test,"
the "transactional test,” "the
                          “the assertion of different kinds of theories of relief still constitutes a single
         action” for purposes of claim preclusion if based on based on the same group of operative
cause of action"
facts).

        Plaintiff’s claims based on her termination are clearly based on the same operative facts as
        Plaintiff's
her current retaliation and discrimination claims. This is evidenced by the fact that she initially
sought to amend the Complaint to reflect her termination but did not include any new allegations
of discriminatory or retaliatory animus. Plaintiff's
                                              Plaintiff’s draft SAC simply added a new adverse
employment action on which to base her claims —    – essentially, she is asserting a continuing pattern
of behavior. Indeed, in her draft SAC, Plaintiff repeatedly asserted that her termination was simply
another example of discriminatory or retaliatory conduct bolstering her prior claims. Additionally,
              10th settlement conference, Plaintiffs
at the March 10th                         Plaintiff’s included her termination as a component of her
demand for damages. Undoubtedly, Plaintiff herself views her termination as intertwined with the
present case.

        “The principle that res judicata extends to all matters within the purview of the original
        "The
action, whether or not they were actually raised, is tantamount to a rule requiring parties to
consolidate all closely related matters into one suit. As such, the principle serves well the interest
of judicial economy, and thus it is at the core of the res judicata doctrine.”
                                                                     doctrine." Hagee v. Evanston,
729 F.2d 510, 514 (7th Cir. 1984). "Plaintiff
                                     “Plaintiff is the master of her complaint...
                                                                     complaint…[a]nd
                                                                                  [a]nd as the master
                                                                                    transaction…was
of the complaint, the duty to consolidate the two suits arising out of the same transaction...was
[Plaintiff’s], not Defendant's."
[Plaintiff's],     Defendant’s.” Hill v. Potter, 2012 U.S. Dist. LEXIS 5997 at *7 (N.D. Ill. Jan.
19, 2012). Based on the principles of res judicata and claim preclusion, if Plaintiff fails to amend
her complaint to consolidate her claims in this lawsuit, she will be estopped from bringing claims
based on her termination in the future.

        Plaintiff has implied that she is uncertain how she intends to proceed relative to her
termination claims. Considering the Motion to Amend and Plaintiffs Plaintiff’s evident animus toward
Rush, it is more than just a little disingenuous to suggest that she is even considering not pursuing
a claim based on her termination. However, Plaintiff will be required to show her hand on this
well before the trial of the currently pending action. She will need to file an administrative charge
by mid-May in order to preserve her claims relative to the termination. Given the progress with
vaccines, coupled with speedy trial considerations for criminal trials once the courts reopen, it is
very unlikely we will have a trial date in this matter by mid-May. Thus, it will be evident to all
the game at which Plaintiff plays.

       To the extent she then plans to assert that it is simply too late to join the two pending
matters, we would make the following observations: (1) Plaintiff clearly knew she intended to
pursue claims associated with her termination based on the Motion to Amend she filed on July 15,
2020, only to immediately withdraw; and (2) had she pursued the Second Amended Complaint, or
immediately filed an EEOC charge followed by a request for issuance of a notice of right to sue,
any discovery and motion practice required by the new claims would have been fully complete by
the time of trial in the instant action. It is her choice —
                                                          – her gamble —
                                                                       – to wait out the filing deadline
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 59 of 157 PageID #:6049
                                                                         Ashley Orler
                                                                                  Golan Christie Taglia LLP
                                                                                               April 2, 2021
                                                                                                      Page 4



on the administrative charge for her termination. But such a gambit is not without risk or
consequence. And it is Plaintiff who will have to bear the consequence.

         Based on the foregoing, it seems that Plaintiff's
                                                 Plaintiff’s intention is to attempt to press forward as
soon as possible with a trial on the current matter, holding onto the possibility of a subsequent
redundant piece of litigation —– or to be able to relitigate the issues under a slightly modified theory
in the event she is not successful in the current litigation or desires to enhance her damages in
some way. Plaintiff appears to be trying to ratchet up defense costs for a not for profit healthcare
institution in the middle of a global pandemic. To allow Plaintiff to proceed in this manner would
be completely inefficient, extremely prejudicial to Rush, and antithetical to the interests of justice
and judicial economy. As such, Rush believes Plaintiff should be required to amend her pleadings
to reflect any claims she intends to bring as a result of her termination, be required to file an EEOC
charge in relation to those claims, and agree to a stay of proceedings until issuance of a notice of
right to sue on the termination claims, after which any ensuing legal action could be consolidated
with or brought in the instant action.

               Plaintiff’s initial explanation for withdrawing her Motion to Amend was to prevent
        While Plaintiff's
delay, as discussed above, Plaintiff has yet to pursue a claim based on her termination but could
have done or do so any time between July 2020 and May 2021. Plaintiff remains non-committal
on the issue despite the fact that the Court will not be in a position to try Plaintiff's
                                                                              Plaintiff’s claims until at
least the Fall of 2021 (months after she would need to bring or preserve her claims). During this
“downtime” —
"downtime"    – from the time of her termination until the present and beyond —     – the parties could
have been engaging in discovery and motion practice related to the termination claims. As such,
Plaintiff’s "delay"
Plaintiff's “delay” excuse is completely without merit. It is fairly evident that Plaintiff's
                                                                                     Plaintiff’s strategy
is indeed to delay filing of the administrative charge associated with the termination in order to
better support a contention that it is a separate claim and that the consolidation of that claim with
the pending matter would delay the resolution of the instant action. By doing so, she would thus
effectively give herself "two
                          “two bites at the same apple"
                                                    apple” —
                                                           – if she does not prove successful in the
current action, or as successful as she would like to be, she could then essentially relitigate the
issues in a subsequent action relating to the termination.

        This letter will serve as Rush's
                                    Rush’s repeated notice to Plaintiff that its position is that her
termination claims should be consolidated with her present lawsuit and that failure to timely bring
these claims will result in the claims being precluded. If Plaintiff later brings claims based on her
termination, Rush will move to dismiss said claims based on the theory of res judicata and
impermissible claims splitting. Further, if Plaintiff is able to proceed on her instant claims without
                                                                                   Plaintiff’s recovery
amending her Complaint to add the termination claims, Rush will seek to limit Plaintiff's
to July 2020 when she was lawfully terminated. Rush will further seek to bar any evidence that
                     Plaintiff’s termination was unlawful as it would unnecessarily prejudice the
would suggest that Plaintiffs
jury.
jury

        III.    Recommendation

                                                 Plaintiff’s termination claims should be asserted
        As described above, Rush maintains that Plaintiff's
in the present action or they will be barred on claims preclusion/res judicata grounds. To date,
Plaintiff will commit to nothing more than she does not want/will not bring her termination claims
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 60 of 157 PageID #:6050
                                                                         Ashley Orler
                                                                                  Golan Christie Taglia LLP
                                                                                               April 2, 2021
                                                                                                      Page 5



in this litigation. She has refused to commit to whether she will institute a separate action relative
to her claims, indicating that she will make that decision closer the end of the statute of limitations,
which we believe is May 15, 2021. While we certainly cannot make her commit to a position
before that time, it would appear to be both inefficient and premature to brief the issue before we
understand her actual intentions. Either she is going to pursue her termination claims in a separate
administrative charge, followed by another lawsuit, or she is not. Her position in that regard —      –
which she continues to refuse to identify —  – will impact the scope and subject matter of any brief
the Defendant might file. We need to know what her position is before we begin briefing. We
should not have to guess Plaintiffs
                              Plaintiff’s intentions and believe that was the sentiment of Judge
Rowland’s previous order in this regard. Thus, Plaintiff can either commit to a position on that
Rowland's
topic in advance of May 15 —  – which means we can begin briefing sooner —     – or we will have to wait
until her position is crystalized by either the filing of a new administrative claim or not, on or
before May 17 (May 15 is a Saturday so Plaintiffs
                                            Plaintiff’s last filing date, by our calculations, would be
May 17).

        Accordingly, Rush proposes the following: Plaintiff commits to her intentions relative to
the pursuit of a second claim associated with her termination on or before Wednesday,
                                                                                 Wednesday, April 7,
                                                    Rush’s deadline to file its Motion be set for May
2021. If Plaintiff does so, then we propose that Rush's
                Plaintiff’s Opposition due on June 4, 2021 and Rush's
14, 2021, with Plaintiffs                                       Rush’s Reply due on June 18, 2021.
(We recognize this is slightly different than the one proposed by you in recent correspondence but
is necessitated by other professional commitments for Audrey and me). If Plaintiff is unwilling to
identify her intentions about bringing a second claim associated with her termination before May
                                                        Rush’s deadline to file its Motion be set for
17, then the briefing on this topic will be as follows. Rush's
June 4, 2021, with Plaintiff's
                     Plaintiff’s Opposition due on July 2, 2021 and Rush's
                                                                      Rush’s Reply due on July 16,
2021.

        Plaintiff can obviate any delay by making her intentions known —    – either directly or through
the filing of an administrative charge. If she remains unwilling to do so, then we would all
necessarily need to wait till the statutory deadline runs to learn of Plaintiffs
                                                                      Plaintiff’s intentions. If Plaintiff
wants this matter to move forward more quickly, the ability to do so is solely within her control.

        If you have any questions or would like to discuss this matter further, do not hesitate to
contact me directly.



                                                        Very truly yours,

                                                         JACKSON LEWIS P.C.


                                                         Jane X,
                                                        P44€  M. 7,47eiteolle
                                                                 McFetridge
                                                         Jane M. McFetridge



Cc:     Audrey Olson Gardner
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 61 of 157 PageID #:6051




                     EXHIBIT
                        C
             Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 62 of 157 PageID #:6052


Gardner, Audrey
Gardner, Audrey Olson
                Olson (Chicago)
                      (Chicago)

From:
From:                                             Ashley L.
                                                  Ashley     Orler <alorler@GCT.law>
                                                          L. Orler  <alorler@GCT.law>
Sent:
Sent:                                             Friday, April
                                                  Friday, April 30,
                                                                 30, 2021  12:46 PM
                                                                     2021 12:46  PM
To:
To:                                               McFetridge, Jane
                                                  McFetridge,    Jane M.  (Chicago)
                                                                       M. (Chicago)
Cc:
Cc:                                               Gardner, Audrey
                                                  Gardner,   Audrey Olson
                                                                      Olson (Chicago);
                                                                             (Chicago); Watkins,
                                                                                        Watkins, Brittany
                                                                                                 Brittany (Chicago);
                                                                                                          (Chicago); M.
                                                                                                                     M. Elysia
                                                                                                                        Elysia Baker Analo
                                                                                                                               Baker Analo
Subject:
Subject:                                          Melgoza v.
                                                  Melgoza    v. Rush
                                                                Rush -- EEOC
                                                                        EEOC Charge
                                                                              Charge
Attachments:
Attachments:                                      Melgoza 2021
                                                  Melgoza          EEOC Charge.pdf
                                                             2021 EEOC    Charge.pdf


[EXTERNAL SENDER]
[EXTERNAL SENDER

Jane,
Jane,

Attached is
Attached is aa copy
               copy of the EEOC
                    of the EEOC Charge
                                Charge that
                                       that will
                                            will be submitted to
                                                 be submitted to the
                                                                 the EEOC
                                                                     EEOC today.
                                                                          today.

Thank you,
Thank you,

Ashley L
Ashley L. Orler
          Orler |I Partner
                   Partner
GOLAN I CHRISTIE |I TAGLIA
GOLAN   | CHRISTIE     TAGLIA LLP
                               LLP
70
70 West  Madison, Suite
   West Madison,    Suite 1500
                          1500
Chicago, Illinois 60602
Chicago, Illinois 60602
(312) 696-2032
(312) 696-2032
alorler@gct.law
alorler@gct.law
Pronouns: she
Pronouns:   she and
                and her
                     her
CONFIDENTIALITY NOTICE: INFORMATION IN THIS MESSAGE IS INTENDED ONLY FOR THE PERSONAL AND CONFIDENTIAL USE OF THE RECIPIENT(S)
NAMED ABOVE.

This message is sent by or on behalf of a lawyer at the law firm of Golan Christie Taglia LLP (www.gct.law) and is intended only for the use of the individual or entity to which
it is addressed. This message may contain information which is privileged, confidential and exempt from disclosure under applicable law. If the reader of this message is not
the intended recipient or the employee or agent responsible for delivering this message to the intended recipient, please do not read, copy, use or disclose this communication
to others. If you have received this communication in error, please notify us immediately by reply e-mail or by telephone (call us collect at (312) 263-2300) and immediately
delete this message and all its attachments.




                                                                                       1
                                                                                       1
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 63 of 157 PageID #:6053




                      EXHIBIT
                        D
             Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 64 of 157 PageID #:6054
EEOC Form 5 (11/09)

                      CHARGE OF DISCRIMINATION                                                            Charge Presented To:              Agency(ies) Charge No(s):
             This form is affected by the Privacy Act of 1974. See enclosed Privacy Act                           FEPA
                    Statement and other information before completing this form.
                                                                                                              X EEOC

                                                           Illinois Department of Human Rights                                                              and EEOC
                                                                          State or local Agency, if any

Name (indicate Mr., Ms., Mrs.)                                                                                    Home Phone (Ind Area Code)              Date of Birth

Ms. Norma Melgoza                                                                                                     (773) 504-3299                  Aug. 26, 1970
Street Address                                                                   City, State and ZIP Code
1457 N. Halsted Street, Unit 801                                                 Chicago, Illinois 60642
Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe
Discriminated Against Me or Others. (If more than two, list under PARTICULARS below.)
Name                                                                                                               No. Employees, Members     Phone No. (Include Area Code)

Rush University Medical Center                                                                                            500+                    (312) 942-5000
Street Address                                                                   City, State and ZIP Code
1653 W. Congress Parkway                                                         Chicago, Illinois 60612
DISCRIMINATION BASED ON (Check appropriate box(es).)                                                               DATE(S) DISCRIMINATION TOOK PLACE
                                                                                                                             Earliest                Latest
  ❑       RACE        ❑       COLOR         n        SEX       ri       RELIGION
                                                                                          x
                                                                                                                           July 14, 2016               July 19, 2020
         X       RETALIATION        ❑       AGE      ri      DISABILITY          n             ORIGINAL
                                                                                          GENETIC
                                                                                          INFORMATION

                 n
                 OTHER (Specify)
                 FMLA see below
THE PARTICULARS ARE (If additional paper is needed, attach extra sheet(s)):
                                                                                                                                            CONTINUING ACTION


  I, Norma Melgoza, have been discriminated due to my Mexican American national origin and retaliated against by my
  former employer Rush University Medical Center ("Rush") in the following manner:

  I am a woman and of Mexican national origin. I began my employment with Rush in November 2010. Rush
  involuntarily terminated my employment on July 14, 2020.

  Throughout my tenure as an Associate Vice President, Rush paid me substantially less per year than my male and/or
  non-Mexican-American colleagues performing substantially equal work. I raised complaints about my unequal pay as a
  woman and requested equity in Rush's payment of my compensation. In my roles as an Assistant and Associate Vice
  President and Director at Rush, I also complained of discriminatory treatment and systematic discriminatory practices
  by Rush, including but not limited to its failure to post executive leadership positions and fairly evaluate candidates, and
  hiring relatives and friends which excludes women, veterans, the disabled, and individuals of Mexican descent.

  On July 14, 2016, Rush demoted me two levels down to a position of "Director" at Rush after I was informed that my
  position as Associate Vice President was eliminated. On May 8, 2017, I filed a Charge of Discrimination (Charge 440-
  2017-03647) against Rush with the Equal Employment Opportunity Commission ("EEOC") alleging retaliation and
  discrimination on the basis of gender and national origin. A copy of the Charge of Discrimination is attached as Exhibit
  A. On September 21, 2017, after receiving a "right to sue" letter, I timely filed a lawsuit ("Lawsuit") against Rush in
  the United States District Court for the Northern District of Illinois. A copy of my Amended Complaint is attached as
  Exhibit B. My Lawsuit against Rush remains pending. [See additional pages.]

 I want this charge filed with both the EEOC and the State or local Agency, if any. I          NOTARY — When necessary for State and Local Agency Requirements
 will advise the agencies if I change my address or phone number and I will
 cooperate fully with them in the processing of my charge in accordance with their
 procedures.                                                                                   I swear or affirm that I have read the above charge and that it is true to
 I declare under penalty of perjury that the above is true and correct.                        the best of my knowledge, information and belief.
                                                                                               SIGNATURE OF COMPLAINANT


         4,.te, 3-1;t Peue--                                                                   xx
                                                                                               SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                               (month, day, year)
             Date                                 Charging Party Signature
         Case:
[Continued from 1:17-cv-06819
                previous page.] Document #: 239 Filed: 05/07/21 Page 65 of 157 PageID #:6055

After I filed the Lawsuit, Rush utilized a multitude of discriminatory and retaliatory practices, including the failure to promote;
intimidation by eliminating my direct reports who were under-represented minority women; preventing access to key business
tools and meetings that interfered with duties; increasing the heat in my office to make the environment uncomfortable;
suppressing my wages; and ultimately, terminating my employment.

From mid-2018 through the termination of my employment, I applied to multiple available positions at Rush, all for which I
was qualified. Individuals with less relevant experience who were not of Mexican American national origin or who had not
previously alleged claims of discrimination and/or retaliation against Rush were hired for those positions. For example, Katie
Struck, ("Struck") was appointed CAO of Cancer in May 2019, Josh Ellis ("Ellis") Associate Vice President of Operations in
Cancer Center in summer 2019, and Danielle Chiemienti ("Chiemienti") Cancer Service Line Administrator in Spring 2019.
Ellis was also appointed as Cancer Interim Administrator by K. Ranga Rama Krishnan ("Krishnan") in 2019.

Despite my expansive portfolio in cancer-related departments where I managed complex clinical cancer services, on May 2019,
Ellis, provided an organizational chart of the Cancer Center without my position listed. He informed me that my position did
not exist within the Cancer Center which further added to my distress and anxiety. As of 2019, Rush failed to produce a job
description for all of my responsibilities as Director of the Cancer Center. On November 20, 2019, Ellis informed me that my
salary was not budgeted in the Cancer Center, causing much anxiety about my career at Rush. On January 9, 2020, Ellis
informed me that my position at Rush was not budgeted and asked me to figure out where my position fit.

After I filed the Lawsuit, I informed Ellis that my office was maintained at an ongoing 95 degrees which I found suffocating
and difficult to work in. I asked him for help but this issue was never resolved.

Rush continued to discriminate and retaliate against the African-American women who reported to me, professionals with
years of healthcare experience and performance ratings that exceeded expectations. On June 6, 2019, I was informed by Ellis
and Dr. Paula Grabler, ("Grabler"), Medical Director of Breast Imaging, that my direct report, Shawnda Mays-Jackson
("Mays-Jackson"), the Director of Radiation Oncology, was eliminated due to performance issues. Mays-Jackson is an
African-American woman whose performance exceeded expectations for the past 10 years. At that time, I questioned Ellis why
her sudden performance issues were not brought to my attention given that I was her immediate supervisor. No response was
ever provided. On December 7, 2020, Nancee Hofheimer ("Hofheimer") informed me that another direct report, Sharon
Brown-Elms ("Brown-Elms"), Administrator for Breast Imaging, was being investigated for performance issues. Brown-Elms
is African-American and had a 20-year career at Rush with exceptional performance ratings.

In August 2019, Ellis continued his retaliation and discrimination by downgrading my performance in the "Shadow Program",
which impacted my wages. The Shadow Program was an "incentive program" Rush created just for me after it demoted me
two levels down in 2016, but was never clearly defined by Rush. Ellis downgraded my performance in the Shadow Program
and explained it was based on a delay of a contract held up by Rush's legal department and other executives. Karl Bergetz
("Bergetz"), Chief Legal Counsel for Rush, was responsible for the legal review of all contracts and ongoing litigation against
Rush. In addition, Bergetz was appointed Acting Chief of Human Resources by Krishnan in summer 2019. In that role, Bergetz
was managing legal affairs and overseeing employment and hiring practices across the organization for 14,000 employees. I
submitted a written complaint to Krishnan, Omar Lateef (CEO), Dr. Mia Levy ("Levy") (Medical Director of the Cancer
Center) and Struck regarding Ellis' failure to consider the delays created by the legal office and the organization that were
outside of my control which suppressed my wages, were in retaliation due to the Litigation, and discriminatory. In November
2019, my complaints were referred to Hofheimer. I informed Hofheimer that Ellis and Struck were excluding me from key
business meetings which was an act of retaliation and discrimination. Even though I raised these concerns, in March 2020,
Ellis removed my access to key accounting units preventing me from ordering key patient supplies.

On November 15, 2019, Rush filed its Motion for Summary Judgment seeking judgment in its favor in my Lawsuit and
dismissal of all counts of my Amended Complaint. Thereafter, Rush and I filed briefs related to Rush's summary judgment
motion. On December 11, 2019, Judge Mary M. Rowland entered an order in the Lawsuit referring our matter to a Magistrate
Judge for settlement. The parties did not reach a settlement at that time, and on March 12, 2020, Magistrate Judge Gabriel A.
Fuentes entered an Order terminating the settlement referral to him.

[See additional pages.]
         Case:
[Continued from 1:17-cv-06819
                previous page.] Document #: 239 Filed: 05/07/21 Page 66 of 157 PageID #:6056

Despite my ongoing Lawsuit against Rush, at all times, I continued to perform my duties exceptionally, and consistently met
corporate goals with an expanding portfolio of responsibilities In my position as Director, I was instrumental during the
COVID-19 pandemic in assisting Rush by implementing cost containment initiatives and other patient care solutions across the'
system. I was a member of the COVID-19 Pandemic Mobilization Team and worked multiple shifts during the week and on
weekends on the inpatient floors to educate staff on the use of personal protective (PPE) gear, transport patients, carry lab
samples, and implement safety precautions. During the COVID-19 pandemic and while working on the COVID-19 Pandemic
Mobilization Team, I continued to expand, stabilize patient care, implement new technologies in breast imaging, and introduce
novel therapies in cellular therapy for patients with complex cancers. Rush used the Covid-19 pandemic as an excuse for
eliminating my position.

During the COVID-19 pandemic, Ellis informed me that Rush would be laying off my immediate direct report, Brown-Elms,
purportedly as part of a reduction in force due to the COVID-19 pandemic. Rush had previously attempted to eliminate Brown-
Elm's position, but Ellis paused the elimination. He now raised it again during the pandemic. I was provided multiple dates
regarding Brown-Elm's elimination. Though I was her supervisor, I was also told not to be present for the elimination because
Ellis would be terminating Brown-Elms directly. On July 10, 2020, Ellis informed me that Rush would inform her at 9:00 a.m.
on July 14, 2020. By sharing the information with me about Rush's decision to terminate the employment of my immediate
direct report Rush implied to me that my employment at Rush would not be impacted by the purported reduction in force. On
July 10, 2020, after notifying me of the planned meeting with Brown-Elms on July 14, 2020, Ellis sent me an electronic
calendar invitation for a meeting between Ellis and me at 9:45 a.m. on July 14, 2020. After receiving Ellis' electronic calendar
invitation for a meeting on July 14, 2020, I asked Ellis to explain the topic of the meeting and whether I needed to prepare
anything for the meeting. I also reached out to Dr. Lisa Stempel, Chief of Breast Imaging, and Grabler regarding the meeting.
Both informed me that I would not be eliminated, and that the meeting was to update me regarding Brown-Ems. Grabler
confirmed this to me in writing on Friday, July 10, 2020.

After I received Ellis' electronic calendar invitation for a meeting on July 14, 2020, on July 10, 2020, my attorney contacted
counsel for Rush and asked Rush to confirm the basis for the meeting scheduled by Ellis with me at 9:45 a.m. on July 14, 2020.
Counsel for Rush never provided any information in response to my attorney's request.

At a July 10, 2020 Cancer Center Town Hall meeting among certain Rush employees, including me, Levy, stated that the
reduction in force in the cancer center positions at Rush "are minimal" and "very small." Later in the day on July 10, 2020,
Ellis sent an email to me stating, in part, "I wanted to touch base after I meet with [Brown-Elms]. There's no need to prepare
anything [for the July 14, 2020 meeting]."

On July 14, 2020 at 9:45 a.m., I met via virtual video conference with Ellis, and I was surprised to see that Javette Simmons
("Simmons"), Rush HR Generalist, was also at the virtual video conference. Without warning, Ellis informed me that Rush
was eliminating my Director position effective July 19, 2020. Similar to Rush's "elimination" of my Associate Vice President
position (demotion) in 2016, I was told by Ellis that my termination was due to the Company's restructuring of its management
positions. Ellis added that Rush was "top heavy." However, between the years of 2019-2020, Rush added multiple positions to
the Cancer Center including Ellis, Struck, Chiemienti, and Elizabeth A. Cozzi ("Cozzi") (Director of Cancer Center, which is a
similar job title as mine). With over 14,000 employees, Rush, again, selected me, the only Mexican-American woman in
leadership with complex and profitable cancer departments, for elimination. To my knowledge, Struck, Ellis, Chiemienti, and
Cozzi have not complained about Rush's harassing, discriminatory and/or retaliatory treatment. To my knowledge, Struck,
Ellis, Chiemienti and Cozzi have not complained about Rush's unequal pay practices. To my knowledge, Struck, Ellis,
Chiemienti, and Cozzi are not of Mexican-American national origin.

During the termination meeting, I expressed to Ellis and Simmons that I believed the elimination of my role was retaliatory and
that I was selected because I had raised concerns about discrimination, retaliation, equal pay violations and harassment at Rush,
including through filing the Lawsuit. Undeterred, Ellis and Simmons reiterated that I was terminated and told me I would be
offered a "severance package."

Upon review, the severance package offered to me provided for a severance payment and other benefits in exchange for me
signing a settlement agreement that would release all of my known and unknown legal claims against Rush — which necessarily
would include my claims of discrimination and retaliation raised in the Lawsuit. Significantly, my attorney was not informed
by counsel for Rush that I would be offered this settlement or presented with a settlement agreement.

[See additional pages.]
         Case:
[Continued from 1:17-cv-06819
                previous page.] Document #: 239 Filed: 05/07/21 Page 67 of 157 PageID #:6057

There is a causal link between my ongoing Lawsuit against Rush, including my refusal to settle my claims, and the termination
of my employment. I believe Rush targeted me for termination in retaliation for my exercise of my rights under Title VII and
other applicable fair employment laws.



I declare under penalty of perjury that the above is true and correct.




                        3aci                                      1110~.      ng     Signature
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 68 of 157 PageID #:6058




                      EXHIBIT
                         E
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 69 of 157 PageID #:6059




                        IN THE UNITED
                        IN THE        STATES DISTRICT
                               UNITED STATES DISTRICT COURT
                                                       COURT
                       FOR
                       FOR THE NORTHERN DISTRICT
                           THE NORTHERN  DISTRICT OF
                                                  OF ILLINOIS
                                                      ILLINOIS
                                  EASTERN DIVISION
                                  EASTERN DIVISION

NORMA MELGOZA,
NORMA MELGOZA,
                                                         Case No. 17-cv-6819
                                                         Case No. 17-cv-6819
                    Plaintiff,
                    Plaintiff,

         vv..


RUSH UNIVERSITY
RUSH                MEDICAL
     UNIVERSITY MEDICAL
                                                         JURY TRIAL
                                                         JURY       DEMANDED
                                                              TRIAL DEMANDED
CENTER, a not-for-profit
CENTER, a                corporation,
          not-for-profit corporation,

                    Defendant.
                    Defendant.


 AMENDED ANSWER,
 AMENDED ANSWER, AFFIRMATIVE
                 AFFIRMATIVE DEFENSES,
                             DEFENSES, AND
                                       AND COUNTERCLAIM
                                           COUNTERCLAIM TO
                                                        TO THE
                                                           THE
                      AMENDED COMPLAINT
                      AMENDED  COMPLAINT


         Defendant, Rush
         Defendant, Rush University
                         University Medical
                                    Medical Center
                                            Center ("Rush"
                                                   (“Rush” or
                                                           or "Defendant"),
                                                              “Defendant”), by
                                                                            by and
                                                                               and through
                                                                                   through its
                                                                                           its

attorneys Jackson
attorneys Jackson Lewis P.C. and
                  Lewis P.C. and for its answer
                                 for its answer to
                                                to Plaintiff,
                                                   Plaintiff, Norma
                                                              Norma Melgoza's
                                                                    Melgoza’s ("Melgoza"
                                                                              (“Melgoza” or
                                                                                         or

“Plaintiff’), Amended
"Plaintiff),  Amended Complaint
                      Complaint states
                                states as
                                       as follows:
                                          follows:

                                            Nature of
                                            Nature of Action
                                                      Action

COMPLAINT ¶1:
COMPLAINT ¶1:

        This  lawsuit arises
        This lawsuit    arises under
                                under the
                                       the Equal   Pay Act
                                            Equal Pay  Act ofof 1963
                                                                1963 as
                                                                      as amended,
                                                                          amended, 2929 U.S.C.
                                                                                        U.S.C. §§ 206(d),
                                                                                                  206(d), et
                                                                                                          et
seq. (“EPA”),    for  Rush’s   discrimination    against Melgoza   on   the basis of  her gender
seq. ("EPA"), for Rush's discrimination against Melgoza on the basis of her gender by paying      by paying
wages to
wages  to her
          her at
               at aa rate
                     rate less than the
                          less than  the rate
                                         rate at
                                              at which
                                                 which it
                                                        it pays
                                                           pays male
                                                                male employees
                                                                      employees performing
                                                                                  performing substantially
                                                                                               substantially
equal work,
equal  work, and
               and Rush's
                      Rush’s retaliation
                               retaliation against
                                            against Melgoza
                                                     Melgoza after
                                                                after she
                                                                       she complained
                                                                            complained of of discriminatory
                                                                                             discriminatory
treatment.
treatment.

ANSWER:
ANSWER:

         Rush admits
         Rush admits that
                     that Plaintiff
                          Plaintiff purports
                                    purports to
                                             to bring
                                                bring aa claim
                                                         claim under
                                                               under the
                                                                     the Equal Pay Act
                                                                         Equal Pay Act of
                                                                                       of 1963
                                                                                          1963

(“EPA”). Rush
("EPA"). Rush denies
              denies the
                     the remaining
                         remaining allegations
                                   allegations in Complaint Paragraph
                                               in Complaint Paragraph 11 and
                                                                         and specifically
                                                                             specifically denies
                                                                                          denies

that it
that it violated
        violated the
                 the EPA or is
                     EPA or is otherwise
                               otherwise liable
                                         liable to
                                                to Plaintiff.
                                                   Plaintiff.




47992782v.1
47992782v.1
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 70 of 157 PageID #:6060




COMPLAINT ¶2:
COMPLAINT ¶2:

        This
        This lawsuit    also arises
             lawsuit also    arises under
                                    under the
                                           the Title
                                               Title VII
                                                     VII of
                                                          of the
                                                             the Civil
                                                                 Civil Rights
                                                                       Rights Act
                                                                               Act of
                                                                                   of 1964
                                                                                      1964 as
                                                                                            as amended,
                                                                                               amended, 4242
U.S.C. §
U.S.C.  § 2000e,
          2000e, et et seq.
                       seq. ("Title
                            (“Title VII"),
                                     VII”), for
                                            for Rush's
                                                 Rush’s discrimination
                                                         discrimination against
                                                                          against Melgoza
                                                                                  Melgoza onon the
                                                                                                the basis
                                                                                                    basis of
                                                                                                          of
her gender
her gender and
            and national
                   national origin,
                             origin, and
                                     and Rush's
                                          Rush’s retaliation
                                                   retaliation against
                                                                against Melgoza
                                                                        Melgoza after
                                                                                  after she
                                                                                        she complained
                                                                                             complained ofof
discriminatory treatment
discriminatory    treatment and
                              and systematic
                                    systematic discriminatory
                                                 discriminatory practices
                                                                   practices by
                                                                              by Rush,
                                                                                 Rush, including
                                                                                         including but
                                                                                                    but not
                                                                                                         not
limited to
limited to failure  to post
           failure to   post executive
                             executive leadership
                                        leadership positions
                                                     positions and
                                                                and fairly
                                                                    fairly evaluate  candidates, and
                                                                           evaluate candidates,   and hiring
                                                                                                      hiring
relatives and
relatives and friends
               friends which
                         which excludes
                                 excludes women,
                                           women, veterans,
                                                     veterans, the
                                                                the disabled,  and individuals
                                                                    disabled, and               of Mexican
                                                                                   individuals of  Mexican
descent. Rush
descent.  Rush created
                 created aa hostile
                             hostile environment
                                      environment for     Melgoza and
                                                     for Melgoza     and others
                                                                          others by
                                                                                 by promoting
                                                                                     promoting systematic
                                                                                                 systematic
discrimination against
discrimination   against women,
                           women, veterans,
                                    veterans, the
                                               the disabled
                                                   disabled and
                                                              and those
                                                                  those of
                                                                        of Mexican
                                                                           Mexican descent.
                                                                                     descent.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff purports
                                   purports to
                                            to bring
                                               bring aa claim
                                                        claim under
                                                              under Title VII of
                                                                    Title VII of the
                                                                                 the Civil
                                                                                     Civil Rights
                                                                                           Rights Act
                                                                                                  Act

of 1964
of 1964 ("Title
        (“Title VII").
                VII”). Rush
                       Rush denies the remaining
                            denies the remaining allegations
                                                 allegations in Complaint Paragraph
                                                             in Complaint Paragraph 22 and
                                                                                       and

specifically denies
specifically denies that
                    that it
                         it violated
                            violated the
                                     the Title VII or
                                         Title VII or is
                                                      is otherwise
                                                         otherwise liable
                                                                   liable to
                                                                          to Plaintiff.
                                                                             Plaintiff.

COMPLAINT ¶3:
COMPLAINT ¶3:

         This lawsuit also
         This lawsuit also arises
                           arises under
                                  under the
                                        the Illinois Human Rights
                                            Illinois Human   Rights Act,
                                                                    Act, 775  ILCS 5/1-101,
                                                                         775 ILCS           for Rush's
                                                                                   5/1-101, for Rush’s
discrimination against
discrimination   against Melgoza
                          Melgoza on on the
                                         the basis
                                             basis ofof her
                                                        her gender
                                                             gender and
                                                                    and national   origin, and
                                                                          national origin, and Rush's
                                                                                                Rush’s
retaliation against
retaliation against Melgoza
                    Melgoza after
                              after she
                                    she complained
                                        complained of of discriminatory treatment.
                                                         discriminatory treatment.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff purports
                                   purports to
                                            to bring
                                               bring aa claim
                                                        claim under
                                                              under the
                                                                    the Illinois Human Rights
                                                                        Illinois Human Rights Act
                                                                                              Act

(“IHRA”). Rush
("IHRA"). Rush denies
               denies the
                      the remaining
                          remaining allegations
                                    allegations in Complaint Paragraph
                                                in Complaint Paragraph 33 and
                                                                          and specifically
                                                                              specifically denies
                                                                                           denies

that it
that it violated
        violated the
                 the IHRA
                     IHRA or
                          or is otherwise liable
                             is otherwise liable to
                                                 to Plaintiff.
                                                    Plaintiff.

                                                 Parties
                                                 Parties

COMPLAINT ¶4:
COMPLAINT ¶4:

        Melgoza, at
        Melgoza, at all
                    all times
                        times relevant to this
                              relevant to this dispute,
                                               dispute, worked
                                                        worked and
                                                               and resided
                                                                   resided in
                                                                           in this
                                                                              this judicial
                                                                                   judicial district.
                                                                                            district.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times relevant
                          relevant to
                                   to this
                                      this dispute."
                                           dispute.” Rush
                                                     Rush admits
                                                          admits that,
                                                                 that, at
                                                                       at certain times, Plaintiff
                                                                          certain times, Plaintiff has
                                                                                                   has

worked and
worked and resided
           resided in this judicial
                   in this judicial district.
                                    district.




                                                     22
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 71 of 157 PageID #:6061




COMPLAINT ¶5:
COMPLAINT ¶5:

        Melgoza is
        Melgoza is aa current
                      current employee of Rush
                              employee of Rush and
                                               and works
                                                   works for
                                                         for Rush
                                                             Rush in
                                                                  in this
                                                                     this judicial
                                                                          judicial district.
                                                                                   district.

ANSWER:
ANSWER:

        Rush admits
        Rush admits the
                    the allegations
                        allegations in
                                    in Complaint
                                       Complaint Paragraph
                                                 Paragraph 5.
                                                           5.

COMPLAINT ¶6:
COMPLAINT ¶6:

      Rush is
      Rush is an
              an Illinois not-for-profit corporation
                 Illinois not-for-profit corporation with
                                                     with its
                                                          its principal
                                                              principal place
                                                                        place of
                                                                              of business
                                                                                 business at
                                                                                          at 1653
                                                                                             1653
West Congress Parkway,
West Congress Parkway,  Chicago,
                        Chicago,  Illinois.
                                  Illinois.

ANSWER:
ANSWER:

        Rush admits
        Rush admits the
                    the allegations
                        allegations in
                                    in Complaint
                                       Complaint Paragraph
                                                 Paragraph 6.
                                                           6.

                                        Jurisdiction and
                                        Jurisdiction and Venue
                                                         Venue

COMPLAINT ¶7:
COMPLAINT ¶7:

         This Court has
         This Court  has jurisdiction
                         jurisdiction over
                                       over Counts
                                            Counts II and
                                                      and II  under the
                                                           II under   the express
                                                                          express provisions
                                                                                  provisions ofof the
                                                                                                  the EPA,
                                                                                                      EPA,
29 U.S.C.
29  U.S.C. §
           § 216(b)
              216(b) and
                     and 28
                          28 U.S.C.
                              U.S.C. §§ 1331,
                                        1331, over
                                               over Counts
                                                    Counts III,
                                                             III, IV  and V
                                                                  W and   V under
                                                                            under the
                                                                                   the express
                                                                                       express provisions
                                                                                                 provisions
of Title
of       VII, §
   Title VII, § 2000e-5(f)(3)
                2000e-5(f)(3) and
                               and 28
                                    28 U.S.C.
                                        U.S.C. §§ 1331,
                                                  1331, and
                                                         and over
                                                              over Count
                                                                     Count VI
                                                                           VI under
                                                                               under 28
                                                                                     28 U.S.C.
                                                                                        U.S.C. §  § 1367
                                                                                                    1367 as
                                                                                                          as
the facts constituting this count  are so related to the claims   in the other counts that it forms  part
the facts constituting this count are so related to the claims in the other counts that it forms part of  of
the same
the same case
          case or
                or controversy.
                   controversy.

ANSWER:
ANSWER:

        For the
        For the purposes
                purposes of
                         of this
                            this action
                                 action only,
                                        only, Rush
                                              Rush admits
                                                   admits that
                                                          that the
                                                               the Court
                                                                   Court has
                                                                         has subject
                                                                             subject matter
                                                                                     matter

jurisdiction over
jurisdiction over this
                  this action.
                       action. Rush
                               Rush denies
                                    denies the
                                           the remaining
                                               remaining allegations
                                                         allegations in
                                                                     in Complaint
                                                                        Complaint Paragraph
                                                                                  Paragraph 7.
                                                                                            7.

COMPLAINT ¶8:
COMPLAINT ¶8:

        Venue is
        Venue is proper
                 proper in   the Northern
                          in the Northern District
                                          District of
                                                   of Illinois, Eastern Division,
                                                      Illinois, Eastern Division, pursuant
                                                                                  pursuant to
                                                                                           to 28
                                                                                              28 U.S.C.
                                                                                                  U.S.C.
§ 1391,
§ 1391, because
        because all
                 all the
                     the significant
                         significant events
                                     events giving
                                            giving rise
                                                    rise to
                                                         to the
                                                            the claims occurred in
                                                                claims occurred in this
                                                                                   this judicial
                                                                                        judicial district.
                                                                                                 district.

ANSWER:
ANSWER:

        For the
        For the purposes
                purposes of
                         of this
                            this action
                                 action only,
                                        only, Rush
                                              Rush admits
                                                   admits that
                                                          that venue
                                                               venue is
                                                                     is proper
                                                                        proper in this judicial
                                                                               in this judicial

district. Rush
district. Rush denies
               denies the
                      the remaining
                          remaining allegations
                                    allegations in Complaint Paragraph
                                                in Complaint Paragraph 8.
                                                                       8.

COMPLAINT ¶9:
COMPLAINT ¶9:

      Venue is
      Venue   is also
                 also proper
                      proper in
                              in the
                                 the Northern
                                     Northern District
                                               District of
                                                        of Illinois,
                                                           Illinois, Eastern     Division because
                                                                     Eastern Division     because
Defendant does
Defendant does business
               business and
                        and has
                            has employees located within
                                employees located within this
                                                         this judicial
                                                              judicial district.
                                                                       district.


                                                     33
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 72 of 157 PageID #:6062




ANSWER:
ANSWER:

        For the
        For the purposes
                purposes of
                         of this
                            this action
                                 action only,
                                        only, Rush
                                              Rush admits
                                                   admits that
                                                          that venue
                                                               venue is
                                                                     is proper
                                                                        proper in this judicial
                                                                               in this judicial

district. Rush
district. Rush denies
               denies the
                      the remaining
                          remaining allegations
                                    allegations in Complaint Paragraph
                                                in Complaint Paragraph 9.
                                                                       9.

                                         Factual Allegations
                                         Factual Allegations

COMPLAINT ¶10:
COMPLAINT ¶10:

        Rush University
        Rush  University Medical
                          Medical Center
                                   Center Obligated
                                           Obligated Group
                                                      Group is
                                                             is aa not-for-profit
                                                                   not-for-profit healthcare,
                                                                                  healthcare, education,
                                                                                              education,
and research
and research enterprise,
              enterprise, comprising
                          comprising of
                                      of Defendant,
                                         Defendant, Rush
                                                      Rush Health,
                                                           Health, Rush
                                                                     Rush Oak
                                                                           Oak Park
                                                                                Park Hospital
                                                                                     Hospital and
                                                                                               and Rush
                                                                                                   Rush
University. Rush
University.  Rush University
                   University has
                               has an
                                   an enrollment
                                       enrollment of
                                                   of 2,500
                                                      2,500 students.
                                                            students. In In 2016
                                                                            2016 Rush's
                                                                                  Rush’s operation
                                                                                          operation was
                                                                                                     was
licensed to
licensed to operate
            operate 1,100
                    1,100 beds,
                           beds, handled
                                 handled 184,000
                                           184,000 emergency     room visits,
                                                    emergency room     visits, had
                                                                               had 251,000
                                                                                   251,000 patient
                                                                                            patient days
                                                                                                    days
and listed
and listed 10,000
           10,000 employees.
                  employees. Rush's
                               Rush’s total
                                        total operating
                                              operating revenue
                                                        revenue from
                                                                  from U.S.
                                                                        U.S. government
                                                                             government administrated
                                                                                          administrated
Medicare and
Medicare   and Medicaid
               Medicaid was
                          was forty-three  percent (43%).
                              forty-three percent  (43%).

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Rush
                         Rush University
                              University Medical
                                         Medical Center
                                                 Center Obligated
                                                        Obligated Group
                                                                  Group is
                                                                        is aa non-profit
                                                                              non-profit

healthcare organization
healthcare organization that
                        that includes Rush Health,
                             includes Rush Health, Rush
                                                   Rush Oak
                                                        Oak Park
                                                            Park Hospital,
                                                                 Hospital, Rush
                                                                           Rush Copley
                                                                                Copley Medical
                                                                                       Medical

Center and
Center and Rush
           Rush University
                University Medical
                           Medical Center.
                                   Center. Rush
                                           Rush denies
                                                denies the
                                                       the remaining
                                                           remaining allegations
                                                                     allegations in Complaint
                                                                                 in Complaint

Paragraph 10.
Paragraph 10.

COMPLAINT ¶11:
COMPLAINT ¶11:

        Melgoza has
        Melgoza   has aa Bachelor
                         Bachelor of
                                   of Arts
                                      Arts Degree
                                            Degree from
                                                   from Smith     College and
                                                         Smith College    and aa Master's
                                                                                 Master’s Degree
                                                                                          Degree in
                                                                                                 in
Public Administration
Public  Administration inin Health
                            Health Policy
                                   Policy and
                                           and Management
                                               Management from      the Robert
                                                              from the  Robert F.
                                                                                F. Wagner
                                                                                   Wagner Graduate
                                                                                           Graduate
School  of Public
School of  Public Service  at New
                  Service at  New York
                                   York University
                                        University ("NYU").
                                                    (“NYU”). Melgoza
                                                                 Melgoza received
                                                                          received academic
                                                                                   academic awards
                                                                                            awards
both at
both at Smith  College and
        Smith College    and NYU,
                             NYU, and
                                    and was
                                        was the
                                             the recipient
                                                 recipient of
                                                           of the
                                                               the Robert
                                                                   Robert F.
                                                                          F. Wagner
                                                                             Wagner Public
                                                                                     Public Service
                                                                                            Service
award during
award  during her
              her years
                  years at
                         at NYU.
                            NYU.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Melgoza
                         Melgoza has
                                 has aa Bachelor
                                        Bachelor of
                                                 of Arts
                                                    Arts Degree
                                                         Degree from
                                                                from Smith College and
                                                                     Smith College and aa

Master’s Degree
Master's Degree in
                in Public
                   Public Administration
                          Administration in
                                         in Health
                                            Health Policy
                                                   Policy and
                                                          and Management
                                                              Management from the Robert
                                                                         from the Robert F.
                                                                                         F.

Wagner Graduate
Wagner Graduate School of Public
                School of Public Service at New
                                 Service at New York
                                                York University.
                                                     University. Rush
                                                                 Rush lacks knowledge or
                                                                      lacks knowledge or

information sufficient
information sufficient to
                       to form
                          form aa belief
                                  belief as
                                         as to
                                            to the
                                               the truth
                                                   truth of
                                                         of the
                                                            the remaining allegations in
                                                                remaining allegations    Complaint
                                                                                      in Complaint

Paragraph 11.
Paragraph 11.




                                                   4
                                                   4
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 73 of 157 PageID #:6063




COMPLAINT ¶12:
COMPLAINT ¶12:

       Melgoza is
       Melgoza  is aa Fellow
                      Fellow with
                             with the
                                  the American
                                      American College
                                               College of
                                                       of Health
                                                          Health Care
                                                                 Care Executives and is
                                                                      Executives and    certified
                                                                                     is certified
in Healthcare
in Healthcare management.
              management.

ANSWER:
ANSWER:

        Rush lacks
        Rush       knowledge or
             lacks knowledge or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to the
                                                                               the truth
                                                                                   truth of
                                                                                         of the
                                                                                            the

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 12.
                                   12.

COMPLAINT ¶13:
COMPLAINT ¶13:

       In October 2013,
       In October  2013, Melgoza
                          Melgoza received
                                     received aa Leadership
                                                 Leadership Executive    Program Certificate
                                                             Executive Program     Certificate from
                                                                                               from the
                                                                                                     the
American College
American  College of
                   of Health
                      Health Care
                             Care Executives.
                                   Executives. She    was selected
                                                 She was  selected by
                                                                   by the
                                                                      the Latino
                                                                           Latino Forum
                                                                                  Forum ofof Healthcare
                                                                                             Healthcare
Executives  as aa scholarship
Executives as     scholarship recipient
                                recipient for  her leadership
                                          for her   leadership abilities
                                                               abilities and
                                                                          and commitment
                                                                               commitment to  to patient
                                                                                                 patient
excellence. The
excellence.      intent of
            The intent  of the
                           the scholarship
                               scholarship was
                                            was to
                                                 to promote
                                                    promote healthcare
                                                             healthcare leaders
                                                                         leaders in
                                                                                 in the
                                                                                    the U.S.
                                                                                        U.S.

ANSWER:
ANSWER:

        Rush lacks
        Rush       knowledge or
             lacks knowledge or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to the
                                                                               the truth
                                                                                   truth of
                                                                                         of the
                                                                                            the

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 13.
                                   13.

COMPLAINT ¶14:
COMPLAINT ¶14:

        Melgoza has
        Melgoza has worked
                    worked in the healthcare
                           in the healthcare industry for over
                                             industry for over twenty-five
                                                               twenty-five years,
                                                                           years, and
                                                                                  and immediately
                                                                                      immediately
prior to
prior to her
         her employment
             employment by
                         by Rush,
                             Rush, was
                                    was the
                                         the Assistant
                                              Assistant President
                                                         President of
                                                                   of Services
                                                                      Services Lines   of Cancer,
                                                                                Lines of  Cancer,
Medicine, Geriatrics,
Medicine, Geriatrics, Women
                      Women && Children,
                                Children, and
                                          and Surgery
                                               Surgery for  Mount Sinai
                                                        for Mount       Hospital.
                                                                  Sinai Hospital.

ANSWER:
ANSWER:

        Upon information
        Upon             and belief,
             information and belief, Rush
                                     Rush admits
                                          admits that
                                                 that Plaintiff
                                                      Plaintiff was
                                                                was employed
                                                                    employed by
                                                                             by Mount
                                                                                Mount Sinai
                                                                                      Sinai

Hospital as
Hospital as Assistant
            Assistant Vice
                      Vice President
                           President of
                                     of Service Lines, Medicine
                                        Service Lines, Medicine &
                                                                & Surgery prior to
                                                                  Surgery prior to her
                                                                                   her

employment by
employment by Rush.
              Rush. Rush
                    Rush lacks
                         lacks knowledge or information
                               knowledge or             sufficient to
                                            information sufficient to form
                                                                      form aa belief
                                                                              belief as
                                                                                     as to
                                                                                        to the
                                                                                           the

truth of
truth of the
         the remaining
             remaining allegations
                       allegations in
                                   in Complaint
                                      Complaint Paragraph
                                                Paragraph 14.
                                                          14.

COMPLAINT ¶15:
COMPLAINT ¶15:

       Melgoza has
       Melgoza has been
                   been employed
                        employed by
                                 by Rush
                                    Rush from 2006 through
                                         from 2006 through the
                                                           the present.
                                                               present.

ANSWER:
ANSWER:

        Rush admits
        Rush admits the
                    the allegations
                        allegations in
                                    in Complaint
                                       Complaint Paragraph
                                                 Paragraph 15.
                                                           15.



                                                   5
                                                   5
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 74 of 157 PageID #:6064




COMPLAINT ¶16:
COMPLAINT ¶16:

        From November
        From   November 2006
                           2006 through
                                  through October
                                           October 2010,
                                                    2010, Melgoza
                                                           Melgoza waswas employed
                                                                          employed by by Rush
                                                                                         Rush asas an
                                                                                                   an
Assistant Vice
Assistant  Vice President,
                  President, and
                              and her
                                    her responsibilities
                                        responsibilities included,
                                                         included, inter
                                                                    inter alia,
                                                                          alia, management
                                                                                 management of of the
                                                                                                  the
radiology, non-invasive
radiology,  non-invasive cardiology,
                          cardiology, neurodiagnostics,
                                       neurodiagnostics, radiation  oncology, breast
                                                          radiation oncology,   breast imaging,
                                                                                       imaging, bone
                                                                                                 bone
marrow transplant,
marrow   transplant, photopheresis,
                      photopheresis, emergency
                                      emergency department,
                                                  department, transfer
                                                                transfer center
                                                                         center agreements,
                                                                                 agreements, transfer
                                                                                             transfer
center, dialysis,
center, dialysis, and
                  and respiratory
                      respiratory therapy
                                  therapy departments.
                                          departments.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that it
                        it employed
                           employed Plaintiff
                                    Plaintiff as
                                              as an
                                                 an Assistant
                                                    Assistant Vice
                                                              Vice President
                                                                   President from
                                                                             from November
                                                                                  November 2006
                                                                                           2006

through October
through October 13,
                13, 2010.
                    2010. Rush
                          Rush admits
                               admits that
                                      that Plaintiff
                                           Plaintiff managed
                                                     managed various
                                                             various departments
                                                                     departments at
                                                                                 at various
                                                                                    various

times in
times    that position.
      in that position. Rush
                        Rush denies
                             denies the
                                    the remaining allegations in
                                        remaining allegations in Complaint
                                                                 Complaint Paragraph
                                                                           Paragraph 16.
                                                                                     16.

COMPLAINT ¶17:
COMPLAINT ¶17:

       From November
       From   November 2006
                          2006 through
                                 through October
                                          October 2010,
                                                   2010, Melgoza
                                                          Melgoza waswas aa key    executive in
                                                                             key executive    in the
                                                                                                  the
implementation of
implementation  of the
                    the hospital-wide
                        hospital-wide EPIC  software system
                                       EPIC software  system and
                                                              and the
                                                                   the migration
                                                                        migration to
                                                                                   to aa new
                                                                                         new picture
                                                                                              picture
archiving system
archiving system (PACS)
                 (PACS) for   the new,
                          for the new, non-invasive
                                       non-invasive platform,
                                                    platform, and
                                                              and aa strategic
                                                                     strategic leader
                                                                               leader in the opening
                                                                                      in the opening
of Rush's
of Rush’s new
          new patient
               patient tower.
                       tower.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 17.
                                                          17.

COMPLAINT ¶18:
COMPLAINT ¶18:

       During her
       During her tenure
                  tenure as
                         as an
                            an Assistant
                               Assistant Vice
                                         Vice President
                                              President for Rush, Melgoza
                                                        for Rush, Melgoza served
                                                                          served as
                                                                                 as the
                                                                                    the Executive
                                                                                        Executive
of Rush's
of Rush’s Cancer
          Cancer Committee.
                 Committee.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 18.
                                                          18.

COMPLAINT ¶19:
COMPLAINT ¶19:

       In 2006, the
       In 2006,   the Rush
                      Rush Cancer
                            Cancer Committee
                                     Committee appointed
                                                 appointed Melgoza
                                                            Melgoza asas the
                                                                         the Cancer
                                                                             Cancer Conference
                                                                                      Conference
Coordinator for
Coordinator for the
                the organization.
                    organization. In this role,
                                  In this       Melgoza oversaw
                                          role, Melgoza oversaw Rush's
                                                                 Rush’s multi-disciplinary
                                                                        multi-disciplinary cancer
                                                                                           cancer
conferences by
conferences by ensuring
                ensuring compliance  with American
                         compliance with   American College
                                                     College of
                                                             of Surgeons  Commission on
                                                                Surgeons Commission    on Cancer
                                                                                           Cancer
standards by
standards by monitoring
             monitoring cancer
                          cancer care
                                  care discussions
                                       discussions and
                                                    and multidisciplinary
                                                        multidisciplinary standards
                                                                          standards required
                                                                                     required for
                                                                                              for
Rush’s Commission
Rush's Commission on on Cancer
                        Cancer accreditation.
                               accreditation.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 19.
                                                          19.



                                                 66
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 75 of 157 PageID #:6065




COMPLAINT ¶20:
COMPLAINT ¶20:

        From November
        From   November 20102010 through
                                   through July    14, 2016,
                                             July 14,   2016, Melgoza
                                                               Melgoza worked
                                                                           worked asas an
                                                                                       an Associate
                                                                                           Associate Vice
                                                                                                      Vice
President for
President  for Rush,
               Rush, and
                      and her
                          her responsibilities
                              responsibilities included,
                                                 included, inter  alia, management
                                                            inter alia, management of  of the
                                                                                          the non-invasive
                                                                                              non-invasive
platform for
platform  for the
               the opening
                   opening ofof the
                                 the new
                                      new patient
                                            patient tower,
                                                     tower, management
                                                             management of   of the
                                                                                 the radiation
                                                                                     radiation oncology
                                                                                               oncology //
Women’s Cancer
Women's      Cancer Center,
                       Center, breast
                                 breast imaging,
                                          imaging, bonebone marrow
                                                              marrow transplant,
                                                                          transplant, inpatient   dialysis,
                                                                                       inpatient dialysis,
photopheresis, plasmapheresis,
photopheresis,    plasmapheresis, radiation
                                      radiation safety,
                                                  safety, occupational
                                                           occupational safety,
                                                                            safety, evening
                                                                                     evening // weekend
                                                                                                 weekend
administrators, environmental
administrators,                     services, linen
                  environmental services,              services, guest
                                               linen services,    guest relations,
                                                                           relations, volunteer
                                                                                      volunteer services,
                                                                                                  services,
interpreter services
interpreter services and
                      and security
                           security departments.
                                     departments. She    also  served   as a voting  member   on the
                                                    She also served as a voting member on the Rush    Rush
Medical Center
Medical  Center Institutional  Review Board.
                 Institutional Review    Board.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff worked
                                   worked as
                                          as an
                                             an Associate
                                                Associate Vice
                                                          Vice President
                                                               President for Rush and
                                                                         for Rush and that
                                                                                      that she
                                                                                           she had
                                                                                               had

various managerial
various managerial duties
                   duties in
                          in that
                             that role.
                                  role. Rush
                                        Rush further admits that,
                                             further admits that, at
                                                                  at certain
                                                                     certain times,
                                                                             times, Plaintiff
                                                                                    Plaintiff served
                                                                                              served

as aa voting
as    voting member
             member on
                    on the
                       the Rush
                           Rush Medical
                                Medical Center
                                        Center Institutional
                                               Institutional Review
                                                             Review Board.
                                                                    Board. Rush
                                                                           Rush denies the
                                                                                denies the

remaining allegations
remaining allegations in
                      in Complaint
                         Complaint Paragraph
                                   Paragraph 20.
                                             20.

COMPLAINT ¶21:
COMPLAINT ¶21:

       Many of
       Many   of the
                 the departments
                     departments that
                                 that Melgoza
                                      Melgoza capably
                                               capably managed
                                                       managed during  her tenure
                                                                during her tenure as
                                                                                  as Associate
                                                                                     Associate
Vice President
Vice President for Rush involved
               for Rush  involved cancer treatment research,
                                  cancer treatment research, quality
                                                             quality management,
                                                                     management, accreditation
                                                                                  accreditation
and cancer
and        prevention.
    cancer prevention.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 21.
                                                           21.

COMPLAINT ¶22:
COMPLAINT ¶22:

        Melgoza worked
        Melgoza worked diligently
                        diligently on
                                   on improving
                                       improving patient
                                                  patient care and creating
                                                          care and creating aa positive
                                                                               positive environment
                                                                                        environment
for Rush
for Rush employees  with a  focus on  innovation,  excellence, empathy   and   service
          employees with a focus on innovation, excellence, empathy and service to its to its patients
                                                                                              patients
and the
and the community
        community at
                  at large.
                     large.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 22.
                                                           22.

COMPLAINT ¶23:
COMPLAINT ¶23:

        During Melgoza's
       During   Melgoza’s tenure
                           tenure as
                                   as an
                                      an Associate
                                         Associate Vice
                                                   Vice President
                                                        President for Rush, she
                                                                  for Rush, she was
                                                                                was responsible
                                                                                    responsible for
                                                                                                 for
budgets exceeding
budgets exceeding $200    million revenue,
                    $200 million           over 700
                                  revenue, over 700 full-time
                                                    full-time employees, and between
                                                              employees, and  between nine
                                                                                       nine (9)
                                                                                            (9) and
                                                                                                and
eleven (11)
eleven (11) clinical
            clinical and
                     and support
                         support departments  at one
                                  departments at one time.
                                                     time.




                                                    7
                                                    7
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 76 of 157 PageID #:6066




ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that at
                        at certain times as
                           certain times as an
                                            an Associate
                                               Associate Vice
                                                         Vice President,
                                                              President, Plaintiff
                                                                         Plaintiff was
                                                                                   was responsible
                                                                                       responsible

for various
for various departments.
            departments. Rush
                         Rush denies
                              denies the
                                     the remaining allegations in
                                         remaining allegations    Complaint Paragraph
                                                               in Complaint Paragraph 23.
                                                                                      23.

COMPLAINT ¶24:
COMPLAINT ¶24:

     Melgoza was
     Melgoza   was aa founding member of
                      founding member of the
                                         the Rush
                                             Rush Diversity
                                                  Diversity Leadership Council in
                                                            Leadership Council in 2006,
                                                                                  2006, and
                                                                                        and aa
member of the Rush Women’s   Leadership Council.
member of the Rush Women's Leadership Council.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiff
                        Plaintiff was,
                                  was, at
                                       at certain
                                          certain times,
                                                  times, aa member
                                                            member of
                                                                   of the
                                                                      the Rush
                                                                          Rush Diversity
                                                                               Diversity Leadership
                                                                                         Leadership

Council and
Council and the
            the Rush
                Rush Woman's
                     Woman’s Leadership Counsel. Rush
                             Leadership Counsel. Rush denies
                                                      denies the
                                                             the remaining allegations in
                                                                 remaining allegations in

Complaint Paragraph
Complaint Paragraph 24
                    24

COMPLAINT ¶25:
COMPLAINT ¶25:

      Throughout   her employment
      Throughout her   employment by  by Rush,
                                          Rush, Melgoza
                                                Melgoza actively
                                                          actively promoted
                                                                    promoted diversity   in the
                                                                               diversity in the
workplace, including
workplace, including but
                     but not
                         not limited
                              limited to
                                       to the
                                          the advancement
                                              advancement ofof Hispanics,
                                                               Hispanics, including   Mexican-
                                                                           including Mexican-
Americans, and
Americans, and women
               women to
                      to positions
                         positions in
                                   in management,
                                      management, including  the executive
                                                   including the executive level.
                                                                           level.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 25.
                                                          25.

COMPLAINT ¶26:
COMPLAINT ¶26:

       Melgoza is
       Melgoza is female and her
                  female and her national origin is
                                 national origin    Mexican-American.
                                                 is Mexican-American.

ANSWER:
ANSWER:

       Rush admits
       Rush admits the
                   the allegations
                       allegations in
                                   in Complaint
                                      Complaint Paragraph
                                                Paragraph 26.
                                                          26.

COMPLAINT ¶27:
COMPLAINT ¶27:

       In 2006, J.
       In 2006,     Robert Clapp,
                J. Robert    Clapp, Senior Vice President
                                    Senior Vice  President and
                                                           and Executive  Director of
                                                               Executive Director  of Rush,
                                                                                      Rush, stated,
                                                                                             stated,
“Melgoza was
"Melgoza  was the
              the first  Mexican-American Assistant
                   first Mexican-American    Assistant Vice
                                                       Vice President
                                                            President and
                                                                      and executive
                                                                          executive leader
                                                                                    leader hired
                                                                                           hired by
                                                                                                 by
Rush.” This
Rush."  This was
             was so
                  so despite
                      despite an
                               an ongoing
                                  ongoing presence
                                           presence of
                                                    of Latinos and individuals
                                                       Latinos and individuals of
                                                                               of Mexican
                                                                                  Mexican descent
                                                                                            descent
within Rush's
within Rush’s service
              service area.
                        area.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 27.
                                                          27.



                                                 8
                                                 8
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 77 of 157 PageID #:6067




COMPLAINT ¶28:
COMPLAINT ¶28:

        From October
        From October 2010
                      2010 through
                           through July  14, 2016,
                                    July 14, 2016, Melgoza
                                                   Melgoza was
                                                             was the
                                                                 the first and only
                                                                     first and only female
                                                                                    female Mexican-
                                                                                           Mexican-
American Associate
American   Associate Vice
                     Vice President
                          President despite   individuals of
                                     despite individuals  of Mexican-descent
                                                             Mexican-descent encompassing
                                                                                encompassing thirty
                                                                                              thirty
percent (30%)
percent (30%) of
              of the
                 the population
                     population of
                                of the
                                   the City
                                       City of
                                             of Chicago.
                                                Chicago.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 28.
                                                          28.

COMPLAINT ¶29:
COMPLAINT ¶29:

        There are currently
        There are currently no
                            no individuals of Mexican
                               individuals of Mexican national
                                                      national origin
                                                               origin within
                                                                      within the
                                                                             the top
                                                                                 top 100
                                                                                     100 executive
                                                                                         executive
leaders at
leaders at Rush,
           Rush, yet
                 yet 20%
                     20% of
                          of the
                             the revenues are generated
                                 revenues are           from patients
                                              generated from patients of
                                                                      of Mexican
                                                                         Mexican descent.
                                                                                   descent.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 29.
                                                          29.

COMPLAINT ¶30:
COMPLAINT ¶30:

        During her
       During  her employment     with Rush,
                    employment with    Rush, Melgoza
                                             Melgoza performed
                                                     performed her
                                                               her duties
                                                                   duties exceptionally,
                                                                          exceptionally, and
                                                                                         and
consistently met
consistently met corporate goals.
                 corporate goals.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 30.
                                                          30.

COMPLAINT ¶31:
COMPLAINT ¶31:

       Throughout her employment
       Throughout her               with Rush,
                       employment with    Rush, Melgoza
                                                 Melgoza received
                                                          received consistently
                                                                   consistently highly-favorable
                                                                                highly-favorable
performance reviews,
performance reviews, including
                     including an
                               an overall
                                  overall rating
                                          rating of
                                                 of "exceeds
                                                    “exceeds expectations"
                                                             expectations” in
                                                                           in July 2017.
                                                                              July 2017.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 31.
                                                          31.

COMPLAINT ¶32:
COMPLAINT ¶32:

       Throughout   Melgoza’s tenure
       Throughout Melgoza's      tenure as
                                         as an
                                            an Associate
                                                Associate Vice
                                                            Vice President,
                                                                  President, Rush
                                                                              Rush paid
                                                                                    paid Melgoza
                                                                                          Melgoza
$100,000.00 to
$100,000.00 to $250,000.00
               $250,000.00 less  per year
                            less per year than
                                          than her
                                               her male
                                                   male and/or
                                                         and/or non-Mexican-American
                                                                non-Mexican-American colleagues
                                                                                        colleagues
performing substantially
performing substantially equal work, including
                         equal work, including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to Mike
                                                                  Mike Mulroe,
                                                                       Mulroe, Scott
                                                                                Scott Sonnenchein,
                                                                                      Sonnenchein,
Edward  Conway, Mike
Edward Conway,    Mike Lamont,     Anthony Perry,
                         Lamont, Anthony     Perry, Mike
                                                    Mike Dandorph,
                                                           Dandorph, Richard
                                                                      Richard Davis,
                                                                                Davis, Kurt
                                                                                       Kurt Olsen,
                                                                                              Olsen,
Jeremy
Jeremy Strong,
       Strong, Tim  Carrigan, Leo
               Tim Carrigan,        Correa, Shaun
                               Leo Correa,         Cooper, Ryan
                                            Shaun Cooper,   Ryan Schlifka,
                                                                   Schlifka, John Pontarelli, David
                                                                             John Pontarelli, David
Rice, Ray
Rice, Ray LaBrec, and Joseph
          LaBrec, and          Anderson.
                       Joseph Anderson.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 32.
                                                          32.


                                                 99
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 78 of 157 PageID #:6068




COMPLAINT ¶33:
COMPLAINT ¶33:

       Throughout
       Throughout her her tenure
                          tenure as
                                 as an
                                    an Associate
                                       Associate Vice
                                                 Vice President
                                                      President for Rush, Melgoza
                                                                for Rush, Melgoza made
                                                                                  made numerous
                                                                                       numerous
requests for
requests for aa higher
                  higher salary
                          salary given
                                 given her
                                        her highly-favorable
                                            highly-favorable performance
                                                             performance reviews
                                                                           reviews and
                                                                                   and increased
                                                                                       increased
responsibilities.
responsibilities.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 33.
                                                          33.

COMPLAINT ¶34:
COMPLAINT ¶34:

       Rush denied
       Rush denied Melgoza's
                   Melgoza’s repeated requests for
                             repeated requests for aa higher
                                                      higher salary
                                                             salary as
                                                                    as her
                                                                       her duties
                                                                           duties continuously
                                                                                  continuously
increased.
increased.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 34.
                                                          34.

COMPLAINT ¶35:
COMPLAINT ¶35:

       During Melgoza's
       During    Melgoza’s tenure
                            tenure as
                                    as an
                                       an Associate
                                          Associate Vice
                                                    Vice President
                                                          President for
                                                                    for Rush,
                                                                        Rush, she
                                                                              she met
                                                                                  met with
                                                                                       with senior
                                                                                             senior
executives at
executives at Rush
               Rush onon multiple
                          multiple occasions
                                   occasions and
                                             and informed
                                                  informed the
                                                            the executives
                                                                 executives about
                                                                            about her
                                                                                  her interest in aa
                                                                                      interest in
promotion  to  a Vice  President position, and eventually, to the Chief Operating Officer  position
promotion to a Vice President position, and eventually, to the Chief Operating Officer position
given her
given her vast
          vast portfolio
                portfolio and
                          and extensive
                              extensive experience.
                                        experience.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 35.
                                                          35.

COMPLAINT ¶36:
COMPLAINT ¶36:

       On multiple
       On   multiple occasions
                      occasions from
                                from 2012
                                        2012 through
                                               through 2015,
                                                        2015, Melgoza
                                                               Melgoza met
                                                                         met with
                                                                              with Mike
                                                                                    Mike Mulroe
                                                                                           Mulroe
(“Mulore”), Rush
("Mulore"), Rush Vice
                  Vice President,
                        President, to
                                   to request
                                      request aa review of her
                                                 review of her salary
                                                               salary given
                                                                      given her
                                                                            her vast
                                                                                vast portfolio
                                                                                     portfolio and
                                                                                               and
extensive experience.
extensive experience.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiff
                        Plaintiff met
                                  met with
                                      with Mike
                                           Mike Mulroe
                                                Mulroe at
                                                       at various
                                                          various times
                                                                  times from
                                                                        from 2012
                                                                             2012 through
                                                                                  through 2015.
                                                                                          2015.

Rush denies
Rush denies the
            the remaining allegations in
                remaining allegations in Complaint
                                         Complaint Paragraph
                                                   Paragraph 36.
                                                             36.

COMPLAINT ¶37:
COMPLAINT ¶37:

       On December
       On  December 19,
                      19, 2013,
                          2013, Melgoza
                                Melgoza requested
                                           requested aa meeting
                                                        meeting and
                                                                 and met
                                                                      met with
                                                                          with Rush
                                                                               Rush Executive   Vice
                                                                                      Executive Vice
President and
President and Executive  Director Mike
              Executive Director  Mike Dandorph
                                          Dandorph ("Dandorph")
                                                    (“Dandorph”) to  to review
                                                                        review her
                                                                               her curriculum
                                                                                    curriculum vitae,
                                                                                               vitae,
experience, and
experience, and current responsibilities and
                current responsibilities and to
                                             to express  her desire
                                                express her  desire to
                                                                    to grow
                                                                       grow within
                                                                             within the
                                                                                    the organization.
                                                                                        organization.



                                                 10
                                                 10
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 79 of 157 PageID #:6069




ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Mike
                                            Mike Dandorph
                                                 Dandorph on
                                                          on December
                                                             December 19,
                                                                      19, 2013.
                                                                          2013. Rush
                                                                                Rush denies
                                                                                     denies

the remaining
the remaining allegations
              allegations in
                          in Complaint
                             Complaint Paragraph
                                       Paragraph 37.
                                                 37.

COMPLAINT ¶38:
COMPLAINT ¶38:

      During the
      During  the December
                  December 19,19, 2013
                                  2013 meeting,
                                         meeting, Dandorph
                                                   Dandorph made
                                                               made an
                                                                     an unwanted  sexual advance
                                                                        unwanted sexual   advance to
                                                                                                   to
Melgoza after she  expressed  her  desire  to  grow  within
Melgoza after she expressed her desire to grow within the    the organization.
                                                                 organization.  Dandorph
                                                                                Dandorph   informed
                                                                                           informed
Melgoza that
Melgoza that he
             he once
                once had
                     had aa Cuban
                            Cuban girlfriend,
                                    girlfriend, that
                                                that he
                                                     he did
                                                        did not
                                                            not marry
                                                                 marry his
                                                                       his Cuban
                                                                           Cuban girlfriend,
                                                                                 girlfriend, and
                                                                                             and that
                                                                                                 that
he owned
he owned aa boat
            boat but
                 but desired
                     desired to
                             to purchase
                                purchase aa larger
                                              larger boat.
                                                     boat. Melgoza
                                                            Melgoza ended
                                                                      ended the
                                                                            the meeting
                                                                                meeting byby shaking
                                                                                             shaking
Dandorph’s hand
Dandorph's  hand and
                 and leaving
                     leaving his
                              his office.
                                  office.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 38.
                                                           38.

COMPLAINT ¶39:
COMPLAINT ¶39:

       After the
       After the December
                 December 19,
                           19, 2013
                               2013 meeting,
                                    meeting, Melgoza
                                              Melgoza was
                                                      was not
                                                          not notified
                                                              notified of
                                                                       of any
                                                                          any future
                                                                              future opportunities
                                                                                     opportunities
and executive positions were not posted for advancement within  the
and executive positions were not posted for advancement within the  organization.
                                                                    organization.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 39.
                                                           39.

COMPLAINT ¶40:
COMPLAINT ¶40:

       On April
       On  April 14,
                 14, 2015,
                      2015, Melgoza
                            Melgoza met
                                     met with
                                         with Mulroe
                                               Mulroe and
                                                       and provided
                                                           provided in  writing aa number
                                                                     in writing    number of
                                                                                           of concerns
                                                                                              concerns
about his
about his discriminatory
          discriminatory behavior
                          behavior and
                                    and retaliation, and requested
                                        retaliation, and requested equity
                                                                   equity in
                                                                           in Rush's
                                                                              Rush’s payment
                                                                                       payment ofof her
                                                                                                    her
compensation, stating,
compensation,   stating, "Please
                         “Please review
                                 review my
                                         my salary
                                              salary based
                                                      based on
                                                            on the
                                                               the dynamic
                                                                    dynamic span
                                                                               span of
                                                                                     of my
                                                                                        my portfolio,
                                                                                              portfolio,
education and
education and experience.
               experience. II want
                              want to
                                   to be
                                      be treated
                                         treated and
                                                  and compensated
                                                      compensated equitably
                                                                   equitably for
                                                                              for mymy effort
                                                                                       effort based
                                                                                              based on
                                                                                                     on
the market."
the market.”

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Mulroe
                                            Mulroe on
                                                   on April
                                                      April 14,
                                                            14, 2015.
                                                                2015. The
                                                                      The remaining
                                                                          remaining allegations
                                                                                    allegations

in Complaint
in Complaint Paragraph
             Paragraph 40
                       40 purport
                          purport to
                                  to characterize
                                     characterize the
                                                  the contents
                                                      contents of
                                                               of aa written
                                                                     written document,
                                                                             document, which
                                                                                       which

speaks for
speaks for itself.
           itself. To the extent
                   To the extent those
                                 those allegations
                                       allegations are
                                                   are inconsistent
                                                       inconsistent with
                                                                    with or
                                                                         or mischaracterize
                                                                            mischaracterize that
                                                                                            that

document, they
document, they are
               are denied.
                   denied.




                                                  11
                                                  11
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 80 of 157 PageID #:6070




COMPLAINT ¶41:
COMPLAINT ¶41:

      Mulroe informed
      Mulroe  informed Melgoza
                        Melgoza that
                                  that aa market
                                          market evaluation
                                                 evaluation was
                                                            was not
                                                                not possible
                                                                     possible and
                                                                              and that
                                                                                   that Lynne
                                                                                        Lynne
Wallace ("Wallace"),
Wallace (“Wallace”), Rush
                     Rush Vice
                          Vice President
                               President of
                                          of Human
                                             Human Resources,
                                                   Resources, declined the review.
                                                              declined the review.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 41.
                                                          41.

COMPLAINT ¶42:
COMPLAINT ¶42:

       On November
       On  November 25,
                      25, 2013,
                           2013, Melgoza
                                 Melgoza met
                                          met with
                                              with Dr.
                                                    Dr. David
                                                        David Ansell
                                                                Ansell ("Dr.
                                                                       (“Dr. Ansell"),
                                                                             Ansell”), Rush
                                                                                       Rush Senior
                                                                                            Senior
Vice President  of Strategy   and Community    Engagement,    to  discuss  Mulroe’s discriminatory
Vice President of Strategy and Community Engagement, to discuss Mulroe's discriminatory
behavior and
behavior and reluctance
             reluctance to
                         to conduct
                            conduct aa market
                                       market assessment
                                              assessment for  an equal
                                                          for an  equal market
                                                                         market wage.
                                                                                 wage. During
                                                                                       During that
                                                                                              that
meeting, Dr.
meeting, Dr. Ansell
             Ansell stated,
                    stated, "[Mulroe]
                            “[Mulroe] probably
                                       probably pays
                                                pays you
                                                     you less  than the
                                                         less than  the fellow."
                                                                        fellow.”

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 42.
                                                          42.

COMPLAINT ¶43:
COMPLAINT ¶43:

        Dandorph and
        Dandorph  and Cynthia
                       Cynthia Barginere
                               Barginere ("Barginere"),
                                         (“Barginere”), Rush
                                                         Rush Chief
                                                               Chief Operating
                                                                     Operating Officer,
                                                                               Officer, were
                                                                                        were also
                                                                                             also
notified of
notified of Mulroe's
            Mulroe’s discriminatory behavior but
                     discriminatory behavior but failed to address
                                                 failed to address the
                                                                   the complaints.
                                                                       complaints.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 43.
                                                          43.

COMPLAINT ¶44:
COMPLAINT ¶44:

       On July
       On         14, 2016,
            July 14,  2016, Rush
                            Rush demoted
                                  demoted Melgoza
                                           Melgoza two
                                                     two levels
                                                         levels down
                                                                down to
                                                                      to aa position
                                                                            position of
                                                                                     of "Director"
                                                                                        “Director” at
                                                                                                   at
Rush after
Rush after she
           she was
                was informed  that her
                     informed that her position
                                       position as
                                                as Associate
                                                   Associate Vice
                                                             Vice President
                                                                  President was
                                                                             was eliminated.
                                                                                  eliminated. She no
                                                                                              She no
longer had
longer had aa job
              job as
                  as an
                     an Associate
                        Associate Vice
                                   Vice President.
                                        President.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiffs
                        Plaintiff’s position
                                    position as
                                             as Associate
                                                Associate Vice
                                                          Vice President
                                                               President was
                                                                         was eliminated on or
                                                                             eliminated on or

about July
about      14, 2016.
      July 14, 2016. Rush
                     Rush further admits that
                          further admits that Plaintiff
                                              Plaintiff was
                                                        was given
                                                            given the
                                                                  the option
                                                                      option to
                                                                             to accept
                                                                                accept another
                                                                                       another

position at
position at Rush
            Rush and
                 and accepted
                     accepted aa Director
                                 Director position.
                                          position. Rush
                                                    Rush denies
                                                         denies the
                                                                the remaining allegations in
                                                                    remaining allegations in

Complaint Paragraph
Complaint Paragraph 44.
                    44.

COMPLAINT ¶45:
COMPLAINT ¶45:

       Similarly-situated employees who
       Similarly-situated employees who were
                                        were male
                                             male were
                                                  were not
                                                       not demoted two levels
                                                           demoted two        down by
                                                                       levels down by Rush.
                                                                                      Rush.



                                                 12
                                                 12
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 81 of 157 PageID #:6071




ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 45.
                                                          45.

COMPLAINT ¶46:
COMPLAINT ¶46:

      Similarly-situated employees who
      Similarly-situated employees who were
                                       were not
                                            not of
                                                of Mexican-American
                                                   Mexican-American national
                                                                    national origin
                                                                             origin were
                                                                                    were not
                                                                                         not
demoted two
demoted two levels down by
            levels down  by Rush.
                            Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 46.
                                                          46.

COMPLAINT ¶47:
COMPLAINT ¶47:

       Similarly-situated
       Similarly-situated employees who did
                          employees who  did not
                                             not complain
                                                 complain about
                                                          about discrimination
                                                                discrimination and
                                                                               and unequal
                                                                                   unequal pay
                                                                                           pay
were not
were not demoted
         demoted two
                  two levels
                       levels down by Rush.
                              down by Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 47.
                                                          47.

COMPLAINT ¶48:
COMPLAINT ¶48:

       Similarly-situated
       Similarly-situated employees who did
                          employees who did not
                                            not advocate
                                                advocate for the advancement
                                                         for the advancement of
                                                                             of diversity
                                                                                diversity in the
                                                                                          in the
executive ranks
executive ranks of
                of Rush
                   Rush were
                        were not
                             not demoted
                                 demoted two
                                         two levels
                                             levels down  by Rush.
                                                    down by   Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 48.
                                                          48.

COMPLAINT ¶49:
COMPLAINT ¶49:

      Similarly-situated employees who
      Similarly-situated employees  who did
                                        did not
                                            not complain
                                                complain about
                                                         about the
                                                               the systematic
                                                                   systematic discrimination
                                                                              discrimination at
                                                                                             at
Rush were
Rush were not
          not demoted  two levels
              demoted two         down by
                           levels down by Rush.
                                          Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 49.
                                                          49.

COMPLAINT ¶50:
COMPLAINT ¶50:

         Similarly-situated
         Similarly-situated employees who were
                            employees who were not
                                               not subjected
                                                   subjected to
                                                             to sexual
                                                                sexual advances
                                                                       advances or
                                                                                or expected  to
                                                                                    expected to
fulfill sexual
fulfill sexual stereotypes
               stereotypes of
                           of Mexican-American
                              Mexican-American women
                                               women were
                                                      were not
                                                           not demoted
                                                                demoted two
                                                                        two levels by Rush.
                                                                            levels by Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 50.
                                                          50.



                                              13
                                              13
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 82 of 157 PageID #:6072




COMPLAINT ¶51:
COMPLAINT ¶51:

       At the
       At the time
               time Rush
                    Rush demoted  Melgoza, it
                         demoted Melgoza,  it also
                                              also promoted
                                                   promoted aa less-qualified male, Leo
                                                               less-qualified male,     Correa
                                                                                    Leo Correa
(“Correa”), to
("Correa"), to the
                the new
                    new position
                        position of
                                 of Associate
                                    Associate Vice
                                               Vice President
                                                     President of
                                                               of Clinical
                                                                  Clinical Affairs
                                                                            Affairs and
                                                                                    and Cancer
                                                                                        Cancer
Services.
Services.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that it
                        it promoted
                           promoted Leo Correa to
                                    Leo Correa to Associate
                                                  Associate Vice
                                                            Vice President
                                                                 President of
                                                                           of Clinical
                                                                              Clinical Affairs
                                                                                       Affairs

and Cancer
and Cancer Services, but denies
           Services, but        that this
                         denies that this occurred
                                          occurred at
                                                   at the
                                                      the same
                                                          same time
                                                               time that
                                                                    that Plaintiffs
                                                                         Plaintiff’s position
                                                                                     position as
                                                                                              as

Associate Vice
Associate Vice President
               President was
                         was eliminated on or
                             eliminated on or about
                                              about July 14, 2016.
                                                    July 14, 2016. Rush
                                                                   Rush denies
                                                                        denies the
                                                                               the remaining
                                                                                   remaining

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 51.
                                   51.

COMPLAINT ¶52:
COMPLAINT ¶52:

        Melgoza was
        Melgoza  was never
                      never made
                            made aware
                                  aware ofof this
                                             this new
                                                  new position
                                                      position as
                                                               as it
                                                                   it was
                                                                      was not
                                                                          not posted,
                                                                              posted, nor
                                                                                      nor was
                                                                                          was Melgoza
                                                                                              Melgoza
interviewed for
interviewed     this positon
            for this positon despite
                             despite her  thirteen (13)
                                      her thirteen (13) years
                                                        years of
                                                              of experience
                                                                 experience inin leading cancer service
                                                                                 leading cancer service
departments at Rush   and externally.  Had  Melgoza   known   of the  opening,  she would have
departments at Rush and externally. Had Melgoza known of the opening, she would have applied    applied
for it.
for it.

ANSWER:
ANSWER:

       Rush lacks
       Rush       knowledge or
            lacks knowledge or information
                               information sufficient
                                           sufficient to
                                                      to form
                                                         form aa belief
                                                                 belief as
                                                                        as to
                                                                           to the
                                                                              the truth
                                                                                  truth of
                                                                                        of the
                                                                                           the

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 52.
                                   52.

COMPLAINT ¶53:
COMPLAINT ¶53:

        Rush deviated
        Rush deviated from
                      from and
                           and did
                               did not
                                   not follow its policies
                                       follow its policies and
                                                           and procedures
                                                               procedures on
                                                                          on posting
                                                                             posting job
                                                                                     job positions
                                                                                         positions
and hiring
and        when it
    hiring when it promoted
                   promoted Correa.
                            Correa.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 53.
                                                          53.

COMPLAINT ¶54:
COMPLAINT ¶54:

      At the
      At the time
             time Rush
                  Rush demoted  Melgoza, it
                        demoted Melgoza,  it transferred
                                             transferred her
                                                         her non-cancer
                                                             non-cancer service
                                                                        service departments
                                                                                departments toto
Mulroe. Mulroe
Mulroe. Mulroe was
                was not
                    not demoted
                        demoted even
                                even though
                                     though he
                                             he was
                                                was no
                                                     no longer supervising the
                                                        longer supervising the cancer portfolio.
                                                                               cancer portfolio.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Mulroe
                        Mulroe was
                               was not
                                   not demoted. Rush denies
                                       demoted. Rush denies the
                                                            the remaining allegations in
                                                                remaining allegations in

Complaint Paragraph
Complaint Paragraph 54.
                    54.


                                                  14
                                                  14
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 83 of 157 PageID #:6073




COMPLAINT ¶55:
COMPLAINT ¶55:

       Numerous members
       Numerous   members of
                           of Rush's
                               Rush’s top
                                      top executives
                                          executives informed
                                                     informed Melgoza
                                                              Melgoza that
                                                                      that the
                                                                           the demotion
                                                                               demotion to
                                                                                        to
Director was
Director was not
             not performance
                 performance based.
                             based.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 55.
                                                           55.

COMPLAINT ¶56:
COMPLAINT ¶56:

        After the
        After the demotion, Melgoza was
                  demotion, Melgoza was informed
                                        informed that
                                                 that she
                                                      she would
                                                          would report
                                                                report to
                                                                       to Correa.
                                                                          Correa.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Melgoza
                         Melgoza reported to Correa
                                 reported to Correa in her Director
                                                    in her Director position.
                                                                    position. Rush
                                                                              Rush denies
                                                                                   denies the
                                                                                          the

remaining allegations
remaining allegations in
                      in Complaint
                         Complaint Paragraph
                                   Paragraph 56.
                                             56.

COMPLAINT ¶57:
COMPLAINT ¶57:

       At the
       At  the time
                time Rush
                     Rush demoted      Melgoza, Mulroe
                           demoted Melgoza,      Mulroe informed   Melgoza that
                                                          informed Melgoza    that if she didn't
                                                                                   if she didn’t like
                                                                                                 like her
                                                                                                      her
new position,
new  position, she
               she could
                   could accept
                         accept aa severance
                                   severance package
                                              package from
                                                        from Rush,
                                                             Rush, stating
                                                                   stating that
                                                                           that Melgoza's
                                                                                Melgoza’s employment
                                                                                            employment
with Rush
with Rush would
            would be
                   be terminated
                      terminated ifif she
                                      she did not take
                                          did not take the
                                                       the demotion.
                                                           demotion.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that after
                         after Plaintiff's
                               Plaintiff’s Associate
                                           Associate Vice
                                                     Vice President
                                                          President position
                                                                    position was
                                                                             was eliminated,
                                                                                 eliminated, it
                                                                                             it

provided Plaintiff
provided Plaintiff the
                   the option
                       option of
                              of accepting
                                 accepting another
                                           another position
                                                   position at
                                                            at Rush
                                                               Rush or
                                                                    or seeking
                                                                       seeking severance.
                                                                               severance. Rush
                                                                                          Rush

denies the
denies the remaining
           remaining allegations
                     allegations in
                                 in Complaint
                                    Complaint Paragraph
                                              Paragraph 57.
                                                        57.

COMPLAINT ¶58:
COMPLAINT ¶58:

       Mulroe and
       Mulroe    and Wallace
                     Wallace failed
                             failed to
                                    to provide
                                       provide Melgoza
                                               Melgoza with
                                                       with aa severance
                                                               severance package
                                                                         package after
                                                                                 after numerous
                                                                                       numerous
requests for
requests for the
             the document.
                 document.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 58.
                                                           58.

COMPLAINT ¶59:
COMPLAINT ¶59:

        The demotion adversely
        The demotion    adversely impacted   Melgoza by
                                  impacted Melgoza      by (a)
                                                            (a) capping
                                                                capping her   salary at
                                                                          her salary  at aa director
                                                                                            director level
                                                                                                     level
with raises
with raises not
            not factored
                  factored into her base
                           into her base pay
                                           pay after
                                               after reaching
                                                      reaching aa scale;
                                                                   scale; (b)
                                                                           (b) removing
                                                                               removing her her from
                                                                                                 from the
                                                                                                       the
Management Incentive
Management               Compensation Program
              Incentive Compensation    Program and
                                                  and putting
                                                       putting her
                                                                her into
                                                                    into aa "Shadow
                                                                            “Shadow Program"
                                                                                      Program” withwith an
                                                                                                        an
unclear future;
unclear         (c) removing
        future; (c) removing substantial
                              substantial responsibilities from her
                                          responsibilities from  her job
                                                                     job duties; (d) harming
                                                                         duties; (d) harming herher ability
                                                                                                    ability


                                                    15
                                                    15
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 84 of 157 PageID #:6074




to advance
to advance to
           to higher
              higher levels
                     levels of
                            of management
                                management within
                                            within and
                                                    and outside
                                                        outside the
                                                                 the organization;
                                                                     organization; (e)
                                                                                   (e) causing
                                                                                       causing her
                                                                                               her
professional embarrassment
professional embarrassment andand emotional
                                   emotional distress which also
                                             distress which   also impacted
                                                                    impacted her
                                                                              her health;
                                                                                   health; and
                                                                                           and (f)
                                                                                                (f)
preventing moving
preventing moving patient
                   patient care
                           care forward..
                                forward..

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 58.
                                                           58.

COMPLAINT ¶60:
COMPLAINT ¶60:

        Melgoza met
        Melgoza   met with
                       with numerous
                            numerous members
                                        members in   Rush’s executive
                                                  in Rush's  executive ranks   to discuss
                                                                         ranks to discuss the
                                                                                          the termination
                                                                                              termination
threat, demotion,
threat,            and the
        demotion, and   the retaliatory
                            retaliatory behavior
                                        behavior directed
                                                  directed at
                                                            at her after her
                                                               her after  her advocacy
                                                                              advocacy for
                                                                                        for diversity
                                                                                            diversity and
                                                                                                       and
requesting equitable
requesting             pay. On
            equitable pay.   On March
                                  March 22,
                                         22, 2017
                                             2017 and
                                                    and April
                                                         April 16,
                                                               16, 2017,
                                                                   2017, she
                                                                           she met
                                                                               met with
                                                                                    with Terry
                                                                                          Terry Peterson,
                                                                                                 Peterson,
Rush Vice
Rush  Vice President
           President ofof Governmental
                          Governmental Affairs
                                         Affairs and
                                                 and the
                                                      the Chairman
                                                          Chairman ofof the
                                                                         the Diversity
                                                                             Diversity Leadership
                                                                                       Leadership Group
                                                                                                    Group
and Chairman
and  Chairman ofof the
                   the Chicago
                        Chicago Transit   Authority (CTA).
                                  Transit Authority   (CTA). She    also met
                                                                She also   met with
                                                                               with Barginere,
                                                                                     Barginere, Wallace,
                                                                                                 Wallace,
Dr. Ansell,
Dr. Ansell, Dandorph,
            Dandorph, andand Mary
                             Mary Ellen
                                    Ellen Schopp   (“Schopp”), Rush
                                          Schopp ("Schopp"),     Rush Senior   Vice President
                                                                       Senior Vice   President of
                                                                                                of Human
                                                                                                   Human
Resources. All
Resources.   All these
                 these Rush
                       Rush senior
                             senior executives
                                    executives failed  to end
                                               failed to  end the
                                                              the discriminatory
                                                                  discriminatory and
                                                                                   and retaliatory
                                                                                       retaliatory actions
                                                                                                   actions
against Melgoza.
against  Melgoza.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Terry
                                            Terry Peterson,
                                                  Peterson, Barginere,
                                                            Barginere, Dr.
                                                                       Dr. Ansell,
                                                                           Ansell, and
                                                                                   and Mary
                                                                                       Mary Ellen
                                                                                            Ellen

Schopp at various
Schopp at various times
                  times in
                        in 2017.
                           2017. Rush
                                 Rush denies the remaining
                                      denies the remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

60.
60.

COMPLAINT ¶61:
COMPLAINT ¶61:

       Schopp
       Schopp recommended
                recommended thatthat Melgoza
                                     Melgoza leave
                                                leave the
                                                       the organization
                                                            organization and
                                                                         and focus
                                                                             focus on
                                                                                   on being
                                                                                      being aa mother,
                                                                                               mother,
volunteer for
volunteer     school activities
          for school activities for her child,
                                for her child, and
                                               and find
                                                    find aa hobby.
                                                            hobby.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 61.
                                                           61.

COMPLAINT ¶62:
COMPLAINT ¶62:

        Rush eventually
        Rush eventually offered
                        offered aa severance
                                   severance package.
                                             package.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 62.
                                                           62.

COMPLAINT ¶63:
COMPLAINT ¶63:

        Melgoza rejected
        Melgoza          the severance
                rejected the severance package,
                                       package, and
                                                and began
                                                    began working
                                                          working as
                                                                  as aa Director
                                                                        Director for
                                                                                 for Rush.
                                                                                     Rush.



                                                   16
                                                   16
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 85 of 157 PageID #:6075




ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff began
                                   began working
                                         working as
                                                 as aa Director.
                                                       Director. Rush
                                                                 Rush denies
                                                                      denies the
                                                                             the remaining
                                                                                 remaining

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 63.
                                   63.

COMPLAINT ¶64:
COMPLAINT ¶64:

        In
        In January 2017, Correa
           January 2017, Correa informed
                                informed Melgoza
                                         Melgoza that
                                                 that he
                                                      he was
                                                         was resigning
                                                             resigning his
                                                                       his employment
                                                                           employment with
                                                                                      with
Rush.
Rush.

ANSWER:
ANSWER:

        Rush lacks
        Rush       knowledge or
             lacks knowledge or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to the
                                                                               the truth
                                                                                   truth of
                                                                                         of the
                                                                                            the

allegations asserted
allegations asserted in
                     in Complaint
                        Complaint Paragraph
                                  Paragraph 64.
                                            64.

COMPLAINT ¶65:
COMPLAINT ¶65:

       On January
       On          25, 2017,
          January 25,  2017, Dr.
                              Dr. Robert
                                  Robert DeCresce
                                          DeCresce ("Dr.
                                                    (“Dr. DeCresce"),
                                                          DeCresce”), Rush
                                                                       Rush Acting
                                                                             Acting Cancer
                                                                                    Cancer Center
                                                                                           Center
Medical Director
Medical Director and
                  and Operating
                      Operating Partner
                                   Partner of
                                           of Shore  Capital Partners,
                                              Shore Capital  Partners, informed  Melgoza that
                                                                       informed Melgoza  that she
                                                                                              she
would report to him until further
would report to him until further notice.
                                  notice.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 65.
                                                           65.

COMPLAINT ¶66:
COMPLAINT ¶66:

        On February
        On February 3,
                     3, 2017,
                        2017, Dr.
                              Dr. Antonio
                                  Antonio Bianco
                                           Bianco ("Dr.
                                                   (“Dr. Bianco"),
                                                         Bianco”), Rush
                                                                   Rush Vice
                                                                        Vice President
                                                                             President of
                                                                                       of Clinical
                                                                                          Clinical
Affairs and
Affairs and President/Owner
            President/Owner ofof Bianco
                                  Bianco Labs
                                         Labs requested
                                               requested aa meeting
                                                            meeting with
                                                                    with Melgoza
                                                                         Melgoza on
                                                                                  on February
                                                                                     February 8,8,
2017 to
2017 to discuss “leadership of
        discuss "leadership of the
                               the cancer
                                   cancer center."
                                          center.”

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Dr.
                         Dr. Bianco
                             Bianco met
                                    met with
                                        with Plaintiff
                                             Plaintiff on
                                                       on February
                                                          February 8, 2017 and
                                                                   8, 2017 and that
                                                                               that Plaintiff
                                                                                    Plaintiff

received an
received an invitation
            invitation with
                       with the
                            the subject
                                subject listed
                                        listed as
                                               as "Interim
                                                  “Interim Leadership
                                                           Leadership for the Cancer
                                                                      for the Cancer Center."
                                                                                     Center.” Rush
                                                                                              Rush

denies the
denies the remaining
           remaining allegations
                     allegations in
                                 in Complaint
                                    Complaint Paragraph
                                              Paragraph 66.
                                                        66.

COMPLAINT ¶67:
COMPLAINT ¶67:

        On February
        On February 8,    2017, during
                       8, 2017, during thethe meeting
                                              meeting between
                                                       between Melgoza
                                                                 Melgoza and
                                                                          and Dr.
                                                                               Dr. Bianco,
                                                                                    Bianco, Melgoza
                                                                                             Melgoza waswas
blind-sided by
blind-sided by learning
                learning for
                          for the
                              the first
                                  first time
                                        time that
                                              that the
                                                   the meeting
                                                       meeting was
                                                               was actually
                                                                    actually an
                                                                             an interview   for the
                                                                                interview for   the Interim
                                                                                                    Interim
Cancer Position,
Cancer  Position, which
                  which was
                          was open
                               open due
                                      due to
                                           to Correa's
                                              Correa’s resignation.
                                                       resignation. No
                                                                    No copy
                                                                        copy of
                                                                              of an
                                                                                 an active
                                                                                    active job
                                                                                           job description
                                                                                                description
was provided
was provided for   the "surprise"
               for the “surprise” interview.
                                    interview.



                                                    17
                                                    17
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 86 of 157 PageID #:6076




ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief regarding
                                                                         regarding the
                                                                                   the truth
                                                                                       truth of
                                                                                             of the
                                                                                                the

allegations regarding
allegations           what Plaintiff
            regarding what Plaintiff believed.
                                     believed. Rush
                                               Rush denies
                                                    denies the
                                                           the remaining
                                                               remaining allegations
                                                                         allegations in Complaint
                                                                                     in Complaint

Paragraph 67.
Paragraph 67.

COMPLAINT ¶68:
COMPLAINT ¶68:

          During the
          During  the February
                       February 8th   meeting, Melgoza
                                  8th meeting, Melgoza provided
                                                        provided aa copy of her
                                                                    copy of her resume
                                                                                resume to
                                                                                        to Dr.
                                                                                           Dr. Bianco,
                                                                                               Bianco,
and after
and   after reviewing
            reviewing the
                        the resume,
                            resume, Dr.
                                     Dr. Bianco
                                         Bianco said
                                                said to
                                                     to Melgoza,
                                                        Melgoza, "You
                                                                 “You are
                                                                       are aa snob,
                                                                              snob, you
                                                                                    you went
                                                                                        went to
                                                                                             to school
                                                                                                school
with aa lot
with         of snobs.
         lot of snobs. II used
                          used to
                               to know
                                  know aa woman
                                          woman who
                                                 who went
                                                       went to
                                                            to Smith [College]. She
                                                               Smith [College].      wasn’t that
                                                                                 She wasn't that great.
                                                                                                 great.
II didn't
   didn’t care  for her.
          care for  her. She  was aa snob."
                          She was    snob.”

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff provided
                                   provided aa copy
                                               copy of
                                                    of her
                                                       her résumé
                                                           résumé to
                                                                  to Dr.
                                                                     Dr. Bianco.
                                                                         Bianco. Rush
                                                                                 Rush denies
                                                                                      denies the
                                                                                             the

remaining allegations
remaining allegations in
                      in Complaint
                         Complaint Paragraph
                                   Paragraph 68.
                                             68.

COMPLAINT ¶69:
COMPLAINT ¶69:

        Melgoza reported
        Melgoza              Dr. Bianco's
                   reported Dr.  Bianco’s rude,
                                             rude, discriminatory
                                                   discriminatory behavior
                                                                   behavior and
                                                                             and the
                                                                                 the lack
                                                                                     lack of
                                                                                           of aa formal
                                                                                                  formal
posting of
posting  of the
            the job
                job position
                    position with
                             with aa job
                                     job description
                                         description to
                                                     to Schopp.
                                                        Schopp. Schopp  told Melgoza
                                                                Schopp told  Melgoza that
                                                                                      that "[Melgoza]
                                                                                           “[Melgoza]
let things
let things happen
            happen to
                    to her"
                       her” and
                             and that
                                 that she
                                       she should
                                           should go
                                                   go back
                                                       back to
                                                            to Dr.
                                                               Dr. Bianco
                                                                   Bianco to
                                                                           to "teach
                                                                              “teach him
                                                                                     him how
                                                                                          how to to be
                                                                                                    be aa
better leader.”
better leader."

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 69.
                                                           69.

COMPLAINT ¶70:
COMPLAINT ¶70:

       Melgoza reported
       Melgoza reported Dr.
                        Dr. Bianco's
                            Bianco’s rude,
                                      rude, discriminatory comments to
                                            discriminatory comments  to Dr.
                                                                        Dr. DeCresce,
                                                                            DeCresce, who
                                                                                       who told
                                                                                           told
her, "Don't
her, “Don’t worry,
            worry, you
                   you are
                        are not
                            not aa snob!"
                                   snob!” Dr.
                                            Dr. DeCresce
                                                 DeCresce did
                                                           did not
                                                               not follow-up
                                                                   follow-up further
                                                                              further regarding
                                                                                      regarding
Melgoza’s complaints.
Melgoza's complaints.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 70.
                                                           70.

COMPLAINT ¶71:
COMPLAINT ¶71:

        Rush did
        Rush did not
                 not offer
                     offer Melgoza
                           Melgoza the
                                   the open
                                       open Interim Cancer Position,
                                            Interim Cancer Position, and
                                                                     and instead
                                                                         instead hired
                                                                                 hired aa less-
                                                                                          less-
qualified Caucasian
qualified Caucasian female,
                    female, Patty
                            Patty Nedved
                                  Nedved ("Nedved"),
                                         (“Nedved”), who
                                                     who lacked
                                                         lacked experience
                                                                 experience managing
                                                                             managing cancer
                                                                                        cancer
departments.
departments.



                                                   18
                                                   18
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 87 of 157 PageID #:6077




ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiff
                        Plaintiff was
                                  was not
                                      not offered
                                          offered the
                                                  the Interim Cancer Position
                                                      Interim Cancer Position and
                                                                              and that
                                                                                  that Nedved
                                                                                       Nedved

filled that
filled that role
            role after
                 after years
                       years of
                             of employment
                                employment with
                                           with Rush,
                                                Rush, including
                                                      including time
                                                                time serving
                                                                     serving as
                                                                             as Rush's
                                                                                Rush’s Acting
                                                                                       Acting Chief
                                                                                              Chief

Nursing Officer.
Nursing Officer. Rush
                 Rush denies
                      denies the
                             the remaining
                                 remaining allegations
                                           allegations in
                                                       in Complaint
                                                          Complaint Paragraph
                                                                    Paragraph 71.
                                                                              71.

COMPLAINT ¶72:
COMPLAINT ¶72:

        Rush deviated
        Rush deviated from and did
                      from and did not
                                   not follow its policies
                                       follow its policies and
                                                           and procedures
                                                               procedures on
                                                                          on job
                                                                             job hiring
                                                                                 hiring and
                                                                                        and posting
                                                                                            posting
when it
when    hired Nedved.
     it hired Nedved.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the remaining allegations in
                       remaining allegations in Complaint
                                                Complaint Paragraph
                                                          Paragraph 72.
                                                                    72.

COMPLAINT ¶73:
COMPLAINT ¶73:

        Melgoza later
       Melgoza   later learned from Dr.
                       learned from  Dr. DeCresce
                                         DeCresce that
                                                    that there
                                                         there were
                                                               were two
                                                                    two (2)
                                                                         (2) candidates
                                                                             candidates considered
                                                                                         considered for
                                                                                                    for
Correa’s position.
Correa's position. Both
                    Both ofof the
                              the candidates
                                   candidates were
                                               were not
                                                     not of
                                                         of Mexican
                                                            Mexican national
                                                                      national origin.
                                                                                origin. Another
                                                                                         Another Rush
                                                                                                  Rush
executive employee
executive employee informed
                     informed Melgoza
                                Melgoza that
                                          that the
                                               the two
                                                   two (2)
                                                       (2) candidates
                                                           candidates did
                                                                       did not
                                                                           not have
                                                                               have cancer
                                                                                     cancer experience
                                                                                             experience
and that
and that Melgoza
         Melgoza had
                   had the
                        the most
                            most "on
                                  “on the
                                      the bench
                                          bench cancer   experience at
                                                 cancer experience   at Rush,
                                                                        Rush, yet
                                                                               yet the
                                                                                   the position
                                                                                       position went
                                                                                                went to
                                                                                                     to
an individual
an            without cancer
   individual without  cancer experience."
                               experience.”

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 73.
                                                          73.

COMPLAINT ¶74:
COMPLAINT ¶74:

        Upon information
        Upon                and belief,
               information and  belief, other
                                        other candidates
                                              candidates were
                                                         were provided
                                                               provided advance
                                                                         advance notice
                                                                                 notice to
                                                                                        to prepare
                                                                                           prepare for
                                                                                                    for
the interview,
the interview, and
                and were
                    were told
                          told of
                               of their
                                  their "active
                                        “active status"
                                                status” for
                                                        for the
                                                            the position,
                                                                position, allowing
                                                                          allowing them
                                                                                   them the
                                                                                         the ability
                                                                                             ability to
                                                                                                     to
compete for
compete   for the
              the position.
                  position.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 74.
                                                          74.

COMPLAINT ¶75:
COMPLAINT ¶75:

       On February
       On  February 27,
                     27, 2017,
                          2017, Melgoza
                                 Melgoza met
                                           met with
                                                with Peter
                                                      Peter Butler
                                                            Butler ("Butler"),
                                                                    (“Butler”), former
                                                                                 former Rush
                                                                                          Rush Chief
                                                                                                Chief
Executive  Officer and
Executive Officer   and Chief
                         Chief Operating
                                 Operating Officer
                                             Officer to
                                                      to discuss
                                                         discuss the
                                                                   the hostile
                                                                       hostile and
                                                                                 and discriminatory
                                                                                       discriminatory
environment at
environment  at Rush.
                Rush. Butler
                        Butler noted
                                noted that
                                      that Melgoza
                                           Melgoza managed
                                                     managed aa complex
                                                                  complex portfolio
                                                                             portfolio exceptionally
                                                                                        exceptionally
during his
during his tenure
           tenure at
                   at Rush,
                       Rush, encouraged
                              encouraged herher to
                                                to focus   on moving
                                                    focus on   moving forward       with the
                                                                         forward with     the current
                                                                                              current
departments, and
departments, and stated
                 stated that
                        that he
                             he "would
                                “would not
                                        not have
                                            have handled
                                                 handled [the  hiring] situation
                                                          [the hiring] situation in  that manner."
                                                                                  in that manner.”




                                                  19
                                                  19
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 88 of 157 PageID #:6078




ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Butler
                                            Butler at
                                                   at various
                                                      various times.
                                                              times. Rush
                                                                     Rush lacks
                                                                          lacks knowledge or
                                                                                knowledge or

information sufficient
information sufficient to
                       to form
                          form aa belief
                                  belief as
                                         as to
                                            to the
                                               the truth
                                                   truth of
                                                         of the
                                                            the allegations
                                                                allegations regarding
                                                                            regarding Plaintiff's
                                                                                      Plaintiff’s

purported purpose
purported purpose for
                  for seeking
                      seeking aa meeting
                                 meeting with
                                         with Butler.
                                              Butler. Rush
                                                      Rush denies
                                                           denies the
                                                                  the remaining
                                                                      remaining allegations
                                                                                allegations in
                                                                                            in

Complaint Paragraph
Complaint Paragraph 75.
                    75.

COMPLAINT ¶76:
COMPLAINT ¶76:

        On March
        On  March 21,
                   21, 2017,
                       2017, Melgoza
                              Melgoza met
                                        met with
                                             with Dr.
                                                  Dr. Ansell
                                                      Ansell toto discuss
                                                                  discuss the
                                                                          the demotion
                                                                              demotion of of Melgoza
                                                                                             Melgoza and
                                                                                                      and
to inform
to         him of
   inform him  of the
                   the ongoing
                       ongoing retaliation
                                retaliation against
                                            against her.
                                                     her. Dr.
                                                           Dr. Ansell
                                                                Ansell stated
                                                                        stated that
                                                                               that Barginere
                                                                                     Barginere made
                                                                                                 made the
                                                                                                       the
decision to
decision to demote
            demote Melgoza.
                     Melgoza. Dr.
                               Dr. Ansell,
                                   Ansell, further
                                           further stated,
                                                    stated, "[Barginere]
                                                            “[Barginere] was
                                                                           was told
                                                                                told to
                                                                                     to remove
                                                                                        remove you.
                                                                                                 you. She
                                                                                                      She
removed you
removed   you because
              because she
                        she is weak. She
                            is weak.        is not
                                       She is  not strong
                                                   strong for   diversity. That
                                                           for diversity.   That is  what happens
                                                                                  is what  happens when
                                                                                                     when
these people
these people get
             get in
                 in power."
                    power.” Melgoza
                              Melgoza asked
                                        asked Dr.
                                               Dr. Ansell
                                                   Ansell to
                                                          to clarify
                                                              clarify who
                                                                      who issued   the order
                                                                           issued the   order to
                                                                                              to terminate
                                                                                                 terminate
her employment
her employment and
                 and what
                      what he
                           he meant
                               meant by
                                      by "these
                                         “these people,"
                                                 people,” but
                                                          but hehe ran
                                                                   ran away
                                                                       away from
                                                                             from Melgoza
                                                                                    Melgoza inin response.
                                                                                                 response.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Dr.
                                            Dr. Ansell
                                                Ansell at
                                                       at various
                                                          various times.
                                                                  times. Rush
                                                                         Rush lacks knowledge or
                                                                              lacks knowledge or

information sufficient
information sufficient to
                       to form
                          form aa belief
                                  belief as
                                         as to
                                            to the
                                               the truth
                                                   truth of
                                                         of the
                                                            the allegations
                                                                allegations regarding
                                                                            regarding Plaintiff's
                                                                                      Plaintiff’s

purported purpose
purported purpose for
                  for seeking
                      seeking aa meeting
                                 meeting with
                                         with Dr.
                                              Dr. Ansell.
                                                  Ansell. Rush
                                                          Rush denies
                                                               denies the
                                                                      the remaining
                                                                          remaining allegations
                                                                                    allegations

in Complaint
in Complaint Paragraph
             Paragraph 76.
                       76.

COMPLAINT ¶77:
COMPLAINT ¶77:

       Similarly-situated individuals who
       Similarly-situated individuals  who were
                                            were male
                                                 male were
                                                       were allowed
                                                            allowed toto prepare
                                                                         prepare for
                                                                                 for interviews
                                                                                     interviews
and/or were hired to work in positions more advanced than Director at Rush.
and/or were hired to work in positions more advanced than Director at Rush.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 77.
                                                           77.

COMPLAINT ¶78:
COMPLAINT ¶78:

       Similarly-situated
       Similarly-situated individuals who were
                          individuals who were not
                                                not of
                                                    of Mexican-American
                                                       Mexican-American national
                                                                          national origin
                                                                                   origin were
                                                                                          were
allowed to
allowed  to prepare
            prepare for interviews and/or
                    for interviews and/or were
                                          were hired
                                               hired to
                                                     to work
                                                        work in positions more
                                                             in positions more advanced
                                                                                advanced than
                                                                                          than
Director at
Director at Rush.
            Rush.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 78.
                                                           78.



                                                   20
                                                   20
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 89 of 157 PageID #:6079




COMPLAINT ¶79:
COMPLAINT ¶79:

        Similarly-situated
        Similarly-situated individuals who were
                           individuals who  were not
                                                  not asked
                                                      asked to
                                                            to meet
                                                               meet sexual
                                                                    sexual expectations
                                                                           expectations or
                                                                                        or subjected
                                                                                           subjected
to stereotypes
to stereotypes of
                of women
                   women of of Mexican-American
                               Mexican-American descent
                                                    descent atat Rush
                                                                 Rush were
                                                                      were allowed
                                                                            allowed toto prepare
                                                                                         prepare for
                                                                                                 for
interviews and/or
interviews and/or were
                   were hired
                        hired to
                              to work
                                 work in
                                       in positions
                                          positions more
                                                    more advanced
                                                          advanced than
                                                                    than Director
                                                                         Director at
                                                                                  at Rush.
                                                                                     Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 79.
                                                          79.

COMPLAINT ¶80:
COMPLAINT ¶80:

       Similarly-situated
       Similarly-situated individuals  who did
                           individuals who did not
                                               not complain
                                                   complain about
                                                             about discrimination
                                                                   discrimination and
                                                                                  and unequal
                                                                                      unequal pay
                                                                                              pay
were allowed
were allowed to
              to prepare
                 prepare for
                         for interviews
                             interviews and/or
                                        and/or were
                                               were hired
                                                    hired to
                                                          to work
                                                             work in positions more
                                                                  in positions more advanced
                                                                                    advanced than
                                                                                             than
Director at
Director at Rush.
            Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 80.
                                                          80.

COMPLAINT ¶81:
COMPLAINT ¶81:

        Similarly-situated
        Similarly-situated employees  who did
                            employees who   did not
                                                not advocate
                                                    advocate for  the advancement
                                                              for the advancement of
                                                                                   of diversity
                                                                                      diversity in the
                                                                                                in the
executive ranks  of  Rush   were allowed  to prepare  for interviews   and/or were hired  to
executive ranks of Rush were allowed to prepare for interviews and/or were hired to work in  work   in
positions more
positions more advanced
                advanced than
                           than Director
                                Director at
                                         at Rush.
                                            Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 81.
                                                          81.

COMPLAINT ¶82:
COMPLAINT ¶82:

         Following the
         Following  the promotion
                        promotion of
                                   of Nedved,
                                      Nedved, the
                                               the gender
                                                   gender and
                                                            and national
                                                                national origin
                                                                          origin discrimination
                                                                                 discrimination and
                                                                                                 and
retaliation by
retaliation by Rush
               Rush against
                      against Melgoza
                              Melgoza continued.
                                       continued. Melgoza
                                                   Melgoza learned   that Dr.
                                                             learned that  Dr. Bianco
                                                                               Bianco threatened
                                                                                       threatened to
                                                                                                   to
terminate Melgoza's
terminate  Melgoza’s employment.
                       employment. Additionally,
                                    Additionally, Dr.
                                                  Dr. Bianco
                                                      Bianco and
                                                              and executives
                                                                  executives publicly
                                                                              publicly threatened
                                                                                        threatened to
                                                                                                   to
remove additional
remove   additional departments
                    departments from
                                from her
                                      her supervision
                                          supervision that
                                                      that she
                                                           she capably
                                                               capably supervised
                                                                       supervised for   many years.
                                                                                    for many  years.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 82.
                                                          82.

COMPLAINT ¶83:
COMPLAINT ¶83:

       On January
       On           16, 2015,
           January 16,   2015, Melgoza
                                Melgoza reached
                                         reached out
                                                  out to
                                                       to Dr.
                                                          Dr. Larry  Goodman ("Dr.
                                                              Larry Goodman      (“Dr. Goodman"),
                                                                                       Goodman”),
President of
President of Rush
             Rush University
                    University Medical
                                Medical Center
                                        Center and
                                                 and the
                                                     the Executive
                                                          Executive Sponsor
                                                                     Sponsor ofof Rush's
                                                                                  Rush’s Diversity
                                                                                         Diversity
Leadership   Group, in
Leadership Group,    in an
                         an attempt
                             attempt to
                                      to discuss   diversity, future
                                          discuss diversity,  future goals
                                                                      goals and
                                                                            and thethe removal  of
                                                                                       removal of
discriminatory barriers
discriminatory barriers at
                        at Rush.
                           Rush. Dr.
                                 Dr. Goodman    never responded
                                     Goodman never    responded to
                                                                 to the
                                                                    the email.
                                                                        email.



                                                 21
                                                 21
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 90 of 157 PageID #:6080




ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiff
                        Plaintiff emailed Dr. Goodman
                                  emailed Dr. Goodman on
                                                      on January 16, 2015
                                                         January 16, 2015 and
                                                                          and that
                                                                              that Dr.
                                                                                   Dr.

Goodman did
Goodman did not
            not respond to that
                respond to that email.
                                email. Rush
                                       Rush denies
                                            denies the
                                                   the remaining
                                                       remaining allegations
                                                                 allegations in Complaint
                                                                             in Complaint

Paragraph 83.
Paragraph 83.

COMPLAINT ¶84:
COMPLAINT ¶84:

       Dr. Goodman
       Dr. Goodman has
                     has advocated
                         advocated for  inclusion and
                                    for inclusion and aa diverse
                                                         diverse work
                                                                 work environment,   and speaks
                                                                       environment, and  speaks
publicly about
publicly about Rush's
               Rush’s commitment
                      commitment toto equality;
                                      equality; however
                                                however hehe refused
                                                             refused to
                                                                     to meet
                                                                        meet with
                                                                              with Melgoza.
                                                                                   Melgoza. AA
second meeting
second meeting was
               was requested
                   requested on
                             on April
                                April 25,
                                      25, 2017,
                                          2017, but
                                                but Dr.
                                                    Dr. Goodman
                                                         Goodman declined
                                                                   declined the
                                                                            the meeting.
                                                                                meeting.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Dr.
                        Dr. Goodman
                            Goodman has
                                    has advocated
                                        advocated for an inclusive,
                                                  for an            diverse work
                                                         inclusive, diverse work environment,
                                                                                 environment,

and Rush's
and Rush’s commitment to equality.
           commitment to           Rush further
                         equality. Rush         admits that
                                        further admits that Dr.
                                                            Dr. Goodman
                                                                Goodman declined to meet
                                                                        declined to meet with
                                                                                         with

Plaintiff. Rush
Plaintiff. Rush denies
                denies the
                       the remaining
                           remaining allegations
                                     allegations in Complaint Paragraph
                                                 in Complaint Paragraph 84.
                                                                        84.

COMPLAINT ¶85:
COMPLAINT ¶85:

        Dr. Goodman
        Dr. Goodman hashas spoken
                            spoken about
                                   about equity,
                                         equity, inclusion,
                                                  inclusion, ethics and aa diverse
                                                             ethics and    diverse work
                                                                                   work environment;
                                                                                         environment;
yet he
yet he condoned
       condoned the
                 the overt,
                     overt, systemic
                            systemic discrimination
                                     discrimination against
                                                     against employees
                                                             employees ofof Mexican
                                                                            Mexican descent,
                                                                                      descent, unequal
                                                                                               unequal
pay for
pay      women, and
     for women,   and exclusion  of veterans,
                      exclusion of  veterans, people
                                              people with
                                                       with disabilities
                                                            disabilities and
                                                                         and other
                                                                              other under-represented
                                                                                    under-represented
employees by
employees   by not
               not posting
                    posting executive
                             executive positions,
                                       positions, promoting
                                                  promoting nepotism,
                                                              nepotism, violating
                                                                          violating the
                                                                                    the equal
                                                                                        equal pay
                                                                                               pay law
                                                                                                   law
and not
and      addressing overt
     not addressing overt discrimination
                          discrimination against
                                          against Rush's
                                                   Rush’s only
                                                          only Mexican-American
                                                                Mexican-American executive.
                                                                                     executive.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Dr.
                        Dr. Goodman
                            Goodman has
                                    has advocated
                                        advocated for
                                                  for an
                                                      an inclusive, equitable, ethical,
                                                         inclusive, equitable,          and
                                                                               ethical, and

diverse work
diverse work environment. Rush denies
             environment. Rush denies the
                                      the remaining
                                          remaining allegations
                                                    allegations in
                                                                in Complaint
                                                                   Complaint Paragraph
                                                                             Paragraph 85.
                                                                                       85.

COMPLAINT ¶86:
COMPLAINT ¶86:

        During the
        During   the March
                     March 21,21, 2016,
                                   2016, Dr.
                                          Dr. Ansell
                                               Ansell stated
                                                        stated that
                                                                that it
                                                                     it was
                                                                        was "unconscionable
                                                                            “unconscionable that
                                                                                              that Rush
                                                                                                    Rush
demoted its
demoted       only Latina
          its only         Female Executive
                   Latina Female               and had
                                    Executive and  had nono other
                                                             other Hispanic
                                                                   Hispanic Executives within the
                                                                            Executives within   the Rush
                                                                                                    Rush
Executive
Executive ranks.”   He also
            ranks." He  also stated
                             stated that
                                    that he
                                         he "threw
                                            “threw aa line"
                                                      line” to
                                                            to Dr.
                                                               Dr. Goodman   and Barginere
                                                                   Goodman and   Barginere at
                                                                                           at aa meeting
                                                                                                 meeting
related to
related to the
           the unconscionable
               unconscionable bias
                                 bias against
                                      against employees
                                              employees of of Mexican
                                                              Mexican descent.
                                                                        descent.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 86.
                                                          86.




                                                  22
                                                  22
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 91 of 157 PageID #:6081




COMPLAINT ¶87:
COMPLAINT ¶87:

        Executive    leadership at
        Executive leadership     at Rush
                                     Rush waswas spearheaded
                                                  spearheaded by  by Dr.
                                                                      Dr. Goodman
                                                                           Goodman who   who was
                                                                                               was enabled
                                                                                                     enabled by
                                                                                                              by
William M.
William   M. Goodyear,
               Goodyear, Chairman
                            Chairman of of the
                                            the Rush
                                                 Rush University
                                                        University Medical
                                                                      Medical Center
                                                                                 Center Board
                                                                                           Board of
                                                                                                  of Directors,
                                                                                                      Directors,
former Rush
former  Rush Chief
               Chief Executive    Officer and
                      Executive Officer    and President
                                                President of of Navigant,
                                                                Navigant, to
                                                                           to violate
                                                                               violate the
                                                                                        the EPA
                                                                                             EPA and
                                                                                                  and Title  VII
                                                                                                       Title VII
in discriminating
in discriminating against
                    against women
                             women and and employees
                                            employees of  of Mexican
                                                             Mexican national
                                                                        national origin.
                                                                                   origin. Dr.
                                                                                             Dr. Goodman
                                                                                                 Goodman and and
Goodyear did
Goodyear    did not
                not intervene  and stop
                    intervene and   stop the
                                         the discriminatory     behavior; thus,
                                              discriminatory behavior;     thus, facilitating
                                                                                  facilitating an
                                                                                                an environment
                                                                                                   environment
where it
where  it is acceptable to
          is acceptable   to violate
                             violate civil
                                      civil rights
                                            rights laws    related to
                                                    laws related   to equal
                                                                       equal pay
                                                                              pay and
                                                                                    and the
                                                                                          the discrimination
                                                                                              discrimination of
                                                                                                              of
employees of
employees    of Mexican
                Mexican national
                           national origin.
                                    origin. Their    inaction   and failure  to hold   executives   accountable
                                              Their inaction and failure to hold executives accountable
support aa corporate
support    corporate culture
                       culture of
                               of systemic,
                                  systemic, intentional
                                              intentional discrimination
                                                            discrimination andand retaliation
                                                                                   retaliation against
                                                                                                against women
                                                                                                        women
and employees
and  employees of of Mexican
                     Mexican national
                                national origin,
                                          origin, and
                                                   and also
                                                         also negatively
                                                               negatively impact
                                                                           impact andand discriminate
                                                                                           discriminate against
                                                                                                         against
people with
people  with disabilities,  veterans and
              disabilities, veterans  and other
                                          other under-represented
                                                 under-represented minorities.
                                                                        minorities. Instead    of meeting
                                                                                      Instead of  meeting with
                                                                                                            with
Melgoza, an
Melgoza,   an employee
              employee of of Mexican
                             Mexican descent     who lead
                                        descent who    lead nine
                                                             nine to
                                                                  to eleven
                                                                     eleven departments
                                                                              departments withwith over
                                                                                                   over 700  full
                                                                                                        700 full
time employees,
time  employees, Dr.
                   Dr. Goodman     opted to
                        Goodman opted     to "dealsource"
                                              “dealsource” andand be
                                                                   be aa social
                                                                         social media
                                                                                media influencer.
                                                                                         influencer.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 87.
                                                           87.

COMPLAINT ¶88:
COMPLAINT ¶88:

       On May
       On  May 8,
               8, 2017,
                  2017, Melgoza
                         Melgoza filed
                                  filed aa Charge
                                           Charge of
                                                   of Discrimination
                                                      Discrimination against
                                                                     against Defendant
                                                                             Defendant ("Charge
                                                                                       (“Charge of
                                                                                                of
Discrimination”) with
Discrimination") with the
                      the United
                          United States   Equal Employment
                                 States Equal                 Opportunity Commission
                                                 Employment Opportunity    Commission ("EEOC").
                                                                                        (“EEOC”).
A copy
A      of the
  copy of the Charge
              Charge of
                      of Discrimination
                         Discrimination is   attached as
                                          is attached as Exhibit A.
                                                         Exhibit A.

ANSWER:
ANSWER:

        Rush admits
        Rush admits the
                    the allegations
                        allegations in
                                    in Complaint
                                       Complaint Paragraph
                                                 Paragraph 88.
                                                           88.

COMPLAINT ¶89:
COMPLAINT ¶89:

       Melgoza’s Charge
       Melgoza's  Charge ofof Discrimination
                              Discrimination alleges
                                             alleges retaliation and discrimination
                                                     retaliation and                on the
                                                                     discrimination on the basis
                                                                                           basis of
                                                                                                 of
gender and
gender and national
           national origin
                    origin against
                           against Defendant.
                                   Defendant.

ANSWER:
ANSWER:

        The allegations in
        The allegations    Complaint Paragraph
                        in Complaint Paragraph 89 purports to
                                               89 purports to characterize
                                                              characterize the
                                                                           the contents
                                                                               contents of
                                                                                        of aa written
                                                                                              written

document that
document that speaks
              speaks for
                     for itself.
                         itself. To the extent
                                 To the extent the
                                               the allegations
                                                   allegations mischaracterize
                                                               mischaracterize or
                                                                               or are
                                                                                  are inconsistent
                                                                                      inconsistent

with that
with that document, they are
          document, they are denied.
                             denied.

COMPLAINT ¶90:
COMPLAINT ¶90:

       On August
       On  August 24,
                    24, 2017,
                         2017, Melgoza
                               Melgoza received
                                        received aa "right
                                                    “right to
                                                            to sue"
                                                                sue” letter
                                                                      letter for  the Charge
                                                                              for the  Charge of
                                                                                              of
Discrimination from
Discrimination from the
                     the EEOC.
                         EEOC. AA copy
                                  copy of
                                       of the
                                          the EEOC   “right to
                                              EEOC "right   to sue"
                                                               sue” letter
                                                                    letter is
                                                                           is attached
                                                                              attached as
                                                                                       as Exhibit
                                                                                          Exhibit
B.
B.



                                                       23
                                                       23
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 92 of 157 PageID #:6082




ANSWER:
ANSWER:

        Upon information
        Upon information and
                         and belief,
                             belief, Rush
                                     Rush admits
                                          admits the
                                                 the allegations
                                                     allegations in Complaint Paragraph
                                                                 in Complaint Paragraph 90.
                                                                                        90.

COMPLAINT ¶91:
COMPLAINT ¶91:

         The  “right to
         The "right   to sue"
                         sue” letter provides Plaintiff
                              letter provides  Plaintiff ninety
                                                         ninety (90)
                                                                (90) days
                                                                     days from the date
                                                                          from the  date of
                                                                                         of her
                                                                                            her receipt of
                                                                                                receipt of
the letter
the        to bring
    letter to bring aa lawsuit.
                       lawsuit. Plaintiff
                                 Plaintiff filed
                                           filed this
                                                 this Complaint
                                                      Complaint before
                                                                 before the
                                                                        the expiration
                                                                            expiration of
                                                                                       of the
                                                                                          the ninety
                                                                                              ninety (90)
                                                                                                     (90)
day period.
day  period.

ANSWER:
ANSWER:

        The allegations in
        The allegations    Complaint Paragraph
                        in Complaint Paragraph 91 purport to
                                               91 purport to characterize
                                                             characterize the
                                                                          the contents
                                                                              contents of
                                                                                       of aa written
                                                                                             written

document that
document that speaks
              speaks for
                     for itself.
                         itself. To the extent
                                 To the extent the
                                               the allegations
                                                   allegations mischaracterize
                                                               mischaracterize or
                                                                               or are
                                                                                  are inconsistent
                                                                                      inconsistent

with that
with that document, they are
          document, they are denied.
                             denied.

COMPLAINT ¶92:
COMPLAINT ¶92:

        Plaintiff has
        Plaintiff has fully exhausted all
                      fully exhausted all of
                                          of her
                                             her administrative
                                                 administrative remedies.
                                                                remedies.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff has
                                   has exhausted her administrative
                                       exhausted her administrative remedies
                                                                    remedies with
                                                                             with the
                                                                                  the EEOC with
                                                                                      EEOC with

respect to
respect to the
           the allegations
               allegations brought
                           brought in
                                   in her
                                      her May
                                          May 8, 2017 charge.
                                              8, 2017 charge. Rush
                                                              Rush denies
                                                                   denies the
                                                                          the remaining
                                                                              remaining allegations
                                                                                        allegations

in Complaint
in Complaint Paragraph
             Paragraph 92.
                       92.

COMPLAINT ¶93:
COMPLAINT ¶93:

        Rush’s discrimination
        Rush's discrimination and
                              and retaliation continues.
                                  retaliation continues.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 93.
                                                           93.

                        Count II —
                        Count    — Violation
                                   Violation of
                                             of the
                                                the Equal
                                                    Equal Pay Act of
                                                          Pay Act of 1963
                                                                     1963

COMPLAINT ¶94:
COMPLAINT ¶94:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.




                                                   24
                                                   24
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 93 of 157 PageID #:6083




ANSWER:
ANSWER:

       Rush incorporates
       Rush incorporates its
                         its responses
                             responses to
                                       to Complaint
                                          Complaint Paragraphs
                                                    Paragraphs 11 through
                                                                  through 93 as if
                                                                          93 as if set
                                                                                   set forth fully
                                                                                       forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 94.
                                                                 94.

COMPLAINT ¶95:
COMPLAINT ¶95:

       At all
       At all times
              times material
                    material to
                             to this
                                this Complaint,
                                     Complaint, Rush
                                                Rush was
                                                     was an
                                                         an employer
                                                            employer within
                                                                     within the
                                                                            the meaning
                                                                                meaning of
                                                                                        of the
                                                                                           the
EPA, § 203(d).
EPA, § 203(d).

ANSWER:
ANSWER:

       Rush lacks
       Rush lacks knowledge
                  knowledge or
                            or information
                               information sufficient
                                           sufficient to
                                                      to form
                                                         form aa belief
                                                                 belief as
                                                                        as to
                                                                           to what
                                                                              what Plaintiff
                                                                                   Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed employees.
employed employees. Rush
                    Rush denies
                         denies the
                                the remaining
                                    remaining allegations
                                              allegations in
                                                          in Complaint
                                                             Complaint Paragraph
                                                                       Paragraph 95.
                                                                                 95.

COMPLAINT ¶96:
COMPLAINT ¶96:

       Rush violated
       Rush   violated the
                       the EPA, § 206(d),
                           EPA, § 206(d), by
                                          by paying
                                             paying Melgoza
                                                    Melgoza less
                                                            less than
                                                                 than male
                                                                      male employees
                                                                           employees performing
                                                                                     performing
substantially equal
substantially equal work.
                    work.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 96.
                                                          96.

COMPLAINT ¶97:
COMPLAINT ¶97:

       Male employees
       Male   employees atat Rush
                             Rush who
                                   who have
                                       have the
                                             the same
                                                 same skill,
                                                        skill, effort
                                                               effort and
                                                                      and responsibility
                                                                           responsibility needed
                                                                                          needed to
                                                                                                 to
perform the
perform the work
            work asas Melgoza,
                      Melgoza, performed
                               performed under
                                          under similar
                                                similar working
                                                        working conditions,    were paid
                                                                   conditions, were paid more
                                                                                          more than
                                                                                               than
Melgoza in
Melgoza     violation of
         in violation of the
                         the EPA, §206(d).
                             EPA, §206(d).

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 97.
                                                          97.

COMPLAINT ¶98:
COMPLAINT ¶98:

       Rush’s violations
       Rush's violations of
                         of the
                            the EPA caused her
                                EPA caused her significant
                                               significant monetary
                                                           monetary harm.
                                                                    harm.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 98.
                                                          98.




                                                25
                                                25
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 94 of 157 PageID #:6084




COMPLAINT ¶99:
COMPLAINT ¶99:

        Rush’s violations
        Rush's violations of
                          of the
                             the EPA were willful.
                                 EPA were willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 99.
                                                           99.

COMPLAINT
COMPLAINT PRAYER 1
          PRAYER 1

         WHEREFORE, Plaintiff,
         WHEREFORE,      Plaintiff, Norma
                                    Norma Melgoza,
                                          Melgoza, respectfully
                                                   respectfully requests
                                                                requests that
                                                                         that this
                                                                              this Court,
                                                                                   Court, after
                                                                                          after aa jury
                                                                                                   jury
trial, enter judgment in  her favor  and against Defendant, Rush  University   Medical  Center,
trial, enter judgment in her favor and against Defendant, Rush University Medical Center, and       and
award damages
award   damages equal  to:
                 equal to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages;
                                                                           wages;

        (ii)
        (ii)    liquidated damages equal
                liquidated damages  equal to
                                          to the
                                             the amount
                                                 amount of
                                                        of back
                                                           back pay
                                                                pay lost
                                                                    lost as
                                                                         as aa result
                                                                               result of
                                                                                      of the
                                                                                         the failure
                                                                                             failure
                to pay
                to pay equal wages;
                       equal wages;

        (iii)
        (iii)   her attorneys'
                her attorneys’ fees and costs;
                               fees and costs; and
                                               and

        (iv)
        (iv)    such other
                such other and
                           and further
                               further relief as thiS
                                       relief as thiS Court
                                                      Court deems
                                                            deems just
                                                                  just and
                                                                       and proper
                                                                           proper under the
                                                                                  under the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

                       Count
                       Count II — Violation
                             II — Violation of
                                            of the
                                               the Equal
                                                   Equal Pay Act of
                                                         Pay Act of 1963
                                                                    1963

COMPLAINT ¶100:
COMPLAINT ¶100:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 93 as if
                                                                           93 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 100.
                                                                 100.

COMPLAINT ¶101:
COMPLAINT ¶101:

       At all
       At all times
              times material
                    material to
                             to this
                                this Complaint,
                                     Complaint, Rush
                                                Rush was
                                                     was an
                                                         an employer
                                                            employer within
                                                                     within the
                                                                            the meaning
                                                                                meaning of
                                                                                        of the
                                                                                           the
EPA, § 203(d).
EPA, § 203(d).



                                                  26
                                                  26
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 95 of 157 PageID #:6085




ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed employees.
employed employees. Rush
                    Rush denies
                         denies the
                                the remaining
                                    remaining allegations
                                              allegations in
                                                          in Complaint
                                                             Complaint Paragraph
                                                                       Paragraph 101.
                                                                                 101.

COMPLAINT ¶102:
COMPLAINT ¶102:

        Rush illegally
        Rush illegally retaliated
                       retaliated against
                                  against Melgoza
                                          Melgoza for
                                                  for exercising
                                                      exercising her
                                                                 her rights under the
                                                                     rights under the EPA.
                                                                                      EPA.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 102.
                                                           102.

COMPLAINT ¶103:
COMPLAINT ¶103:

        Rush’s illegal
        Rush's illegal retaliation
                       retaliation against
                                   against Melgoza
                                           Melgoza caused
                                                   caused her significant monetary
                                                          her significant monetary harm.
                                                                                   harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 103.
                                                           103.

COMPLAINT ¶104:
COMPLAINT ¶104:

        Rush’s illegal
        Rush's illegal retaliation
                       retaliation against
                                   against Melgoza
                                           Melgoza was
                                                   was willful.
                                                       willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 104.
                                                           104.

COMPLAINT
COMPLAINT PRAYER 2:
          PRAYER 2:

         WHEREFORE, Plaintiff,
         WHEREFORE,      Plaintiff, Norma
                                    Norma Melgoza,
                                          Melgoza, respectfully
                                                    respectfully requests
                                                                 requests that
                                                                          that this
                                                                               this Court,
                                                                                    Court, after
                                                                                           after aa jury
                                                                                                    jury
trial, enter
trial, enter judgment
             judgment in  her favor
                      in her         and against
                              favor and  against Defendant,
                                                 Defendant, Rush
                                                             Rush University
                                                                   University Medical
                                                                                Medical Center,
                                                                                         Center, and and
award damages
award   damages equal  to:
                 equal to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    liquidated damages equal
                liquidated damages equal to
                                         to the
                                            the amount
                                                amount of
                                                       of back
                                                          back pay
                                                               pay lost
                                                                   lost as
                                                                        as aa result
                                                                              result of
                                                                                     of the
                                                                                        the failure
                                                                                            failure
                to pay
                to pay equal wages and
                       equal wages and the
                                       the demotion;
                                           demotion;

        (iii)
        (iii)   restoration of Melgoza's
                restoration of Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iv)
        (iv)    her attorneys'
                her attorneys’ fees and costs;
                               fees and costs; and
                                               and




                                                  27
                                                  27
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 96 of 157 PageID #:6086




        (v)
        (v)     such other
                such other and
                           and further
                               further relief
                                       relief as
                                              as this
                                                 this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

               Count III
               Count III —
                         — Violation
                           Violation of
                                     of Title
                                        Title VII
                                              VII of
                                                  of the
                                                     the Civil
                                                         Civil Rights
                                                               Rights Act
                                                                      Act of
                                                                          of 1964
                                                                             1964

COMPLAINT ¶105:
COMPLAINT ¶105:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 93 as if
                                                                           93 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 105.
                                                                 105.

COMPLAINT ¶106:
COMPLAINT ¶106:

        At all
        At all times
               times material
                     material to
                              to this
                                 this Complaint,
                                      Complaint, Rush
                                                  Rush was
                                                        was an
                                                            an employer   within the
                                                               employer within   the meaning
                                                                                     meaning of
                                                                                             of Title
                                                                                                Title
VII, §
VII, § 2000e,
       2000e, and
               and employed   more than
                   employed more     than the
                                          the statutory
                                              statutory minimum
                                                        minimum of
                                                                 of fifteen
                                                                    fifteen employees.
                                                                            employees.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed more
employed more than
              than 15
                   15 employees. Rush denies
                      employees. Rush denies the
                                             the remaining
                                                 remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

106.
106.

COMPLAINT ¶107:
COMPLAINT ¶107:

      Rush discriminated
      Rush               against Melgoza
           discriminated against Melgoza on
                                         on the
                                            the basis
                                                basis of
                                                      of her
                                                         her gender,
                                                             gender, female, in violation
                                                                     female, in violation of
                                                                                          of §
                                                                                             §
2000e-2.
2000e-2.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 107.
                                                           107.




                                                  28
                                                  28
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 97 of 157 PageID #:6087




COMPLAINT ¶108:
COMPLAINT ¶108:

        Similarly-situated male employees
        Similarly-situated male employees at
                                          at Rush
                                             Rush did
                                                  did not
                                                      not receive
                                                          receive the
                                                                  the same
                                                                      same treatment
                                                                           treatment as
                                                                                     as Melgoza.
                                                                                        Melgoza.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 108.
                                                           108.

COMPLAINT ¶109:
COMPLAINT ¶109:

        Rush created
        Rush created aa hostile
                        hostile working
                                working environment
                                        environment for Melgoza due
                                                    for Melgoza due to
                                                                    to Melgoza's
                                                                       Melgoza’s gender.
                                                                                 gender.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 109.
                                                           109.

COMPLAINT ¶110:
COMPLAINT ¶110:

       Rush’s violations
       Rush's  violations of
                          of Melgoza's
                             Melgoza’s rights
                                       rights under
                                              under Title
                                                    Title VII
                                                          VII caused
                                                              caused her
                                                                     her significant
                                                                         significant emotional,
                                                                                     emotional,
physical, and
physical, and monetary
              monetary harm.
                        harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 110.
                                                           110.

COMPLAINT ¶111:
COMPLAINT ¶111:

        Rush’s violations
        Rush's violations of
                          of Melgoza's
                             Melgoza’s rights
                                       rights under
                                              under Title VII were
                                                    Title VII were willful.
                                                                   willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 111.
                                                           111.

COMPLAINT
COMPLAINT PRAYER 3:
          PRAYER 3:

         WHEREFORE, Plaintiff,
         WHEREFORE,      Plaintiff, Norma
                                    Norma Melgoza,
                                          Melgoza, respectfully
                                                    respectfully requests
                                                                 requests that
                                                                          that this
                                                                               this Court,
                                                                                    Court, after
                                                                                           after aa jury
                                                                                                    jury
trial, enter
trial, enter judgment
             judgment in  her favor
                      in her         and against
                              favor and  against Defendant,
                                                 Defendant, Rush
                                                             Rush University
                                                                   University Medical
                                                                                Medical Center,
                                                                                         Center, and and
award damages
award   damages equal  to:
                 equal to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    restoration of
                restoration of Melgoza's
                               Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iii)
        (iii)   compensatory damages;
                compensatory damages;

        (iv)
        (iv)    punitive damages;
                punitive damages;

        (v)
        (v)     her attorneys'
                her attorneys’ fees
                               fees and
                                    and costs;
                                        costs; and
                                               and


                                                  29
                                                  29
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 98 of 157 PageID #:6088




        (vi)
        (vi)    such other
                such other and
                           and further
                               further relief as this
                                       relief as this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

               Count
               Count IV — Violation
                     IV — Violation of
                                    of Title
                                       Title VII
                                             VII of
                                                 of the
                                                    the Civil Rights Act
                                                        Civil Rights Act of
                                                                         of 1964
                                                                            1964

COMPLAINT ¶112:
COMPLAINT ¶112:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 93 as if
                                                                           93 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 112.
                                                                 112.

COMPLAINT ¶113:
COMPLAINT ¶113:

        At all
        At all times
               times material
                     material to
                              to this
                                 this Complaint,
                                      Complaint, Rush
                                                  Rush was
                                                        was an
                                                            an employer   within the
                                                               employer within   the meaning
                                                                                     meaning of
                                                                                             of Title
                                                                                                Title
VII, §
VII, § 2000e,
       2000e, and
               and employed   more than
                   employed more     than the
                                          the statutory
                                              statutory minimum
                                                        minimum of
                                                                 of fifteen
                                                                    fifteen employees.
                                                                            employees.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed more
employed more than
              than 15
                   15 employees. Rush denies
                      employees. Rush denies the
                                             the remaining
                                                 remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

113.
113.

COMPLAINT ¶114:
COMPLAINT ¶114:

      Rush discriminated
      Rush                   against Melgoza
             discriminated against   Melgoza on
                                             on the
                                                the basis
                                                    basis of
                                                          of her
                                                             her national
                                                                 national origin,
                                                                          origin, Mexican-
                                                                                  Mexican-
American, in
American, in violation
             violation of
                       of §
                          § 2000e-2.
                            2000e-2.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 114.
                                                           114.




                                                  30
                                                  30
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 99 of 157 PageID #:6089




COMPLAINT ¶115:
COMPLAINT ¶115:

       Similarly-situated employees not
       Similarly-situated employees not of
                                        of Mexican-American
                                           Mexican-American origin
                                                            origin at
                                                                   at Rush
                                                                      Rush did not receive
                                                                           did not receive the
                                                                                           the
same treatment
same treatment as
               as Melgoza.
                  Melgoza.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 115.
                                                           115.

COMPLAINT ¶116:
COMPLAINT ¶116:

      Rush created
      Rush created aa hostile
                      hostile working
                              working environment
                                      environment for Melgoza due
                                                  for Melgoza due to
                                                                  to Melgoza's
                                                                     Melgoza’s national
                                                                               national origin,
                                                                                        origin,
Mexican-American.
Mexican-American.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 116
                                                           116

COMPLAINT ¶117:
COMPLAINT ¶117:

       Rush’s violations
       Rush's  violations of
                          of Melgoza's
                             Melgoza’s rights
                                       rights under
                                              under Title
                                                    Title VII
                                                          VII caused
                                                              caused her
                                                                     her significant
                                                                         significant emotional,
                                                                                     emotional,
physical, and
physical, and monetary
              monetary harm.
                        harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 117
                                                           117

COMPLAINT ¶118:
COMPLAINT ¶118:

        Rush’s violations
        Rush's violations of
                          of Melgoza's
                             Melgoza’s rights
                                       rights under
                                              under Title VII were
                                                    Title VII were willful.
                                                                   willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 118
                                                           118

COMPLAINT
COMPLAINT PRAYER
          PRAYER 4:
                 4:

         WHEREFORE, Plaintiff,
         WHEREFORE,       Plaintiff, Norma
                                     Norma Melgoza,
                                           Melgoza, respectfully
                                                     respectfully requests
                                                                  requests that
                                                                           that this
                                                                                this Court,
                                                                                     Court, after
                                                                                            after aa jury
                                                                                                     jury
trial, enter
trial, enter judgment
             judgment in   her favor
                       in her         and against
                               favor and  against Defendant,
                                                  Defendant, Rush
                                                              Rush University
                                                                    University Medical
                                                                                 Medical Center,
                                                                                          Center, and and
award   damages  equal
award damages equal to: to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    restoration of
                restoration of Melgoza's
                               Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iii)
        (iii)   compensatory damages;
                compensatory damages;

        (iv)
        (iv)    punitive damages;
                punitive damages;


                                                   31
                                                   31
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 100 of 157 PageID #:6090




        (v)
        (v)     her attorneys'
                her attorneys’ fees
                               fees and
                                    and costs;
                                        costs; and
                                               and

        (vi)
        (vi)    such other
                such other and
                           and further
                               further relief as this
                                       relief as this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

               Count V
               Count V—— Violation
                         Violation of
                                   of Title VII of
                                      Title VII of the
                                                   the Civil Rights Act
                                                       Civil Rights Act of
                                                                        of 1964
                                                                           1964

COMPLAINT ¶119:
COMPLAINT ¶119:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 93 as if
                                                                           93 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 119.
                                                                 119.

COMPLAINT ¶120:
COMPLAINT ¶120:

        At all
        At all times
               times material
                     material to
                              to this
                                 this Complaint,
                                      Complaint, Rush
                                                  Rush was
                                                        was an
                                                            an employer   within the
                                                               employer within   the meaning
                                                                                     meaning of
                                                                                             of Title
                                                                                                Title
VII, §
VII, § 2000e,
       2000e, and
               and employed   more than
                   employed more     than the
                                          the statutory
                                              statutory minimum
                                                        minimum of
                                                                 of fifteen
                                                                    fifteen employees.
                                                                            employees.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed more
employed more than
              than 15
                   15 employees. Rush denies
                      employees. Rush denies the
                                             the remaining
                                                 remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

120.
120.

COMPLAINT ¶121:
COMPLAINT ¶121:

        Rush illegally
        Rush illegally retaliated
                       retaliated against
                                  against Melgoza
                                          Melgoza for
                                                  for exercising
                                                      exercising her
                                                                 her rights under Title
                                                                     rights under       VII.
                                                                                  Title VII.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 121.
                                                           121.



                                                  32
                                                  32
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 101 of 157 PageID #:6091




COMPLAINT ¶122:
COMPLAINT ¶122:

        Similarly-situated male employees
        Similarly-situated male   employees at
                                            at Rush
                                               Rush who
                                                    who did  not exercise
                                                         did not exercise their
                                                                          their rights
                                                                                rights under
                                                                                       under Title
                                                                                             Title
VII at
VII at Rush
       Rush did
            did not
                not receive
                     receive the
                             the same
                                 same treatment
                                      treatment as
                                                as Melgoza.
                                                   Melgoza.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 122.
                                                           122.

COMPLAINT ¶123:
COMPLAINT ¶123:

       Similarly-situated
       Similarly-situated employees
                            employees not   of Mexican-American
                                       not of  Mexican-American national
                                                                   national origin
                                                                            origin at
                                                                                   at Rush
                                                                                      Rush who
                                                                                           who did
                                                                                               did
not exercise
not exercise their
             their rights
                   rights under
                          under Title VII did
                                Title VII did not
                                              not receive
                                                  receive the
                                                          the same
                                                              same treatment
                                                                   treatment as
                                                                             as Melgoza.
                                                                                Melgoza.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 123.
                                                           123.

COMPLAINT ¶124:
COMPLAINT ¶124:

      Rush’s illegal
      Rush's illegal retaliation against Melgoza
                     retaliation against Melgoza caused
                                                 caused her
                                                        her significant
                                                            significant emotional, physical, and
                                                                        emotional, physical, and
monetary harm.
monetary harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 124.
                                                           124.

COMPLAINT ¶125:
COMPLAINT ¶125:

        Rush’s illegal
        Rush's illegal retaliation
                       retaliation against
                                   against Melgoza
                                           Melgoza was
                                                   was willful.
                                                       willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 125.
                                                           125.

COMPLAINT
COMPLAINT PRAYER 5:
          PRAYER 5:

         WHEREFORE, Plaintiff,
         WHEREFORE,       Plaintiff, Norma
                                     Norma Melgoza,
                                           Melgoza, respectfully
                                                     respectfully requests
                                                                  requests that
                                                                           that this
                                                                                this Court,
                                                                                     Court, after
                                                                                            after aa jury
                                                                                                     jury
trial, enter
trial, enter judgment
             judgment in   her favor
                       in her         and against
                               favor and  against Defendant,
                                                  Defendant, Rush
                                                              Rush University
                                                                    University Medical
                                                                                 Medical Center,
                                                                                          Center, and and
award   damages  equal
award damages equal to: to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    restoration of
                restoration of Melgoza's
                               Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iii)
        (iii)   compensatory damages;
                compensatory damages;

        (iv)
        (iv)    punitive damages;
                punitive damages;


                                                   33
                                                   33
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 102 of 157 PageID #:6092




        (v)
        (v)     her attorneys'
                her attorneys’ fees
                               fees and
                                    and costs;
                                        costs; and
                                               and

        (vi)
        (vi)    such other
                such other and
                           and further
                               further relief as this
                                       relief as this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

                      Count VI —
                      Count VI — Violation
                                 Violation of
                                           of Illinois
                                              Illinois Human Rights Act
                                                       Human Rights Act

COMPLAINT ¶126:
COMPLAINT ¶126:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 92 as if
                                                                           92 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 126.
                                                                 126.

COMPLAINT ¶127:
COMPLAINT ¶127:

         At all
         At all times
                times material
                      material to
                               to this
                                  this Complaint,
                                       Complaint, Rush
                                                  Rush was
                                                       was an
                                                           an employer
                                                              employer within
                                                                        within the
                                                                                the meaning
                                                                                    meaning of
                                                                                            of the
                                                                                               the
Illinois  Human Rights
Illinois Human    Rights Act,
                         Act, §2-101(B)(1)(a),
                              §2-101(B)(1)(a), and
                                               and employed
                                                   employed more
                                                              more than
                                                                   than the
                                                                        the statutory
                                                                            statutory minimum
                                                                                      minimum ofof
fifteen employees.
fifteen  employees.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed more
employed more than
              than 15
                   15 employees. Rush denies
                      employees. Rush denies the
                                             the remaining
                                                 remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

127.
127.

COMPLAINT ¶128:
COMPLAINT ¶128:

        Rush discriminated
        Rush  discriminated against
                            against Melgoza
                                    Melgoza on
                                            on the
                                                the basis
                                                    basis of
                                                          of her  gender, female,
                                                             her gender,          and on
                                                                          female, and on the
                                                                                         the basis
                                                                                             basis of
                                                                                                   of
her national
her national origin,
             origin, Mexican-American,
                     Mexican-American, in
                                        in violation
                                           violation of
                                                     of the
                                                        the Illinois
                                                             Illinois Human
                                                                      Human Rights
                                                                             Rights Act.
                                                                                    Act.




                                                  34
                                                  34
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 103 of 157 PageID #:6093




ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 128.
                                                          128.

COMPLAINT ¶129:
COMPLAINT ¶129:

       Similarly situated male
       Similarly situated male employees
                               employees at
                                         at Rush
                                            Rush did
                                                 did not
                                                     not receive
                                                         receive the
                                                                 the same
                                                                     same treatment
                                                                          treatment as
                                                                                    as Melgoza.
                                                                                       Melgoza.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 129.
                                                          129.

COMPLAINT ¶130:
COMPLAINT ¶130:

        Similarly-situated
        Similarly-situated employees
                           employees not of Mexican-American
                                     not of Mexican-American national
                                                             national origin
                                                                      origin at
                                                                             at Rush
                                                                                Rush did
                                                                                     did not
                                                                                         not
receive the
receive the same
            same treatment
                  treatment as
                            as Melgoza.
                               Melgoza.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 130.
                                                          130.

COMPLAINT ¶131:
COMPLAINT ¶131:

       Rush created
       Rush created aa hostile
                       hostile working
                               working environment
                                       environment for Melgoza due
                                                   for Melgoza due to
                                                                   to Melgoza's
                                                                      Melgoza’s gender.
                                                                                gender.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 131.
                                                          131.

COMPLAINT ¶132:
COMPLAINT ¶132:

      Rush created
      Rush created aa hostile
                      hostile working
                              working environment
                                      environment for Melgoza due
                                                  for Melgoza due to
                                                                  to Melgoza's
                                                                     Melgoza’s national
                                                                               national origin,
                                                                                        origin,
Mexican-American.
Mexican-American.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 132.
                                                          132.

COMPLAINT ¶133:
COMPLAINT ¶133:

       Rush retaliated
       Rush             against Melgoza
             retaliated against Melgoza for
                                        for exercising her rights
                                            exercising her rights in violation of
                                                                  in violation of the
                                                                                  the Illinois Human
                                                                                      Illinois Human
Rights Act,
Rights Act, §6-101(A).
            §6-101(A).

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 133.
                                                          133.




                                                35
                                                35
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 104 of 157 PageID #:6094




COMPLAINT ¶134:
COMPLAINT ¶134:

      Rush’s violations
      Rush's violations of
                        of the
                           the Illinois Human Rights
                               Illinois Human Rights Act
                                                     Act caused
                                                         caused her
                                                                her significant
                                                                    significant emotional
                                                                                emotional and
                                                                                          and
monetary harm.
monetary harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 134.
                                                           134.

COMPLAINT ¶135:
COMPLAINT ¶135:

        Rush’s violations
        Rush's violations of
                          of the
                             the Illinois
                                 Illinois Human
                                          Human Rights
                                                Rights Act
                                                       Act were
                                                           were willful.
                                                                willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 135.
                                                           135.

COMPLAINT
COMPLAINT PRAYER 6:
          PRAYER 6:

         WHEREFORE, Plaintiff,
         WHEREFORE,      Plaintiff, Norma
                                    Norma Melgoza,
                                          Melgoza, respectfully
                                                    respectfully requests
                                                                 requests that
                                                                          that this
                                                                               this Court,
                                                                                    Court, after
                                                                                           after aa jury
                                                                                                    jury
trial, enter
trial, enter judgment
             judgment in  her favor
                      in her         and against
                              favor and  against Defendant,
                                                 Defendant, Rush
                                                             Rush University
                                                                   University Medical
                                                                                Medical Center,
                                                                                         Center, and and
award damages
award   damages equal  to:
                 equal to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    restoration of
                restoration of Melgoza's
                               Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iii)
        (iii)   compensatory damages;
                compensatory damages;

        (iv)
        (iv)    punitive damages;
                punitive damages;

        (v)
        (v)     her attorneys'
                her attorneys’ fees
                               fees and
                                    and costs;
                                        costs; and
                                               and

        (vi)
        (vi)    such other
                such other and
                           and further
                               further relief as this
                                       relief as this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.




                                                  36
                                                  36
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 105 of 157 PageID #:6095




                           AFFIRMATIVE AND
                           AFFIRMATIVE AND ADDITIONAL
                                           ADDITIONAL DEFENSES
                                                      DEFENSES

        1.
        1.       To the extent
                 To the extent Plaintiff
                               Plaintiff failed to exercise
                                         failed to exercise reasonable diligence in
                                                            reasonable diligence in the
                                                                                    the mitigation
                                                                                        mitigation of
                                                                                                   of

damages, she
damages, she is
             is not
                not entitled
                    entitled to
                             to relief.
                                relief.

        2.
        2.       Plaintiff’s claims
                 Plaintiff's claims are
                                    are barred
                                        barred to
                                               to the
                                                  the extent
                                                      extent they
                                                             they occurred
                                                                  occurred and/or
                                                                           and/or accrued
                                                                                  accrued outside
                                                                                          outside of
                                                                                                  of

the applicable
the applicable statute
               statute of
                       of limitations.
                          limitations.

        3.
        3.       Plaintiff’s claims
                 Plaintiff's claims are
                                    are barred
                                        barred to
                                               to the
                                                  the extent
                                                      extent relief
                                                             relief is
                                                                    is sought
                                                                       sought for actions outside
                                                                              for actions outside the
                                                                                                  the

scope of
scope of her
         her EEOC charge.
             EEOC charge.

        4.
        4.       All or
                 All or part
                        part of
                             of Plaintiff's
                                Plaintiff’s claims
                                            claims under
                                                   under Title
                                                         Title VII
                                                               VII are
                                                                   are barred
                                                                       barred to
                                                                              to the
                                                                                 the extent
                                                                                     extent they
                                                                                            they fall
                                                                                                 fall

outside of
outside of the
           the 300-day
               300-day statute
                       statute of
                               of limitations
                                  limitations for filing aa charge
                                              for filing    charge of
                                                                   of discrimination.
                                                                      discrimination.

        5.
        5.       Plaintiff is
                 Plaintiff is not
                              not entitled
                                  entitled to
                                           to punitive
                                              punitive damages
                                                       damages or
                                                               or other
                                                                  other damages because Defendant
                                                                        damages because Defendant

made good
made good faith
          faith efforts to comply
                efforts to        with all
                           comply with all applicable
                                           applicable statutes
                                                      statutes and
                                                               and common
                                                                   common laws and acted
                                                                          laws and acted at
                                                                                         at all
                                                                                            all

times to
times to protect
         protect Plaintiffs
                 Plaintiff’s statutorily-protected
                             statutorily-protected rights.
                                                   rights.

        6.
        6.       Plaintiff’s claims
                 Plaintiff's claims arising
                                    arising under
                                            under the
                                                  the Equal Pay Act
                                                      Equal Pay Act are
                                                                    are barred
                                                                        barred to
                                                                               to the
                                                                                  the extent
                                                                                      extent she
                                                                                             she

seeks relief
seeks        for acts
      relief for acts falling outside of
                      falling outside of the
                                         the applicable
                                             applicable statutes
                                                        statutes of
                                                                 of limitations.
                                                                    limitations.

        7.
        7.       Plaintiff’s claims
                 Plaintiff's claims arising
                                    arising under
                                            under the
                                                  the Equal Pay Act
                                                      Equal Pay Act fail because any
                                                                    fail because any alleged
                                                                                     alleged

discrepancy in
discrepancy    pay was
            in pay was the
                       the result
                           result of
                                  of factors
                                     factors other
                                             other than
                                                   than sex.
                                                        sex.

        8.
        8.       To the extent
                 To the extent Plaintiff
                               Plaintiff alleges
                                         alleges that
                                                 that any
                                                      any employee of Defendant
                                                          employee of Defendant acted
                                                                                acted in
                                                                                      in an
                                                                                         an

unlawful manner,
unlawful manner, such
                 such conduct,
                      conduct, if it occurred,
                               if it occurred, was
                                               was outside
                                                   outside the
                                                           the course
                                                               course and
                                                                      and scope
                                                                          scope of
                                                                                of that
                                                                                   that

individual’s employment,
individual's employment, was
                         was not
                             not authorized
                                 authorized or
                                            or condoned
                                               condoned by
                                                        by Defendant,
                                                           Defendant, and
                                                                      and was
                                                                          was undertaken
                                                                              undertaken

without the
without the knowledge
            knowledge or
                      or consent
                         consent of
                                 of Defendant.
                                    Defendant. Thus, Defendant is
                                               Thus, Defendant    not liable
                                                               is not liable for any such
                                                                             for any such

conduct, if
conduct, if it occurred.
            it occurred.

        9.
        9.       Defendant denies
                 Defendant denies that
                                  that gender or national
                                       gender or national origin
                                                          origin were
                                                                 were factors or motives
                                                                      factors or motives in any of
                                                                                         in any of

the employment
the employment decisions
               decisions concerning Plaintiff. However,
                         concerning Plaintiff. However, in the event
                                                        in the       that the
                                                               event that the fact
                                                                              fact finder
                                                                                   finder




                                                    37
                                                    37
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 106 of 157 PageID #:6096




determines otherwise,
determines otherwise, Defendant
                      Defendant avers
                                avers that
                                      that it would have
                                           it would have made
                                                         made the
                                                              the same
                                                                  same decisions
                                                                       decisions even
                                                                                 even in the
                                                                                      in the

absence of
absence of any
           any alleged
               alleged impermissible
                       impermissible factor/motivation.
                                     factor/motivation.

       10.
       10.       Plaintiff is
                 Plaintiff is barred
                              barred from
                                     from relief
                                          relief because
                                                 because Defendant
                                                         Defendant exercised
                                                                   exercised reasonable care to
                                                                             reasonable care to

prevent and
prevent and correct any harassing
            correct any harassing conduct
                                  conduct and
                                          and Plaintiff
                                              Plaintiff unreasonably
                                                        unreasonably failed to take
                                                                     failed to take advantage
                                                                                    advantage of
                                                                                              of

the preventive
the preventive or
               or corrective opportunities provided
                  corrective opportunities provided by
                                                    by Defendant
                                                       Defendant or
                                                                 or to
                                                                    to avoid
                                                                       avoid harm
                                                                             harm otherwise.
                                                                                  otherwise.

       11.
       11.       Any relief
                 Any relief to
                            to which
                               which Plaintiffs
                                     Plaintiffs may
                                                may be
                                                    be entitled
                                                       entitled is
                                                                is barred
                                                                   barred or
                                                                          or otherwise
                                                                             otherwise affected
                                                                                       affected by
                                                                                                by

the after-acquired
the after-acquired evidence doctrine.
                   evidence doctrine.

                    COUNTERCLAIM FOR
                    COUNTERCLAIM     DECLARATORY JUDGMENT
                                 FOR DECLARATORY JUDGMENT

         Defendant/Counterclaimant Rush
         Defendant/Counterclaimant Rush University
                                        University Medical
                                                   Medical Center
                                                           Center ("Counterclaimant"
                                                                  (“Counterclaimant” or
                                                                                     or

 “Rush”) hereby
 "Rush")        files this
         hereby files this counterclaim
                           counterclaim for declaratory judgment
                                        for declaratory judgment against
                                                                 against Plaintiff/Counterclaim-
                                                                         Plaintiff/Counterclaim-

 Defendant ("Counterclaim-Defendant"
 Defendant (“Counterclaim-Defendant” or
                                     or "Melgoza"),
                                        “Melgoza”), stating
                                                    stating as
                                                            as follows:
                                                               follows:

                                          Nature of
                                          Nature of the
                                                    the Action
                                                        Action

         1.
         1.      Rush seeks
                 Rush seeks declaratory
                            declaratory relief
                                        relief pursuant
                                               pursuant to
                                                        to 28
                                                           28 U.S.C.
                                                              U.S.C. §
                                                                     § 2201
                                                                       2201 because
                                                                            because Melgoza
                                                                                    Melgoza is
                                                                                            is

 actively pursuing
 actively pursuing claims
                   claims regarding
                          regarding her
                                    her July 2020 termination
                                        July 2020 termination resulting from aa COVID-19
                                                              resulting from    COVID-19

 reduction in
 reduction in force
              force in
                    in aa separate
                          separate proceeding
                                   proceeding rather
                                              rather than
                                                     than asserting
                                                          asserting them
                                                                    them in this case.
                                                                         in this       Melgoza’s
                                                                                 case. Melgoza's

 efforts are
 efforts are aa misuse
                misuse of
                       of the
                          the judicial
                              judicial process
                                       process and
                                               and an
                                                   an effort
                                                      effort to
                                                             to inflict
                                                                inflict harm
                                                                        harm upon
                                                                             upon Rush.
                                                                                  Rush. The parties
                                                                                        The parties

 remain in
 remain in an
           an active
              active dispute
                     dispute regarding
                             regarding whether
                                       whether Melgoza's
                                               Melgoza’s termination
                                                         termination claims
                                                                     claims may
                                                                            may proceed
                                                                                proceed in
                                                                                        in aa

 separate action,
 separate action, and
                  and that
                      that dispute
                           dispute will
                                   will continue
                                        continue until
                                                 until aa court
                                                          court definitively
                                                                definitively declares
                                                                             declares whether
                                                                                      whether Melgoza's
                                                                                              Melgoza’s

 termination claims
 termination claims may
                    may continue in aa second
                        continue in    second action,
                                              action, or
                                                      or whether,
                                                         whether, to
                                                                  to the
                                                                     the contrary, they are
                                                                         contrary, they are barred
                                                                                            barred

 under the
 under the doctrines
           doctrines of
                     of res
                        res judicata
                            judicata and/or
                                     and/or impermissible
                                            impermissible claim splitting. In
                                                          claim splitting.    the absence
                                                                           In the absence of
                                                                                          of such
                                                                                             such aa

 declaration, the
 declaration, the parties'
                  parties’ dispute
                           dispute will
                                   will continue to fester,
                                        continue to fester, resulting
                                                            resulting in
                                                                      in parallel
                                                                         parallel lawsuits,
                                                                                  lawsuits, the
                                                                                            the possibility
                                                                                                possibility

 of conflicting
 of conflicting verdicts,
                verdicts, potential
                          potential double recovery to
                                    double recovery to Melgoza,
                                                       Melgoza, and
                                                                and great
                                                                    great and
                                                                          and unnecessary
                                                                              unnecessary expense
                                                                                          expense

 to Rush,
 to Rush, among
          among other
                other things.
                      things.




                                                    38
                                                    38
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 107 of 157 PageID #:6097



                                              Parties
                                              Parties

       2.
       2.      Rush is
               Rush is aa not-for-profit healthcare corporation
                          not-for-profit healthcare corporation with
                                                                with aa principal
                                                                        principal place
                                                                                  place of
                                                                                        of business
                                                                                           business at
                                                                                                    at

1653 West
1653 West Congress
          Congress Parkway,
                   Parkway, Chicago,
                            Chicago, Illinois
                                     Illinois 60612.
                                              60612.

       3.
       3.      Melgoza is
               Melgoza is aa former employee of
                             former employee of Rush
                                                Rush who
                                                     who resides
                                                         resides in this district.
                                                                 in this district.

                                     Jurisdiction and
                                     Jurisdiction and Venue
                                                      Venue

       4.
       4.      This Court has
               This Court has jurisdiction
                              jurisdiction over
                                           over Rush's
                                                Rush’s counterclaim
                                                       counterclaim for
                                                                    for declaratory relief pursuant
                                                                        declaratory relief pursuant

to 28
to 28 U.S.C.
      U.S.C. §
             § 1367(a)
               1367(a) because
                       because the
                               the claim
                                   claim arises
                                         arises out
                                                out of
                                                    of the
                                                       the same
                                                           same case
                                                                case or
                                                                     or controversy
                                                                        controversy as
                                                                                    as Melgoza's
                                                                                       Melgoza’s

claims against
claims against Rush.
               Rush.

       5.
       5.      Venue is
               Venue    proper in
                     is proper in this
                                  this District
                                       District pursuant
                                                pursuant to
                                                         to 28
                                                            28 U.S.C.
                                                               U.S.C. §
                                                                      § 1391(b)
                                                                        1391(b) because
                                                                                because aa

substantial part
substantial part of
                 of the
                    the events
                        events or
                               or omissions
                                  omissions giving
                                            giving rise
                                                   rise to
                                                        to the
                                                           the claim
                                                               claim occurred
                                                                     occurred within
                                                                              within this
                                                                                     this District.
                                                                                          District.

                                       Factual Background
                                       Factual Background

       6.
       6.      Melgoza commenced
               Melgoza commenced employment with Rush
                                 employment with Rush in
                                                      in 2006
                                                         2006 as
                                                              as an
                                                                 an Assistant
                                                                    Assistant Vice
                                                                              Vice

President.
President.

       7.
       7.      On July
               On      24, 2018,
                  July 24, 2018, Melgoza
                                 Melgoza filed an Amended
                                         filed an Amended Complaint
                                                          Complaint ("Complaint")
                                                                    (“Complaint”) against
                                                                                  against

Rush in
Rush    the Northern
     in the Northern District
                     District of
                              of Illinois, Case No.
                                 Illinois, Case No. 1:17-cv-06819
                                                    1:17-cv-06819 (the
                                                                  (the "Litigation"),
                                                                       “Litigation”), asserting
                                                                                      asserting six
                                                                                                six

claims under
claims under the
             the Equal Pay Act
                 Equal Pay Act of
                               of 1963;
                                  1963; Title VII of
                                        Title VII of the
                                                     the Civil
                                                         Civil Rights
                                                               Rights Act
                                                                      Act of
                                                                          of 1964
                                                                             1964 ("Title
                                                                                  (“Title VII");
                                                                                          VII”);

and the
and the Illinois Human Rights
        Illinois Human Rights Act.
                              Act. The
                                   The Litigation
                                       Litigation is currently pending.
                                                  is currently pending.

       8.
       8.      In support of
               In support of her
                             her claims, Melgoza alleges
                                 claims, Melgoza alleges that
                                                         that Rush
                                                              Rush discriminated
                                                                   discriminated against
                                                                                 against her
                                                                                         her based
                                                                                             based

on sex
on sex and
       and national
           national origin
                    origin by
                           by paying
                              paying her
                                     her less
                                         less than
                                              than coworkers
                                                   coworkers outside
                                                             outside of
                                                                     of her
                                                                        her protected
                                                                            protected categories,
                                                                                      categories,

failing to
failing to promote
           promote her,
                   her, and
                        and harassing
                            harassing her.
                                      her.       Notably, Melgoza's
                                                 Notably, Melgoza’s Complaint
                                                                    Complaint alleges
                                                                              alleges "Rush's
                                                                                      “Rush’s

discrimination and
discrimination and retaliation
                   retaliation continues.”
                               continues."

       9.
       9.      On July
               On      14, 2020,
                  July 14, 2020, Rush
                                 Rush advised
                                      advised Melgoza
                                              Melgoza that
                                                      that her
                                                           her position
                                                               position was
                                                                        was being
                                                                            being eliminated
                                                                                  eliminated

effective July
effective      19, 2020
          July 19, 2020 in
                        in aa COVID-19
                              COVID-19 related
                                       related reduction
                                               reduction in
                                                         in force (“RIF”) impacting
                                                            force ("RIF") impacting more
                                                                                    more than
                                                                                         than 230
                                                                                              230

employees.
employees.



                                                 39
                                                 39
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 108 of 157 PageID #:6098



       10.
       10.     Immediately after learning
               Immediately after learning of
                                          of her
                                             her termination,
                                                 termination, on
                                                              on July 15, 2020,
                                                                 July 15, 2020, Melgoza
                                                                                Melgoza filed
                                                                                        filed aa

motion to
motion to amend
          amend her
                her Complaint
                    Complaint ("Motion
                              (“Motion to
                                       to Amend")
                                          Amend”) in the Litigation
                                                  in the            and attached
                                                         Litigation and attached aa draft
                                                                                    draft Second
                                                                                          Second

Amended Complaint
Amended Complaint ("SAC")
                  (“SAC”) including
                          including new
                                    new allegations
                                        allegations based
                                                    based on
                                                          on her
                                                             her termination.
                                                                 termination.

       11.
       11.     In her Motion
               In her Motion to
                             to Amend,
                                Amend, Melgoza
                                       Melgoza acknowledged
                                               acknowledged that
                                                            that her
                                                                 her termination
                                                                     termination allegations
                                                                                 allegations

inherently relate
inherently relate to
                  to the
                     the claims in her
                         claims in her Complaint:
                                       Complaint:

       [T]hough [Melgoza's]
       [T]hough     [Melgoza’s] Second        Amended Complaint
                                     Second Amended       Complaint incorporates
                                                                      incorporates new new
       allegations, it
       allegations,  it does
                        does not
                              not raise
                                   raise new
                                         new claims...her
                                              claims…her July    14, 2020
                                                            July 14, 2020 termination
                                                                           termination is is
       the culmination
       the culmination of of Rush's
                              Rush’s years'
                                       years’ long
                                              long continuing
                                                    continuing campaign
                                                                 campaign ofof retaliation
                                                                                retaliation
       against [Melgoza]
       against  [Melgoza] forfor the
                                  the protected
                                      protected activity
                                                 activity alleged
                                                          alleged in
                                                                  in her
                                                                     her prior
                                                                          prior pleadings
                                                                                 pleadings
       as well
       as well as
                as the
                   the instant
                        instant litigation.  [Melgoza] does
                                litigation. [Melgoza]    does not
                                                              not seek
                                                                  seek to
                                                                        to add
                                                                           add additional
                                                                                additional
       counts to
       counts  to her
                  her Amended
                      Amended Complaint
                                   Complaint asas her
                                                  her recent
                                                      recent termination
                                                             termination is  an extension
                                                                          is an  extension
       of the
       of the same
              same underlying
                     underlying facts     previously alleged
                                    facts previously  alleged and
                                                              and violative
                                                                   violative of
                                                                              of the
                                                                                  the same
                                                                                      same
       laws[.]
       laws[.]


       12.
       12.     The
               The SAC added roughly
                   SAC added roughly four
                                     four full pages of
                                          full pages of allegations
                                                        allegations related
                                                                    related to
                                                                            to her
                                                                               her termination
                                                                                   termination and
                                                                                               and

asserted that
asserted that her
              her inclusion
                  inclusion in the RIF
                            in the RIF was
                                       was further indicia of
                                           further indicia of Rush's
                                                              Rush’s discriminatory
                                                                     discriminatory and
                                                                                    and retaliatory
                                                                                        retaliatory

animus toward
animus toward her.
              her. It
                   It did
                      did not
                          not contain
                              contain any
                                      any new
                                          new allegations
                                              allegations of
                                                          of discriminatory
                                                             discriminatory or
                                                                            or retaliatory
                                                                               retaliatory motives
                                                                                           motives

or animus.
or animus. Nor
           Nor did
               did it
                   it assert
                      assert that
                             that she
                                  she engaged
                                      engaged in
                                              in new
                                                 new protected
                                                     protected activity.
                                                               activity. To
                                                                         To the
                                                                            the contrary,
                                                                                contrary, Melgoza
                                                                                          Melgoza

simply alleged
simply alleged that
               that "[s]ince
                    “[s]ince 2013,
                             2013, Rush
                                   Rush has
                                        has engaged
                                            engaged in
                                                    in aa continuing campaign of
                                                          continuing campaign of retaliation against
                                                                                 retaliation against

Melgoza for
Melgoza for her
            her abovementioned
                abovementioned protected
                               protected activity,
                                         activity, culminating
                                                   culminating in her July
                                                               in her      14, 2020
                                                                      July 14, 2020 termination
                                                                                    termination

of employment[.]"
of employment[.]”

       13.
       13.     On July
               On      23, 2020,
                  July 23, 2020, Melgoza
                                 Melgoza submitted
                                         submitted aa letter requesting withdrawal
                                                      letter requesting withdrawal of
                                                                                   of her
                                                                                      her Motion
                                                                                          Motion

to Amend
to Amend in order "to
         in order “to move
                      move forward with the
                           forward with the claims
                                            claims in
                                                   in her
                                                      her First
                                                          First Amended
                                                                Amended Complaint
                                                                        Complaint as
                                                                                  as

expeditiously as
expeditiously as possible."
                 possible.” The Court granted
                            The Court         Melgoza’s request
                                      granted Melgoza's request to
                                                                to withdraw
                                                                   withdraw her
                                                                            her motion.
                                                                                motion.

       14.
       14.     On November
               On November 9, 2020, the
                           9, 2020, the Court
                                        Court granted
                                              granted issued
                                                      issued an
                                                             an opinion
                                                                opinion granting
                                                                        granting in
                                                                                 in part
                                                                                    part and
                                                                                         and

denying in
denying    part on
        in part on Rush's
                   Rush’s motion
                          motion for summary judgment
                                 for summary judgment which
                                                      which had
                                                            had been
                                                                been pending
                                                                     pending in
                                                                             in the
                                                                                the Litigation.
                                                                                    Litigation.

After the
After the Court's
          Court’s ruling,
                  ruling, the
                          the parties
                              parties submitted
                                      submitted aa joint
                                                   joint status
                                                         status report
                                                                report wherein
                                                                       wherein Melgoza
                                                                               Melgoza requested
                                                                                       requested that
                                                                                                 that

aa trial
   trial date
         date be
              be scheduled
                 scheduled "as
                           “as soon
                               soon as
                                    as practical."
                                       practical.”


                                                     40
                                                     40
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 109 of 157 PageID #:6099



        15.
        15.    Rush stated
               Rush stated its
                           its belief
                               belief that
                                      that "the
                                           “the matter
                                                matter should
                                                       should be
                                                              be stayed
                                                                 stayed until
                                                                        until [Melgoza]
                                                                              [Melgoza] makes
                                                                                        makes clear
                                                                                              clear

her intentions
her            relative to
    intentions relative to any
                           any action
                               action she
                                      she intends
                                          intends to
                                                  to take
                                                     take regarding
                                                          regarding the
                                                                    the termination
                                                                        termination of
                                                                                    of her
                                                                                       her

employment with
employment with Rush."
                Rush.” Rush
                       Rush further
                            further articulated,
                                    articulated, in detail, its
                                                 in detail,     consistent position
                                                            its consistent position that
                                                                                    that allowing
                                                                                         allowing

Melgoza to
Melgoza to pursue
           pursue her
                  her termination
                      termination claims
                                  claims separately
                                         separately would
                                                    would constitute
                                                          constitute impermissible
                                                                     impermissible claims
                                                                                   claims

splitting.
splitting.

        16.
        16.    The Court ordered
               The Court ordered the
                                 the parties
                                     parties to
                                             to discuss
                                                discuss settlement.
                                                        settlement. Thus, on February
                                                                    Thus, on February 24,
                                                                                      24, 2021
                                                                                          2021

and March
and March 10,
          10, 2021,
              2021, the
                    the parties
                        parties attended
                                attended aa virtual
                                            virtual telephonic
                                                    telephonic settlement
                                                               settlement conference
                                                                          conference with
                                                                                     with the
                                                                                          the Court
                                                                                              Court

but were
but were unable
         unable to
                to resolve
                   resolve their
                           their dispute.
                                 dispute.

        17.
        17.    During and
               During and after
                          after the
                                the settlement
                                    settlement conference, Melgoza made
                                               conference, Melgoza made clear
                                                                        clear to
                                                                              to Rush
                                                                                 Rush and
                                                                                      and the
                                                                                          the

Court that
Court that the
           the damages
               damages she
                       she was
                           was claiming
                               claiming in
                                        in the
                                           the Litigation included those
                                               Litigation included those allegedly
                                                                         allegedly resulting from
                                                                                   resulting from

her 2020
her 2020 termination
         termination but
                     but refused to state
                         refused to state whether
                                          whether she
                                                  she would
                                                      would also
                                                            also be
                                                                 be pursuing
                                                                    pursuing aa separate
                                                                                separate cause
                                                                                         cause of
                                                                                               of

action for
action     the termination.
       for the termination.

        18.
        18.    In light of
               In light of Melgoza's
                           Melgoza’s ongoing
                                     ongoing obfuscation
                                             obfuscation of
                                                         of her
                                                            her intentions
                                                                intentions relative to the
                                                                           relative to the

termination claims,
termination claims, Rush
                    Rush sent
                         sent Melgoza
                              Melgoza aa letter
                                         letter on
                                                on April
                                                   April 2,
                                                         2, 2021
                                                            2021 asking
                                                                 asking her
                                                                        her to
                                                                            to confirm
                                                                               confirm her
                                                                                       her intended
                                                                                           intended

course of
course of action
          action relative
                 relative to
                          to those
                             those claims.
                                   claims.

        19.
        19.    On April
               On April 9, 2021, Melgoza
                        9, 2021, Melgoza finally acknowledged she
                                         finally acknowledged she intended
                                                                  intended to
                                                                           to file
                                                                              file an
                                                                                   an EEOC
                                                                                      EEOC

charge relating
charge relating to
                to her
                   her termination
                       termination and
                                   and would
                                       would not assert her
                                             not assert her termination
                                                            termination claims
                                                                        claims in the Litigation.
                                                                               in the Litigation.

        20.
        20.    Melgoza filed
               Melgoza filed her
                             her EEOC charge on
                                 EEOC charge on April
                                                April 30,
                                                      30, 2021.
                                                          2021. Notably,
                                                                Notably, her
                                                                         her charge
                                                                             charge sets
                                                                                    sets forth
                                                                                         forth

many of
many of the
        the same
            same allegations
                 allegations already
                             already asserted
                                     asserted in her Complaint
                                              in her Complaint and
                                                               and withdrawn
                                                                   withdrawn SAC and are
                                                                             SAC and are based
                                                                                         based

on the
on the same
       same operative
            operative facts as the
                      facts as the claims
                                   claims made
                                          made in
                                               in the
                                                  the Litigation.
                                                      Litigation.

        21.
        21.    Melgoza has
               Melgoza has nevertheless
                           nevertheless refused to assert
                                        refused to assert her
                                                          her termination
                                                              termination claims
                                                                          claims in
                                                                                 in the
                                                                                    the Litigation
                                                                                        Litigation

and is
and    actively proceeding
    is actively proceeding to
                           to initiate
                              initiate aa second
                                          second duplicative
                                                 duplicative lawsuit against Rush.
                                                             lawsuit against Rush.

        22.
        22.    Melgoza’s efforts
               Melgoza's efforts are
                                 are aa clear
                                        clear attempt
                                              attempt to
                                                      to force
                                                         force Rush
                                                               Rush to
                                                                    to incur
                                                                       incur unnecessary
                                                                             unnecessary expenses
                                                                                         expenses

defending aa second
defending    second litigation. Furthermore, it
                    litigation. Furthermore,    is clear
                                             it is clear that
                                                         that Plaintiff
                                                              Plaintiff is
                                                                        is attempting
                                                                           attempting to
                                                                                      to hedge
                                                                                         hedge her
                                                                                               her bets
                                                                                                   bets



                                                  41
                                                  41
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 110 of 157 PageID #:6100



by creating
by creating aa second
               second action
                      action as
                             as aa "back
                                   “back up"
                                         up” should
                                             should she
                                                    she fail to prevail
                                                        fail to prevail on
                                                                        on her
                                                                           her claims
                                                                               claims in the Litigation,
                                                                                      in the Litigation,

or is
or is otherwise
      otherwise dissatisfied
                dissatisfied with
                             with the
                                  the results.
                                      results.

        23.
        23.     Absent the
                Absent the relief
                           relief requested
                                  requested herein,
                                            herein, Rush
                                                    Rush will
                                                         will needlessly
                                                              needlessly be
                                                                         be forced to expend
                                                                            forced to expend

resources seeking
resources seeking to
                  to dismiss
                     dismiss the
                             the second
                                 second lawsuit on the
                                        lawsuit on the grounds
                                                       grounds of
                                                               of res
                                                                  res judicata
                                                                      judicata and/or
                                                                               and/or impermissible
                                                                                      impermissible

claim splitting.
claim splitting.

                                        Actual Controversy
                                        Actual Controversy

        24.
        24.     There is an
                There is an actual
                            actual controversy between the
                                   controversy between the parties
                                                           parties that
                                                                   that is
                                                                        is substantial
                                                                           substantial and
                                                                                       and concrete
                                                                                           concrete

concerning Melgoza's
concerning Melgoza’s right to assert
                     right to assert claims
                                     claims relating
                                            relating to
                                                     to her
                                                        her July 2020 termination
                                                            July 2020 termination in
                                                                                  in aa separate
                                                                                        separate

proceeding.
proceeding.

        25.
        25.     Resolution of
                Resolution of the
                              the substantive
                                  substantive claims
                                              claims in the Litigation
                                                     in the            will not
                                                            Litigation will not address
                                                                                address the
                                                                                        the parties'
                                                                                            parties’

ongoing dispute.
ongoing dispute.

        26.
        26.     In the absence
                In the absence of
                               of aa declaration, the parties
                                     declaration, the parties will
                                                              will remain uncertain as
                                                                   remain uncertain as to
                                                                                       to what
                                                                                          what is or is
                                                                                               is or is

not permitted
not permitted in
              in terms
                 terms of
                       of Melgoza's
                          Melgoza’s ability
                                    ability to
                                            to file her termination
                                               file her termination claims
                                                                    claims in
                                                                           in aa separate
                                                                                 separate action;
                                                                                          action; this
                                                                                                  this

controversy will
controversy will continue; and additional
                 continue; and additional litigation will ensue
                                          litigation will ensue in
                                                                in the
                                                                   the future. Moreover, Rush
                                                                       future. Moreover, Rush will
                                                                                              will

suffer irreparable
suffer             harm and
       irreparable harm and incur unnecessary expense
                            incur unnecessary expense defending
                                                      defending and
                                                                and seeking
                                                                    seeking to
                                                                            to dismiss
                                                                               dismiss aa

duplicative second
duplicative second action.
                   action. Additionally,
                           Additionally, if Melgoza proceeds
                                         if Melgoza proceeds in
                                                             in aa second
                                                                   second action,
                                                                          action, there
                                                                                  there may
                                                                                        may

unnecessarily be
unnecessarily be two
                 two trials
                     trials on
                            on overlapping
                               overlapping periods
                                           periods of
                                                   of Melgoza's
                                                      Melgoza’s employment,
                                                                employment, resulting
                                                                            resulting in
                                                                                      in

increased litigation
increased            regarding the
          litigation regarding the proper
                                   proper scope
                                          scope of
                                                of damages
                                                   damages and
                                                           and the
                                                               the evidence
                                                                   evidence that
                                                                            that may
                                                                                 may be
                                                                                     be used
                                                                                        used

during the
during the trials,
           trials, as
                   as well
                      well as
                           as two
                              two potentially
                                  potentially conflicting
                                              conflicting verdicts
                                                          verdicts and/or
                                                                   and/or an
                                                                          an improper double recovery
                                                                             improper double recovery

by Melgoza.
by Melgoza.

        27.
        27.     Rush respectfully
                Rush respectfully submits
                                  submits that
                                          that declaratory
                                               declaratory relief under 28
                                                           relief under 28 U.
                                                                           U.S.C.  § 2201
                                                                              S.C. § 2201 is therefore
                                                                                          is therefore

justified.
justified.

        WHEREFORE, Rush
        WHEREFORE, Rush University
                        University Medical
                                   Medical Center
                                           Center respectfully
                                                  respectfully prays
                                                               prays that
                                                                     that the
                                                                          the Court:
                                                                              Court:

        A. Enter
        A.       judgment in
           Enter judgment    favor of
                          in favor of Rush
                                      Rush and
                                           and against
                                               against Melgoza.
                                                       Melgoza.



                                                  42
                                                  42
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 111 of 157 PageID #:6101



       B. Declare
       B. Declare that
                  that Melgoza
                       Melgoza is
                               is prohibited
                                  prohibited from
                                             from asserting
                                                  asserting the
                                                            the claims relating to
                                                                claims relating to her
                                                                                   her July 2020
                                                                                       July 2020

          termination in
          termination in aa separate
                            separate proceeding
                                     proceeding pursuant
                                                pursuant to
                                                         to the
                                                            the doctrines
                                                                doctrines of
                                                                          of res
                                                                             res judicata
                                                                                 judicata and/or
                                                                                          and/or

          impermissible claim
          impermissible       splitting.
                        claim splitting.

       C. Grant
       C. Grant such
                such additional
                     additional relief as the
                                relief as the Court
                                              Court deems
                                                    deems just
                                                          just and
                                                               and appropriate.
                                                                   appropriate.


Dated: May
Dated: May ___,, 2021
                 2021                               Respectfully submitted,
                                                    Respectfully submitted,

                                                    RUSH UNIVERSITY
                                                    RUSH UNIVERSITY MEDICAL
                                                                    MEDICAL CENTER
                                                                            CENTER

                                                    /s/
                                                    /s/ Jane  M. McFetridge
                                                        Jane M.   McFetridge
                                                    One of
                                                    One   of Its Attorneys
                                                             Its Attorneys

Jane  M. McFetridge
Jane M.  McFetridge (ARDC
                     (ARDC No.
                             No. 6201580)
                                 6201580)
Audrey Olson
Audrey  Olson Gardner
                Gardner (ARDC
                        (ARDC No.
                               No. 6337084)
                                    6337084)
JACKSON
JACKSON LEWIS        P.C.
             LEWIS P.C.
150 North
150  North Michigan
            Michigan Avenue,
                      Avenue, Suite 2500
                              Suite 2500
Chicago, Illinois
Chicago,  Illinois 60601
                   60601
Tel.: 312.787.4949
Tel.: 312.787.4949
Jane.McFetridge@jacksonlewis.com
Jane.McFetridge@jacksonlewis.com
Audrey.Gardner@jacksonlewis.com
Audrey.Gardner@jacksonlewis.com




                                               43
                                               43
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 112 of 157 PageID #:6102




                                  CERTIFICATE OF SERVICE
                                  CERTIFICATE OF SERVICE

         The undersigned, an
         The undersigned, an attorney,
                             attorney, certifies that on
                                       certifies that on May
                                                         May __,, 2021,
                                                                  2021, she
                                                                        she caused
                                                                            caused aa true
                                                                                      true and
                                                                                           and correct
                                                                                               correct

copy of
copy of the
        the foregoing
            foregoing Defendant's
                      Defendant’s Amended
                                  Amended Answer,
                                          Answer, Affirmative
                                                  Affirmative Defenses,
                                                              Defenses, and
                                                                        and Counterclaim
                                                                            Counterclaim to
                                                                                         to

the Amended Complaint
the Amended           to be
            Complaint to be filed
                            filed with
                                  with the
                                       the Clerk
                                           Clerk of
                                                 of the
                                                    the Court
                                                        Court using
                                                              using the
                                                                    the CM/ECF
                                                                        CM/ECF system.
                                                                               system. Notice
                                                                                       Notice

of this
of this filing will be
        filing will be sent
                       sent to
                            to counsel
                               counsel of
                                       of record
                                          record via
                                                 via the
                                                     the Court's
                                                         Court’s electronic
                                                                 electronic filing system. Parties
                                                                            filing system. Parties may
                                                                                                   may

access this
access this filing through the
            filing through the Court's
                               Court’s system.
                                       system.


                                                               /s/
                                                               /s/ Jane M. McFetridge
                                                                   Jane M. McFetridge



4818-5076-3496, v. 1
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 113 of 157 PageID #:6103




                      EXHIBIT
                         F
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 114 of 157 PageID #:6104




                        IN THE UNITED
                        IN THE        STATES DISTRICT
                               UNITED STATES DISTRICT COURT
                                                       COURT
                       FOR
                       FOR THE NORTHERN DISTRICT
                           THE NORTHERN  DISTRICT OF
                                                  OF ILLINOIS
                                                      ILLINOIS
                                  EASTERN DIVISION
                                  EASTERN DIVISION

NORMA MELGOZA,
NORMA MELGOZA,
                                                         Case No. 17-cv-6819
                                                         Case No. 17-cv-6819
                    Plaintiff,
                    Plaintiff,

         vv..


RUSH UNIVERSITY
RUSH                MEDICAL
     UNIVERSITY MEDICAL
                                                         JURY TRIAL
                                                         JURY       DEMANDED
                                                              TRIAL DEMANDED
CENTER, a not-for-profit
CENTER, a                corporation,
          not-for-profit corporation,

                    Defendant.
                    Defendant.


AMENDED ANSWER,
AMENDED ANSWER, ,AND-AFFIRMATIVE
                 AND AFFIRMATIVE DEFENSES,
                                 DEFENSES, AND
                                           AND COUNTERCLAIM
                                               COUNTERCLAIM TO
                                                            TO
                   THE  AMENDED COMPLAINT
                   THE AMENDED  COMPLAINT


         Defendant, Rush
         Defendant, Rush University
                         University Medical
                                    Medical Center
                                            Center ("Rush"
                                                   (“Rush” or
                                                           or "Defendant"),
                                                              “Defendant”), by
                                                                            by and
                                                                               and through
                                                                                   through its
                                                                                           its

attorneys Seyfarth
attorneys Seyfarth Shaw
                   Shaw LLPJackson
                        LLPJackson Lewis P.C. and
                                   Lewis P.C. and for its answer
                                                  for its answer to
                                                                 to Plaintiff,
                                                                    Plaintiff, Norma
                                                                               Norma Melgoza's
                                                                                     Melgoza’s

(“Melgoza” or
("Melgoza" or "Plaintiff'),
              “Plaintiff’), Amended
                            Amended Complaint
                                    Complaint states
                                              states as
                                                     as follows:
                                                        follows:

                                            Nature of
                                            Nature of Action
                                                      Action

COMPLAINT ¶1:
COMPLAINT ¶1:

        This  lawsuit arises
        This lawsuit    arises under
                                under the
                                       the Equal   Pay Act
                                            Equal Pay  Act ofof 1963
                                                                1963 as
                                                                      as amended,
                                                                          amended, 2929 U.S.C.
                                                                                        U.S.C. §§ 206(d),
                                                                                                  206(d), et
                                                                                                          et
seq. (“EPA”),    for  Rush’s   discrimination    against Melgoza   on   the basis of  her gender
seq. ("EPA"), for Rush's discrimination against Melgoza on the basis of her gender by paying      by paying
wages to
wages  to her
          her at
               at aa rate
                     rate less than the
                          less than  the rate
                                         rate at
                                              at which
                                                 which it
                                                        it pays
                                                           pays male
                                                                male employees
                                                                      employees performing
                                                                                  performing substantially
                                                                                               substantially
equal work,
equal  work, and
               and Rush's
                      Rush’s retaliation
                               retaliation against
                                            against Melgoza
                                                     Melgoza after
                                                                after she
                                                                       she complained
                                                                            complained of of discriminatory
                                                                                             discriminatory
treatment.
treatment.

ANSWER:
ANSWER:

         Rush admits
         Rush admits that
                     that Plaintiff
                          Plaintiff purports
                                    purports to
                                             to bring
                                                bring aa claim
                                                         claim under
                                                               under the
                                                                     the Equal Pay Act
                                                                         Equal Pay Act of
                                                                                       of 1963
                                                                                          1963

(“EPA”). Rush
("EPA"). Rush denies
              denies the
                     the remaining
                         remaining allegations
                                   allegations in Complaint Paragraph
                                               in Complaint Paragraph 11 and
                                                                         and specifically
                                                                             specifically denies
                                                                                          denies

that it
that it violated
        violated the
                 the EPA or is
                     EPA or is otherwise
                               otherwise liable
                                         liable to
                                                to Plaintiff.
                                                   Plaintiff.




47992782v.1
47992782v.1
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 115 of 157 PageID #:6105




COMPLAINT ¶2:
COMPLAINT ¶2:

        This
        This lawsuit    also arises
             lawsuit also    arises under
                                    under the
                                           the Title
                                               Title VII
                                                     VII of
                                                          of the
                                                             the Civil
                                                                 Civil Rights
                                                                       Rights Act
                                                                               Act of
                                                                                   of 1964
                                                                                      1964 as
                                                                                            as amended,
                                                                                               amended, 4242
U.S.C. §
U.S.C.  § 2000e,
          2000e, et et seq.
                       seq. ("Title
                            (“Title VII"),
                                     VII”), for
                                            for Rush's
                                                 Rush’s discrimination
                                                         discrimination against
                                                                          against Melgoza
                                                                                  Melgoza onon the
                                                                                                the basis
                                                                                                    basis of
                                                                                                          of
her gender
her gender and
            and national
                   national origin,
                             origin, and
                                     and Rush's
                                          Rush’s retaliation
                                                   retaliation against
                                                                against Melgoza
                                                                        Melgoza after
                                                                                  after she
                                                                                        she complained
                                                                                             complained ofof
discriminatory treatment
discriminatory    treatment and
                              and systematic
                                    systematic discriminatory
                                                 discriminatory practices
                                                                   practices by
                                                                              by Rush,
                                                                                 Rush, including
                                                                                         including but
                                                                                                    but not
                                                                                                         not
limited to
limited to failure  to post
           failure to   post executive
                             executive leadership
                                        leadership positions
                                                     positions and
                                                                and fairly
                                                                    fairly evaluate  candidates, and
                                                                           evaluate candidates,   and hiring
                                                                                                      hiring
relatives and
relatives and friends
               friends which
                         which excludes
                                 excludes women,
                                           women, veterans,
                                                     veterans, the
                                                                the disabled,  and individuals
                                                                    disabled, and               of Mexican
                                                                                   individuals of  Mexican
descent. Rush
descent.  Rush created
                 created aa hostile
                             hostile environment
                                      environment for     Melgoza and
                                                     for Melgoza     and others
                                                                          others by
                                                                                 by promoting
                                                                                     promoting systematic
                                                                                                 systematic
discrimination against
discrimination   against women,
                           women, veterans,
                                    veterans, the
                                               the disabled
                                                   disabled and
                                                              and those
                                                                  those of
                                                                        of Mexican
                                                                           Mexican descent.
                                                                                     descent.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff purports
                                   purports to
                                            to bring
                                               bring aa claim
                                                        claim under
                                                              under Title VII of
                                                                    Title VII of the
                                                                                 the Civil
                                                                                     Civil Rights
                                                                                           Rights Act
                                                                                                  Act

of 1964
of 1964 ("Title
        (“Title VII").
                VII”). Rush
                       Rush denies the remaining
                            denies the remaining allegations
                                                 allegations in Complaint Paragraph
                                                             in Complaint Paragraph 22 and
                                                                                       and

specifically denies
specifically denies that
                    that it
                         it violated
                            violated the
                                     the Title VII or
                                         Title VII or is
                                                      is otherwise
                                                         otherwise liable
                                                                   liable to
                                                                          to Plaintiff.
                                                                             Plaintiff.

COMPLAINT ¶3:
COMPLAINT ¶3:

         This lawsuit also
         This lawsuit also arises
                           arises under
                                  under the
                                        the Illinois Human Rights
                                            Illinois Human   Rights Act,
                                                                    Act, 775  ILCS 5/1-101,
                                                                         775 ILCS           for Rush's
                                                                                   5/1-101, for Rush’s
discrimination against
discrimination   against Melgoza
                          Melgoza on on the
                                         the basis
                                             basis ofof her
                                                        her gender
                                                             gender and
                                                                    and national   origin, and
                                                                          national origin, and Rush's
                                                                                                Rush’s
retaliation against
retaliation against Melgoza
                    Melgoza after
                              after she
                                    she complained
                                        complained of of discriminatory treatment.
                                                         discriminatory treatment.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff purports
                                   purports to
                                            to bring
                                               bring aa claim
                                                        claim under
                                                              under the
                                                                    the Illinois Human Rights
                                                                        Illinois Human Rights Act
                                                                                              Act

(“IHRA”). Rush
("IHRA"). Rush denies
               denies the
                      the remaining
                          remaining allegations
                                    allegations in Complaint Paragraph
                                                in Complaint Paragraph 33 and
                                                                          and specifically
                                                                              specifically denies
                                                                                           denies

that it
that it violated
        violated the
                 the IHRA
                     IHRA or
                          or is otherwise liable
                             is otherwise liable to
                                                 to Plaintiff.
                                                    Plaintiff.

                                                 Parties
                                                 Parties

COMPLAINT ¶4:
COMPLAINT ¶4:

        Melgoza, at
        Melgoza, at all
                    all times
                        times relevant to this
                              relevant to this dispute,
                                               dispute, worked
                                                        worked and
                                                               and resided
                                                                   resided in
                                                                           in this
                                                                              this judicial
                                                                                   judicial district.
                                                                                            district.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times relevant
                          relevant to
                                   to this
                                      this dispute."
                                           dispute.” Rush
                                                     Rush admits
                                                          admits that,
                                                                 that, at
                                                                       at certain times, Plaintiff
                                                                          certain times, Plaintiff has
                                                                                                   has

worked and
worked and resided
           resided in this judicial
                   in this judicial district.
                                    district.




                                                     22
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 116 of 157 PageID #:6106




COMPLAINT ¶5:
COMPLAINT ¶5:

        Melgoza is
        Melgoza is aa current
                      current employee of Rush
                              employee of Rush and
                                               and works
                                                   works for
                                                         for Rush
                                                             Rush in
                                                                  in this
                                                                     this judicial
                                                                          judicial district.
                                                                                   district.

ANSWER:
ANSWER:

        Rush admits
        Rush admits the
                    the allegations
                        allegations in
                                    in Complaint
                                       Complaint Paragraph
                                                 Paragraph 5.
                                                           5.

COMPLAINT ¶6:
COMPLAINT ¶6:

      Rush is
      Rush is an
              an Illinois not-for-profit corporation
                 Illinois not-for-profit corporation with
                                                     with its
                                                          its principal
                                                              principal place
                                                                        place of
                                                                              of business
                                                                                 business at
                                                                                          at 1653
                                                                                             1653
West Congress Parkway,
West Congress Parkway,  Chicago,
                        Chicago,  Illinois.
                                  Illinois.

ANSWER:
ANSWER:

        Rush admits
        Rush admits the
                    the allegations
                        allegations in
                                    in Complaint
                                       Complaint Paragraph
                                                 Paragraph 6.
                                                           6.

                                        Jurisdiction and
                                        Jurisdiction and Venue
                                                         Venue

COMPLAINT ¶7:
COMPLAINT ¶7:

         This Court has
         This Court  has jurisdiction
                         jurisdiction over
                                       over Counts
                                            Counts II and
                                                      and II  under the
                                                           II under   the express
                                                                          express provisions
                                                                                  provisions ofof the
                                                                                                  the EPA,
                                                                                                      EPA,
29 U.S.C.
29  U.S.C. §
           § 216(b)
              216(b) and
                     and 28
                          28 U.S.C.
                              U.S.C. §§ 1331,
                                        1331, over
                                               over Counts
                                                    Counts III,
                                                             III, IV  and V
                                                                  W and   V under
                                                                            under the
                                                                                   the express
                                                                                       express provisions
                                                                                                 provisions
of Title
of       VII, §
   Title VII, § 2000e-5(f)(3)
                2000e-5(f)(3) and
                               and 28
                                    28 U.S.C.
                                        U.S.C. §§ 1331,
                                                  1331, and
                                                         and over
                                                              over Count
                                                                     Count VI
                                                                           VI under
                                                                               under 28
                                                                                     28 U.S.C.
                                                                                        U.S.C. §  § 1367
                                                                                                    1367 as
                                                                                                          as
the facts constituting this count  are so related to the claims   in the other counts that it forms  part
the facts constituting this count are so related to the claims in the other counts that it forms part of  of
the same
the same case
          case or
                or controversy.
                   controversy.

ANSWER:
ANSWER:

        For the
        For the purposes
                purposes of
                         of this
                            this action
                                 action only,
                                        only, Rush
                                              Rush admits
                                                   admits that
                                                          that the
                                                               the Court
                                                                   Court has
                                                                         has subject
                                                                             subject matter
                                                                                     matter

jurisdiction over
jurisdiction over this
                  this action.
                       action. Rush
                               Rush denies
                                    denies the
                                           the remaining
                                               remaining allegations
                                                         allegations in
                                                                     in Complaint
                                                                        Complaint Paragraph
                                                                                  Paragraph 7.
                                                                                            7.

COMPLAINT ¶8:
COMPLAINT ¶8:

        Venue is
        Venue is proper
                 proper in   the Northern
                          in the Northern District
                                          District of
                                                   of Illinois, Eastern Division,
                                                      Illinois, Eastern Division, pursuant
                                                                                  pursuant to
                                                                                           to 28
                                                                                              28 U.S.C.
                                                                                                  U.S.C.
§ 1391,
§ 1391, because
        because all
                 all the
                     the significant
                         significant events
                                     events giving
                                            giving rise
                                                    rise to
                                                         to the
                                                            the claims occurred in
                                                                claims occurred in this
                                                                                   this judicial
                                                                                        judicial district.
                                                                                                 district.

ANSWER:
ANSWER:

        For the
        For the purposes
                purposes of
                         of this
                            this action
                                 action only,
                                        only, Rush
                                              Rush admits
                                                   admits that
                                                          that venue
                                                               venue is
                                                                     is proper
                                                                        proper in this judicial
                                                                               in this judicial

district. Rush
district. Rush denies
               denies the
                      the remaining
                          remaining allegations
                                    allegations in Complaint Paragraph
                                                in Complaint Paragraph 8.
                                                                       8.

COMPLAINT ¶9:
COMPLAINT ¶9:

      Venue is
      Venue   is also
                 also proper
                      proper in
                              in the
                                 the Northern
                                     Northern District
                                               District of
                                                        of Illinois,
                                                           Illinois, Eastern     Division because
                                                                     Eastern Division     because
Defendant does
Defendant does business
               business and
                        and has
                            has employees located within
                                employees located within this
                                                         this judicial
                                                              judicial district.
                                                                       district.


                                                     33
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 117 of 157 PageID #:6107




ANSWER:
ANSWER:

        For the
        For the purposes
                purposes of
                         of this
                            this action
                                 action only,
                                        only, Rush
                                              Rush admits
                                                   admits that
                                                          that venue
                                                               venue is
                                                                     is proper
                                                                        proper in this judicial
                                                                               in this judicial

district. Rush
district. Rush denies
               denies the
                      the remaining
                          remaining allegations
                                    allegations in Complaint Paragraph
                                                in Complaint Paragraph 9.
                                                                       9.

                                         Factual Allegations
                                         Factual Allegations

COMPLAINT ¶10:
COMPLAINT ¶10:

        Rush University
        Rush  University Medical
                          Medical Center
                                   Center Obligated
                                           Obligated Group
                                                      Group is
                                                             is aa not-for-profit
                                                                   not-for-profit healthcare,
                                                                                  healthcare, education,
                                                                                              education,
and research
and research enterprise,
              enterprise, comprising
                          comprising of
                                      of Defendant,
                                         Defendant, Rush
                                                      Rush Health,
                                                           Health, Rush
                                                                     Rush Oak
                                                                           Oak Park
                                                                                Park Hospital
                                                                                     Hospital and
                                                                                               and Rush
                                                                                                   Rush
University. Rush
University.  Rush University
                   University has
                               has an
                                   an enrollment
                                       enrollment of
                                                   of 2,500
                                                      2,500 students.
                                                            students. In In 2016
                                                                            2016 Rush's
                                                                                  Rush’s operation
                                                                                          operation was
                                                                                                     was
licensed to
licensed to operate
            operate 1,100
                    1,100 beds,
                           beds, handled
                                 handled 184,000
                                           184,000 emergency     room visits,
                                                    emergency room     visits, had
                                                                               had 251,000
                                                                                   251,000 patient
                                                                                            patient days
                                                                                                    days
and listed
and listed 10,000
           10,000 employees.
                  employees. Rush's
                               Rush’s total
                                        total operating
                                              operating revenue
                                                        revenue from
                                                                  from U.S.
                                                                        U.S. government
                                                                             government administrated
                                                                                          administrated
Medicare and
Medicare   and Medicaid
               Medicaid was
                          was forty-three  percent (43%).
                              forty-three percent  (43%).

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Rush
                         Rush University
                              University Medical
                                         Medical Center
                                                 Center Obligated
                                                        Obligated Group
                                                                  Group is
                                                                        is aa non-profit
                                                                              non-profit

healthcare organization
healthcare organization that
                        that includes Rush Health,
                             includes Rush Health, Rush
                                                   Rush Oak
                                                        Oak Park
                                                            Park Hospital,
                                                                 Hospital, Rush
                                                                           Rush Copley
                                                                                Copley Medical
                                                                                       Medical

Center and
Center and Rush
           Rush University
                University Medical
                           Medical Center.
                                   Center. Rush
                                           Rush denies
                                                denies the
                                                       the remaining
                                                           remaining allegations
                                                                     allegations in Complaint
                                                                                 in Complaint

Paragraph 10.
Paragraph 10.

COMPLAINT ¶11:
COMPLAINT ¶11:

        Melgoza has
        Melgoza   has aa Bachelor
                         Bachelor of
                                   of Arts
                                      Arts Degree
                                            Degree from
                                                   from Smith     College and
                                                         Smith College    and aa Master's
                                                                                 Master’s Degree
                                                                                          Degree in
                                                                                                 in
Public Administration
Public  Administration inin Health
                            Health Policy
                                   Policy and
                                           and Management
                                               Management from      the Robert
                                                              from the  Robert F.
                                                                                F. Wagner
                                                                                   Wagner Graduate
                                                                                           Graduate
School  of Public
School of  Public Service  at New
                  Service at  New York
                                   York University
                                        University ("NYU").
                                                    (“NYU”). Melgoza
                                                                 Melgoza received
                                                                          received academic
                                                                                   academic awards
                                                                                            awards
both at
both at Smith  College and
        Smith College    and NYU,
                             NYU, and
                                    and was
                                        was the
                                             the recipient
                                                 recipient of
                                                           of the
                                                               the Robert
                                                                   Robert F.
                                                                          F. Wagner
                                                                             Wagner Public
                                                                                     Public Service
                                                                                            Service
award during
award  during her
              her years
                  years at
                         at NYU.
                            NYU.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Melgoza
                         Melgoza has
                                 has aa Bachelor
                                        Bachelor of
                                                 of Arts
                                                    Arts Degree
                                                         Degree from
                                                                from Smith College and
                                                                     Smith College and aa

Master’s Degree
Master's Degree in
                in Public
                   Public Administration
                          Administration in
                                         in Health
                                            Health Policy
                                                   Policy and
                                                          and Management
                                                              Management from the Robert
                                                                         from the Robert F.
                                                                                         F.

Wagner Graduate
Wagner Graduate School of Public
                School of Public Service at New
                                 Service at New York
                                                York University.
                                                     University. Rush
                                                                 Rush lacks knowledge or
                                                                      lacks knowledge or

information sufficient
information sufficient to
                       to form
                          form aa belief
                                  belief as
                                         as to
                                            to the
                                               the truth
                                                   truth of
                                                         of the
                                                            the remaining allegations in
                                                                remaining allegations    Complaint
                                                                                      in Complaint

Paragraph 11.
Paragraph 11.




                                                   4
                                                   4
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 118 of 157 PageID #:6108




COMPLAINT ¶12:
COMPLAINT ¶12:

       Melgoza is
       Melgoza  is aa Fellow
                      Fellow with
                             with the
                                  the American
                                      American College
                                               College of
                                                       of Health
                                                          Health Care
                                                                 Care Executives and is
                                                                      Executives and    certified
                                                                                     is certified
in Healthcare
in Healthcare management.
              management.

ANSWER:
ANSWER:

        Rush lacks
        Rush       knowledge or
             lacks knowledge or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to the
                                                                               the truth
                                                                                   truth of
                                                                                         of the
                                                                                            the

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 12.
                                   12.

COMPLAINT ¶13:
COMPLAINT ¶13:

       In October 2013,
       In October  2013, Melgoza
                          Melgoza received
                                     received aa Leadership
                                                 Leadership Executive    Program Certificate
                                                             Executive Program     Certificate from
                                                                                               from the
                                                                                                     the
American College
American  College of
                   of Health
                      Health Care
                             Care Executives.
                                   Executives. She    was selected
                                                 She was  selected by
                                                                   by the
                                                                      the Latino
                                                                           Latino Forum
                                                                                  Forum ofof Healthcare
                                                                                             Healthcare
Executives  as aa scholarship
Executives as     scholarship recipient
                                recipient for  her leadership
                                          for her   leadership abilities
                                                               abilities and
                                                                          and commitment
                                                                               commitment to  to patient
                                                                                                 patient
excellence. The
excellence.      intent of
            The intent  of the
                           the scholarship
                               scholarship was
                                            was to
                                                 to promote
                                                    promote healthcare
                                                             healthcare leaders
                                                                         leaders in
                                                                                 in the
                                                                                    the U.S.
                                                                                        U.S.

ANSWER:
ANSWER:

        Rush lacks
        Rush       knowledge or
             lacks knowledge or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to the
                                                                               the truth
                                                                                   truth of
                                                                                         of the
                                                                                            the

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 13.
                                   13.

COMPLAINT ¶14:
COMPLAINT ¶14:

        Melgoza has
        Melgoza has worked
                    worked in the healthcare
                           in the healthcare industry for over
                                             industry for over twenty-five
                                                               twenty-five years,
                                                                           years, and
                                                                                  and immediately
                                                                                      immediately
prior to
prior to her
         her employment
             employment by
                         by Rush,
                             Rush, was
                                    was the
                                         the Assistant
                                              Assistant President
                                                         President of
                                                                   of Services
                                                                      Services Lines   of Cancer,
                                                                                Lines of  Cancer,
Medicine, Geriatrics,
Medicine, Geriatrics, Women
                      Women && Children,
                                Children, and
                                          and Surgery
                                               Surgery for  Mount Sinai
                                                        for Mount       Hospital.
                                                                  Sinai Hospital.

ANSWER:
ANSWER:

        Upon information
        Upon             and belief,
             information and belief, Rush
                                     Rush admits
                                          admits that
                                                 that Plaintiff
                                                      Plaintiff was
                                                                was employed
                                                                    employed by
                                                                             by Mount
                                                                                Mount Sinai
                                                                                      Sinai

Hospital as
Hospital as Assistant
            Assistant Vice
                      Vice President
                           President of
                                     of Service Lines, Medicine
                                        Service Lines, Medicine &
                                                                & Surgery prior to
                                                                  Surgery prior to her
                                                                                   her

employment by
employment by Rush.
              Rush. Rush
                    Rush lacks
                         lacks knowledge or information
                               knowledge or             sufficient to
                                            information sufficient to form
                                                                      form aa belief
                                                                              belief as
                                                                                     as to
                                                                                        to the
                                                                                           the

truth of
truth of the
         the remaining
             remaining allegations
                       allegations in
                                   in Complaint
                                      Complaint Paragraph
                                                Paragraph 14.
                                                          14.

COMPLAINT ¶15:
COMPLAINT ¶15:

       Melgoza has
       Melgoza has been
                   been employed
                        employed by
                                 by Rush
                                    Rush from 2006 through
                                         from 2006 through the
                                                           the present.
                                                               present.

ANSWER:
ANSWER:

        Rush admits
        Rush admits the
                    the allegations
                        allegations in
                                    in Complaint
                                       Complaint Paragraph
                                                 Paragraph 15.
                                                           15.



                                                   5
                                                   5
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 119 of 157 PageID #:6109




COMPLAINT ¶16:
COMPLAINT ¶16:

        From November
        From   November 2006
                           2006 through
                                  through October
                                           October 2010,
                                                    2010, Melgoza
                                                           Melgoza waswas employed
                                                                          employed by by Rush
                                                                                         Rush asas an
                                                                                                   an
Assistant Vice
Assistant  Vice President,
                  President, and
                              and her
                                    her responsibilities
                                        responsibilities included,
                                                         included, inter
                                                                    inter alia,
                                                                          alia, management
                                                                                 management of of the
                                                                                                  the
radiology, non-invasive
radiology,  non-invasive cardiology,
                          cardiology, neurodiagnostics,
                                       neurodiagnostics, radiation  oncology, breast
                                                          radiation oncology,   breast imaging,
                                                                                       imaging, bone
                                                                                                 bone
marrow transplant,
marrow   transplant, photopheresis,
                      photopheresis, emergency
                                      emergency department,
                                                  department, transfer
                                                                transfer center
                                                                         center agreements,
                                                                                 agreements, transfer
                                                                                             transfer
center, dialysis,
center, dialysis, and
                  and respiratory
                      respiratory therapy
                                  therapy departments.
                                          departments.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that it
                        it employed
                           employed Plaintiff
                                    Plaintiff as
                                              as an
                                                 an Assistant
                                                    Assistant Vice
                                                              Vice President
                                                                   President from
                                                                             from November
                                                                                  November 2006
                                                                                           2006

through October
through October 13,
                13, 2010.
                    2010. Rush
                          Rush admits
                               admits that
                                      that Plaintiff
                                           Plaintiff managed
                                                     managed various
                                                             various departments
                                                                     departments at
                                                                                 at various
                                                                                    various

times in
times    that position.
      in that position. Rush
                        Rush denies
                             denies the
                                    the remaining allegations in
                                        remaining allegations in Complaint
                                                                 Complaint Paragraph
                                                                           Paragraph 16.
                                                                                     16.

COMPLAINT ¶17:
COMPLAINT ¶17:

       From November
       From   November 2006
                          2006 through
                                 through October
                                          October 2010,
                                                   2010, Melgoza
                                                          Melgoza waswas aa key    executive in
                                                                             key executive    in the
                                                                                                  the
implementation of
implementation  of the
                    the hospital-wide
                        hospital-wide EPIC  software system
                                       EPIC software  system and
                                                              and the
                                                                   the migration
                                                                        migration to
                                                                                   to aa new
                                                                                         new picture
                                                                                              picture
archiving system
archiving system (PACS)
                 (PACS) for   the new,
                          for the new, non-invasive
                                       non-invasive platform,
                                                    platform, and
                                                              and aa strategic
                                                                     strategic leader
                                                                               leader in the opening
                                                                                      in the opening
of Rush's
of Rush’s new
          new patient
               patient tower.
                       tower.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 17.
                                                          17.

COMPLAINT ¶18:
COMPLAINT ¶18:

       During her
       During her tenure
                  tenure as
                         as an
                            an Assistant
                               Assistant Vice
                                         Vice President
                                              President for Rush, Melgoza
                                                        for Rush, Melgoza served
                                                                          served as
                                                                                 as the
                                                                                    the Executive
                                                                                        Executive
of Rush's
of Rush’s Cancer
          Cancer Committee.
                 Committee.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 18.
                                                          18.

COMPLAINT ¶19:
COMPLAINT ¶19:

       In 2006, the
       In 2006,   the Rush
                      Rush Cancer
                            Cancer Committee
                                     Committee appointed
                                                 appointed Melgoza
                                                            Melgoza asas the
                                                                         the Cancer
                                                                             Cancer Conference
                                                                                      Conference
Coordinator for
Coordinator for the
                the organization.
                    organization. In this role,
                                  In this       Melgoza oversaw
                                          role, Melgoza oversaw Rush's
                                                                 Rush’s multi-disciplinary
                                                                        multi-disciplinary cancer
                                                                                           cancer
conferences by
conferences by ensuring
                ensuring compliance  with American
                         compliance with   American College
                                                     College of
                                                             of Surgeons  Commission on
                                                                Surgeons Commission    on Cancer
                                                                                           Cancer
standards by
standards by monitoring
             monitoring cancer
                          cancer care
                                  care discussions
                                       discussions and
                                                    and multidisciplinary
                                                        multidisciplinary standards
                                                                          standards required
                                                                                     required for
                                                                                              for
Rush’s Commission
Rush's Commission on on Cancer
                        Cancer accreditation.
                               accreditation.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 19.
                                                          19.



                                                 66
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 120 of 157 PageID #:6110




COMPLAINT ¶20:
COMPLAINT ¶20:

        From November
        From   November 20102010 through
                                   through July    14, 2016,
                                             July 14,   2016, Melgoza
                                                               Melgoza worked
                                                                           worked asas an
                                                                                       an Associate
                                                                                           Associate Vice
                                                                                                      Vice
President for
President  for Rush,
               Rush, and
                      and her
                          her responsibilities
                              responsibilities included,
                                                 included, inter  alia, management
                                                            inter alia, management of  of the
                                                                                          the non-invasive
                                                                                              non-invasive
platform for
platform  for the
               the opening
                   opening ofof the
                                 the new
                                      new patient
                                            patient tower,
                                                     tower, management
                                                             management of   of the
                                                                                 the radiation
                                                                                     radiation oncology
                                                                                               oncology //
Women’s Cancer
Women's      Cancer Center,
                       Center, breast
                                 breast imaging,
                                          imaging, bonebone marrow
                                                              marrow transplant,
                                                                          transplant, inpatient   dialysis,
                                                                                       inpatient dialysis,
photopheresis, plasmapheresis,
photopheresis,    plasmapheresis, radiation
                                      radiation safety,
                                                  safety, occupational
                                                           occupational safety,
                                                                            safety, evening
                                                                                     evening // weekend
                                                                                                 weekend
administrators, environmental
administrators,                     services, linen
                  environmental services,              services, guest
                                               linen services,    guest relations,
                                                                           relations, volunteer
                                                                                      volunteer services,
                                                                                                  services,
interpreter services
interpreter services and
                      and security
                           security departments.
                                     departments. She    also  served   as a voting  member   on the
                                                    She also served as a voting member on the Rush    Rush
Medical Center
Medical  Center Institutional  Review Board.
                 Institutional Review    Board.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff worked
                                   worked as
                                          as an
                                             an Associate
                                                Associate Vice
                                                          Vice President
                                                               President for Rush and
                                                                         for Rush and that
                                                                                      that she
                                                                                           she had
                                                                                               had

various managerial
various managerial duties
                   duties in
                          in that
                             that role.
                                  role. Rush
                                        Rush further admits that,
                                             further admits that, at
                                                                  at certain
                                                                     certain times,
                                                                             times, Plaintiff
                                                                                    Plaintiff served
                                                                                              served

as aa voting
as    voting member
             member on
                    on the
                       the Rush
                           Rush Medical
                                Medical Center
                                        Center Institutional
                                               Institutional Review
                                                             Review Board.
                                                                    Board. Rush
                                                                           Rush denies the
                                                                                denies the

remaining allegations
remaining allegations in
                      in Complaint
                         Complaint Paragraph
                                   Paragraph 20.
                                             20.

COMPLAINT ¶21:
COMPLAINT ¶21:

       Many of
       Many   of the
                 the departments
                     departments that
                                 that Melgoza
                                      Melgoza capably
                                               capably managed
                                                       managed during  her tenure
                                                                during her tenure as
                                                                                  as Associate
                                                                                     Associate
Vice President
Vice President for Rush involved
               for Rush  involved cancer treatment research,
                                  cancer treatment research, quality
                                                             quality management,
                                                                     management, accreditation
                                                                                  accreditation
and cancer
and        prevention.
    cancer prevention.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 21.
                                                           21.

COMPLAINT ¶22:
COMPLAINT ¶22:

        Melgoza worked
        Melgoza worked diligently
                        diligently on
                                   on improving
                                       improving patient
                                                  patient care and creating
                                                          care and creating aa positive
                                                                               positive environment
                                                                                        environment
for Rush
for Rush employees  with a  focus on  innovation,  excellence, empathy   and   service
          employees with a focus on innovation, excellence, empathy and service to its to its patients
                                                                                              patients
and the
and the community
        community at
                  at large.
                     large.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 22.
                                                           22.

COMPLAINT ¶23:
COMPLAINT ¶23:

        During Melgoza's
       During   Melgoza’s tenure
                           tenure as
                                   as an
                                      an Associate
                                         Associate Vice
                                                   Vice President
                                                        President for Rush, she
                                                                  for Rush, she was
                                                                                was responsible
                                                                                    responsible for
                                                                                                 for
budgets exceeding
budgets exceeding $200    million revenue,
                    $200 million           over 700
                                  revenue, over 700 full-time
                                                    full-time employees, and between
                                                              employees, and  between nine
                                                                                       nine (9)
                                                                                            (9) and
                                                                                                and
eleven (11)
eleven (11) clinical
            clinical and
                     and support
                         support departments  at one
                                  departments at one time.
                                                     time.




                                                    7
                                                    7
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 121 of 157 PageID #:6111




ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that at
                        at certain times as
                           certain times as an
                                            an Associate
                                               Associate Vice
                                                         Vice President,
                                                              President, Plaintiff
                                                                         Plaintiff was
                                                                                   was responsible
                                                                                       responsible

for various
for various departments.
            departments. Rush
                         Rush denies
                              denies the
                                     the remaining allegations in
                                         remaining allegations    Complaint Paragraph
                                                               in Complaint Paragraph 23.
                                                                                      23.

COMPLAINT ¶24:
COMPLAINT ¶24:

     Melgoza was
     Melgoza   was aa founding member of
                      founding member of the
                                         the Rush
                                             Rush Diversity
                                                  Diversity Leadership Council in
                                                            Leadership Council in 2006,
                                                                                  2006, and
                                                                                        and aa
member of the Rush Women’s   Leadership Council.
member of the Rush Women's Leadership Council.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiff
                        Plaintiff was,
                                  was, at
                                       at certain
                                          certain times,
                                                  times, aa member
                                                            member of
                                                                   of the
                                                                      the Rush
                                                                          Rush Diversity
                                                                               Diversity Leadership
                                                                                         Leadership

Council and
Council and the
            the Rush
                Rush Woman's
                     Woman’s Leadership Counsel. Rush
                             Leadership Counsel. Rush denies
                                                      denies the
                                                             the remaining allegations in
                                                                 remaining allegations in

Complaint Paragraph
Complaint Paragraph 24
                    24

COMPLAINT ¶25:
COMPLAINT ¶25:

      Throughout   her employment
      Throughout her   employment by  by Rush,
                                          Rush, Melgoza
                                                Melgoza actively
                                                          actively promoted
                                                                    promoted diversity   in the
                                                                               diversity in the
workplace, including
workplace, including but
                     but not
                         not limited
                              limited to
                                       to the
                                          the advancement
                                              advancement ofof Hispanics,
                                                               Hispanics, including   Mexican-
                                                                           including Mexican-
Americans, and
Americans, and women
               women to
                      to positions
                         positions in
                                   in management,
                                      management, including  the executive
                                                   including the executive level.
                                                                           level.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 25.
                                                          25.

COMPLAINT ¶26:
COMPLAINT ¶26:

       Melgoza is
       Melgoza is female and her
                  female and her national origin is
                                 national origin    Mexican-American.
                                                 is Mexican-American.

ANSWER:
ANSWER:

       Rush admits
       Rush admits the
                   the allegations
                       allegations in
                                   in Complaint
                                      Complaint Paragraph
                                                Paragraph 26.
                                                          26.

COMPLAINT ¶27:
COMPLAINT ¶27:

       In 2006, J.
       In 2006,     Robert Clapp,
                J. Robert    Clapp, Senior Vice President
                                    Senior Vice  President and
                                                           and Executive  Director of
                                                               Executive Director  of Rush,
                                                                                      Rush, stated,
                                                                                             stated,
“Melgoza was
"Melgoza  was the
              the first  Mexican-American Assistant
                   first Mexican-American    Assistant Vice
                                                       Vice President
                                                            President and
                                                                      and executive
                                                                          executive leader
                                                                                    leader hired
                                                                                           hired by
                                                                                                 by
Rush.” This
Rush."  This was
             was so
                  so despite
                      despite an
                               an ongoing
                                  ongoing presence
                                           presence of
                                                    of Latinos and individuals
                                                       Latinos and individuals of
                                                                               of Mexican
                                                                                  Mexican descent
                                                                                            descent
within Rush's
within Rush’s service
              service area.
                        area.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 27.
                                                          27.



                                                 8
                                                 8
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 122 of 157 PageID #:6112




COMPLAINT ¶28:
COMPLAINT ¶28:

        From October
        From October 2010
                      2010 through
                           through July  14, 2016,
                                    July 14, 2016, Melgoza
                                                   Melgoza was
                                                             was the
                                                                 the first and only
                                                                     first and only female
                                                                                    female Mexican-
                                                                                           Mexican-
American Associate
American   Associate Vice
                     Vice President
                          President despite   individuals of
                                     despite individuals  of Mexican-descent
                                                             Mexican-descent encompassing
                                                                                encompassing thirty
                                                                                              thirty
percent (30%)
percent (30%) of
              of the
                 the population
                     population of
                                of the
                                   the City
                                       City of
                                             of Chicago.
                                                Chicago.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 28.
                                                          28.

COMPLAINT ¶29:
COMPLAINT ¶29:

        There are currently
        There are currently no
                            no individuals of Mexican
                               individuals of Mexican national
                                                      national origin
                                                               origin within
                                                                      within the
                                                                             the top
                                                                                 top 100
                                                                                     100 executive
                                                                                         executive
leaders at
leaders at Rush,
           Rush, yet
                 yet 20%
                     20% of
                          of the
                             the revenues are generated
                                 revenues are           from patients
                                              generated from patients of
                                                                      of Mexican
                                                                         Mexican descent.
                                                                                   descent.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 29.
                                                          29.

COMPLAINT ¶30:
COMPLAINT ¶30:

        During her
       During  her employment     with Rush,
                    employment with    Rush, Melgoza
                                             Melgoza performed
                                                     performed her
                                                               her duties
                                                                   duties exceptionally,
                                                                          exceptionally, and
                                                                                         and
consistently met
consistently met corporate goals.
                 corporate goals.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 30.
                                                          30.

COMPLAINT ¶31:
COMPLAINT ¶31:

       Throughout her employment
       Throughout her               with Rush,
                       employment with    Rush, Melgoza
                                                 Melgoza received
                                                          received consistently
                                                                   consistently highly-favorable
                                                                                highly-favorable
performance reviews,
performance reviews, including
                     including an
                               an overall
                                  overall rating
                                          rating of
                                                 of "exceeds
                                                    “exceeds expectations"
                                                             expectations” in
                                                                           in July 2017.
                                                                              July 2017.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 31.
                                                          31.

COMPLAINT ¶32:
COMPLAINT ¶32:

       Throughout   Melgoza’s tenure
       Throughout Melgoza's      tenure as
                                         as an
                                            an Associate
                                                Associate Vice
                                                            Vice President,
                                                                  President, Rush
                                                                              Rush paid
                                                                                    paid Melgoza
                                                                                          Melgoza
$100,000.00 to
$100,000.00 to $250,000.00
               $250,000.00 less  per year
                            less per year than
                                          than her
                                               her male
                                                   male and/or
                                                         and/or non-Mexican-American
                                                                non-Mexican-American colleagues
                                                                                        colleagues
performing substantially
performing substantially equal work, including
                         equal work, including but
                                               but not
                                                   not limited
                                                       limited to
                                                               to Mike
                                                                  Mike Mulroe,
                                                                       Mulroe, Scott
                                                                                Scott Sonnenchein,
                                                                                      Sonnenchein,
Edward  Conway, Mike
Edward Conway,    Mike Lamont,     Anthony Perry,
                         Lamont, Anthony     Perry, Mike
                                                    Mike Dandorph,
                                                           Dandorph, Richard
                                                                      Richard Davis,
                                                                                Davis, Kurt
                                                                                       Kurt Olsen,
                                                                                              Olsen,
Jeremy
Jeremy Strong,
       Strong, Tim  Carrigan, Leo
               Tim Carrigan,        Correa, Shaun
                               Leo Correa,         Cooper, Ryan
                                            Shaun Cooper,   Ryan Schlifka,
                                                                   Schlifka, John Pontarelli, David
                                                                             John Pontarelli, David
Rice, Ray
Rice, Ray LaBrec, and Joseph
          LaBrec, and          Anderson.
                       Joseph Anderson.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 32.
                                                          32.


                                                 99
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 123 of 157 PageID #:6113




COMPLAINT ¶33:
COMPLAINT ¶33:

       Throughout
       Throughout her her tenure
                          tenure as
                                 as an
                                    an Associate
                                       Associate Vice
                                                 Vice President
                                                      President for Rush, Melgoza
                                                                for Rush, Melgoza made
                                                                                  made numerous
                                                                                       numerous
requests for
requests for aa higher
                  higher salary
                          salary given
                                 given her
                                        her highly-favorable
                                            highly-favorable performance
                                                             performance reviews
                                                                           reviews and
                                                                                   and increased
                                                                                       increased
responsibilities.
responsibilities.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 33.
                                                          33.

COMPLAINT ¶34:
COMPLAINT ¶34:

       Rush denied
       Rush denied Melgoza's
                   Melgoza’s repeated requests for
                             repeated requests for aa higher
                                                      higher salary
                                                             salary as
                                                                    as her
                                                                       her duties
                                                                           duties continuously
                                                                                  continuously
increased.
increased.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 34.
                                                          34.

COMPLAINT ¶35:
COMPLAINT ¶35:

       During Melgoza's
       During    Melgoza’s tenure
                            tenure as
                                    as an
                                       an Associate
                                          Associate Vice
                                                    Vice President
                                                          President for
                                                                    for Rush,
                                                                        Rush, she
                                                                              she met
                                                                                  met with
                                                                                       with senior
                                                                                             senior
executives at
executives at Rush
               Rush onon multiple
                          multiple occasions
                                   occasions and
                                             and informed
                                                  informed the
                                                            the executives
                                                                 executives about
                                                                            about her
                                                                                  her interest in aa
                                                                                      interest in
promotion  to  a Vice  President position, and eventually, to the Chief Operating Officer  position
promotion to a Vice President position, and eventually, to the Chief Operating Officer position
given her
given her vast
          vast portfolio
                portfolio and
                          and extensive
                              extensive experience.
                                        experience.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 35.
                                                          35.

COMPLAINT ¶36:
COMPLAINT ¶36:

       On multiple
       On   multiple occasions
                      occasions from
                                from 2012
                                        2012 through
                                               through 2015,
                                                        2015, Melgoza
                                                               Melgoza met
                                                                         met with
                                                                              with Mike
                                                                                    Mike Mulroe
                                                                                           Mulroe
(“Mulore”), Rush
("Mulore"), Rush Vice
                  Vice President,
                        President, to
                                   to request
                                      request aa review of her
                                                 review of her salary
                                                               salary given
                                                                      given her
                                                                            her vast
                                                                                vast portfolio
                                                                                     portfolio and
                                                                                               and
extensive experience.
extensive experience.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiff
                        Plaintiff met
                                  met with
                                      with Mike
                                           Mike Mulroe
                                                Mulroe at
                                                       at various
                                                          various times
                                                                  times from
                                                                        from 2012
                                                                             2012 through
                                                                                  through 2015.
                                                                                          2015.

Rush denies
Rush denies the
            the remaining allegations in
                remaining allegations in Complaint
                                         Complaint Paragraph
                                                   Paragraph 36.
                                                             36.

COMPLAINT ¶37:
COMPLAINT ¶37:

       On December
       On  December 19,
                      19, 2013,
                          2013, Melgoza
                                Melgoza requested
                                           requested aa meeting
                                                        meeting and
                                                                 and met
                                                                      met with
                                                                          with Rush
                                                                               Rush Executive   Vice
                                                                                      Executive Vice
President and
President and Executive  Director Mike
              Executive Director  Mike Dandorph
                                          Dandorph ("Dandorph")
                                                    (“Dandorph”) to  to review
                                                                        review her
                                                                               her curriculum
                                                                                    curriculum vitae,
                                                                                               vitae,
experience, and
experience, and current responsibilities and
                current responsibilities and to
                                             to express  her desire
                                                express her  desire to
                                                                    to grow
                                                                       grow within
                                                                             within the
                                                                                    the organization.
                                                                                        organization.



                                                 10
                                                 10
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 124 of 157 PageID #:6114




ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Mike
                                            Mike Dandorph
                                                 Dandorph on
                                                          on December
                                                             December 19,
                                                                      19, 2013.
                                                                          2013. Rush
                                                                                Rush denies
                                                                                     denies

the remaining
the remaining allegations
              allegations in
                          in Complaint
                             Complaint Paragraph
                                       Paragraph 37.
                                                 37.

COMPLAINT ¶38:
COMPLAINT ¶38:

      During the
      During  the December
                  December 19,19, 2013
                                  2013 meeting,
                                         meeting, Dandorph
                                                   Dandorph made
                                                               made an
                                                                     an unwanted  sexual advance
                                                                        unwanted sexual   advance to
                                                                                                   to
Melgoza after she  expressed  her  desire  to  grow  within
Melgoza after she expressed her desire to grow within the    the organization.
                                                                 organization.  Dandorph
                                                                                Dandorph   informed
                                                                                           informed
Melgoza that
Melgoza that he
             he once
                once had
                     had aa Cuban
                            Cuban girlfriend,
                                    girlfriend, that
                                                that he
                                                     he did
                                                        did not
                                                            not marry
                                                                 marry his
                                                                       his Cuban
                                                                           Cuban girlfriend,
                                                                                 girlfriend, and
                                                                                             and that
                                                                                                 that
he owned
he owned aa boat
            boat but
                 but desired
                     desired to
                             to purchase
                                purchase aa larger
                                              larger boat.
                                                     boat. Melgoza
                                                            Melgoza ended
                                                                      ended the
                                                                            the meeting
                                                                                meeting byby shaking
                                                                                             shaking
Dandorph’s hand
Dandorph's  hand and
                 and leaving
                     leaving his
                              his office.
                                  office.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 38.
                                                           38.

COMPLAINT ¶39:
COMPLAINT ¶39:

       After the
       After the December
                 December 19,
                           19, 2013
                               2013 meeting,
                                    meeting, Melgoza
                                              Melgoza was
                                                      was not
                                                          not notified
                                                              notified of
                                                                       of any
                                                                          any future
                                                                              future opportunities
                                                                                     opportunities
and executive positions were not posted for advancement within  the
and executive positions were not posted for advancement within the  organization.
                                                                    organization.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 39.
                                                           39.

COMPLAINT ¶40:
COMPLAINT ¶40:

       On April
       On  April 14,
                 14, 2015,
                      2015, Melgoza
                            Melgoza met
                                     met with
                                         with Mulroe
                                               Mulroe and
                                                       and provided
                                                           provided in  writing aa number
                                                                     in writing    number of
                                                                                           of concerns
                                                                                              concerns
about his
about his discriminatory
          discriminatory behavior
                          behavior and
                                    and retaliation, and requested
                                        retaliation, and requested equity
                                                                   equity in
                                                                           in Rush's
                                                                              Rush’s payment
                                                                                       payment ofof her
                                                                                                    her
compensation, stating,
compensation,   stating, "Please
                         “Please review
                                 review my
                                         my salary
                                              salary based
                                                      based on
                                                            on the
                                                               the dynamic
                                                                    dynamic span
                                                                               span of
                                                                                     of my
                                                                                        my portfolio,
                                                                                              portfolio,
education and
education and experience.
               experience. II want
                              want to
                                   to be
                                      be treated
                                         treated and
                                                  and compensated
                                                      compensated equitably
                                                                   equitably for
                                                                              for mymy effort
                                                                                       effort based
                                                                                              based on
                                                                                                     on
the market."
the market.”

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Mulroe
                                            Mulroe on
                                                   on April
                                                      April 14,
                                                            14, 2015.
                                                                2015. The
                                                                      The remaining
                                                                          remaining allegations
                                                                                    allegations

in Complaint
in Complaint Paragraph
             Paragraph 40
                       40 purport
                          purport to
                                  to characterize
                                     characterize the
                                                  the contents
                                                      contents of
                                                               of aa written
                                                                     written document,
                                                                             document, which
                                                                                       which

speaks for
speaks for itself.
           itself. To the extent
                   To the extent those
                                 those allegations
                                       allegations are
                                                   are inconsistent
                                                       inconsistent with
                                                                    with or
                                                                         or mischaracterize
                                                                            mischaracterize that
                                                                                            that

document, they
document, they are
               are denied.
                   denied.




                                                  11
                                                  11
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 125 of 157 PageID #:6115




COMPLAINT ¶41:
COMPLAINT ¶41:

      Mulroe informed
      Mulroe  informed Melgoza
                        Melgoza that
                                  that aa market
                                          market evaluation
                                                 evaluation was
                                                            was not
                                                                not possible
                                                                     possible and
                                                                              and that
                                                                                   that Lynne
                                                                                        Lynne
Wallace ("Wallace"),
Wallace (“Wallace”), Rush
                     Rush Vice
                          Vice President
                               President of
                                          of Human
                                             Human Resources,
                                                   Resources, declined the review.
                                                              declined the review.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 41.
                                                          41.

COMPLAINT ¶42:
COMPLAINT ¶42:

       On November
       On  November 25,
                      25, 2013,
                           2013, Melgoza
                                 Melgoza met
                                          met with
                                              with Dr.
                                                    Dr. David
                                                        David Ansell
                                                                Ansell ("Dr.
                                                                       (“Dr. Ansell"),
                                                                             Ansell”), Rush
                                                                                       Rush Senior
                                                                                            Senior
Vice President  of Strategy   and Community    Engagement,    to  discuss  Mulroe’s discriminatory
Vice President of Strategy and Community Engagement, to discuss Mulroe's discriminatory
behavior and
behavior and reluctance
             reluctance to
                         to conduct
                            conduct aa market
                                       market assessment
                                              assessment for  an equal
                                                          for an  equal market
                                                                         market wage.
                                                                                 wage. During
                                                                                       During that
                                                                                              that
meeting, Dr.
meeting, Dr. Ansell
             Ansell stated,
                    stated, "[Mulroe]
                            “[Mulroe] probably
                                       probably pays
                                                pays you
                                                     you less  than the
                                                         less than  the fellow."
                                                                        fellow.”

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 42.
                                                          42.

COMPLAINT ¶43:
COMPLAINT ¶43:

        Dandorph and
        Dandorph  and Cynthia
                       Cynthia Barginere
                               Barginere ("Barginere"),
                                         (“Barginere”), Rush
                                                         Rush Chief
                                                               Chief Operating
                                                                     Operating Officer,
                                                                               Officer, were
                                                                                        were also
                                                                                             also
notified of
notified of Mulroe's
            Mulroe’s discriminatory behavior but
                     discriminatory behavior but failed to address
                                                 failed to address the
                                                                   the complaints.
                                                                       complaints.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 43.
                                                          43.

COMPLAINT ¶44:
COMPLAINT ¶44:

       On July
       On         14, 2016,
            July 14,  2016, Rush
                            Rush demoted
                                  demoted Melgoza
                                           Melgoza two
                                                     two levels
                                                         levels down
                                                                down to
                                                                      to aa position
                                                                            position of
                                                                                     of "Director"
                                                                                        “Director” at
                                                                                                   at
Rush after
Rush after she
           she was
                was informed  that her
                     informed that her position
                                       position as
                                                as Associate
                                                   Associate Vice
                                                             Vice President
                                                                  President was
                                                                             was eliminated.
                                                                                  eliminated. She no
                                                                                              She no
longer had
longer had aa job
              job as
                  as an
                     an Associate
                        Associate Vice
                                   Vice President.
                                        President.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiffs
                        Plaintiff’s position
                                    position as
                                             as Associate
                                                Associate Vice
                                                          Vice President
                                                               President was
                                                                         was eliminated on or
                                                                             eliminated on or

about July
about      14, 2016.
      July 14, 2016. Rush
                     Rush further admits that
                          further admits that Plaintiff
                                              Plaintiff was
                                                        was given
                                                            given the
                                                                  the option
                                                                      option to
                                                                             to accept
                                                                                accept another
                                                                                       another

position at
position at Rush
            Rush and
                 and accepted
                     accepted aa Director
                                 Director position.
                                          position. Rush
                                                    Rush denies
                                                         denies the
                                                                the remaining allegations in
                                                                    remaining allegations in

Complaint Paragraph
Complaint Paragraph 44.
                    44.

COMPLAINT ¶45:
COMPLAINT ¶45:

       Similarly-situated employees who
       Similarly-situated employees who were
                                        were male
                                             male were
                                                  were not
                                                       not demoted two levels
                                                           demoted two        down by
                                                                       levels down by Rush.
                                                                                      Rush.



                                                 12
                                                 12
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 126 of 157 PageID #:6116




ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 45.
                                                          45.

COMPLAINT ¶46:
COMPLAINT ¶46:

      Similarly-situated employees who
      Similarly-situated employees who were
                                       were not
                                            not of
                                                of Mexican-American
                                                   Mexican-American national
                                                                    national origin
                                                                             origin were
                                                                                    were not
                                                                                         not
demoted two
demoted two levels down by
            levels down  by Rush.
                            Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 46.
                                                          46.

COMPLAINT ¶47:
COMPLAINT ¶47:

       Similarly-situated
       Similarly-situated employees who did
                          employees who  did not
                                             not complain
                                                 complain about
                                                          about discrimination
                                                                discrimination and
                                                                               and unequal
                                                                                   unequal pay
                                                                                           pay
were not
were not demoted
         demoted two
                  two levels
                       levels down by Rush.
                              down by Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 47.
                                                          47.

COMPLAINT ¶48:
COMPLAINT ¶48:

       Similarly-situated
       Similarly-situated employees who did
                          employees who did not
                                            not advocate
                                                advocate for the advancement
                                                         for the advancement of
                                                                             of diversity
                                                                                diversity in the
                                                                                          in the
executive ranks
executive ranks of
                of Rush
                   Rush were
                        were not
                             not demoted
                                 demoted two
                                         two levels
                                             levels down  by Rush.
                                                    down by   Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 48.
                                                          48.

COMPLAINT ¶49:
COMPLAINT ¶49:

      Similarly-situated employees who
      Similarly-situated employees  who did
                                        did not
                                            not complain
                                                complain about
                                                         about the
                                                               the systematic
                                                                   systematic discrimination
                                                                              discrimination at
                                                                                             at
Rush were
Rush were not
          not demoted  two levels
              demoted two         down by
                           levels down by Rush.
                                          Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 49.
                                                          49.

COMPLAINT ¶50:
COMPLAINT ¶50:

         Similarly-situated
         Similarly-situated employees who were
                            employees who were not
                                               not subjected
                                                   subjected to
                                                             to sexual
                                                                sexual advances
                                                                       advances or
                                                                                or expected  to
                                                                                    expected to
fulfill sexual
fulfill sexual stereotypes
               stereotypes of
                           of Mexican-American
                              Mexican-American women
                                               women were
                                                      were not
                                                           not demoted
                                                                demoted two
                                                                        two levels by Rush.
                                                                            levels by Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 50.
                                                          50.



                                              13
                                              13
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 127 of 157 PageID #:6117




COMPLAINT ¶51:
COMPLAINT ¶51:

       At the
       At the time
               time Rush
                    Rush demoted  Melgoza, it
                         demoted Melgoza,  it also
                                              also promoted
                                                   promoted aa less-qualified male, Leo
                                                               less-qualified male,     Correa
                                                                                    Leo Correa
(“Correa”), to
("Correa"), to the
                the new
                    new position
                        position of
                                 of Associate
                                    Associate Vice
                                               Vice President
                                                     President of
                                                               of Clinical
                                                                  Clinical Affairs
                                                                            Affairs and
                                                                                    and Cancer
                                                                                        Cancer
Services.
Services.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that it
                        it promoted
                           promoted Leo Correa to
                                    Leo Correa to Associate
                                                  Associate Vice
                                                            Vice President
                                                                 President of
                                                                           of Clinical
                                                                              Clinical Affairs
                                                                                       Affairs

and Cancer
and Cancer Services, but denies
           Services, but        that this
                         denies that this occurred
                                          occurred at
                                                   at the
                                                      the same
                                                          same time
                                                               time that
                                                                    that Plaintiffs
                                                                         Plaintiff’s position
                                                                                     position as
                                                                                              as

Associate Vice
Associate Vice President
               President was
                         was eliminated on or
                             eliminated on or about
                                              about July 14, 2016.
                                                    July 14, 2016. Rush
                                                                   Rush denies
                                                                        denies the
                                                                               the remaining
                                                                                   remaining

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 51.
                                   51.

COMPLAINT ¶52:
COMPLAINT ¶52:

        Melgoza was
        Melgoza  was never
                      never made
                            made aware
                                  aware ofof this
                                             this new
                                                  new position
                                                      position as
                                                               as it
                                                                   it was
                                                                      was not
                                                                          not posted,
                                                                              posted, nor
                                                                                      nor was
                                                                                          was Melgoza
                                                                                              Melgoza
interviewed for
interviewed     this positon
            for this positon despite
                             despite her  thirteen (13)
                                      her thirteen (13) years
                                                        years of
                                                              of experience
                                                                 experience inin leading cancer service
                                                                                 leading cancer service
departments at Rush   and externally.  Had  Melgoza   known   of the  opening,  she would have
departments at Rush and externally. Had Melgoza known of the opening, she would have applied    applied
for it.
for it.

ANSWER:
ANSWER:

       Rush lacks
       Rush       knowledge or
            lacks knowledge or information
                               information sufficient
                                           sufficient to
                                                      to form
                                                         form aa belief
                                                                 belief as
                                                                        as to
                                                                           to the
                                                                              the truth
                                                                                  truth of
                                                                                        of the
                                                                                           the

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 52.
                                   52.

COMPLAINT ¶53:
COMPLAINT ¶53:

        Rush deviated
        Rush deviated from
                      from and
                           and did
                               did not
                                   not follow its policies
                                       follow its policies and
                                                           and procedures
                                                               procedures on
                                                                          on posting
                                                                             posting job
                                                                                     job positions
                                                                                         positions
and hiring
and        when it
    hiring when it promoted
                   promoted Correa.
                            Correa.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 53.
                                                          53.

COMPLAINT ¶54:
COMPLAINT ¶54:

      At the
      At the time
             time Rush
                  Rush demoted  Melgoza, it
                        demoted Melgoza,  it transferred
                                             transferred her
                                                         her non-cancer
                                                             non-cancer service
                                                                        service departments
                                                                                departments toto
Mulroe. Mulroe
Mulroe. Mulroe was
                was not
                    not demoted
                        demoted even
                                even though
                                     though he
                                             he was
                                                was no
                                                     no longer supervising the
                                                        longer supervising the cancer portfolio.
                                                                               cancer portfolio.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Mulroe
                        Mulroe was
                               was not
                                   not demoted. Rush denies
                                       demoted. Rush denies the
                                                            the remaining allegations in
                                                                remaining allegations in

Complaint Paragraph
Complaint Paragraph 54.
                    54.


                                                  14
                                                  14
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 128 of 157 PageID #:6118




COMPLAINT ¶55:
COMPLAINT ¶55:

       Numerous members
       Numerous   members of
                           of Rush's
                               Rush’s top
                                      top executives
                                          executives informed
                                                     informed Melgoza
                                                              Melgoza that
                                                                      that the
                                                                           the demotion
                                                                               demotion to
                                                                                        to
Director was
Director was not
             not performance
                 performance based.
                             based.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 55.
                                                           55.

COMPLAINT ¶56:
COMPLAINT ¶56:

        After the
        After the demotion, Melgoza was
                  demotion, Melgoza was informed
                                        informed that
                                                 that she
                                                      she would
                                                          would report
                                                                report to
                                                                       to Correa.
                                                                          Correa.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Melgoza
                         Melgoza reported to Correa
                                 reported to Correa in her Director
                                                    in her Director position.
                                                                    position. Rush
                                                                              Rush denies
                                                                                   denies the
                                                                                          the

remaining allegations
remaining allegations in
                      in Complaint
                         Complaint Paragraph
                                   Paragraph 56.
                                             56.

COMPLAINT ¶57:
COMPLAINT ¶57:

       At the
       At  the time
                time Rush
                     Rush demoted      Melgoza, Mulroe
                           demoted Melgoza,      Mulroe informed   Melgoza that
                                                          informed Melgoza    that if she didn't
                                                                                   if she didn’t like
                                                                                                 like her
                                                                                                      her
new position,
new  position, she
               she could
                   could accept
                         accept aa severance
                                   severance package
                                              package from
                                                        from Rush,
                                                             Rush, stating
                                                                   stating that
                                                                           that Melgoza's
                                                                                Melgoza’s employment
                                                                                            employment
with Rush
with Rush would
            would be
                   be terminated
                      terminated ifif she
                                      she did not take
                                          did not take the
                                                       the demotion.
                                                           demotion.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that after
                         after Plaintiff's
                               Plaintiff’s Associate
                                           Associate Vice
                                                     Vice President
                                                          President position
                                                                    position was
                                                                             was eliminated,
                                                                                 eliminated, it
                                                                                             it

provided Plaintiff
provided Plaintiff the
                   the option
                       option of
                              of accepting
                                 accepting another
                                           another position
                                                   position at
                                                            at Rush
                                                               Rush or
                                                                    or seeking
                                                                       seeking severance.
                                                                               severance. Rush
                                                                                          Rush

denies the
denies the remaining
           remaining allegations
                     allegations in
                                 in Complaint
                                    Complaint Paragraph
                                              Paragraph 57.
                                                        57.

COMPLAINT ¶58:
COMPLAINT ¶58:

       Mulroe and
       Mulroe    and Wallace
                     Wallace failed
                             failed to
                                    to provide
                                       provide Melgoza
                                               Melgoza with
                                                       with aa severance
                                                               severance package
                                                                         package after
                                                                                 after numerous
                                                                                       numerous
requests for
requests for the
             the document.
                 document.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 58.
                                                           58.

COMPLAINT ¶59:
COMPLAINT ¶59:

        The demotion adversely
        The demotion    adversely impacted   Melgoza by
                                  impacted Melgoza      by (a)
                                                            (a) capping
                                                                capping her   salary at
                                                                          her salary  at aa director
                                                                                            director level
                                                                                                     level
with raises
with raises not
            not factored
                  factored into her base
                           into her base pay
                                           pay after
                                               after reaching
                                                      reaching aa scale;
                                                                   scale; (b)
                                                                           (b) removing
                                                                               removing her her from
                                                                                                 from the
                                                                                                       the
Management Incentive
Management               Compensation Program
              Incentive Compensation    Program and
                                                  and putting
                                                       putting her
                                                                her into
                                                                    into aa "Shadow
                                                                            “Shadow Program"
                                                                                      Program” withwith an
                                                                                                        an
unclear future;
unclear         (c) removing
        future; (c) removing substantial
                              substantial responsibilities from her
                                          responsibilities from  her job
                                                                     job duties; (d) harming
                                                                         duties; (d) harming herher ability
                                                                                                    ability


                                                    15
                                                    15
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 129 of 157 PageID #:6119




to advance
to advance to
           to higher
              higher levels
                     levels of
                            of management
                                management within
                                            within and
                                                    and outside
                                                        outside the
                                                                 the organization;
                                                                     organization; (e)
                                                                                   (e) causing
                                                                                       causing her
                                                                                               her
professional embarrassment
professional embarrassment andand emotional
                                   emotional distress which also
                                             distress which   also impacted
                                                                    impacted her
                                                                              her health;
                                                                                   health; and
                                                                                           and (f)
                                                                                                (f)
preventing moving
preventing moving patient
                   patient care
                           care forward..
                                forward..

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 58.
                                                           58.

COMPLAINT ¶60:
COMPLAINT ¶60:

        Melgoza met
        Melgoza   met with
                       with numerous
                            numerous members
                                        members in   Rush’s executive
                                                  in Rush's  executive ranks   to discuss
                                                                         ranks to discuss the
                                                                                          the termination
                                                                                              termination
threat, demotion,
threat,            and the
        demotion, and   the retaliatory
                            retaliatory behavior
                                        behavior directed
                                                  directed at
                                                            at her after her
                                                               her after  her advocacy
                                                                              advocacy for
                                                                                        for diversity
                                                                                            diversity and
                                                                                                       and
requesting equitable
requesting             pay. On
            equitable pay.   On March
                                  March 22,
                                         22, 2017
                                             2017 and
                                                    and April
                                                         April 16,
                                                               16, 2017,
                                                                   2017, she
                                                                           she met
                                                                               met with
                                                                                    with Terry
                                                                                          Terry Peterson,
                                                                                                 Peterson,
Rush Vice
Rush  Vice President
           President ofof Governmental
                          Governmental Affairs
                                         Affairs and
                                                 and the
                                                      the Chairman
                                                          Chairman ofof the
                                                                         the Diversity
                                                                             Diversity Leadership
                                                                                       Leadership Group
                                                                                                    Group
and Chairman
and  Chairman ofof the
                   the Chicago
                        Chicago Transit   Authority (CTA).
                                  Transit Authority   (CTA). She    also met
                                                                She also   met with
                                                                               with Barginere,
                                                                                     Barginere, Wallace,
                                                                                                 Wallace,
Dr. Ansell,
Dr. Ansell, Dandorph,
            Dandorph, andand Mary
                             Mary Ellen
                                    Ellen Schopp   (“Schopp”), Rush
                                          Schopp ("Schopp"),     Rush Senior   Vice President
                                                                       Senior Vice   President of
                                                                                                of Human
                                                                                                   Human
Resources. All
Resources.   All these
                 these Rush
                       Rush senior
                             senior executives
                                    executives failed  to end
                                               failed to  end the
                                                              the discriminatory
                                                                  discriminatory and
                                                                                   and retaliatory
                                                                                       retaliatory actions
                                                                                                   actions
against Melgoza.
against  Melgoza.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Terry
                                            Terry Peterson,
                                                  Peterson, Barginere,
                                                            Barginere, Dr.
                                                                       Dr. Ansell,
                                                                           Ansell, and
                                                                                   and Mary
                                                                                       Mary Ellen
                                                                                            Ellen

Schopp at various
Schopp at various times
                  times in
                        in 2017.
                           2017. Rush
                                 Rush denies the remaining
                                      denies the remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

60.
60.

COMPLAINT ¶61:
COMPLAINT ¶61:

       Schopp
       Schopp recommended
                recommended thatthat Melgoza
                                     Melgoza leave
                                                leave the
                                                       the organization
                                                            organization and
                                                                         and focus
                                                                             focus on
                                                                                   on being
                                                                                      being aa mother,
                                                                                               mother,
volunteer for
volunteer     school activities
          for school activities for her child,
                                for her child, and
                                               and find
                                                    find aa hobby.
                                                            hobby.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 61.
                                                           61.

COMPLAINT ¶62:
COMPLAINT ¶62:

        Rush eventually
        Rush eventually offered
                        offered aa severance
                                   severance package.
                                             package.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 62.
                                                           62.

COMPLAINT ¶63:
COMPLAINT ¶63:

        Melgoza rejected
        Melgoza          the severance
                rejected the severance package,
                                       package, and
                                                and began
                                                    began working
                                                          working as
                                                                  as aa Director
                                                                        Director for
                                                                                 for Rush.
                                                                                     Rush.



                                                   16
                                                   16
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 130 of 157 PageID #:6120




ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff began
                                   began working
                                         working as
                                                 as aa Director.
                                                       Director. Rush
                                                                 Rush denies
                                                                      denies the
                                                                             the remaining
                                                                                 remaining

allegations in
allegations    Complaint Paragraph
            in Complaint Paragraph 63.
                                   63.

COMPLAINT ¶64:
COMPLAINT ¶64:

        In
        In January 2017, Correa
           January 2017, Correa informed
                                informed Melgoza
                                         Melgoza that
                                                 that he
                                                      he was
                                                         was resigning
                                                             resigning his
                                                                       his employment
                                                                           employment with
                                                                                      with
Rush.
Rush.

ANSWER:
ANSWER:

        Rush lacks
        Rush       knowledge or
             lacks knowledge or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to the
                                                                               the truth
                                                                                   truth of
                                                                                         of the
                                                                                            the

allegations asserted
allegations asserted in
                     in Complaint
                        Complaint Paragraph
                                  Paragraph 64.
                                            64.

COMPLAINT ¶65:
COMPLAINT ¶65:

       On January
       On          25, 2017,
          January 25,  2017, Dr.
                              Dr. Robert
                                  Robert DeCresce
                                          DeCresce ("Dr.
                                                    (“Dr. DeCresce"),
                                                          DeCresce”), Rush
                                                                       Rush Acting
                                                                             Acting Cancer
                                                                                    Cancer Center
                                                                                           Center
Medical Director
Medical Director and
                  and Operating
                      Operating Partner
                                   Partner of
                                           of Shore  Capital Partners,
                                              Shore Capital  Partners, informed  Melgoza that
                                                                       informed Melgoza  that she
                                                                                              she
would report to him until further
would report to him until further notice.
                                  notice.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 65.
                                                           65.

COMPLAINT ¶66:
COMPLAINT ¶66:

        On February
        On February 3,
                     3, 2017,
                        2017, Dr.
                              Dr. Antonio
                                  Antonio Bianco
                                           Bianco ("Dr.
                                                   (“Dr. Bianco"),
                                                         Bianco”), Rush
                                                                   Rush Vice
                                                                        Vice President
                                                                             President of
                                                                                       of Clinical
                                                                                          Clinical
Affairs and
Affairs and President/Owner
            President/Owner ofof Bianco
                                  Bianco Labs
                                         Labs requested
                                               requested aa meeting
                                                            meeting with
                                                                    with Melgoza
                                                                         Melgoza on
                                                                                  on February
                                                                                     February 8,8,
2017 to
2017 to discuss “leadership of
        discuss "leadership of the
                               the cancer
                                   cancer center."
                                          center.”

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Dr.
                         Dr. Bianco
                             Bianco met
                                    met with
                                        with Plaintiff
                                             Plaintiff on
                                                       on February
                                                          February 8, 2017 and
                                                                   8, 2017 and that
                                                                               that Plaintiff
                                                                                    Plaintiff

received an
received an invitation
            invitation with
                       with the
                            the subject
                                subject listed
                                        listed as
                                               as "Interim
                                                  “Interim Leadership
                                                           Leadership for the Cancer
                                                                      for the Cancer Center."
                                                                                     Center.” Rush
                                                                                              Rush

denies the
denies the remaining
           remaining allegations
                     allegations in
                                 in Complaint
                                    Complaint Paragraph
                                              Paragraph 66.
                                                        66.

COMPLAINT ¶67:
COMPLAINT ¶67:

        On February
        On February 8,    2017, during
                       8, 2017, during thethe meeting
                                              meeting between
                                                       between Melgoza
                                                                 Melgoza and
                                                                          and Dr.
                                                                               Dr. Bianco,
                                                                                    Bianco, Melgoza
                                                                                             Melgoza waswas
blind-sided by
blind-sided by learning
                learning for
                          for the
                              the first
                                  first time
                                        time that
                                              that the
                                                   the meeting
                                                       meeting was
                                                               was actually
                                                                    actually an
                                                                             an interview   for the
                                                                                interview for   the Interim
                                                                                                    Interim
Cancer Position,
Cancer  Position, which
                  which was
                          was open
                               open due
                                      due to
                                           to Correa's
                                              Correa’s resignation.
                                                       resignation. No
                                                                    No copy
                                                                        copy of
                                                                              of an
                                                                                 an active
                                                                                    active job
                                                                                           job description
                                                                                                description
was provided
was provided for   the "surprise"
               for the “surprise” interview.
                                    interview.



                                                    17
                                                    17
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 131 of 157 PageID #:6121




ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief regarding
                                                                         regarding the
                                                                                   the truth
                                                                                       truth of
                                                                                             of the
                                                                                                the

allegations regarding
allegations           what Plaintiff
            regarding what Plaintiff believed.
                                     believed. Rush
                                               Rush denies
                                                    denies the
                                                           the remaining
                                                               remaining allegations
                                                                         allegations in Complaint
                                                                                     in Complaint

Paragraph 67.
Paragraph 67.

COMPLAINT ¶68:
COMPLAINT ¶68:

          During the
          During  the February
                       February 8th   meeting, Melgoza
                                  8th meeting, Melgoza provided
                                                        provided aa copy of her
                                                                    copy of her resume
                                                                                resume to
                                                                                        to Dr.
                                                                                           Dr. Bianco,
                                                                                               Bianco,
and after
and   after reviewing
            reviewing the
                        the resume,
                            resume, Dr.
                                     Dr. Bianco
                                         Bianco said
                                                said to
                                                     to Melgoza,
                                                        Melgoza, "You
                                                                 “You are
                                                                       are aa snob,
                                                                              snob, you
                                                                                    you went
                                                                                        went to
                                                                                             to school
                                                                                                school
with aa lot
with         of snobs.
         lot of snobs. II used
                          used to
                               to know
                                  know aa woman
                                          woman who
                                                 who went
                                                       went to
                                                            to Smith [College]. She
                                                               Smith [College].      wasn’t that
                                                                                 She wasn't that great.
                                                                                                 great.
II didn't
   didn’t care  for her.
          care for  her. She  was aa snob."
                          She was    snob.”

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff provided
                                   provided aa copy
                                               copy of
                                                    of her
                                                       her résumé
                                                           résumé to
                                                                  to Dr.
                                                                     Dr. Bianco.
                                                                         Bianco. Rush
                                                                                 Rush denies
                                                                                      denies the
                                                                                             the

remaining allegations
remaining allegations in
                      in Complaint
                         Complaint Paragraph
                                   Paragraph 68.
                                             68.

COMPLAINT ¶69:
COMPLAINT ¶69:

        Melgoza reported
        Melgoza              Dr. Bianco's
                   reported Dr.  Bianco’s rude,
                                             rude, discriminatory
                                                   discriminatory behavior
                                                                   behavior and
                                                                             and the
                                                                                 the lack
                                                                                     lack of
                                                                                           of aa formal
                                                                                                  formal
posting of
posting  of the
            the job
                job position
                    position with
                             with aa job
                                     job description
                                         description to
                                                     to Schopp.
                                                        Schopp. Schopp  told Melgoza
                                                                Schopp told  Melgoza that
                                                                                      that "[Melgoza]
                                                                                           “[Melgoza]
let things
let things happen
            happen to
                    to her"
                       her” and
                             and that
                                 that she
                                       she should
                                           should go
                                                   go back
                                                       back to
                                                            to Dr.
                                                               Dr. Bianco
                                                                   Bianco to
                                                                           to "teach
                                                                              “teach him
                                                                                     him how
                                                                                          how to to be
                                                                                                    be aa
better leader.”
better leader."

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 69.
                                                           69.

COMPLAINT ¶70:
COMPLAINT ¶70:

       Melgoza reported
       Melgoza reported Dr.
                        Dr. Bianco's
                            Bianco’s rude,
                                      rude, discriminatory comments to
                                            discriminatory comments  to Dr.
                                                                        Dr. DeCresce,
                                                                            DeCresce, who
                                                                                       who told
                                                                                           told
her, "Don't
her, “Don’t worry,
            worry, you
                   you are
                        are not
                            not aa snob!"
                                   snob!” Dr.
                                            Dr. DeCresce
                                                 DeCresce did
                                                           did not
                                                               not follow-up
                                                                   follow-up further
                                                                              further regarding
                                                                                      regarding
Melgoza’s complaints.
Melgoza's complaints.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 70.
                                                           70.

COMPLAINT ¶71:
COMPLAINT ¶71:

        Rush did
        Rush did not
                 not offer
                     offer Melgoza
                           Melgoza the
                                   the open
                                       open Interim Cancer Position,
                                            Interim Cancer Position, and
                                                                     and instead
                                                                         instead hired
                                                                                 hired aa less-
                                                                                          less-
qualified Caucasian
qualified Caucasian female,
                    female, Patty
                            Patty Nedved
                                  Nedved ("Nedved"),
                                         (“Nedved”), who
                                                     who lacked
                                                         lacked experience
                                                                 experience managing
                                                                             managing cancer
                                                                                        cancer
departments.
departments.



                                                   18
                                                   18
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 132 of 157 PageID #:6122




ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiff
                        Plaintiff was
                                  was not
                                      not offered
                                          offered the
                                                  the Interim Cancer Position
                                                      Interim Cancer Position and
                                                                              and that
                                                                                  that Nedved
                                                                                       Nedved

filled that
filled that role
            role after
                 after years
                       years of
                             of employment
                                employment with
                                           with Rush,
                                                Rush, including
                                                      including time
                                                                time serving
                                                                     serving as
                                                                             as Rush's
                                                                                Rush’s Acting
                                                                                       Acting Chief
                                                                                              Chief

Nursing Officer.
Nursing Officer. Rush
                 Rush denies
                      denies the
                             the remaining
                                 remaining allegations
                                           allegations in
                                                       in Complaint
                                                          Complaint Paragraph
                                                                    Paragraph 71.
                                                                              71.

COMPLAINT ¶72:
COMPLAINT ¶72:

        Rush deviated
        Rush deviated from and did
                      from and did not
                                   not follow its policies
                                       follow its policies and
                                                           and procedures
                                                               procedures on
                                                                          on job
                                                                             job hiring
                                                                                 hiring and
                                                                                        and posting
                                                                                            posting
when it
when    hired Nedved.
     it hired Nedved.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the remaining allegations in
                       remaining allegations in Complaint
                                                Complaint Paragraph
                                                          Paragraph 72.
                                                                    72.

COMPLAINT ¶73:
COMPLAINT ¶73:

        Melgoza later
       Melgoza   later learned from Dr.
                       learned from  Dr. DeCresce
                                         DeCresce that
                                                    that there
                                                         there were
                                                               were two
                                                                    two (2)
                                                                         (2) candidates
                                                                             candidates considered
                                                                                         considered for
                                                                                                    for
Correa’s position.
Correa's position. Both
                    Both ofof the
                              the candidates
                                   candidates were
                                               were not
                                                     not of
                                                         of Mexican
                                                            Mexican national
                                                                      national origin.
                                                                                origin. Another
                                                                                         Another Rush
                                                                                                  Rush
executive employee
executive employee informed
                     informed Melgoza
                                Melgoza that
                                          that the
                                               the two
                                                   two (2)
                                                       (2) candidates
                                                           candidates did
                                                                       did not
                                                                           not have
                                                                               have cancer
                                                                                     cancer experience
                                                                                             experience
and that
and that Melgoza
         Melgoza had
                   had the
                        the most
                            most "on
                                  “on the
                                      the bench
                                          bench cancer   experience at
                                                 cancer experience   at Rush,
                                                                        Rush, yet
                                                                               yet the
                                                                                   the position
                                                                                       position went
                                                                                                went to
                                                                                                     to
an individual
an            without cancer
   individual without  cancer experience."
                               experience.”

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 73.
                                                          73.

COMPLAINT ¶74:
COMPLAINT ¶74:

        Upon information
        Upon                and belief,
               information and  belief, other
                                        other candidates
                                              candidates were
                                                         were provided
                                                               provided advance
                                                                         advance notice
                                                                                 notice to
                                                                                        to prepare
                                                                                           prepare for
                                                                                                    for
the interview,
the interview, and
                and were
                    were told
                          told of
                               of their
                                  their "active
                                        “active status"
                                                status” for
                                                        for the
                                                            the position,
                                                                position, allowing
                                                                          allowing them
                                                                                   them the
                                                                                         the ability
                                                                                             ability to
                                                                                                     to
compete for
compete   for the
              the position.
                  position.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 74.
                                                          74.

COMPLAINT ¶75:
COMPLAINT ¶75:

       On February
       On  February 27,
                     27, 2017,
                          2017, Melgoza
                                 Melgoza met
                                           met with
                                                with Peter
                                                      Peter Butler
                                                            Butler ("Butler"),
                                                                    (“Butler”), former
                                                                                 former Rush
                                                                                          Rush Chief
                                                                                                Chief
Executive  Officer and
Executive Officer   and Chief
                         Chief Operating
                                 Operating Officer
                                             Officer to
                                                      to discuss
                                                         discuss the
                                                                   the hostile
                                                                       hostile and
                                                                                 and discriminatory
                                                                                       discriminatory
environment at
environment  at Rush.
                Rush. Butler
                        Butler noted
                                noted that
                                      that Melgoza
                                           Melgoza managed
                                                     managed aa complex
                                                                  complex portfolio
                                                                             portfolio exceptionally
                                                                                        exceptionally
during his
during his tenure
           tenure at
                   at Rush,
                       Rush, encouraged
                              encouraged herher to
                                                to focus   on moving
                                                    focus on   moving forward       with the
                                                                         forward with     the current
                                                                                              current
departments, and
departments, and stated
                 stated that
                        that he
                             he "would
                                “would not
                                        not have
                                            have handled
                                                 handled [the  hiring] situation
                                                          [the hiring] situation in  that manner."
                                                                                  in that manner.”




                                                  19
                                                  19
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 133 of 157 PageID #:6123




ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Butler
                                            Butler at
                                                   at various
                                                      various times.
                                                              times. Rush
                                                                     Rush lacks
                                                                          lacks knowledge or
                                                                                knowledge or

information sufficient
information sufficient to
                       to form
                          form aa belief
                                  belief as
                                         as to
                                            to the
                                               the truth
                                                   truth of
                                                         of the
                                                            the allegations
                                                                allegations regarding
                                                                            regarding Plaintiff's
                                                                                      Plaintiff’s

purported purpose
purported purpose for
                  for seeking
                      seeking aa meeting
                                 meeting with
                                         with Butler.
                                              Butler. Rush
                                                      Rush denies
                                                           denies the
                                                                  the remaining
                                                                      remaining allegations
                                                                                allegations in
                                                                                            in

Complaint Paragraph
Complaint Paragraph 75.
                    75.

COMPLAINT ¶76:
COMPLAINT ¶76:

        On March
        On  March 21,
                   21, 2017,
                       2017, Melgoza
                              Melgoza met
                                        met with
                                             with Dr.
                                                  Dr. Ansell
                                                      Ansell toto discuss
                                                                  discuss the
                                                                          the demotion
                                                                              demotion of of Melgoza
                                                                                             Melgoza and
                                                                                                      and
to inform
to         him of
   inform him  of the
                   the ongoing
                       ongoing retaliation
                                retaliation against
                                            against her.
                                                     her. Dr.
                                                           Dr. Ansell
                                                                Ansell stated
                                                                        stated that
                                                                               that Barginere
                                                                                     Barginere made
                                                                                                 made the
                                                                                                       the
decision to
decision to demote
            demote Melgoza.
                     Melgoza. Dr.
                               Dr. Ansell,
                                   Ansell, further
                                           further stated,
                                                    stated, "[Barginere]
                                                            “[Barginere] was
                                                                           was told
                                                                                told to
                                                                                     to remove
                                                                                        remove you.
                                                                                                 you. She
                                                                                                      She
removed you
removed   you because
              because she
                        she is weak. She
                            is weak.        is not
                                       She is  not strong
                                                   strong for   diversity. That
                                                           for diversity.   That is  what happens
                                                                                  is what  happens when
                                                                                                     when
these people
these people get
             get in
                 in power."
                    power.” Melgoza
                              Melgoza asked
                                        asked Dr.
                                               Dr. Ansell
                                                   Ansell to
                                                          to clarify
                                                              clarify who
                                                                      who issued   the order
                                                                           issued the   order to
                                                                                              to terminate
                                                                                                 terminate
her employment
her employment and
                 and what
                      what he
                           he meant
                               meant by
                                      by "these
                                         “these people,"
                                                 people,” but
                                                          but hehe ran
                                                                   ran away
                                                                       away from
                                                                             from Melgoza
                                                                                    Melgoza inin response.
                                                                                                 response.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff met
                                   met with
                                       with Dr.
                                            Dr. Ansell
                                                Ansell at
                                                       at various
                                                          various times.
                                                                  times. Rush
                                                                         Rush lacks knowledge or
                                                                              lacks knowledge or

information sufficient
information sufficient to
                       to form
                          form aa belief
                                  belief as
                                         as to
                                            to the
                                               the truth
                                                   truth of
                                                         of the
                                                            the allegations
                                                                allegations regarding
                                                                            regarding Plaintiff's
                                                                                      Plaintiff’s

purported purpose
purported purpose for
                  for seeking
                      seeking aa meeting
                                 meeting with
                                         with Dr.
                                              Dr. Ansell.
                                                  Ansell. Rush
                                                          Rush denies
                                                               denies the
                                                                      the remaining
                                                                          remaining allegations
                                                                                    allegations

in Complaint
in Complaint Paragraph
             Paragraph 76.
                       76.

COMPLAINT ¶77:
COMPLAINT ¶77:

       Similarly-situated individuals who
       Similarly-situated individuals  who were
                                            were male
                                                 male were
                                                       were allowed
                                                            allowed toto prepare
                                                                         prepare for
                                                                                 for interviews
                                                                                     interviews
and/or were hired to work in positions more advanced than Director at Rush.
and/or were hired to work in positions more advanced than Director at Rush.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 77.
                                                           77.

COMPLAINT ¶78:
COMPLAINT ¶78:

       Similarly-situated
       Similarly-situated individuals who were
                          individuals who were not
                                                not of
                                                    of Mexican-American
                                                       Mexican-American national
                                                                          national origin
                                                                                   origin were
                                                                                          were
allowed to
allowed  to prepare
            prepare for interviews and/or
                    for interviews and/or were
                                          were hired
                                               hired to
                                                     to work
                                                        work in positions more
                                                             in positions more advanced
                                                                                advanced than
                                                                                          than
Director at
Director at Rush.
            Rush.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 78.
                                                           78.



                                                   20
                                                   20
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 134 of 157 PageID #:6124




COMPLAINT ¶79:
COMPLAINT ¶79:

        Similarly-situated
        Similarly-situated individuals who were
                           individuals who  were not
                                                  not asked
                                                      asked to
                                                            to meet
                                                               meet sexual
                                                                    sexual expectations
                                                                           expectations or
                                                                                        or subjected
                                                                                           subjected
to stereotypes
to stereotypes of
                of women
                   women of of Mexican-American
                               Mexican-American descent
                                                    descent atat Rush
                                                                 Rush were
                                                                      were allowed
                                                                            allowed toto prepare
                                                                                         prepare for
                                                                                                 for
interviews and/or
interviews and/or were
                   were hired
                        hired to
                              to work
                                 work in
                                       in positions
                                          positions more
                                                    more advanced
                                                          advanced than
                                                                    than Director
                                                                         Director at
                                                                                  at Rush.
                                                                                     Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 79.
                                                          79.

COMPLAINT ¶80:
COMPLAINT ¶80:

       Similarly-situated
       Similarly-situated individuals  who did
                           individuals who did not
                                               not complain
                                                   complain about
                                                             about discrimination
                                                                   discrimination and
                                                                                  and unequal
                                                                                      unequal pay
                                                                                              pay
were allowed
were allowed to
              to prepare
                 prepare for
                         for interviews
                             interviews and/or
                                        and/or were
                                               were hired
                                                    hired to
                                                          to work
                                                             work in positions more
                                                                  in positions more advanced
                                                                                    advanced than
                                                                                             than
Director at
Director at Rush.
            Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 80.
                                                          80.

COMPLAINT ¶81:
COMPLAINT ¶81:

        Similarly-situated
        Similarly-situated employees  who did
                            employees who   did not
                                                not advocate
                                                    advocate for  the advancement
                                                              for the advancement of
                                                                                   of diversity
                                                                                      diversity in the
                                                                                                in the
executive ranks  of  Rush   were allowed  to prepare  for interviews   and/or were hired  to
executive ranks of Rush were allowed to prepare for interviews and/or were hired to work in  work   in
positions more
positions more advanced
                advanced than
                           than Director
                                Director at
                                         at Rush.
                                            Rush.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 81.
                                                          81.

COMPLAINT ¶82:
COMPLAINT ¶82:

         Following the
         Following  the promotion
                        promotion of
                                   of Nedved,
                                      Nedved, the
                                               the gender
                                                   gender and
                                                            and national
                                                                national origin
                                                                          origin discrimination
                                                                                 discrimination and
                                                                                                 and
retaliation by
retaliation by Rush
               Rush against
                      against Melgoza
                              Melgoza continued.
                                       continued. Melgoza
                                                   Melgoza learned   that Dr.
                                                             learned that  Dr. Bianco
                                                                               Bianco threatened
                                                                                       threatened to
                                                                                                   to
terminate Melgoza's
terminate  Melgoza’s employment.
                       employment. Additionally,
                                    Additionally, Dr.
                                                  Dr. Bianco
                                                      Bianco and
                                                              and executives
                                                                  executives publicly
                                                                              publicly threatened
                                                                                        threatened to
                                                                                                   to
remove additional
remove   additional departments
                    departments from
                                from her
                                      her supervision
                                          supervision that
                                                      that she
                                                           she capably
                                                               capably supervised
                                                                       supervised for   many years.
                                                                                    for many  years.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 82.
                                                          82.

COMPLAINT ¶83:
COMPLAINT ¶83:

       On January
       On           16, 2015,
           January 16,   2015, Melgoza
                                Melgoza reached
                                         reached out
                                                  out to
                                                       to Dr.
                                                          Dr. Larry  Goodman ("Dr.
                                                              Larry Goodman      (“Dr. Goodman"),
                                                                                       Goodman”),
President of
President of Rush
             Rush University
                    University Medical
                                Medical Center
                                        Center and
                                                 and the
                                                     the Executive
                                                          Executive Sponsor
                                                                     Sponsor ofof Rush's
                                                                                  Rush’s Diversity
                                                                                         Diversity
Leadership   Group, in
Leadership Group,    in an
                         an attempt
                             attempt to
                                      to discuss   diversity, future
                                          discuss diversity,  future goals
                                                                      goals and
                                                                            and thethe removal  of
                                                                                       removal of
discriminatory barriers
discriminatory barriers at
                        at Rush.
                           Rush. Dr.
                                 Dr. Goodman    never responded
                                     Goodman never    responded to
                                                                 to the
                                                                    the email.
                                                                        email.



                                                 21
                                                 21
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 135 of 157 PageID #:6125




ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Plaintiff
                        Plaintiff emailed Dr. Goodman
                                  emailed Dr. Goodman on
                                                      on January 16, 2015
                                                         January 16, 2015 and
                                                                          and that
                                                                              that Dr.
                                                                                   Dr.

Goodman did
Goodman did not
            not respond to that
                respond to that email.
                                email. Rush
                                       Rush denies
                                            denies the
                                                   the remaining
                                                       remaining allegations
                                                                 allegations in Complaint
                                                                             in Complaint

Paragraph 83.
Paragraph 83.

COMPLAINT ¶84:
COMPLAINT ¶84:

       Dr. Goodman
       Dr. Goodman has
                     has advocated
                         advocated for  inclusion and
                                    for inclusion and aa diverse
                                                         diverse work
                                                                 work environment,   and speaks
                                                                       environment, and  speaks
publicly about
publicly about Rush's
               Rush’s commitment
                      commitment toto equality;
                                      equality; however
                                                however hehe refused
                                                             refused to
                                                                     to meet
                                                                        meet with
                                                                              with Melgoza.
                                                                                   Melgoza. AA
second meeting
second meeting was
               was requested
                   requested on
                             on April
                                April 25,
                                      25, 2017,
                                          2017, but
                                                but Dr.
                                                    Dr. Goodman
                                                         Goodman declined
                                                                   declined the
                                                                            the meeting.
                                                                                meeting.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Dr.
                        Dr. Goodman
                            Goodman has
                                    has advocated
                                        advocated for an inclusive,
                                                  for an            diverse work
                                                         inclusive, diverse work environment,
                                                                                 environment,

and Rush's
and Rush’s commitment to equality.
           commitment to           Rush further
                         equality. Rush         admits that
                                        further admits that Dr.
                                                            Dr. Goodman
                                                                Goodman declined to meet
                                                                        declined to meet with
                                                                                         with

Plaintiff. Rush
Plaintiff. Rush denies
                denies the
                       the remaining
                           remaining allegations
                                     allegations in Complaint Paragraph
                                                 in Complaint Paragraph 84.
                                                                        84.

COMPLAINT ¶85:
COMPLAINT ¶85:

        Dr. Goodman
        Dr. Goodman hashas spoken
                            spoken about
                                   about equity,
                                         equity, inclusion,
                                                  inclusion, ethics and aa diverse
                                                             ethics and    diverse work
                                                                                   work environment;
                                                                                         environment;
yet he
yet he condoned
       condoned the
                 the overt,
                     overt, systemic
                            systemic discrimination
                                     discrimination against
                                                     against employees
                                                             employees ofof Mexican
                                                                            Mexican descent,
                                                                                      descent, unequal
                                                                                               unequal
pay for
pay      women, and
     for women,   and exclusion  of veterans,
                      exclusion of  veterans, people
                                              people with
                                                       with disabilities
                                                            disabilities and
                                                                         and other
                                                                              other under-represented
                                                                                    under-represented
employees by
employees   by not
               not posting
                    posting executive
                             executive positions,
                                       positions, promoting
                                                  promoting nepotism,
                                                              nepotism, violating
                                                                          violating the
                                                                                    the equal
                                                                                        equal pay
                                                                                               pay law
                                                                                                   law
and not
and      addressing overt
     not addressing overt discrimination
                          discrimination against
                                          against Rush's
                                                   Rush’s only
                                                          only Mexican-American
                                                                Mexican-American executive.
                                                                                     executive.

ANSWER:
ANSWER:

       Rush admits
       Rush admits that
                   that Dr.
                        Dr. Goodman
                            Goodman has
                                    has advocated
                                        advocated for
                                                  for an
                                                      an inclusive, equitable, ethical,
                                                         inclusive, equitable,          and
                                                                               ethical, and

diverse work
diverse work environment. Rush denies
             environment. Rush denies the
                                      the remaining
                                          remaining allegations
                                                    allegations in
                                                                in Complaint
                                                                   Complaint Paragraph
                                                                             Paragraph 85.
                                                                                       85.

COMPLAINT ¶86:
COMPLAINT ¶86:

        During the
        During   the March
                     March 21,21, 2016,
                                   2016, Dr.
                                          Dr. Ansell
                                               Ansell stated
                                                        stated that
                                                                that it
                                                                     it was
                                                                        was "unconscionable
                                                                            “unconscionable that
                                                                                              that Rush
                                                                                                    Rush
demoted its
demoted       only Latina
          its only         Female Executive
                   Latina Female               and had
                                    Executive and  had nono other
                                                             other Hispanic
                                                                   Hispanic Executives within the
                                                                            Executives within   the Rush
                                                                                                    Rush
Executive
Executive ranks.”   He also
            ranks." He  also stated
                             stated that
                                    that he
                                         he "threw
                                            “threw aa line"
                                                      line” to
                                                            to Dr.
                                                               Dr. Goodman   and Barginere
                                                                   Goodman and   Barginere at
                                                                                           at aa meeting
                                                                                                 meeting
related to
related to the
           the unconscionable
               unconscionable bias
                                 bias against
                                      against employees
                                              employees of of Mexican
                                                              Mexican descent.
                                                                        descent.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 86.
                                                          86.




                                                  22
                                                  22
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 136 of 157 PageID #:6126




COMPLAINT ¶87:
COMPLAINT ¶87:

        Executive    leadership at
        Executive leadership     at Rush
                                     Rush waswas spearheaded
                                                  spearheaded by  by Dr.
                                                                      Dr. Goodman
                                                                           Goodman who   who was
                                                                                               was enabled
                                                                                                     enabled by
                                                                                                              by
William M.
William   M. Goodyear,
               Goodyear, Chairman
                            Chairman of of the
                                            the Rush
                                                 Rush University
                                                        University Medical
                                                                      Medical Center
                                                                                 Center Board
                                                                                           Board of
                                                                                                  of Directors,
                                                                                                      Directors,
former Rush
former  Rush Chief
               Chief Executive    Officer and
                      Executive Officer    and President
                                                President of of Navigant,
                                                                Navigant, to
                                                                           to violate
                                                                               violate the
                                                                                        the EPA
                                                                                             EPA and
                                                                                                  and Title  VII
                                                                                                       Title VII
in discriminating
in discriminating against
                    against women
                             women and and employees
                                            employees of  of Mexican
                                                             Mexican national
                                                                        national origin.
                                                                                   origin. Dr.
                                                                                             Dr. Goodman
                                                                                                 Goodman and and
Goodyear did
Goodyear    did not
                not intervene  and stop
                    intervene and   stop the
                                         the discriminatory     behavior; thus,
                                              discriminatory behavior;     thus, facilitating
                                                                                  facilitating an
                                                                                                an environment
                                                                                                   environment
where it
where  it is acceptable to
          is acceptable   to violate
                             violate civil
                                      civil rights
                                            rights laws    related to
                                                    laws related   to equal
                                                                       equal pay
                                                                              pay and
                                                                                    and the
                                                                                          the discrimination
                                                                                              discrimination of
                                                                                                              of
employees of
employees    of Mexican
                Mexican national
                           national origin.
                                    origin. Their    inaction   and failure  to hold   executives   accountable
                                              Their inaction and failure to hold executives accountable
support aa corporate
support    corporate culture
                       culture of
                               of systemic,
                                  systemic, intentional
                                              intentional discrimination
                                                            discrimination andand retaliation
                                                                                   retaliation against
                                                                                                against women
                                                                                                        women
and employees
and  employees of of Mexican
                     Mexican national
                                national origin,
                                          origin, and
                                                   and also
                                                         also negatively
                                                               negatively impact
                                                                           impact andand discriminate
                                                                                           discriminate against
                                                                                                         against
people with
people  with disabilities,  veterans and
              disabilities, veterans  and other
                                          other under-represented
                                                 under-represented minorities.
                                                                        minorities. Instead    of meeting
                                                                                      Instead of  meeting with
                                                                                                            with
Melgoza, an
Melgoza,   an employee
              employee of of Mexican
                             Mexican descent     who lead
                                        descent who    lead nine
                                                             nine to
                                                                  to eleven
                                                                     eleven departments
                                                                              departments withwith over
                                                                                                   over 700  full
                                                                                                        700 full
time employees,
time  employees, Dr.
                   Dr. Goodman     opted to
                        Goodman opted     to "dealsource"
                                              “dealsource” andand be
                                                                   be aa social
                                                                         social media
                                                                                media influencer.
                                                                                         influencer.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 87.
                                                           87.

COMPLAINT ¶88:
COMPLAINT ¶88:

       On May
       On  May 8,
               8, 2017,
                  2017, Melgoza
                         Melgoza filed
                                  filed aa Charge
                                           Charge of
                                                   of Discrimination
                                                      Discrimination against
                                                                     against Defendant
                                                                             Defendant ("Charge
                                                                                       (“Charge of
                                                                                                of
Discrimination”) with
Discrimination") with the
                      the United
                          United States   Equal Employment
                                 States Equal                 Opportunity Commission
                                                 Employment Opportunity    Commission ("EEOC").
                                                                                        (“EEOC”).
A copy
A      of the
  copy of the Charge
              Charge of
                      of Discrimination
                         Discrimination is   attached as
                                          is attached as Exhibit A.
                                                         Exhibit A.

ANSWER:
ANSWER:

        Rush admits
        Rush admits the
                    the allegations
                        allegations in
                                    in Complaint
                                       Complaint Paragraph
                                                 Paragraph 88.
                                                           88.

COMPLAINT ¶89:
COMPLAINT ¶89:

       Melgoza’s Charge
       Melgoza's  Charge ofof Discrimination
                              Discrimination alleges
                                             alleges retaliation and discrimination
                                                     retaliation and                on the
                                                                     discrimination on the basis
                                                                                           basis of
                                                                                                 of
gender and
gender and national
           national origin
                    origin against
                           against Defendant.
                                   Defendant.

ANSWER:
ANSWER:

        The allegations in
        The allegations    Complaint Paragraph
                        in Complaint Paragraph 89 purports to
                                               89 purports to characterize
                                                              characterize the
                                                                           the contents
                                                                               contents of
                                                                                        of aa written
                                                                                              written

document that
document that speaks
              speaks for
                     for itself.
                         itself. To the extent
                                 To the extent the
                                               the allegations
                                                   allegations mischaracterize
                                                               mischaracterize or
                                                                               or are
                                                                                  are inconsistent
                                                                                      inconsistent

with that
with that document, they are
          document, they are denied.
                             denied.

COMPLAINT ¶90:
COMPLAINT ¶90:

       On August
       On  August 24,
                    24, 2017,
                         2017, Melgoza
                               Melgoza received
                                        received aa "right
                                                    “right to
                                                            to sue"
                                                                sue” letter
                                                                      letter for  the Charge
                                                                              for the  Charge of
                                                                                              of
Discrimination from
Discrimination from the
                     the EEOC.
                         EEOC. AA copy
                                  copy of
                                       of the
                                          the EEOC   “right to
                                              EEOC "right   to sue"
                                                               sue” letter
                                                                    letter is
                                                                           is attached
                                                                              attached as
                                                                                       as Exhibit
                                                                                          Exhibit
B.
B.



                                                       23
                                                       23
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 137 of 157 PageID #:6127




ANSWER:
ANSWER:

        Upon information
        Upon information and
                         and belief,
                             belief, Rush
                                     Rush admits
                                          admits the
                                                 the allegations
                                                     allegations in Complaint Paragraph
                                                                 in Complaint Paragraph 90.
                                                                                        90.

COMPLAINT ¶91:
COMPLAINT ¶91:

         The  “right to
         The "right   to sue"
                         sue” letter provides Plaintiff
                              letter provides  Plaintiff ninety
                                                         ninety (90)
                                                                (90) days
                                                                     days from the date
                                                                          from the  date of
                                                                                         of her
                                                                                            her receipt of
                                                                                                receipt of
the letter
the        to bring
    letter to bring aa lawsuit.
                       lawsuit. Plaintiff
                                 Plaintiff filed
                                           filed this
                                                 this Complaint
                                                      Complaint before
                                                                 before the
                                                                        the expiration
                                                                            expiration of
                                                                                       of the
                                                                                          the ninety
                                                                                              ninety (90)
                                                                                                     (90)
day period.
day  period.

ANSWER:
ANSWER:

        The allegations in
        The allegations    Complaint Paragraph
                        in Complaint Paragraph 91 purport to
                                               91 purport to characterize
                                                             characterize the
                                                                          the contents
                                                                              contents of
                                                                                       of aa written
                                                                                             written

document that
document that speaks
              speaks for
                     for itself.
                         itself. To the extent
                                 To the extent the
                                               the allegations
                                                   allegations mischaracterize
                                                               mischaracterize or
                                                                               or are
                                                                                  are inconsistent
                                                                                      inconsistent

with that
with that document, they are
          document, they are denied.
                             denied.

COMPLAINT ¶92:
COMPLAINT ¶92:

        Plaintiff has
        Plaintiff has fully exhausted all
                      fully exhausted all of
                                          of her
                                             her administrative
                                                 administrative remedies.
                                                                remedies.

ANSWER:
ANSWER:

        Rush admits
        Rush admits that
                    that Plaintiff
                         Plaintiff has
                                   has exhausted her administrative
                                       exhausted her administrative remedies
                                                                    remedies with
                                                                             with the
                                                                                  the EEOC with
                                                                                      EEOC with

respect to
respect to the
           the allegations
               allegations brought
                           brought in
                                   in her
                                      her May
                                          May 8, 2017 charge.
                                              8, 2017 charge. Rush
                                                              Rush denies
                                                                   denies the
                                                                          the remaining
                                                                              remaining allegations
                                                                                        allegations

in Complaint
in Complaint Paragraph
             Paragraph 92.
                       92.

COMPLAINT ¶93:
COMPLAINT ¶93:

        Rush’s discrimination
        Rush's discrimination and
                              and retaliation continues.
                                  retaliation continues.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 93.
                                                           93.

                        Count II —
                        Count    — Violation
                                   Violation of
                                             of the
                                                the Equal
                                                    Equal Pay Act of
                                                          Pay Act of 1963
                                                                     1963

COMPLAINT ¶94:
COMPLAINT ¶94:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.




                                                   24
                                                   24
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 138 of 157 PageID #:6128




ANSWER:
ANSWER:

       Rush incorporates
       Rush incorporates its
                         its responses
                             responses to
                                       to Complaint
                                          Complaint Paragraphs
                                                    Paragraphs 11 through
                                                                  through 93 as if
                                                                          93 as if set
                                                                                   set forth fully
                                                                                       forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 94.
                                                                 94.

COMPLAINT ¶95:
COMPLAINT ¶95:

       At all
       At all times
              times material
                    material to
                             to this
                                this Complaint,
                                     Complaint, Rush
                                                Rush was
                                                     was an
                                                         an employer
                                                            employer within
                                                                     within the
                                                                            the meaning
                                                                                meaning of
                                                                                        of the
                                                                                           the
EPA, § 203(d).
EPA, § 203(d).

ANSWER:
ANSWER:

       Rush lacks
       Rush lacks knowledge
                  knowledge or
                            or information
                               information sufficient
                                           sufficient to
                                                      to form
                                                         form aa belief
                                                                 belief as
                                                                        as to
                                                                           to what
                                                                              what Plaintiff
                                                                                   Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed employees.
employed employees. Rush
                    Rush denies
                         denies the
                                the remaining
                                    remaining allegations
                                              allegations in
                                                          in Complaint
                                                             Complaint Paragraph
                                                                       Paragraph 95.
                                                                                 95.

COMPLAINT ¶96:
COMPLAINT ¶96:

       Rush violated
       Rush   violated the
                       the EPA, § 206(d),
                           EPA, § 206(d), by
                                          by paying
                                             paying Melgoza
                                                    Melgoza less
                                                            less than
                                                                 than male
                                                                      male employees
                                                                           employees performing
                                                                                     performing
substantially equal
substantially equal work.
                    work.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 96.
                                                          96.

COMPLAINT ¶97:
COMPLAINT ¶97:

       Male employees
       Male   employees atat Rush
                             Rush who
                                   who have
                                       have the
                                             the same
                                                 same skill,
                                                        skill, effort
                                                               effort and
                                                                      and responsibility
                                                                           responsibility needed
                                                                                          needed to
                                                                                                 to
perform the
perform the work
            work asas Melgoza,
                      Melgoza, performed
                               performed under
                                          under similar
                                                similar working
                                                        working conditions,    were paid
                                                                   conditions, were paid more
                                                                                          more than
                                                                                               than
Melgoza in
Melgoza     violation of
         in violation of the
                         the EPA, §206(d).
                             EPA, §206(d).

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 97.
                                                          97.

COMPLAINT ¶98:
COMPLAINT ¶98:

       Rush’s violations
       Rush's violations of
                         of the
                            the EPA caused her
                                EPA caused her significant
                                               significant monetary
                                                           monetary harm.
                                                                    harm.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 98.
                                                          98.




                                                25
                                                25
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 139 of 157 PageID #:6129




COMPLAINT ¶99:
COMPLAINT ¶99:

        Rush’s violations
        Rush's violations of
                          of the
                             the EPA were willful.
                                 EPA were willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 99.
                                                           99.

COMPLAINT
COMPLAINT PRAYER 1
          PRAYER 1

         WHEREFORE, Plaintiff,
         WHEREFORE,      Plaintiff, Norma
                                    Norma Melgoza,
                                          Melgoza, respectfully
                                                   respectfully requests
                                                                requests that
                                                                         that this
                                                                              this Court,
                                                                                   Court, after
                                                                                          after aa jury
                                                                                                   jury
trial, enter judgment in  her favor  and against Defendant, Rush  University   Medical  Center,
trial, enter judgment in her favor and against Defendant, Rush University Medical Center, and       and
award damages
award   damages equal  to:
                 equal to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages;
                                                                           wages;

        (ii)
        (ii)    liquidated damages equal
                liquidated damages  equal to
                                          to the
                                             the amount
                                                 amount of
                                                        of back
                                                           back pay
                                                                pay lost
                                                                    lost as
                                                                         as aa result
                                                                               result of
                                                                                      of the
                                                                                         the failure
                                                                                             failure
                to pay
                to pay equal wages;
                       equal wages;

        (iii)
        (iii)   her attorneys'
                her attorneys’ fees and costs;
                               fees and costs; and
                                               and

        (iv)
        (iv)    such other
                such other and
                           and further
                               further relief as thiS
                                       relief as thiS Court
                                                      Court deems
                                                            deems just
                                                                  just and
                                                                       and proper
                                                                           proper under the
                                                                                  under the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

                       Count
                       Count II — Violation
                             II — Violation of
                                            of the
                                               the Equal
                                                   Equal Pay Act of
                                                         Pay Act of 1963
                                                                    1963

COMPLAINT ¶100:
COMPLAINT ¶100:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 93 as if
                                                                           93 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 100.
                                                                 100.

COMPLAINT ¶101:
COMPLAINT ¶101:

       At all
       At all times
              times material
                    material to
                             to this
                                this Complaint,
                                     Complaint, Rush
                                                Rush was
                                                     was an
                                                         an employer
                                                            employer within
                                                                     within the
                                                                            the meaning
                                                                                meaning of
                                                                                        of the
                                                                                           the
EPA, § 203(d).
EPA, § 203(d).



                                                  26
                                                  26
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 140 of 157 PageID #:6130




ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed employees.
employed employees. Rush
                    Rush denies
                         denies the
                                the remaining
                                    remaining allegations
                                              allegations in
                                                          in Complaint
                                                             Complaint Paragraph
                                                                       Paragraph 101.
                                                                                 101.

COMPLAINT ¶102:
COMPLAINT ¶102:

        Rush illegally
        Rush illegally retaliated
                       retaliated against
                                  against Melgoza
                                          Melgoza for
                                                  for exercising
                                                      exercising her
                                                                 her rights under the
                                                                     rights under the EPA.
                                                                                      EPA.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 102.
                                                           102.

COMPLAINT ¶103:
COMPLAINT ¶103:

        Rush’s illegal
        Rush's illegal retaliation
                       retaliation against
                                   against Melgoza
                                           Melgoza caused
                                                   caused her significant monetary
                                                          her significant monetary harm.
                                                                                   harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 103.
                                                           103.

COMPLAINT ¶104:
COMPLAINT ¶104:

        Rush’s illegal
        Rush's illegal retaliation
                       retaliation against
                                   against Melgoza
                                           Melgoza was
                                                   was willful.
                                                       willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 104.
                                                           104.

COMPLAINT
COMPLAINT PRAYER 2:
          PRAYER 2:

         WHEREFORE, Plaintiff,
         WHEREFORE,      Plaintiff, Norma
                                    Norma Melgoza,
                                          Melgoza, respectfully
                                                    respectfully requests
                                                                 requests that
                                                                          that this
                                                                               this Court,
                                                                                    Court, after
                                                                                           after aa jury
                                                                                                    jury
trial, enter
trial, enter judgment
             judgment in  her favor
                      in her         and against
                              favor and  against Defendant,
                                                 Defendant, Rush
                                                             Rush University
                                                                   University Medical
                                                                                Medical Center,
                                                                                         Center, and and
award damages
award   damages equal  to:
                 equal to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    liquidated damages equal
                liquidated damages equal to
                                         to the
                                            the amount
                                                amount of
                                                       of back
                                                          back pay
                                                               pay lost
                                                                   lost as
                                                                        as aa result
                                                                              result of
                                                                                     of the
                                                                                        the failure
                                                                                            failure
                to pay
                to pay equal wages and
                       equal wages and the
                                       the demotion;
                                           demotion;

        (iii)
        (iii)   restoration of Melgoza's
                restoration of Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iv)
        (iv)    her attorneys'
                her attorneys’ fees and costs;
                               fees and costs; and
                                               and




                                                  27
                                                  27
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 141 of 157 PageID #:6131




        (v)
        (v)     such other
                such other and
                           and further
                               further relief
                                       relief as
                                              as this
                                                 this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

               Count III
               Count III —
                         — Violation
                           Violation of
                                     of Title
                                        Title VII
                                              VII of
                                                  of the
                                                     the Civil
                                                         Civil Rights
                                                               Rights Act
                                                                      Act of
                                                                          of 1964
                                                                             1964

COMPLAINT ¶105:
COMPLAINT ¶105:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 93 as if
                                                                           93 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 105.
                                                                 105.

COMPLAINT ¶106:
COMPLAINT ¶106:

        At all
        At all times
               times material
                     material to
                              to this
                                 this Complaint,
                                      Complaint, Rush
                                                  Rush was
                                                        was an
                                                            an employer   within the
                                                               employer within   the meaning
                                                                                     meaning of
                                                                                             of Title
                                                                                                Title
VII, §
VII, § 2000e,
       2000e, and
               and employed   more than
                   employed more     than the
                                          the statutory
                                              statutory minimum
                                                        minimum of
                                                                 of fifteen
                                                                    fifteen employees.
                                                                            employees.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed more
employed more than
              than 15
                   15 employees. Rush denies
                      employees. Rush denies the
                                             the remaining
                                                 remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

106.
106.

COMPLAINT ¶107:
COMPLAINT ¶107:

      Rush discriminated
      Rush               against Melgoza
           discriminated against Melgoza on
                                         on the
                                            the basis
                                                basis of
                                                      of her
                                                         her gender,
                                                             gender, female, in violation
                                                                     female, in violation of
                                                                                          of §
                                                                                             §
2000e-2.
2000e-2.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 107.
                                                           107.




                                                  28
                                                  28
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 142 of 157 PageID #:6132




COMPLAINT ¶108:
COMPLAINT ¶108:

        Similarly-situated male employees
        Similarly-situated male employees at
                                          at Rush
                                             Rush did
                                                  did not
                                                      not receive
                                                          receive the
                                                                  the same
                                                                      same treatment
                                                                           treatment as
                                                                                     as Melgoza.
                                                                                        Melgoza.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 108.
                                                           108.

COMPLAINT ¶109:
COMPLAINT ¶109:

        Rush created
        Rush created aa hostile
                        hostile working
                                working environment
                                        environment for Melgoza due
                                                    for Melgoza due to
                                                                    to Melgoza's
                                                                       Melgoza’s gender.
                                                                                 gender.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 109.
                                                           109.

COMPLAINT ¶110:
COMPLAINT ¶110:

       Rush’s violations
       Rush's  violations of
                          of Melgoza's
                             Melgoza’s rights
                                       rights under
                                              under Title
                                                    Title VII
                                                          VII caused
                                                              caused her
                                                                     her significant
                                                                         significant emotional,
                                                                                     emotional,
physical, and
physical, and monetary
              monetary harm.
                        harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 110.
                                                           110.

COMPLAINT ¶111:
COMPLAINT ¶111:

        Rush’s violations
        Rush's violations of
                          of Melgoza's
                             Melgoza’s rights
                                       rights under
                                              under Title VII were
                                                    Title VII were willful.
                                                                   willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 111.
                                                           111.

COMPLAINT
COMPLAINT PRAYER 3:
          PRAYER 3:

         WHEREFORE, Plaintiff,
         WHEREFORE,      Plaintiff, Norma
                                    Norma Melgoza,
                                          Melgoza, respectfully
                                                    respectfully requests
                                                                 requests that
                                                                          that this
                                                                               this Court,
                                                                                    Court, after
                                                                                           after aa jury
                                                                                                    jury
trial, enter
trial, enter judgment
             judgment in  her favor
                      in her         and against
                              favor and  against Defendant,
                                                 Defendant, Rush
                                                             Rush University
                                                                   University Medical
                                                                                Medical Center,
                                                                                         Center, and and
award damages
award   damages equal  to:
                 equal to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    restoration of
                restoration of Melgoza's
                               Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iii)
        (iii)   compensatory damages;
                compensatory damages;

        (iv)
        (iv)    punitive damages;
                punitive damages;

        (v)
        (v)     her attorneys'
                her attorneys’ fees
                               fees and
                                    and costs;
                                        costs; and
                                               and


                                                  29
                                                  29
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 143 of 157 PageID #:6133




        (vi)
        (vi)    such other
                such other and
                           and further
                               further relief as this
                                       relief as this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

               Count
               Count IV — Violation
                     IV — Violation of
                                    of Title
                                       Title VII
                                             VII of
                                                 of the
                                                    the Civil Rights Act
                                                        Civil Rights Act of
                                                                         of 1964
                                                                            1964

COMPLAINT ¶112:
COMPLAINT ¶112:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 93 as if
                                                                           93 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 112.
                                                                 112.

COMPLAINT ¶113:
COMPLAINT ¶113:

        At all
        At all times
               times material
                     material to
                              to this
                                 this Complaint,
                                      Complaint, Rush
                                                  Rush was
                                                        was an
                                                            an employer   within the
                                                               employer within   the meaning
                                                                                     meaning of
                                                                                             of Title
                                                                                                Title
VII, §
VII, § 2000e,
       2000e, and
               and employed   more than
                   employed more     than the
                                          the statutory
                                              statutory minimum
                                                        minimum of
                                                                 of fifteen
                                                                    fifteen employees.
                                                                            employees.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed more
employed more than
              than 15
                   15 employees. Rush denies
                      employees. Rush denies the
                                             the remaining
                                                 remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

113.
113.

COMPLAINT ¶114:
COMPLAINT ¶114:

      Rush discriminated
      Rush                   against Melgoza
             discriminated against   Melgoza on
                                             on the
                                                the basis
                                                    basis of
                                                          of her
                                                             her national
                                                                 national origin,
                                                                          origin, Mexican-
                                                                                  Mexican-
American, in
American, in violation
             violation of
                       of §
                          § 2000e-2.
                            2000e-2.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 114.
                                                           114.




                                                  30
                                                  30
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 144 of 157 PageID #:6134




COMPLAINT ¶115:
COMPLAINT ¶115:

       Similarly-situated employees not
       Similarly-situated employees not of
                                        of Mexican-American
                                           Mexican-American origin
                                                            origin at
                                                                   at Rush
                                                                      Rush did not receive
                                                                           did not receive the
                                                                                           the
same treatment
same treatment as
               as Melgoza.
                  Melgoza.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 115.
                                                           115.

COMPLAINT ¶116:
COMPLAINT ¶116:

      Rush created
      Rush created aa hostile
                      hostile working
                              working environment
                                      environment for Melgoza due
                                                  for Melgoza due to
                                                                  to Melgoza's
                                                                     Melgoza’s national
                                                                               national origin,
                                                                                        origin,
Mexican-American.
Mexican-American.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 116
                                                           116

COMPLAINT ¶117:
COMPLAINT ¶117:

       Rush’s violations
       Rush's  violations of
                          of Melgoza's
                             Melgoza’s rights
                                       rights under
                                              under Title
                                                    Title VII
                                                          VII caused
                                                              caused her
                                                                     her significant
                                                                         significant emotional,
                                                                                     emotional,
physical, and
physical, and monetary
              monetary harm.
                        harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 117
                                                           117

COMPLAINT ¶118:
COMPLAINT ¶118:

        Rush’s violations
        Rush's violations of
                          of Melgoza's
                             Melgoza’s rights
                                       rights under
                                              under Title VII were
                                                    Title VII were willful.
                                                                   willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 118
                                                           118

COMPLAINT
COMPLAINT PRAYER
          PRAYER 4:
                 4:

         WHEREFORE, Plaintiff,
         WHEREFORE,       Plaintiff, Norma
                                     Norma Melgoza,
                                           Melgoza, respectfully
                                                     respectfully requests
                                                                  requests that
                                                                           that this
                                                                                this Court,
                                                                                     Court, after
                                                                                            after aa jury
                                                                                                     jury
trial, enter
trial, enter judgment
             judgment in   her favor
                       in her         and against
                               favor and  against Defendant,
                                                  Defendant, Rush
                                                              Rush University
                                                                    University Medical
                                                                                 Medical Center,
                                                                                          Center, and and
award   damages  equal
award damages equal to: to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    restoration of
                restoration of Melgoza's
                               Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iii)
        (iii)   compensatory damages;
                compensatory damages;

        (iv)
        (iv)    punitive damages;
                punitive damages;


                                                   31
                                                   31
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 145 of 157 PageID #:6135




        (v)
        (v)     her attorneys'
                her attorneys’ fees
                               fees and
                                    and costs;
                                        costs; and
                                               and

        (vi)
        (vi)    such other
                such other and
                           and further
                               further relief as this
                                       relief as this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

               Count V
               Count V—— Violation
                         Violation of
                                   of Title VII of
                                      Title VII of the
                                                   the Civil Rights Act
                                                       Civil Rights Act of
                                                                        of 1964
                                                                           1964

COMPLAINT ¶119:
COMPLAINT ¶119:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 93 as if
                                                                           93 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 119.
                                                                 119.

COMPLAINT ¶120:
COMPLAINT ¶120:

        At all
        At all times
               times material
                     material to
                              to this
                                 this Complaint,
                                      Complaint, Rush
                                                  Rush was
                                                        was an
                                                            an employer   within the
                                                               employer within   the meaning
                                                                                     meaning of
                                                                                             of Title
                                                                                                Title
VII, §
VII, § 2000e,
       2000e, and
               and employed   more than
                   employed more     than the
                                          the statutory
                                              statutory minimum
                                                        minimum of
                                                                 of fifteen
                                                                    fifteen employees.
                                                                            employees.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed more
employed more than
              than 15
                   15 employees. Rush denies
                      employees. Rush denies the
                                             the remaining
                                                 remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

120.
120.

COMPLAINT ¶121:
COMPLAINT ¶121:

        Rush illegally
        Rush illegally retaliated
                       retaliated against
                                  against Melgoza
                                          Melgoza for
                                                  for exercising
                                                      exercising her
                                                                 her rights under Title
                                                                     rights under       VII.
                                                                                  Title VII.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 121.
                                                           121.



                                                  32
                                                  32
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 146 of 157 PageID #:6136




COMPLAINT ¶122:
COMPLAINT ¶122:

        Similarly-situated male employees
        Similarly-situated male   employees at
                                            at Rush
                                               Rush who
                                                    who did  not exercise
                                                         did not exercise their
                                                                          their rights
                                                                                rights under
                                                                                       under Title
                                                                                             Title
VII at
VII at Rush
       Rush did
            did not
                not receive
                     receive the
                             the same
                                 same treatment
                                      treatment as
                                                as Melgoza.
                                                   Melgoza.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 122.
                                                           122.

COMPLAINT ¶123:
COMPLAINT ¶123:

       Similarly-situated
       Similarly-situated employees
                            employees not   of Mexican-American
                                       not of  Mexican-American national
                                                                   national origin
                                                                            origin at
                                                                                   at Rush
                                                                                      Rush who
                                                                                           who did
                                                                                               did
not exercise
not exercise their
             their rights
                   rights under
                          under Title VII did
                                Title VII did not
                                              not receive
                                                  receive the
                                                          the same
                                                              same treatment
                                                                   treatment as
                                                                             as Melgoza.
                                                                                Melgoza.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 123.
                                                           123.

COMPLAINT ¶124:
COMPLAINT ¶124:

      Rush’s illegal
      Rush's illegal retaliation against Melgoza
                     retaliation against Melgoza caused
                                                 caused her
                                                        her significant
                                                            significant emotional, physical, and
                                                                        emotional, physical, and
monetary harm.
monetary harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 124.
                                                           124.

COMPLAINT ¶125:
COMPLAINT ¶125:

        Rush’s illegal
        Rush's illegal retaliation
                       retaliation against
                                   against Melgoza
                                           Melgoza was
                                                   was willful.
                                                       willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 125.
                                                           125.

COMPLAINT
COMPLAINT PRAYER 5:
          PRAYER 5:

         WHEREFORE, Plaintiff,
         WHEREFORE,       Plaintiff, Norma
                                     Norma Melgoza,
                                           Melgoza, respectfully
                                                     respectfully requests
                                                                  requests that
                                                                           that this
                                                                                this Court,
                                                                                     Court, after
                                                                                            after aa jury
                                                                                                     jury
trial, enter
trial, enter judgment
             judgment in   her favor
                       in her         and against
                               favor and  against Defendant,
                                                  Defendant, Rush
                                                              Rush University
                                                                    University Medical
                                                                                 Medical Center,
                                                                                          Center, and and
award   damages  equal
award damages equal to: to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    restoration of
                restoration of Melgoza's
                               Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iii)
        (iii)   compensatory damages;
                compensatory damages;

        (iv)
        (iv)    punitive damages;
                punitive damages;


                                                   33
                                                   33
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 147 of 157 PageID #:6137




        (v)
        (v)     her attorneys'
                her attorneys’ fees
                               fees and
                                    and costs;
                                        costs; and
                                               and

        (vi)
        (vi)    such other
                such other and
                           and further
                               further relief as this
                                       relief as this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.

                      Count VI —
                      Count VI — Violation
                                 Violation of
                                           of Illinois
                                              Illinois Human Rights Act
                                                       Human Rights Act

COMPLAINT ¶126:
COMPLAINT ¶126:

        Melgoza incorporates
        Melgoza              paragraphs 11 through
                incorporates paragraphs    through 93 as though
                                                   93 as though fully
                                                                fully stated
                                                                      stated here.
                                                                             here.

ANSWER:
ANSWER:

        Rush incorporates
        Rush incorporates its
                          its responses
                              responses to
                                        to Complaint
                                           Complaint Paragraphs
                                                     Paragraphs 11 through
                                                                   through 92 as if
                                                                           92 as if set
                                                                                    set forth fully
                                                                                        forth fully

here and
here and denies
         denies any
                any remaining
                    remaining allegations
                              allegations in
                                          in Complaint
                                             Complaint Paragraph
                                                       Paragraph 126.
                                                                 126.

COMPLAINT ¶127:
COMPLAINT ¶127:

         At all
         At all times
                times material
                      material to
                               to this
                                  this Complaint,
                                       Complaint, Rush
                                                  Rush was
                                                       was an
                                                           an employer
                                                              employer within
                                                                        within the
                                                                                the meaning
                                                                                    meaning of
                                                                                            of the
                                                                                               the
Illinois  Human Rights
Illinois Human    Rights Act,
                         Act, §2-101(B)(1)(a),
                              §2-101(B)(1)(a), and
                                               and employed
                                                   employed more
                                                              more than
                                                                   than the
                                                                        the statutory
                                                                            statutory minimum
                                                                                      minimum ofof
fifteen employees.
fifteen  employees.

ANSWER:
ANSWER:

        Rush lacks
        Rush lacks knowledge
                   knowledge or
                             or information
                                information sufficient
                                            sufficient to
                                                       to form
                                                          form aa belief
                                                                  belief as
                                                                         as to
                                                                            to what
                                                                               what Plaintiff
                                                                                    Plaintiff

believes to
believes to be
            be "all
               “all times
                    times material
                          material to
                                   to this
                                      this Complaint."
                                           Complaint.” Rush
                                                       Rush admits
                                                            admits that,
                                                                   that, at
                                                                         at certain times, it
                                                                            certain times, it has
                                                                                              has

employed more
employed more than
              than 15
                   15 employees. Rush denies
                      employees. Rush denies the
                                             the remaining
                                                 remaining allegations
                                                           allegations in Complaint Paragraph
                                                                       in Complaint Paragraph

127.
127.

COMPLAINT ¶128:
COMPLAINT ¶128:

        Rush discriminated
        Rush  discriminated against
                            against Melgoza
                                    Melgoza on
                                            on the
                                                the basis
                                                    basis of
                                                          of her  gender, female,
                                                             her gender,          and on
                                                                          female, and on the
                                                                                         the basis
                                                                                             basis of
                                                                                                   of
her national
her national origin,
             origin, Mexican-American,
                     Mexican-American, in
                                        in violation
                                           violation of
                                                     of the
                                                        the Illinois
                                                             Illinois Human
                                                                      Human Rights
                                                                             Rights Act.
                                                                                    Act.




                                                  34
                                                  34
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 148 of 157 PageID #:6138




ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 128.
                                                          128.

COMPLAINT ¶129:
COMPLAINT ¶129:

       Similarly situated male
       Similarly situated male employees
                               employees at
                                         at Rush
                                            Rush did
                                                 did not
                                                     not receive
                                                         receive the
                                                                 the same
                                                                     same treatment
                                                                          treatment as
                                                                                    as Melgoza.
                                                                                       Melgoza.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 129.
                                                          129.

COMPLAINT ¶130:
COMPLAINT ¶130:

        Similarly-situated
        Similarly-situated employees
                           employees not of Mexican-American
                                     not of Mexican-American national
                                                             national origin
                                                                      origin at
                                                                             at Rush
                                                                                Rush did
                                                                                     did not
                                                                                         not
receive the
receive the same
            same treatment
                  treatment as
                            as Melgoza.
                               Melgoza.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 130.
                                                          130.

COMPLAINT ¶131:
COMPLAINT ¶131:

       Rush created
       Rush created aa hostile
                       hostile working
                               working environment
                                       environment for Melgoza due
                                                   for Melgoza due to
                                                                   to Melgoza's
                                                                      Melgoza’s gender.
                                                                                gender.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 131.
                                                          131.

COMPLAINT ¶132:
COMPLAINT ¶132:

      Rush created
      Rush created aa hostile
                      hostile working
                              working environment
                                      environment for Melgoza due
                                                  for Melgoza due to
                                                                  to Melgoza's
                                                                     Melgoza’s national
                                                                               national origin,
                                                                                        origin,
Mexican-American.
Mexican-American.

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 132.
                                                          132.

COMPLAINT ¶133:
COMPLAINT ¶133:

       Rush retaliated
       Rush             against Melgoza
             retaliated against Melgoza for
                                        for exercising her rights
                                            exercising her rights in violation of
                                                                  in violation of the
                                                                                  the Illinois Human
                                                                                      Illinois Human
Rights Act,
Rights Act, §6-101(A).
            §6-101(A).

ANSWER:
ANSWER:

       Rush denies
       Rush denies the
                   the allegations
                       allegations in Complaint Paragraph
                                   in Complaint Paragraph 133.
                                                          133.




                                                35
                                                35
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 149 of 157 PageID #:6139




COMPLAINT ¶134:
COMPLAINT ¶134:

      Rush’s violations
      Rush's violations of
                        of the
                           the Illinois Human Rights
                               Illinois Human Rights Act
                                                     Act caused
                                                         caused her
                                                                her significant
                                                                    significant emotional
                                                                                emotional and
                                                                                          and
monetary harm.
monetary harm.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 134.
                                                           134.

COMPLAINT ¶135:
COMPLAINT ¶135:

        Rush’s violations
        Rush's violations of
                          of the
                             the Illinois
                                 Illinois Human
                                          Human Rights
                                                Rights Act
                                                       Act were
                                                           were willful.
                                                                willful.

ANSWER:
ANSWER:

        Rush denies
        Rush denies the
                    the allegations
                        allegations in Complaint Paragraph
                                    in Complaint Paragraph 135.
                                                           135.

COMPLAINT
COMPLAINT PRAYER 6:
          PRAYER 6:

         WHEREFORE, Plaintiff,
         WHEREFORE,      Plaintiff, Norma
                                    Norma Melgoza,
                                          Melgoza, respectfully
                                                    respectfully requests
                                                                 requests that
                                                                          that this
                                                                               this Court,
                                                                                    Court, after
                                                                                           after aa jury
                                                                                                    jury
trial, enter
trial, enter judgment
             judgment in  her favor
                      in her         and against
                              favor and  against Defendant,
                                                 Defendant, Rush
                                                             Rush University
                                                                   University Medical
                                                                                Medical Center,
                                                                                         Center, and and
award damages
award   damages equal  to:
                 equal to:

        (i)
        (i)     all back
                all back pay
                         pay lost as aa result
                             lost as           of the
                                        result of the failure to pay
                                                      failure to pay equal
                                                                     equal wages
                                                                           wages and
                                                                                 and the
                                                                                     the demotion;
                                                                                         demotion;

        (ii)
        (ii)    restoration of
                restoration of Melgoza's
                               Melgoza’s title
                                         title and
                                               and position
                                                   position at
                                                            at Rush
                                                               Rush prior
                                                                    prior to
                                                                          to the
                                                                             the demotion
                                                                                 demotion or
                                                                                          or
                equivalent front
                equivalent  front pay;
                                  pay;

        (iii)
        (iii)   compensatory damages;
                compensatory damages;

        (iv)
        (iv)    punitive damages;
                punitive damages;

        (v)
        (v)     her attorneys'
                her attorneys’ fees
                               fees and
                                    and costs;
                                        costs; and
                                               and

        (vi)
        (vi)    such other
                such other and
                           and further
                               further relief as this
                                       relief as this Court
                                                      Court deems just and
                                                            deems just and proper
                                                                           proper under
                                                                                  under the
                                                                                        the
                circumstances.
                circumstances.

ANSWER:
ANSWER:

        The
        The foregoing paragraph constitutes
            foregoing paragraph constitutes Plaintiff's
                                            Plaintiff’s prayer
                                                        prayer for
                                                               for relief, to which
                                                                   relief, to which no
                                                                                    no response
                                                                                       response is
                                                                                                is

required. To
required. To the
             the extent
                 extent aa response
                           response is
                                    is required,
                                       required, Rush
                                                 Rush denies
                                                      denies the
                                                             the allegations
                                                                 allegations stated
                                                                             stated and
                                                                                    and denies
                                                                                        denies that
                                                                                               that

Plaintiff is
Plaintiff is entitled
             entitled to
                      to any
                         any relief
                             relief whatsoever.
                                    whatsoever.




                                                  36
                                                  36
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 150 of 157 PageID #:6140




                           AFFIRMATIVE AND
                           AFFIRMATIVE AND ADDITIONAL
                                           ADDITIONAL DEFENSES
                                                      DEFENSES

        1.
        1.       To the extent
                 To the extent Plaintiff
                               Plaintiff failed to exercise
                                         failed to exercise reasonable diligence in
                                                            reasonable diligence in the
                                                                                    the mitigation
                                                                                        mitigation of
                                                                                                   of

damages, she
damages, she is
             is not
                not entitled
                    entitled to
                             to relief.
                                relief.

        2.
        2.       Plaintiff’s claims
                 Plaintiff's claims are
                                    are barred
                                        barred to
                                               to the
                                                  the extent
                                                      extent they
                                                             they occurred
                                                                  occurred and/or
                                                                           and/or accrued
                                                                                  accrued outside
                                                                                          outside of
                                                                                                  of

the applicable
the applicable statute
               statute of
                       of limitations.
                          limitations.

        3.
        3.       Plaintiff’s claims
                 Plaintiff's claims are
                                    are barred
                                        barred to
                                               to the
                                                  the extent
                                                      extent relief
                                                             relief is
                                                                    is sought
                                                                       sought for actions outside
                                                                              for actions outside the
                                                                                                  the

scope of
scope of her
         her EEOC charge.
             EEOC charge.

        4.
        4.       All or
                 All or part
                        part of
                             of Plaintiff's
                                Plaintiff’s claims
                                            claims under
                                                   under Title
                                                         Title VII
                                                               VII are
                                                                   are barred
                                                                       barred to
                                                                              to the
                                                                                 the extent
                                                                                     extent they
                                                                                            they fall
                                                                                                 fall

outside of
outside of the
           the 300-day
               300-day statute
                       statute of
                               of limitations
                                  limitations for filing aa charge
                                              for filing    charge of
                                                                   of discrimination.
                                                                      discrimination.

        5.
        5.       Plaintiff is
                 Plaintiff is not
                              not entitled
                                  entitled to
                                           to punitive
                                              punitive damages
                                                       damages or
                                                               or other
                                                                  other damages because Defendant
                                                                        damages because Defendant

made good
made good faith
          faith efforts to comply
                efforts to        with all
                           comply with all applicable
                                           applicable statutes
                                                      statutes and
                                                               and common
                                                                   common laws and acted
                                                                          laws and acted at
                                                                                         at all
                                                                                            all

times to
times to protect
         protect Plaintiffs
                 Plaintiff’s statutorily-protected
                             statutorily-protected rights.
                                                   rights.

        6.
        6.       Plaintiff’s claims
                 Plaintiff's claims arising
                                    arising under
                                            under the
                                                  the Equal Pay Act
                                                      Equal Pay Act are
                                                                    are barred
                                                                        barred to
                                                                               to the
                                                                                  the extent
                                                                                      extent she
                                                                                             she

seeks relief
seeks        for acts
      relief for acts falling outside of
                      falling outside of the
                                         the applicable
                                             applicable statutes
                                                        statutes of
                                                                 of limitations.
                                                                    limitations.

        7.
        7.       Plaintiff’s claims
                 Plaintiff's claims arising
                                    arising under
                                            under the
                                                  the Equal Pay Act
                                                      Equal Pay Act fail because any
                                                                    fail because any alleged
                                                                                     alleged

discrepancy in
discrepancy    pay was
            in pay was the
                       the result
                           result of
                                  of factors
                                     factors other
                                             other than
                                                   than sex.
                                                        sex.

        8.
        8.       To the extent
                 To the extent Plaintiff
                               Plaintiff alleges
                                         alleges that
                                                 that any
                                                      any employee of Defendant
                                                          employee of Defendant acted
                                                                                acted in
                                                                                      in an
                                                                                         an

unlawful manner,
unlawful manner, such
                 such conduct,
                      conduct, if it occurred,
                               if it occurred, was
                                               was outside
                                                   outside the
                                                           the course
                                                               course and
                                                                      and scope
                                                                          scope of
                                                                                of that
                                                                                   that

individual’s employment,
individual's employment, was
                         was not
                             not authorized
                                 authorized or
                                            or condoned
                                               condoned by
                                                        by Defendant,
                                                           Defendant, and
                                                                      and was
                                                                          was undertaken
                                                                              undertaken

without the
without the knowledge
            knowledge or
                      or consent
                         consent of
                                 of Defendant.
                                    Defendant. Thus, Defendant is
                                               Thus, Defendant    not liable
                                                               is not liable for any such
                                                                             for any such

conduct, if
conduct, if it occurred.
            it occurred.

        9.
        9.       Defendant denies
                 Defendant denies that
                                  that gender or national
                                       gender or national origin
                                                          origin were
                                                                 were factors or motives
                                                                      factors or motives in any of
                                                                                         in any of

the employment
the employment decisions
               decisions concerning Plaintiff. However,
                         concerning Plaintiff. However, in the event
                                                        in the       that the
                                                               event that the fact
                                                                              fact finder
                                                                                   finder




                                                    37
                                                    37
 Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 151 of 157 PageID #:6141




determines otherwise,
determines otherwise, Defendant
                      Defendant avers
                                avers that
                                      that it would have
                                           it would have made
                                                         made the
                                                              the same
                                                                  same decisions
                                                                       decisions even
                                                                                 even in the
                                                                                      in the

absence of
absence of any
           any alleged
               alleged impermissible
                       impermissible factor/motivation.
                                     factor/motivation.

       10.
       10.       Plaintiff is
                 Plaintiff is barred
                              barred from
                                     from relief
                                          relief because
                                                 because Defendant
                                                         Defendant exercised
                                                                   exercised reasonable care to
                                                                             reasonable care to

prevent and
prevent and correct any harassing
            correct any harassing conduct
                                  conduct and
                                          and Plaintiff
                                              Plaintiff unreasonably
                                                        unreasonably failed to take
                                                                     failed to take advantage
                                                                                    advantage of
                                                                                              of

the preventive
the preventive or
               or corrective opportunities provided
                  corrective opportunities provided by
                                                    by Defendant
                                                       Defendant or
                                                                 or to
                                                                    to avoid
                                                                       avoid harm
                                                                             harm otherwise.
                                                                                  otherwise.

       11.
       11.       Any relief
                 Any relief to
                            to which
                               which Plaintiffs
                                     Plaintiffs may
                                                may be
                                                    be entitled
                                                       entitled is
                                                                is barred
                                                                   barred or
                                                                          or otherwise
                                                                             otherwise affected
                                                                                       affected by
                                                                                                by

the after-acquired
the after-acquired evidence doctrine.
                   evidence doctrine.

                    COUNTERCLAIM FOR
                    COUNTERCLAIM     DECLARATORY JUDGMENT
                                 FOR DECLARATORY JUDGMENT

         Defendant/Counterclaimant Rush
         Defendant/Counterclaimant Rush University
                                        University Medical
                                                   Medical Center
                                                           Center ("Counterclaimant"
                                                                  (“Counterclaimant” or
                                                                                     or

 “Rush”) hereby
 "Rush")        files this
         hereby files this counterclaim
                           counterclaim for declaratory judgment
                                        for declaratory judgment against
                                                                 against Plaintiff/Counterclaim-
                                                                         Plaintiff/Counterclaim-

 Defendant ("Counterclaim-Defendant"
 Defendant (“Counterclaim-Defendant” or
                                     or "Melgoza"),
                                        “Melgoza”), stating
                                                    stating as
                                                            as follows:
                                                               follows:

                                          Nature of
                                          Nature of the
                                                    the Action
                                                        Action

         1.
         1.      Rush seeks
                 Rush seeks declaratory
                            declaratory relief
                                        relief pursuant
                                               pursuant to
                                                        to 28
                                                           28 U.S.C.
                                                              U.S.C. §
                                                                     § 2201
                                                                       2201 because
                                                                            because Melgoza
                                                                                    Melgoza is
                                                                                            is

 actively pursuing
 actively pursuing claims
                   claims regarding
                          regarding her
                                    her July 2020 termination
                                        July 2020 termination resulting from aa COVID-19
                                                              resulting from    COVID-19

 reduction in
 reduction in force
              force in
                    in aa separate
                          separate proceeding
                                   proceeding rather
                                              rather than
                                                     than asserting
                                                          asserting them
                                                                    them in this case.
                                                                         in this       Melgoza’s
                                                                                 case. Melgoza's

 efforts are
 efforts are aa misuse
                misuse of
                       of the
                          the judicial
                              judicial process
                                       process and
                                               and an
                                                   an effort
                                                      effort to
                                                             to inflict
                                                                inflict harm
                                                                        harm upon
                                                                             upon Rush.
                                                                                  Rush. The parties
                                                                                        The parties

 remain in
 remain in an
           an active
              active dispute
                     dispute regarding
                             regarding whether
                                       whether Melgoza's
                                               Melgoza’s termination
                                                         termination claims
                                                                     claims may
                                                                            may proceed
                                                                                proceed in
                                                                                        in aa

 separate action,
 separate action, and
                  and that
                      that dispute
                           dispute will
                                   will continue
                                        continue until
                                                 until aa court
                                                          court definitively
                                                                definitively declares
                                                                             declares whether
                                                                                      whether Melgoza's
                                                                                              Melgoza’s

 termination claims
 termination claims may
                    may continue in aa second
                        continue in    second action,
                                              action, or
                                                      or whether,
                                                         whether, to
                                                                  to the
                                                                     the contrary, they are
                                                                         contrary, they are barred
                                                                                            barred

 under the
 under the doctrines
           doctrines of
                     of res
                        res judicata
                            judicata and/or
                                     and/or impermissible
                                            impermissible claim splitting. In
                                                          claim splitting.    the absence
                                                                           In the absence of
                                                                                          of such
                                                                                             such aa

 declaration, the
 declaration, the parties'
                  parties’ dispute
                           dispute will
                                   will continue to fester,
                                        continue to fester, resulting
                                                            resulting in
                                                                      in parallel
                                                                         parallel lawsuits,
                                                                                  lawsuits, the
                                                                                            the possibility
                                                                                                possibility

 of conflicting
 of conflicting verdicts,
                verdicts, potential
                          potential double recovery to
                                    double recovery to Melgoza,
                                                       Melgoza, and
                                                                and great
                                                                    great and
                                                                          and unnecessary
                                                                              unnecessary expense
                                                                                          expense

 to Rush,
 to Rush, among
          among other
                other things.
                      things.




                                                    38
                                                    38
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 152 of 157 PageID #:6142



                                              Parties
                                              Parties

       2.
       2.      Rush is
               Rush is aa not-for-profit healthcare corporation
                          not-for-profit healthcare corporation with
                                                                with aa principal
                                                                        principal place
                                                                                  place of
                                                                                        of business
                                                                                           business at
                                                                                                    at

1653 West
1653 West Congress
          Congress Parkway,
                   Parkway, Chicago,
                            Chicago, Illinois
                                     Illinois 60612.
                                              60612.

       3.
       3.      Melgoza is
               Melgoza is aa former employee of
                             former employee of Rush
                                                Rush who
                                                     who resides
                                                         resides in this district.
                                                                 in this district.

                                     Jurisdiction and
                                     Jurisdiction and Venue
                                                      Venue

       4.
       4.      This Court has
               This Court has jurisdiction
                              jurisdiction over
                                           over Rush's
                                                Rush’s counterclaim
                                                       counterclaim for
                                                                    for declaratory relief pursuant
                                                                        declaratory relief pursuant

to 28
to 28 U.S.C.
      U.S.C. §
             § 1367(a)
               1367(a) because
                       because the
                               the claim
                                   claim arises
                                         arises out
                                                out of
                                                    of the
                                                       the same
                                                           same case
                                                                case or
                                                                     or controversy
                                                                        controversy as
                                                                                    as Melgoza's
                                                                                       Melgoza’s

claims against
claims against Rush.
               Rush.

       5.
       5.      Venue is
               Venue    proper in
                     is proper in this
                                  this District
                                       District pursuant
                                                pursuant to
                                                         to 28
                                                            28 U.S.C.
                                                               U.S.C. §
                                                                      § 1391(b)
                                                                        1391(b) because
                                                                                because aa

substantial part
substantial part of
                 of the
                    the events
                        events or
                               or omissions
                                  omissions giving
                                            giving rise
                                                   rise to
                                                        to the
                                                           the claim
                                                               claim occurred
                                                                     occurred within
                                                                              within this
                                                                                     this District.
                                                                                          District.

                                       Factual Background
                                       Factual Background

       6.
       6.      Melgoza commenced
               Melgoza commenced employment with Rush
                                 employment with Rush in
                                                      in 2006
                                                         2006 as
                                                              as an
                                                                 an Assistant
                                                                    Assistant Vice
                                                                              Vice

President.
President.

       7.
       7.      On July
               On      24, 2018,
                  July 24, 2018, Melgoza
                                 Melgoza filed an Amended
                                         filed an Amended Complaint
                                                          Complaint ("Complaint")
                                                                    (“Complaint”) against
                                                                                  against

Rush in
Rush    the Northern
     in the Northern District
                     District of
                              of Illinois, Case No.
                                 Illinois, Case No. 1:17-cv-06819
                                                    1:17-cv-06819 (the
                                                                  (the "Litigation"),
                                                                       “Litigation”), asserting
                                                                                      asserting six
                                                                                                six

claims under
claims under the
             the Equal Pay Act
                 Equal Pay Act of
                               of 1963;
                                  1963; Title VII of
                                        Title VII of the
                                                     the Civil
                                                         Civil Rights
                                                               Rights Act
                                                                      Act of
                                                                          of 1964
                                                                             1964 ("Title
                                                                                  (“Title VII");
                                                                                          VII”);

and the
and the Illinois Human Rights
        Illinois Human Rights Act.
                              Act. The
                                   The Litigation
                                       Litigation is currently pending.
                                                  is currently pending.

       8.
       8.      In support of
               In support of her
                             her claims, Melgoza alleges
                                 claims, Melgoza alleges that
                                                         that Rush
                                                              Rush discriminated
                                                                   discriminated against
                                                                                 against her
                                                                                         her based
                                                                                             based

on sex
on sex and
       and national
           national origin
                    origin by
                           by paying
                              paying her
                                     her less
                                         less than
                                              than coworkers
                                                   coworkers outside
                                                             outside of
                                                                     of her
                                                                        her protected
                                                                            protected categories,
                                                                                      categories,

failing to
failing to promote
           promote her,
                   her, and
                        and harassing
                            harassing her.
                                      her.       Notably, Melgoza's
                                                 Notably, Melgoza’s Complaint
                                                                    Complaint alleges
                                                                              alleges "Rush's
                                                                                      “Rush’s

discrimination and
discrimination and retaliation
                   retaliation continues.”
                               continues."

       9.
       9.      On July
               On      14, 2020,
                  July 14, 2020, Rush
                                 Rush advised
                                      advised Melgoza
                                              Melgoza that
                                                      that her
                                                           her position
                                                               position was
                                                                        was being
                                                                            being eliminated
                                                                                  eliminated

effective July
effective      19, 2020
          July 19, 2020 in
                        in aa COVID-19
                              COVID-19 related
                                       related reduction
                                               reduction in
                                                         in force (“RIF”) impacting
                                                            force ("RIF") impacting more
                                                                                    more than
                                                                                         than 230
                                                                                              230

employees.
employees.



                                                 39
                                                 39
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 153 of 157 PageID #:6143



       10.
       10.     Immediately after learning
               Immediately after learning of
                                          of her
                                             her termination,
                                                 termination, on
                                                              on July 15, 2020,
                                                                 July 15, 2020, Melgoza
                                                                                Melgoza filed
                                                                                        filed aa

motion to
motion to amend
          amend her
                her Complaint
                    Complaint ("Motion
                              (“Motion to
                                       to Amend")
                                          Amend”) in the Litigation
                                                  in the            and attached
                                                         Litigation and attached aa draft
                                                                                    draft Second
                                                                                          Second

Amended Complaint
Amended Complaint ("SAC")
                  (“SAC”) including
                          including new
                                    new allegations
                                        allegations based
                                                    based on
                                                          on her
                                                             her termination.
                                                                 termination.

       11.
       11.     In her Motion
               In her Motion to
                             to Amend,
                                Amend, Melgoza
                                       Melgoza acknowledged
                                               acknowledged that
                                                            that her
                                                                 her termination
                                                                     termination allegations
                                                                                 allegations

inherently relate
inherently relate to
                  to the
                     the claims in her
                         claims in her Complaint:
                                       Complaint:

       [T]hough [Melgoza's]
       [T]hough      [Melgoza’s] Second        Amended Complaint
                                      Second Amended       Complaint incorporates
                                                                       incorporates new new
       allegations, it
       allegations,   it does
                         does not
                               not raise
                                    raise new
                                          new claims...her
                                               claims…her July    14, 2020
                                                             July 14, 2020 termination
                                                                            termination is is
       the culmination
       the culmination of  of Rush's
                               Rush’s years'
                                        years’ long
                                               long continuing
                                                     continuing campaign
                                                                  campaign ofof retaliation
                                                                                 retaliation
       against [Melgoza]
       against   [Melgoza] forfor the
                                   the protected
                                       protected activity
                                                  activity alleged
                                                           alleged in
                                                                   in her
                                                                      her prior
                                                                           prior pleadings
                                                                                  pleadings
       as well
       as well asas the
                    the instant
                         instant litigation.  [Melgoza] does
                                 litigation. [Melgoza]    does not
                                                               not seek
                                                                   seek to
                                                                         to add
                                                                            add additional
                                                                                 additional
       counts to
       counts   to her
                   her Amended
                       Amended Complaint
                                    Complaint asas her
                                                   her recent
                                                       recent termination
                                                              termination is  an extension
                                                                           is an  extension
       of the
       of the same
               same underlying
                      underlying facts     previously alleged
                                     facts previously  alleged and
                                                               and violative
                                                                    violative of
                                                                               of the
                                                                                   the same
                                                                                       same
            f.]
       laws[.]
       laws


       12.
       12.     The
               The SAC added roughly
                   SAC added roughly four
                                     four full pages of
                                          full pages of allegations
                                                        allegations related
                                                                    related to
                                                                            to her
                                                                               her termination
                                                                                   termination and
                                                                                               and

asserted that
asserted that her
              her inclusion
                  inclusion in the RIF
                            in the RIF was
                                       was further indicia of
                                           further indicia of Rush's
                                                              Rush’s discriminatory
                                                                     discriminatory and
                                                                                    and retaliatory
                                                                                        retaliatory

animus toward
animus toward her.
              her. It
                   It did
                      did not
                          not contain
                              contain any
                                      any new
                                          new allegations
                                              allegations of
                                                          of discriminatory
                                                             discriminatory or
                                                                            or retaliatory
                                                                               retaliatory motives
                                                                                           motives

or animus.
or animus. Nor
           Nor did
               did it
                   it assert
                      assert that
                             that she
                                  she engaged
                                      engaged in
                                              in new
                                                 new protected
                                                     protected activity.
                                                               activity. To
                                                                         To the
                                                                            the contrary,
                                                                                contrary, Melgoza
                                                                                          Melgoza

simply alleged
simply alleged that
               that "[s]ince
                    “[s]ince 2013,
                             2013, Rush
                                   Rush has
                                        has engaged
                                            engaged in
                                                    in aa continuing campaign of
                                                          continuing campaign of retaliation against
                                                                                 retaliation against

Melgoza for
Melgoza for her
            her abovementioned
                abovementioned protected
                               protected activity,
                                         activity, culminating
                                                   culminating in her July
                                                               in her      14, 2020
                                                                      July 14, 2020 termination
                                                                                    termination

of employment[.]"
of employment[.]”

       13.
       13.     On July
               On      23, 2020,
                  July 23, 2020, Melgoza
                                 Melgoza submitted
                                         submitted aa letter requesting withdrawal
                                                      letter requesting withdrawal of
                                                                                   of her
                                                                                      her Motion
                                                                                          Motion

to Amend
to Amend in order "to
         in order “to move
                      move forward with the
                           forward with the claims
                                            claims in
                                                   in her
                                                      her First
                                                          First Amended
                                                                Amended Complaint
                                                                        Complaint as
                                                                                  as

expeditiously as
expeditiously as possible."
                 possible.” The Court granted
                            The Court         Melgoza’s request
                                      granted Melgoza's request to
                                                                to withdraw
                                                                   withdraw her
                                                                            her motion.
                                                                                motion.

       14.
       14.     On November
               On November 9, 2020, the
                           9, 2020, the Court
                                        Court granted
                                              granted issued
                                                      issued an
                                                             an opinion
                                                                opinion granting
                                                                        granting in
                                                                                 in part
                                                                                    part and
                                                                                         and

denying in
denying    part on
        in part on Rush's
                   Rush’s motion
                          motion for summary judgment
                                 for summary judgment which
                                                      which had
                                                            had been
                                                                been pending
                                                                     pending in
                                                                             in the
                                                                                the Litigation.
                                                                                    Litigation.

After the
After the Court's
          Court’s ruling,
                  ruling, the
                          the parties
                              parties submitted
                                      submitted aa joint
                                                   joint status
                                                         status report
                                                                report wherein
                                                                       wherein Melgoza
                                                                               Melgoza requested
                                                                                       requested that
                                                                                                 that

aa trial
   trial date
         date be
              be scheduled
                 scheduled "as
                           “as soon
                               soon as
                                    as practical."
                                       practical.”


                                                     40
                                                     40
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 154 of 157 PageID #:6144



        15.
        15.    Rush stated
               Rush stated its
                           its belief
                               belief that
                                      that "the
                                           “the matter
                                                matter should
                                                       should be
                                                              be stayed
                                                                 stayed until
                                                                        until [Melgoza]
                                                                              [Melgoza] makes
                                                                                        makes clear
                                                                                              clear

her intentions
her            relative to
    intentions relative to any
                           any action
                               action she
                                      she intends
                                          intends to
                                                  to take
                                                     take regarding
                                                          regarding the
                                                                    the termination
                                                                        termination of
                                                                                    of her
                                                                                       her

employment with
employment with Rush."
                Rush.” Rush
                       Rush further
                            further articulated,
                                    articulated, in detail, its
                                                 in detail,     consistent position
                                                            its consistent position that
                                                                                    that allowing
                                                                                         allowing

Melgoza to
Melgoza to pursue
           pursue her
                  her termination
                      termination claims
                                  claims separately
                                         separately would
                                                    would constitute
                                                          constitute impermissible
                                                                     impermissible claims
                                                                                   claims

splitting.
splitting.

        16.
        16.    The Court ordered
               The Court ordered the
                                 the parties
                                     parties to
                                             to discuss
                                                discuss settlement.
                                                        settlement. Thus, on February
                                                                    Thus, on February 24,
                                                                                      24, 2021
                                                                                          2021

and March
and March 10,
          10, 2021,
              2021, the
                    the parties
                        parties attended
                                attended aa virtual
                                            virtual telephonic
                                                    telephonic settlement
                                                               settlement conference
                                                                          conference with
                                                                                     with the
                                                                                          the Court
                                                                                              Court

but were
but were unable
         unable to
                to resolve
                   resolve their
                           their dispute.
                                 dispute.

        17.
        17.    During and
               During and after
                          after the
                                the settlement
                                    settlement conference, Melgoza made
                                               conference, Melgoza made clear
                                                                        clear to
                                                                              to Rush
                                                                                 Rush and
                                                                                      and the
                                                                                          the

Court that
Court that the
           the damages
               damages she
                       she was
                           was claiming
                               claiming in
                                        in the
                                           the Litigation included those
                                               Litigation included those allegedly
                                                                         allegedly resulting from
                                                                                   resulting from

her 2020
her 2020 termination
         termination but
                     but refused to state
                         refused to state whether
                                          whether she
                                                  she would
                                                      would also
                                                            also be
                                                                 be pursuing
                                                                    pursuing aa separate
                                                                                separate cause
                                                                                         cause of
                                                                                               of

action for
action     the termination.
       for the termination.

        18.
        18.    In light of
               In light of Melgoza's
                           Melgoza’s ongoing
                                     ongoing obfuscation
                                             obfuscation of
                                                         of her
                                                            her intentions
                                                                intentions relative to the
                                                                           relative to the

termination claims,
termination claims, Rush
                    Rush sent
                         sent Melgoza
                              Melgoza aa letter
                                         letter on
                                                on April
                                                   April 2,
                                                         2, 2021
                                                            2021 asking
                                                                 asking her
                                                                        her to
                                                                            to confirm
                                                                               confirm her
                                                                                       her intended
                                                                                           intended

course of
course of action
          action relative
                 relative to
                          to those
                             those claims.
                                   claims.

        19.
        19.    On April
               On April 9, 2021, Melgoza
                        9, 2021, Melgoza finally acknowledged she
                                         finally acknowledged she intended
                                                                  intended to
                                                                           to file
                                                                              file an
                                                                                   an EEOC
                                                                                      EEOC

charge relating
charge relating to
                to her
                   her termination
                       termination and
                                   and would
                                       would not assert her
                                             not assert her termination
                                                            termination claims
                                                                        claims in the Litigation.
                                                                               in the Litigation.

        20.
        20.    Melgoza filed
               Melgoza filed her
                             her EEOC charge on
                                 EEOC charge on April
                                                April 30,
                                                      30, 2021.
                                                          2021. Notably,
                                                                Notably, her
                                                                         her charge
                                                                             charge sets
                                                                                    sets forth
                                                                                         forth

many of
many of the
        the same
            same allegations
                 allegations already
                             already asserted
                                     asserted in her Complaint
                                              in her Complaint and
                                                               and withdrawn
                                                                   withdrawn SAC and are
                                                                             SAC and are based
                                                                                         based

on the
on the same
       same operative
            operative facts as the
                      facts as the claims
                                   claims made
                                          made in
                                               in the
                                                  the Litigation.
                                                      Litigation.

        21.
        21.    Melgoza has
               Melgoza has nevertheless
                           nevertheless refused to assert
                                        refused to assert her
                                                          her termination
                                                              termination claims
                                                                          claims in
                                                                                 in the
                                                                                    the Litigation
                                                                                        Litigation

and is
and    actively proceeding
    is actively proceeding to
                           to initiate
                              initiate aa second
                                          second duplicative
                                                 duplicative lawsuit against Rush.
                                                             lawsuit against Rush.

        22.
        22.    Melgoza’s efforts
               Melgoza's efforts are
                                 are aa clear
                                        clear attempt
                                              attempt to
                                                      to force
                                                         force Rush
                                                               Rush to
                                                                    to incur
                                                                       incur unnecessary
                                                                             unnecessary expenses
                                                                                         expenses

defending aa second
defending    second litigation. Furthermore, it
                    litigation. Furthermore,    is clear
                                             it is clear that
                                                         that Plaintiff
                                                              Plaintiff is
                                                                        is attempting
                                                                           attempting to
                                                                                      to hedge
                                                                                         hedge her
                                                                                               her bets
                                                                                                   bets



                                                  41
                                                  41
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 155 of 157 PageID #:6145



by creating
by creating aa second
               second action
                      action as
                             as aa "back
                                   “back up"
                                         up” should
                                             should she
                                                    she fail to prevail
                                                        fail to prevail on
                                                                        on her
                                                                           her claims
                                                                               claims in the Litigation,
                                                                                      in the Litigation,

or is
or is otherwise
      otherwise dissatisfied
                dissatisfied with
                             with the
                                  the results.
                                      results.

        23.
        23.     Absent the
                Absent the relief
                           relief requested
                                  requested herein,
                                            herein, Rush
                                                    Rush will
                                                         will needlessly
                                                              needlessly be
                                                                         be forced to expend
                                                                            forced to expend

resources seeking
resources seeking to
                  to dismiss
                     dismiss the
                             the second
                                 second lawsuit on the
                                        lawsuit on the grounds
                                                       grounds of
                                                               of res
                                                                  res judicata
                                                                      judicata and/or
                                                                               and/or impermissible
                                                                                      impermissible

claim splitting.
claim splitting.

                                        Actual Controversy
                                        Actual Controversy

        24.
        24.     There is an
                There is an actual
                            actual controversy between the
                                   controversy between the parties
                                                           parties that
                                                                   that is
                                                                        is substantial
                                                                           substantial and
                                                                                       and concrete
                                                                                           concrete

concerning Melgoza's
concerning Melgoza’s right to assert
                     right to assert claims
                                     claims relating
                                            relating to
                                                     to her
                                                        her July 2020 termination
                                                            July 2020 termination in
                                                                                  in aa separate
                                                                                        separate

proceeding.
proceeding.

        25.
        25.     Resolution of
                Resolution of the
                              the substantive
                                  substantive claims
                                              claims in the Litigation
                                                     in the            will not
                                                            Litigation will not address
                                                                                address the
                                                                                        the parties'
                                                                                            parties’

ongoing dispute.
ongoing dispute.

        26.
        26.     In the absence
                In the absence of
                               of aa declaration, the parties
                                     declaration, the parties will
                                                              will remain uncertain as
                                                                   remain uncertain as to
                                                                                       to what
                                                                                          what is or is
                                                                                               is or is

not permitted
not permitted in
              in terms
                 terms of
                       of Melgoza's
                          Melgoza’s ability
                                    ability to
                                            to file her termination
                                               file her termination claims
                                                                    claims in
                                                                           in aa separate
                                                                                 separate action;
                                                                                          action; this
                                                                                                  this

controversy will
controversy will continue; and additional
                 continue; and additional litigation will ensue
                                          litigation will ensue in
                                                                in the
                                                                   the future. Moreover, Rush
                                                                       future. Moreover, Rush will
                                                                                              will

suffer irreparable
suffer             harm and
       irreparable harm and incur unnecessary expense
                            incur unnecessary expense defending
                                                      defending and
                                                                and seeking
                                                                    seeking to
                                                                            to dismiss
                                                                               dismiss aa

duplicative second
duplicative second action.
                   action. Additionally,
                           Additionally, if Melgoza proceeds
                                         if Melgoza proceeds in
                                                             in aa second
                                                                   second action,
                                                                          action, there
                                                                                  there may
                                                                                        may

unnecessarily be
unnecessarily be two
                 two trials
                     trials on
                            on overlapping
                               overlapping periods
                                           periods of
                                                   of Melgoza's
                                                      Melgoza’s employment,
                                                                employment, resulting
                                                                            resulting in
                                                                                      in

increased litigation
increased            regarding the
          litigation regarding the proper
                                   proper scope
                                          scope of
                                                of damages
                                                   damages and
                                                           and the
                                                               the evidence
                                                                   evidence that
                                                                            that may
                                                                                 may be
                                                                                     be used
                                                                                        used

during the
during the trials,
           trials, as
                   as well
                      well as
                           as two
                              two potentially
                                  potentially conflicting
                                              conflicting verdicts
                                                          verdicts and/or
                                                                   and/or an
                                                                          an improper double recovery
                                                                             improper double recovery

by Melgoza.
by Melgoza.

        27.
        27.     Rush respectfully
                Rush respectfully submits
                                  submits that
                                          that declaratory
                                               declaratory relief under 28
                                                           relief under 28 U.
                                                                           U.S.C.  § 2201
                                                                              S.C. § 2201 is therefore
                                                                                          is therefore

justified.
justified.

        WHEREFORE, Rush
        WHEREFORE, Rush University
                        University Medical
                                   Medical Center
                                           Center respectfully
                                                  respectfully prays
                                                               prays that
                                                                     that the
                                                                          the Court:
                                                                              Court:

        A. Enter
        A.       judgment in
           Enter judgment    favor of
                          in favor of Rush
                                      Rush and
                                           and against
                                               against Melgoza.
                                                       Melgoza.



                                                  42
                                                  42
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 156 of 157 PageID #:6146



       B. Declare
       B. Declare that
                  that Melgoza
                       Melgoza is
                               is prohibited
                                  prohibited from
                                             from asserting
                                                  asserting the
                                                            the claims relating to
                                                                claims relating to her
                                                                                   her July 2020
                                                                                       July 2020

          termination in
          termination in aa separate
                            separate proceeding
                                     proceeding pursuant
                                                pursuant to
                                                         to the
                                                            the doctrines
                                                                doctrines of
                                                                          of res
                                                                             res judicata
                                                                                 judicata and/or
                                                                                          and/or

          impermissible claim
          impermissible       splitting.
                        claim splitting.

       C. Grant
       C. Grant such
                such additional
                     additional relief as the
                                relief as the Court
                                              Court deems
                                                    deems just
                                                          just and
                                                               and appropriate.
                                                                   appropriate.


Dated: May
Dated: May ___,, 2021
                 2021                               Respectfully submitted,
                                                    Respectfully submitted,

                                                    RUSH UNIVERSITY
                                                    RUSH UNIVERSITY MEDICAL
                                                                    MEDICAL CENTER
                                                                            CENTER

                                                    /s/
                                                    /s/ Jane  M. McFetridge
                                                        Jane M.   McFetridge
                                                    One of
                                                    One   of Its Attorneys
                                                             Its Attorneys

Jane  M. McFetridge
Jane M.  McFetridge (ARDC
                     (ARDC No.
                             No. 6201580)
                                 6201580)
Audrey Olson
Audrey  Olson Gardner
                Gardner (ARDC
                        (ARDC No.
                               No. 6337084)
                                    6337084)
JACKSON
JACKSON LEWIS        P.C.
             LEWIS P.C.
150 North
150  North Michigan
            Michigan Avenue,
                      Avenue, Suite 2500
                              Suite 2500
Chicago, Illinois
Chicago,  Illinois 60601
                   60601
Tel.: 312.787.4949
Tel.: 312.787.4949
Jane.McFetridge@jacksonlewis.com
Jane.McFetridge@jacksonlewis.com
Audrey.Gardner@jacksonlewis.com
Audrey.Gardner@jacksonlewis.com




                                               43
                                               43
Case: 1:17-cv-06819 Document #: 239 Filed: 05/07/21 Page 157 of 157 PageID #:6147




                                  CERTIFICATE OF SERVICE
                                  CERTIFICATE OF SERVICE

         The undersigned, an
         The undersigned, an attorney,
                             attorney, certifies that on
                                       certifies that on May
                                                         May __, 2021,
                                                                 2021, she
                                                                       she caused
                                                                           caused aa true
                                                                                     true and
                                                                                          and correct
                                                                                              correct

copy of
copy of the
        the foregoing
            foregoing Defendant's
                      Defendant’s Amended
                                  Amended Answer,
                                          Answer, Affirmative
                                                  Affirmative Defenses,
                                                              Defenses, and
                                                                        and Counterclaim
                                                                            Counterclaim to
                                                                                         to

the Amended Complaint
the Amended           to be
            Complaint to be filed
                            filed with
                                  with the
                                       the Clerk
                                           Clerk of
                                                 of the
                                                    the Court
                                                        Court using
                                                              using the
                                                                    the CM/ECF
                                                                        CM/ECF system.
                                                                               system. Notice
                                                                                       Notice

of this
of this filing will be
        filing will be sent
                       sent to
                            to counsel
                               counsel of
                                       of record
                                          record via
                                                 via the
                                                     the Court's
                                                         Court’s electronic
                                                                 electronic filing system. Parties
                                                                            filing system. Parties may
                                                                                                   may

access this
access this filing through the
            filing through the Court's
                               Court’s system.
                                       system.


                                                              /s/
                                                              /s/ Jane M. McFetridge
                                                                  Jane M. McFetridge



4823-6384-3560, v. 3
